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VIII. THIRD-PARTY CLAIMS AGAINST THE AFI DEFENDANTS

A. INVESTIGATION OF THIRD-PARTY CLAIMS

      The AFI Settlement and Plan Sponsor Agreement provided for, among other things, a
broad Third-Party Release of the AFI Released Parties from any and all causes of action
arising from or related in any way to the Debtors.1 The Examiner Scope Approval Order
directs the Examiner to: (1) investigate the merits of the claims to be released pursuant to the
Third-Party Release; (2) analyze the sufficiency of the consideration to be provided for the
Third-Party Release; and (3) solicit the parties’ views concerning the merits of such claims
and the potential amount of damages arising therefrom (but not to independently quantify such
damages).2 Following the expiration of the AFI Settlement and Plan Sponsor Agreement on
February 28, 2013,3 the Examiner determined, in consultation with the Bankruptcy Court and
representatives of the Debtors, the Creditors’ Committee, and AFI, that such an analysis
remained important to any potential global settlement and plan of reorganization.
Accordingly, the Investigation of Third-Party Claims proceeded as contemplated by the
Examiner Scope Approval Order.

    1. Scope Of Third-Party Claims Investigation

     Given the potential breadth of claims and the time frame available to investigate them,
the Investigation focused primarily on identifying claims that could materially affect the terms
of a settlement with AFI and corresponding Third-Party Release. The Investigation identified


1   AFI Settlement and Plan Sponsor Agreement, § 3.1(d)(ii). The Third-Party Release, as originally proposed,
    provided in relevant part as follows:
        On and as of the Effective Date, the holders of Claims and Interests shall be deemed to provide a
        full discharge and release to the Released Parties and their respective property from any and all
        Causes of Action, whether known or unknown, whether for tort, fraud, contract, violations of
        federal or state securities laws, veil piercing or alter-ego theories of liability, or otherwise, arising
        from or related in any way to the Debtors, including those in any way related to residential
        mortgage backed securities issued and/or sold by Debtors and/or the Chapter 11 Cases or the Plan;
        provided that claims of the Debtors’ directors and officers against Ally pursuant to Ally’s
        indemnification obligations and Section 2.2 hereof (as well as any applicable insurance related
        thereto) shall not be released. . . . The Confirmation Order will permanently enjoin the
        commencement or prosecution by any person or entity, whether directly, derivatively or otherwise,
        of any Claims, obligations, damages, demands, debts, rights, suits, Causes of Action, judgments, or
        liabilities released pursuant to the Plan.
    Id. “Released Parties” refers to AFI “on behalf of its direct and indirect subsidiaries and affiliates” as
    well as “each of theirs and the Debtors’ respective members, officers, directors, agents, financial
    advisors, attorneys, employees, partners, affiliates, and representatives.” Id. § 1.2.
2   Examiner Scope Approval Order, at 5.
3   See Response of the Official Committee of Unsecured Creditors to Debtors’ Motions for (I) Appointment of
    a Chief Restructuring Officer and (II) Entry of an Order Further Extending Their Exclusive Periods to File a
    Chapter 11 Plan and Solicit Acceptance Thereof [Docket No. 3042] at 7.

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four main categories of claims that merit discussion: (1) claims against the Debtors and the
AFI Defendants on account of residential mortgage-backed securities (the “RMBS Claims”);
(2) claims against the Debtors’ and the AFI Defendants’ directors and officers related to
mortgage-backed securities (the “D&O RMBS Claims”); (3) claims against the Debtors and
the AFI Defendants related to areas of the Debtors’ businesses other than the securitization of
mortgage loans (the “Non-RMBS Claims”); and (4) the potential causes of action assertable
by holders of the Unsecured Notes (the “Unsecured Noteholder Causes of Action”).

     The RMBS Claims represent one of the most significant sources of potential liability for
the Debtors and the AFI Defendants.4 Of the four types of claims described above, the RMBS
Claims are the only type explicitly identified in the Third-Party Release.5 This is unsurprising
given the fact that the pending actions related to the RMBS Claims (the “RMBS Actions”) are
large-scale, complex litigations, some of which have been pending in state or federal court for
years.6

     The RMBS Claims are based upon various legal theories, including breach of contract,
fraud, negligence, and violation of state and federal securities laws. They arise from the same
body of underlying facts as the claims implicated in the RMBS Trust Settlement Agreements,
but differ with respect to the types of claims asserted and the parties asserting them. The
representation and warranty claims proposed to be released by the RMBS Trust Settlement
Agreements relate to breach of contract claims assertable on behalf of the RMBS trusts and
arise from the Debtors’ failure to repurchase defective loans.7 Because the Debtors intend to
address those claims in conjunction with the RMBS Trust Settlement Agreements, they were


4   See, e.g., Debtors’ Motion Pursuant to Fed. R. Bankr. P. 9019 for Approval of the RMBS Trust Settlement
    Agreements [Docket No. 320] at 3 (“The R&W Claims are the single largest set of disputed claims against
    the Debtors’ estates by a wide margin”).
5   See AFI Settlement and Plan Sponsor Agreement, § 3.1(d)(ii) (releasing claims “in any way related to
    residential mortgage backed securities issued and/or sold by Debtors . . . .”).
6   See, e.g., Am. Compl., MBIA Ins. Corp. v. Residential Funding Co., LLC, Case No. 603552/2008, Docket
    No. 28 (N.Y. Sup. Ct. Mar. 19, 2010); Compl., MBIA Ins. Corp. v. GMAC Mortg., LLC, Case
    No. 600837/2010, Docket No. 2 (N.Y. Sup. Ct. Apr. 1, 2010); Debtors’ Motion Pursuant to Fed. R. Bankr. P.
    9019 For Approval of the RMBS Trust Settlement Agreements [Docket No. 320] at 24–26. Debtors’ Second
    Supplemental Motion Pursuant to Fed. R. Bankr. P. 9019 for Approval of the RMBS Trust Settlement
    Agreements [Docket No. 1887] at 27–28 (“[T]he litigation of alleged representation and warranty breaches
    alone is extremely complex, labor-intensive, costly and time-consuming. The discovery required to resolve
    claims based on the 1.6 million loans in the Trusts would be massive, as the relevant documents and
    information will differ from case to case. . . . ResCap’s experience in MBIA Insurance Corp. v. Residential
    Funding Company, LLC illustrates the true enormity and difficulty of such litigation. . . . [F]act discovery has
    not been completed over three and a half years after MBIA first sued RFC.”).
7   See Debtors’ Motion Pursuant to Fed. R. Bankr. P. 9019 for Approval of the RMBS Trust Settlement
    Agreements [Docket No. 320] at 2 (“The RMBS Trust Settlement resolves . . . alleged and potential
    representation and warranty claims . . . held by up to 392 securitization trusts . . . [which] allegedly arise
    under Pooling and Servicing Agreements, Assignment and Assumption Agreements, Indentures, Mortgage
    Loan Purchase Agreements and other documents governing the Trusts . . . .”).

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not included in the Investigation of Third-Party Claims. By contrast, the RMBS Claims are
mostly securities law and tort-based causes of action asserted by investors who purchased
securities from the Debtors.8

     With respect to the AFI Defendants, and as discussed further below, many of the RMBS
Claims rely on derivative liability theories, such as alter ego and “control person” liability
under state and federal securities laws. To succeed on such theories, plaintiffs must essentially
make two showings: (1) that the Debtors are liable for a primary violation; and (2) that the
facts warrant holding the AFI Defendants responsible for the Debtors’ conduct. Given the
Examiner’s mandate to determine whether the AFI Defendants have provided sufficient
consideration for the Third-Party Release, the Investigation focused primarily on the second
showing—the extent to which the AFI Defendants might be held derivatively liable for the
Debtors’ RMBS-related conduct (assuming the Debtors are found liable for the underlying
primary claims).9

     Further, given this focus, the Examiner’s Professionals did not undertake certain
activities necessary to evaluate the Debtors’ primary liability, such as loan-level diligence,
re-underwriting of loan files, or calculation of breach rates, loss-share rates, or the
securitization trusts’ estimated lifetime losses. While these issues are contested and could
significantly affect any ultimate findings of liability and/or quantum of damages, a full
investigation into the Debtors’ underlying liability and the corresponding defenses was outside
the scope of the Investigation. Accordingly, the Examiner’s findings with respect to the
RMBS Claims are not meant to represent a dispositive analysis of all outstanding claims.
Rather, they represent an evaluation of the claims most likely to affect the value of any future
AFI settlement and Third-Party Release. Unless otherwise noted, the Examiner has not
reached any definitive conclusions with respect to the Third-Party Claims, all of which would
require further factual development before final determinations of liability could be made.

     One final noteworthy aspect of the RMBS Claims and RMBS Actions is that the Third-
Party Claimants themselves have, for the most part, conducted only limited investigation of
the underlying facts. Only a handful of the RMBS Actions have progressed beyond motions to

8   One potential area of overlap between the Investigation of Third-Party Claims and the RMBS Trust
    Settlements is the claims of monoline insurers, such as FGIC and MBIA. See Debtors’ Reply Brief re Non-
    Iridium Issues in Support of Motion for Approval of RMBS Settlement Agreements [Docket No. 2804] at 18
    (“If the Debtors’ view is correct, then MBIA’s and FGIC’s fraudulent inducement claims fall within the
    scope of the release set out in section 7.01 [of the RMBS Trust Settlements]. MBIA and FGIC, of course,
    may argue that their fraudulent inducement claims exist independently of the governing agreements.”).
    Accordingly, the Investigation of Third-Party Claims included these claims, but the Examiner notes that their
    viability may be affected by the RMBS Trust Settlements.
9   In analyzing these claims, the Examiner’s Professionals also considered RMBS Actions that do not, as of yet,
    explicitly name any of the AFI Defendants. The Examiner’s Professionals considered these claims because
    (1) they are substantially similar to the RMBS Actions that do name the AFI Defendants; and (2) some
    parties that did not initially plead claims against the AFI Defendants, and have not had an opportunity to
    amend their complaints, have advised the Examiner’s Professionals that they believe they do in fact hold
    such claims.

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dismiss and none have yet proceeded to trial. This status is not limited to the RMBS Actions
identified herein, but is generally representative of RMBS-related litigation as a whole.10 As
the Debtors’ RMBS litigation expert, Jeffrey Lipps, has represented to the Court, the RMBS
Actions pose “unique legal and evidentiary challenges, many of which have not fully
developed in a definitive way in the case law to date, and none of which have been litigated to
resolution with respect to the Debtors specifically.”11 The Examiner’s Professionals have
surveyed the relevant decisions in this area (several of which were issued during the course of
the Investigation) and note that this area of law is relatively underdeveloped and it is not yet
clear as to how it may eventually evolve.

     With respect to the D&O Claims and the Non-RMBS Claims, for the reasons discussed in
Sections VIII.C.3 and VIII.C.4, the Examiner does not believe that the merits or magnitude of
these claims should have a material effect on the consideration to be provided for the Third-
Party Release. Accordingly, the Report provides information regarding these claims, but unless
otherwise noted, the Examiner does not reach conclusions with respect to their merits. Finally,
an analysis of the Unsecured Noteholder Causes of Action is provided in Section VIII.C.5.

     2. Conduct Of The Third-Party Claims Investigation

      The Examiner’s Professionals identified approximately thirty-eight RMBS Actions,
twenty-nine of which name at least one of the AFI Defendants. A list of the RMBS Actions
can be found at Appendix VIII.A—1. In addition, the Examiner’s Professionals identified
approximately eighteen pending lawsuits that assert claims against the Debtors and/or the AFI
Released Parties related to other aspects of the Debtors’ businesses, such as loan origination
and servicing. A list of pending lawsuits related to the Non-RMBS Claims (the “Non-RMBS
Actions”) can be found at Appendix VIII.A—2. The Examiner’s Professionals relied upon a
number of sources to identify the Debtors’ and AFI Defendants’ significant pending
litigations, including filings in the Chapter 11 Cases,12 public filings made by the Debtors and
AFI,13 documents produced by the Debtors and AFI,14 and presentations by the Debtors, AFI,
and the Creditors’ Committee,15 among others.

10   One notable exception is the merits decision in Assured Guar. Mun. Corp. v. Flagstar Bank, FSB, No. 11-
     2375, 2013 WL 440114 (S.D.N.Y. 2013), which was issued by Judge Rakoff on February 5, 2013 and
     discussed below.
11   Supplemental Declaration of Jeffrey A. Lipps [Docket No. 1887-4] at 7.
12   See, e.g., Appendix to Declaration of Jeffrey Lipps [Docket No. 320-9]; Proof of Claim No. 3974, filed by
     AFI on Nov. 12, 2012 [Case No. 12-12060], at 19–21, Ex. C; Compl., Residential Capital, LLC v. Allstate
     Ins. Co., Case No. 12-1671, Docket No. 1 (Bankr. S.D.N.Y. May 25, 2012) (requesting that the Bankruptcy
     Court extend the automatic stay to or enjoin the continuation of several of the RMBS Actions).
13   See, e.g., Ally Financial Inc., Annual Report (Form 10-K) (Feb. 28, 2012), at 228–30 (discussing the
     Debtors’ and AFI’s mortgage-backed securities litigation).
14   See, e.g., Appendix to the Presentation to the AFI Board of Directors, dated Sept. 23, 2011, at 51–58
     [ALLY_0157478].
15   See AFI Presentation to the Examiner, dated Aug. 2, 2012, at 57–60.

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     As part of the Third-Party Claims Investigation, the Examiner Scope Approval Order
required that the Examiner “solicit [third] parties’ views concerning the merits of such claims
and the potential amount of damages arising from such claims.”16 The Examiner’s
Professionals accomplished this objective through two separate requests for third-party
analyses and information.

      First, on September 21, 2012, the Examiner’s Professionals sent a letter to twenty parties
requesting Submission Papers “setting forth any arguments, analyses and/or supporting
documents” that could bear meaningfully upon the Investigation of Third-Party Claims.17 The
letter also requested that the parties provide their “views concerning the potential amount of
damages arising from such claims.”18 The letter stated that the Submission Papers would not
be confidential and that they would be shared with “the Debtors and . . . existing or potential
adversaries identified therein in order to solicit their substantive responses.”19 Given the large
number of potential Third-Party Claimants, the Examiner’s Professionals determined that
requesting substantive briefs from all identifiable parties would be duplicative and excessive.
Accordingly, the Examiner’s Professionals selected twenty recipients representing a cross-
section of the types of Third-Party Claims at issue, as well as several parties that had
otherwise been active in the Chapter 11 Cases and could contribute to the analysis of the
relevant issues. The Examiner’s Professionals subsequently conferred with all of these parties
by e-mail and/or phone, and in some cases held in-person meetings with the parties solicited.
Of the twenty parties solicited, eight ultimately provided Submission Papers.20 The
Examiner’s Professionals shared the Submission Papers with the Debtors, AFI, and the
Creditors’ Committee to solicit their responses. The Debtors and AFI responded with
substantial written responses, which were in turn shared with the third parties to whom they
were directed, as well as with the Creditors’ Committee. Certain of the solicited parties then
submitted replies to the responses of the Debtors and AFI.21 This exercise assisted the
Investigation by identifying and narrowing points of legal and factual contention.

     Second, on December 21, 2012, the Examiner’s Professionals sent a second letter to an
additional thirty-one parties that had filed and/or threatened litigation against AFI or its


16   Examiner Scope Approval Order, at 5.
17   Letter from the Examiner to Third Parties (Sept. 21, 2012), at 1. A copy of this letter is attached to the Report
     as Appendix VIII.A—3.
18   Id.
19   Id. at 2.
20   The Examiner received Submission Papers from the following parties: Allstate, AIG, Mass Mutual, and
     Prudential (joint submission); the Federal Home Loan Banks of Boston, Chicago, and Indianapolis; FGIC;
     the Ad Hoc Group of Junior Secured Noteholders; MBIA; the RMBS Steering Committee; the Talcott
     Franklin Group; and Wilmington Trust. Additional limited responses were received from the FHFA, John
     Hancock Life Insurance Co., Stichting Pensioenfonds ABP, and Huntington Bancshares (joint submission).
21   The Examiner received reply submissions from Wilmington Trust, MBIA, and Allstate, AIG, MassMutual,
     and Prudential (jointly).

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affiliates on account of the Debtors’ businesses.22 This letter requested that the recipients
provide a “quantification of the damages arising from [their] existing or potential
litigation . . . .” (each a “Damages Letter”).23 Additionally, the letter requested that the
recipients address “any additional theories of liability” not identified in their respective
pleadings.24 The recipients of the December 21, 2012 letter represented all of the remaining
Third-Party Claimants identified by the Examiner’s Professionals that had not received the
Examiner’s letter of September 21, 2012. In response to the December 21, 2012 letter, eleven
parties submitted Damages Letters.25 The remaining parties that received the December 21
letter declined to respond to Examiner’s Counsel’s request.26

     In addition to analyzing the Submission Papers, the Investigation of Third-Party Claims
relied on document discovery and witness interviews. With respect to document discovery, to
manage the potentially vast amount of responsive information, the Examiner’s Professionals
in many cases requested representative samples of various types of deal documentation and
communications. With respect to interviews, in addition to officers and directors of AFI and
the Debtors, the subject matter of Third-Party Claims required the Examiner’s Professionals to
interview several witnesses from the Debtors’ operating subsidiaries who were closer to the
Debtors’ relevant day-to-day business activities. The time frame at issue presented another
challenging aspect of the Investigation of Third-Party Claims. Many of the Third-Party
Claims, and in particular the RMBS Claims, relate to events (typically securitization deals)
going back to as early as 2004 and most ending prior to 2008. Few of the Debtors’ and AFI’s
personnel from that early time period remain employed with the companies, and several of
those interviewed by the Examiner’s Professionals remembered few details. The Examiner’s
Professionals also requested documents from the Debtors and AFI from this earlier time
period, focusing upon the Debtors’ origination and securitization activities. In some cases,
certain documents, such as e-mail communications, had not been preserved and therefore
could not be produced to the Examiner.27


22   Letter from the Examiner to Third Parties (Dec. 21, 2012). A copy of this letter is attached to the Report as
     Appendix VIII.A—4.
23   Id. at 2.
24   Id.
25   For an indication of which parties submitted Damages Letters, see Appendix VIII.D.1.
26   Many plaintiffs declined the Examiner’s request for damages quantifications out of concern for the impact a
     response could potentially have upon their pending litigation.
27   For example, AFI informed the Examiner’s Professionals that AFI had not preserved certain e-mail
     communications for its officers and directors from 2004–2007. AFI explained that its document retention
     policy for that period was to maintain e-mail backup tapes for rolling thirty-day periods, after which backup
     tapes were re-used and any data on the tapes was overwritten. In addition, computer hard drives, e-mail
     inboxes, and any documents maintained on shared drives were typically deleted thirty days after an employee
     was terminated (provided that the employee was not the subject of a legal hold). Accordingly, the
     Investigation of this time period was constrained in certain respects by the unavailability of historical
     materials.

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     3. The Debtors’ Underlying Liability

     The RMBS Claims against the Debtors and the AFI Defendants are symptomatic of the
contingent liability problem that has beset the mortgage banking industry for the past several
years.28 The Financial Crisis Inquiry Commission (“FCIC”), which conducted a sixteen-month
investigation into the type of business activities underlying the claims against the Debtors,
catalogued a “rising incidence of mortgage fraud, which flourished in an environment of
collapsing lending standards and lax regulation.”29 Among other things, the FCIC observed that
the “major financial institutions ineffectively sampled loans they were purchasing to package
and sell to investors.”30 These institutions “knew a significant percentage of the sampled loans
did not meet their own underwriting standards or those of the originators” but a review of
“many prospectuses provided to investors found that this critical information was not
disclosed.”31 While the FCIC’s final report does not provide any specific findings with respect
to the Debtors’ business, it does report indicia of negligence and fraud throughout the relevant
industry during this time.32

     The Debtors were by no means immune from these problems, as demonstrated by the
substantial settlements that they and AFI have entered into relating to the Debtors’ conforming
and non-conforming securitization businesses.33 Some claimants, such as the RMBS Steering
28   See, e.g., Rick Rothacker & Aruna Viswanatha, Bank of America, Other Banks Move Closer to Ending
     Mortgage Mess, CHI. TRIB., Jan. 7, 2013, http://articles.chicagotribune.com/2013-01-07/business/sns-rt-us-
     bofa-msrs-salebre9060d2-20130107_1_countrywide-and-bank-banks-move-jonathan-finger                  (“Bank    of
     America Corp announced more than $14 billion of legal settlements over bad mortgages it sold to investors
     and flaws in its foreclosure process, taking the bank a step closer to ending the home loan problems that have
     dogged it for years.”); Nelson D. Schwartz, Federal Regulators Sue Big Banks Over Mortgages, N.Y. TIMES,
     Sept. 2, 2011, http://www.nytimes.com/2011/09/03/business/bank-suits-over-mortgages-are-filed.html (“A
     bruising legal fight pitting the country’s most powerful banks against the full force of the United States
     government began Friday, as federal regulators filed suits against 17 financial institutions that sold the
     mortgage giants Fannie Mae and Freddie Mac nearly $200 billion in mortgage-backed securities that later
     soured.”); see also Jia Lynn Yang, Federal Lawsuit Accuses S&P of Defrauding Investors, WASH. POST, Feb.
     5, 2013, http://articles.washingtonpost.com/2013-02-05/business/36755795_1_s-p-analyst-s-p-and-other-
     ratings-ratings-agency (“The actions of S&P and other ratings agencies, such as Moody’s, have drawn
     criticism because they issued top ratings for toxic securities whose values were based on residential mortgages.
     These ratings caused investors to think the products were safe, but when housing prices nose-dived, the
     securities lost their value, nearly wiping out the finances of the biggest banks in the country.”).
29   FINANCIAL CRISIS INQUIRY COMMISSION, FINANCIAL CRISIS INQUIRY COMMISSION REPORT: FINAL REPORT
     OF THE NATIONAL COMMISSION ON THE CAUSES OF THE FINANCIAL AND ECONOMIC CRISIS IN THE UNITED
     STATES (Jan. 2011), at xxii, http://fcic.law.stanford.edu/report.
30   Id.
31   Id.
32   Id. at xxii, 110–11, 190, 215.
33   See, e.g., RMBS Trust Settlement Agreement, § 5.01; Ally Financial in $462 Million Settlement with Fannie,
     REUTERS, Dec. 27, 2010, http://www.reuters.com/article/2010/12/27/us-fanniemae-ally-idUSTRE6BQ3OA20101227
     (“Ally Financial Inc, the lender formerly known as GMAC, on Monday said it agreed to pay $462 million to Fannie
     Mae to avoid having to repurchase poorly underwritten mortgages sold to the housing finance giant.”).

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Committee Group, have argued that “[t]he massive losses suffered by the RMBS Trusts, and
the high levels of breaches of representations and warranties associated with mortgages
originated and sold by [GMAC Mortgage] and RFC into the trusts . . . suggest strongly that
intentional fraud was pervasive in the . . . origination process.”34 While the Examiner offers no
conclusions regarding whether the losses suffered by the RMBS trusts and other RMBS
investors were the result of fraud, the fact remains that the Debtors continue to face substantial
potential liabilities related thereto. This potential or alleged liability could remain the subject
of litigation and settlement negotiations for years.

B. THE MORTGAGE SECURITIZATION BUSINESS

     To assess the merits of the RMBS Claims, an understanding of the RMBS securitization
process is necessary, both in terms of industry norms and, more specifically, as conducted by
ResCap from 2004 to 2007.35

     1. The Securitization Market In General

      Securitization consists of pooling assets and then selling securities backed by those assets
into the bond market. In the case of RMBS, the assets that are pooled are individual residential
mortgage loans. By securitizing loans and selling the resulting securities, mortgage lenders
create income streams that require less capital than holding the individual mortgages on their
balance sheets.




34   Steering Committee Group Submission Paper, dated Oct. 17, 2012, at 7.
35   The year in which a mortgage loan was originated is often referred to as its “vintage.” The vintages with the
     highest rates of defaulting borrowers have been 2006 and 2007, and to a somewhat lesser degree 2005. The
     2006 and 2007 vintages are characterized as having weaker underwriting standards coupled with a loss of
     liquidity in the mortgage market, which appear to have been the driving factors causing high delinquencies
     and defaults. Secondary factors include declining home prices and a decline in the economy, causing high
     unemployment which continued to hamper loss mitigation efforts; further stressing the securitizations from
     those vintages and earlier. See S&P, U.S. RMBS CREDIT QUALITY RESTS ON SEVERAL KEY HOUSING
     MARKET TRENDS (June 15, 2012), at 3, http://www.standardandpoors.com/ratings/articles/en/us/
     ?articleType=HTML&assetID=1245335672130.

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     RMBS come in two basic varieties: Agency36 and PLS. Agency securitizations are issued
to investors through GSEs such as Fannie Mae, Freddie Mac, and Ginnie Mae.37 By contrast,
PLS or “non-Agency” RMBS are sold directly to investors. Loans purchased by the GSEs
must conform to the respective agency’s standards, and are therefore commonly referred to as
“conforming” loans. Conversely, loans that do not conform to the GSE loan standards are
commonly referred to as “non-conforming.” The PLS market is comprised largely of non-
conforming loans.

     Conforming loans typically involve “prime” borrowers, while non-conforming loans can
include both prime and “subprime” borrowers. The primary difference between prime (low
credit risk) and subprime (high credit risk) loans is the borrower’s credit history.38 A subprime
borrower’s FICO score is generally 660 or below, and the borrower’s credit history may
include past delinquent payments, defaults, or bankruptcies.39 As such, a subprime borrower
generally has a higher probability of default than a prime borrower.

                a. Key Securitization Parties

       The principal parties involved in mortgage securitization include:
           •   Borrower—The individual responsible for making mortgage payments on the
               mortgage note.40



36   Fannie Mae and Freddie Mac, both chartered by Congress, participate in the mortgage market by buying
     mortgage loans and mortgage-related securities in the secondary market, and then issuing guaranties on
     mortgage-backed securities. See COMPANY PROFILE, FREDDIE MAC, http://www.freddiemac.com/corporate/
     company_profile; FANNIE MAE CHARTER, FANNIE MAE, http://www.fanniemae.com/portal/about-us/
     governance/our-charter.html. Ginnie Mae provides a guaranty of the principal and timely interest payments
     on certain government-sponsored mortgage loans, such as those provided by FHA or VA programs.
     COMPANY OVERVIEW, GINNIE MAE, http://www.ginniemae.gov/pages/default.aspx. Before September 2009,
     Fannie Mae’s and Freddie Mac’s guarantee was not explicitly backed by the U.S. government, but both
     entities had the right to draw on the U.S. Treasury. Because of Fannie Mae’s and Freddie Mac’s implied
     backing by the government, rating agencies and the market treated their securities as government-agency
     issuances. FRANK J. FABOZZI, THE HANDBOOK OF MORTGAGE BACKED SECURITIES 47 (6th ed. 2005). It
     wasn’t until September 2009, after Fannie Mae and Freddie Mac were placed into the FHFA’s
     conservatorship, that Freddie Mac and Fannie Mae received the U.S. government’s guarantee. See U.S.
     Treasury, Press Release, Statement by Secretary Henry M. Paulson, Jr. on Treasury and Federal Housing
     Finance Agency Action to Protect Financial Markets and Taxpayers (Sept. 7, 2009), http://
     www.treasury.gov/press-center/press-releases/Pages/hp1129.aspx.
37   FEDERAL RESERVE BANK OF SAN FRANCISCO, MORTGAGE LOAN SECURITIZATION AND RELATIVE LOAN
     PERFORMANCE (Aug. 2011), at 6, http://www.frbsf.org/publications/economics/papers/2009/wp09-22bk.pdf.
38   [FDIC] SUBPRIME BACKGROUND DEFINITIONS, http://www.fdic.gov/about/comein/background.html.
39   Id.
40   COMPTROLLER OF THE CURRENCY ADMINISTRATION OF NATIONAL BANKS, ASSET SECURITIZATION,
     COMPTROLLER’S HANDBOOK (Nov. 1997), at 8, http://www.occ.gov/publications/publications-by-type/
     comptrollers-handbook/assetsec.pdf.

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         •       Credit Enhancer (Bond Insurer Monoline)—A third-party entity that provides a
                 guarantee of principal and timely interest payments on part or all of a given
                 securitization.41

         •       Custodian—A third-party entity that serves as agent for the trustee and has a
                 contractual obligation to: (1) assume ownership of the mortgage notes; (2) review
                 the mortgage notes to ensure they were properly executed and endorsed; (3) provide
                 notification to the trustee and various other transaction parties of representation and
                 warranty breaches; and (4) upon proper authorization, release the mortgage notes to
                 the trustee or servicer.42

         •       Depositor—An intermediary which sells or “deposits” loans into the trust.43

         •       Investor—Purchases the RMBS in the market.44

         •       Originator/Lender—Interacts directly with borrowers to create the mortgage loans
                 that will ultimately be securitized.45

         •       Rating Agency—Evaluates the credit quality of the various tranches of RMBS
                 issued by the trust and provides credit ratings to assist investors in assessing risk and
                 making investment decisions.46

         •       Servicer—Responsible for the daily administration of the mortgage loans from the
                 time of funding until they are paid in full. This includes mailing monthly statements
                 and collecting principal and interest payments. The servicer also monitors
                 delinquencies and pursues loss mitigation on defaulted loans. Typically, the servicer
                 receives a small percentage of the monthly interest remitted (e.g., .25%, .50%) as
                 compensation. The mortgage servicing rights may be retained by the originator or
                 sold/subcontracted to a third party.47


41   Id. at 11. A credit enhancer is generally a triple AAA rated insurance company (e.g. AMBAC, FGIC, FSA,
     etc.). See Timothy C. Leixner, Securitization of Financial Assets, Sept. 1, 1999, at 5, http://mx.nthu.edu.tw/
     ~chclin/Class/Securitization.htm.
42   See, e.g., Custodial Agreement between JPMorgan Chase Bank, as trustee, GMAC Mortgage Corporation, as
     servicer, and GMAC Bank, as custodian, dated July 27, 2004, § 2.1–2.4 [ALLY_0032656].
43   MOODY’S, DEAL SPONSOR AND CREDIT RISK OF U.S. ABS AND MBS SECURITIES (Dec. 2006), at 9, http://
     www.moodys.com/sites/products/DefaultResearch/2006200000426039.pdf.
44   COMPTROLLER OF THE CURRENCY ADMINISTRATOR OF NATIONAL BANKS, ASSET SECURITIZATION,
     COMPTROLLER’S HANDBOOK (Nov. 1997), at 12, http://www.occ.gov/publications/publications-by-type/
     comptrollers-handbook/assetsec.pdf.
45   Id. at 9.
46   See id. at 11.
47   Id. at 10.

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        •    Sponsor (Seller/Issuer)—Purchases mortgage assets from originators to form a
             pool of assets to be securitized. Also creates the trust into which the depositor will
             ultimately deposit the mortgage assets.48

        •    Trust—The special purpose entity (“SPE”)49 that holds the rights to the cash flows
             on the underlying assets and issues the RMBS representing a beneficial interest in
             the trust.50

        •    Trustee—A third party retained to administer the trust holding the mortgage assets.
             The trustee oversees the proceeds generated by the assets and distributes them based
             on a prescribed formula. The trustee is also responsible for enforcing the obligations
             of the various parties involved in the securitization. For example, the trustee is
             responsible for ensuring that the servicer is performing its obligations.51

        •    Underwriter—Markets the RMBS directly to investors. The underwriter, which in
             most cases is an independent investment banking institution, also acts in an advisory
             role. The underwriter knows investors’ preferences and advises the sponsor on
             structuring and marketing the RMBS. A securitization may have multiple
             underwriters (typically, a lead underwriter and one or more co-underwriters). The
             lead underwriter is responsible for the management of the securitization process.
             Co-underwriters assist with the sale of the securities into the market.52




48   MOODY’S, DEAL SPONSOR AND CREDIT RISK OF U.S. ABS AND MBS SECURITIES (Dec. 2006), at 10, http://
     www.moodys.com/sites/products/DefaultResearch/2006200000426039.pdf.
49   An SPE is a bankruptcy remote legal entity with limited operations, generally created by the sponsor, set up
     for the purpose of holding the securitized assets. See NATIONAL BUREAU OF ECONOMIC RESEARCH, THE
     RISKS OF FINANCIAL INSTITUTIONS, SPECIAL PURPOSE VEHICLES AND SECURITIZATION (Jan. 2007), at
     549–50, http://www.nber.org/chapters/c9619.pdf.
50   COMPTROLLER OF THE CURRENCY ADMINISTRATION OF NATIONAL BANKS, ASSET SECURITIZATION,
     COMPTROLLER’S HANDBOOK, at 23 (Nov. 1997), http://www.occ.gov/publications/publications-by-type/
     comptrollers-handbook/assetsec.pdf.
51   Id. at 10.
52   Id. at 12.

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              b. Securitization Process

     Below is a diagram of the basic steps in the securitization process. Several of these steps
are discussed in more detail below.




                  (1) Loan Origination53

     The RMBS securitization process begins with an originator marketing a loan product to a
borrower. The originator underwrites the loan, a process which requires the borrower to
provide specific financial information and an assessment on the value of the mortgaged
property. Loan underwriting is critical in assessing a borrower’s ability to repay a loan as well
as the mortgage note holder’s ability to recover from the underlying collateral in the event that
the borrower defaults.54




53   For a more detailed discussion of the loan origination and acquisition processes see Appendix VIII.B.1.b(1).
54   See FRANK J. FABOZZI, THE HANDBOOK OF MORTGAGE BACKED SECURITIES 17 (6th ed. 2005).

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                   (2) Loan Acquisition

     Originators that do not securitize or hold loans on their balance sheet typically act as a
broker or correspondent for a sponsor.55 Brokers perform the initial borrower review based
upon the sponsor’s underwriting guidelines but do not make any underwriting decisions or
fund the loans—two tasks reserved for the sponsor.56 By contrast, correspondents both
underwrite and fund their own loans, and then sell the loans to sponsors through a bidding
process.57 Typically, as a condition of purchase, the sponsor will receive loan-level
representations and warranties from the brokers and correspondents.58 The representations and
warranties are covenants written into the sale agreement regarding, among other things, the
quality of the loan underwriting. In the event of a breach of the representations and warranties,
the sponsor may “put back” a loan to the originator for repurchase or replacement.59

                   (3) Structuring The Securitization

     Structuring a securitization requires isolating and distributing credit risk, usually through
various credit enhancement techniques.60 The structuring process consists of four primary
stages: (1) segregating the assets; (2) adding credit enhancement to mitigate risk and improve
salability; (3) creating an SPE or trust to hold the assets; and (4) issuing interests in the asset
pool (i.e., RMBS).61

     The process of securitization is overseen by the sponsor who typically works with a third
party investment bank in the role of lead underwriter.62 Together the sponsor and lead
underwriter structure the RMBS to be offered. The lead underwriter typically has several
55   See THE FINANCIAL CRISIS INQUIRY COMMITTEE, FINAL REPORT OF THE NATIONAL COMMISSION ON THE
     CAUSES OF THE FINANCIAL AND ECONOMIC CRISIS IN THE UNITED STATES (Jan. 2011), at 88–89,
     http://www.gpo.gov/fdsys/pkg/GPO-FCIC/pdf/GPO-FCIC.pdf.
56   CONSUMER FINANCIAL PROTECTION BUREAU, EXAMINATION PROCEDURES MORTGAGE ORIGINATION (Jan. 11,
     2012), at 5, http://files.consumerfinance.gov/f/2012/01/Mortgage-Origination-Examination-Procedures.pdf.
57   Id.
58   Adam B. Ashcroft & Til Schuermann, Understanding the Securitization of Subprime Mortgage Credit, FED.
     RES. BANK N.Y. STAFF REP., Mar. 2008, at 5–6, http://www.newyorkfed.org/research/staff_reports/
     sr318.pdf. Examples of certain representations and warranties that would accompany a mortgage loan being
     purchased relate to the underlying property, applicable documentation in the loan file and the loan origination
     process, among others. AMERICAN SECURITIZATION FORUM, ASF MODEL RMBS REPRESENTATIONS AND
     WARRANTIES        (Jul.   15,    2009),     at    4,    http://www.americansecuritization.com/uploadedfiles/
     asf_restart_representations_rfc_071509.pdf.
59   Adam B. Ashcroft & Til Schuermann, Understanding the Securitization of Subprime Mortgage Credit, FED.
     RES. BANK N.Y. STAFF REP., Mar. 2008, at 6, http://www.newyorkfed.org/research/staff_reports/sr318.pdf.
60   COMPTROLLER OF THE CURRENCY ADMINISTRATION OF NATIONAL BANKS, ASSET SECURITIZATION,
     COMPTROLLER’S HANDBOOK (Nov. 1997), at 12–13, http://www.occ.gov/publications/publications-by-type/
     comptrollers-handbook/assetsec.pdf.
61   Id.
62   See Nicola Cetorelli & Stavros Peristiani, The Role of Banks in Asset Securitization, FED. RES. BANK N.Y.
     ECON. POL’Y REV., July 2012, at 49, http://www.newyorkfed.org/research/epr/12v18n2/1207peri.pdf.

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additional responsibilities such as: (1) contracting with the loan due diligence firm;
(2) interacting with rating agencies, bond insurers, and legal counsel; and (3) assisting in the
selection of the servicer, trustee and custodian entities.63 A more detailed outline of the
securitization process is contained in Appendix VIII.B.1.b(3).

     2. ResCap Securitization Processes

     The description of the ResCap securitization process contained in this Section is based
upon documentation provided to the Examiner, as well as interviews and deposition
testimony.64 However, because of the limitations on witness testimony and document
discovery noted in Section VIII.A.2, the summary below primarily describes how the process
was intended to work and may not accurately represent the operations in practice at any given
point in time. The Examiner’s Professionals conducted a high-level investigation into
ResCap’s operations during 2004 through 2007, but a comprehensive description of every
level of ResCap and AFI’s organizational structure and respective operations would be outside
the scope of the Investigation.

                 a. Overview

     ResCap both originated its own loans and acquired previously-originated or “closed”
loans. Loans were originated through its direct lending networks and mortgage brokers, while
closed loans were acquired through correspondent and institutional lenders.65 Regardless of
whether ResCap originated or acquired particular loans, it generally disposed of them through
two means: securitization and whole-loan sales.66

     From 2005 to 2007, RFC and GMAC Mortgage did business as RFG.67 RFC had a larger
securitization program than GMAC Mortgage and issued a wider array of product types,
specifically subprime and non-conforming loans.68 GMAC Mortgage, which primarily
performed whole-loan sales with the GSEs and private investors,69 had a considerably smaller
PLS program.70
63   See id.
64   Dep. Testimony, MBIA Ins. Corp. v. Residential Funding Co., Case No. 603552/2008 (N.Y. Sup. Ct. 2010).
65   Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 4.
66   Id. at 8.
67   Between 2005–2006, ResCap focused on integrating the operations of GMAC Mortgage and RFC into RFG.
     From 2006 on, the operations of RFC, described below in Section VIII.B.2.d, were performed under
     ResCap’s RFG. See Interagency Review of Homecomings and RFC Business Overview, dated Mar. 5, 2008,
     at 9 [MBIADEPEXH0039908].
68   RFC issued 351 out of ResCap’s 392 securitizations between 2004–2007. See PLS Trust Spreadsheet
     [EXAM00339947].
69   Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 3–9.
70   Carpenter Lipps Presentation on ResCap PLS Overview, dated Jan. 30, 2013, at EXAM00234435
     [EXAM00234431].

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                b. Types Of Loans
     Through RFC and GMAC Mortgage, ResCap originated and acquired the following types
of mortgage loans. However, as noted above, GMAC Mortgage specialized in the conforming
loans while RFC acquired most of the non-conforming, second lien and non-prime loans.
           •   Prime Conforming Loans—Prime first-lien loans secured by single-family
               residences which conformed to GSE underwriting guidelines.71
           •   Prime Non-Conforming Loans—Prime first-lien loans secured by single-family
               residences which did not conform to the GSE’s underwriting guidelines.72
           •   Government Mortgage Loans—First-lien government program loans (e.g. FHA,
               VA loans, etc.), secured by single-family residences.73
           •   Prime Second-Lien Mortgage Loans—Home equity loans secured by a second-
               lien on single-family residences.74
           •   Nonprime Mortgage Loans—Subprime first-and second-lien loans secured by
               single-family residences.75
                c. ResCap Depositor Entities And Shelves
     RFC and GMAC Mortgage issued 392 RMBS securitizations between 2004 and 2007.76
In the aggregate, the original deal balance of the 392 securitizations was $221 billion.77 Ally
Securities served as a lead or joint-lead underwriter on approximately 105 of the 392
securitizations.78
     RFC and GMAC Mortgage, as the sponsors, generally issued securitizations through five
Depositor Entities.79 All of the Depositor Entities were subsidiaries of RFC Holding.80 RFC
filed various base prospectuses, known as “shelves,” with the SEC for the different types of
securitizations.81 The shelves allowed RFC to issue securities without waiting for SEC
71   Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 5.
72   Id.
73   Id.
74   Id.
75   Id.
76   See PLS Trust Spreadsheet [EXAM00339947]; see also Appendix VIII.B—1 (discussing details (principal
     balance, underwriters, originator, etc.) on all 392 securitizations issued under the RMBS Trust Settlement
     Agreement).
77   PLS Trust Spreadsheet [EXAM00339947].
78   See Appendix VIII.B—2.
79   RFC “branded” certain shelves with unique names to help investors identify the type/characteristics of loans
     they were purchasing. The names corresponded to the particular depositor entity used to deposit the assets
     into the SPE. (e.g., RALI, RAMP, and RASC). See Int. of C. Blahut, Mar. 13, 2013, at 54:7–11.
80   ResCap Organizational Structure, dated Jan. 31, 2007 [RC40005141].
81   Int. of C. Blahut, Mar. 13, 2013, at 54:18–22.

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approval of each offering. With each offering, RFC filed a prospectus supplement, which
contained information about the specific offering that was not included in the shelf
prospectus.82 For example, prospectus supplements provided detailed information about the
loan pool collateralizing particular RMBS offerings, including FICO scores, DTI, LTV,
geography of the underlying properties, and information on the underwriting guidelines of the
primary loan originators.83

              d. RFC’s PLS Business

     Within RFC, the day-to-day operations of loan acquisition and securitization resided
within certain designated divisions, each with specific functions and responsibilities,
including, Capital Markets,84 Credit Policy,85 and the Service Delivery Group.86

                   (1) Loan Acquisition

     RFC did not originate loans in the traditional sense, but rather acted as a conduit that
acquired mortgage loans from third parties with the intent to sell those loans as part of whole-
loan transactions or securitizations.87 RFC acquired “closed” loans from correspondents who
are originators that fund their loans prior to sale.88 In many cases the correspondents funded
82   See, e.g., Residential Funding Corporation, RFMSI Series 2004-S4 Trust, Prospectus Supplement (Apr. 27,
     2004); Residential Funding Corporation, RAMP Series 2006-EFC1 Trust, Prospectus Supplement (Jan. 26,
     2006).
83   Int. of C. Blahut, Mar. 13, 2013, at 56:13–23.
84   Capital Markets was a group composed of several sub-groups, namely Trading, Structured Finance, Product
     Management, and Investor Relations, each with their own respective functions. Carpenter Lipps Presentation
     on ResCap PLS Overview, dated Jan. 30, 2013, at EXAM00234442 [EXAM00234431]. Trading was
     ultimately responsible for purchasing loans and assisting in negotiating the structure of the securitization. See
     id. at EXAM00234441–44 [EXAM00234431]. Structured Finance assisted in the securitization process by
     pooling loans, developing structure, and overseeing the preparation of documentation. See id. at
     EXAM00234444–45 [EXAM00234431]. Product Management worked with and received input from
     multiple groups (Trading, Structured Finance, etc.) in deciding which loan types to acquire. See id. at
     EXAM00234439. Investor Relations provided information to investors in ResCap’s RMBS and responsible
     for creation of RFC’s Vision website. See Int. of J. Steinhagen, Apr. 3, 2013, at 18:6–10, 23:3–12; see also
     Section VIII.B.2.d(2) (discussing RFC’s Vision website).
85   The Credit Policy group was responsible for overseeing RFC’s “Client Guide” (underwriting guidelines).
     Carpenter Lipps Presentation on ResCap PLS Overview, dated Jan. 30, 2013, at EXAM00234437
     [EXAM00234431].
86   The Service Delivery Group supported the acquisition of loans through operations and underwriting
     functions. See id. Operations first performed basic reviews of loans received through RFC’s automated
     underwriting system Assetwise while underwriting served as a second review when exceptions were noted.
     See id. at EXAM00234441. See also Sections VIII.B.2.d(1)(a), VIII.B.2.d(1)(b) (discussing these processes
     in greater depth).
87   Carpenter Lipps Presentation on ResCap PLS Overview, dated Jan. 30, 2013, at EXAM00234435
     [EXAM00234431].
88   Conference call with Carpenter Lipps, Counsel for Debtors, and FTI, Financial Advisor to Debtors (Feb. 7,
     2013).

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the loans using warehouse lending facilities provided by RFC.89 RFC also acquired loans from
brokers who are originators that sell unfunded loans.90 Unfunded loans would typically be
acquired by RFC subsidiary Homecomings Financial which would fund the loan.91 RFC
typically acquired loans in two ways: (1) through bulk or group loan transactions; or (2) on a
continuous loan-by-loan flow basis.92 These transactions were entered into with three channels
of clients:

           •   Correspondent—This channel was comprised of smaller to mid-size
               correspondents that typically committed loans to RFC on a flow or bulk basis.93
               GMAC Mortgage was considered a correspondent client.94

           •   Institutional—This channel consisted of larger companies that typically committed
               loans to RFC on a bulk basis.95

           •   Broker or Wholesale—This channel was essentially Homecomings Financial, an
               RFC subsidiary that worked with brokers to fund loans.96

                       (a) Bulk Sale Acquisitions

      Bulk deals were primarily purchased from larger correspondent and institutional clients.97
The size of these deals could range from ten to over fifteen thousand loans.98 Such sales were
initiated when a client sent RFC a file consisting of loan data and a request that RFC bid on
the loans.99 These bid requests provided general information on the loan group, along with
certain client conditions and stipulations (e.g., servicing retained or released, settlement date,

89   RFC’s warehouse lending facilities gave a competitive advantage in loan acquisition based on RFC’s
     relationship with and access to capital from GMAC.
90   Conference call with Carpenter Lipps, Counsel for Debtors, and FTI, Financial Advisor to Debtors (Feb. 7,
     2013).
91   Id.
92   Carpenter Lipps Presentation on ResCap PLS Overview, dated Jan. 30, 2013, at EXAM00234441
     [EXAM00234431]. The RFC origination process was to buy loans from their clients, and “basically
     acquiring mortgage loans . . . from correspondents, which are other banks or mortgage banks and mortgage
     bankers that are originating loans with borrowers.” Int. of E. Scholtz, Mar. 28, 2013, at 25:16–19.
93   See Dep. of J. Larson, May 11, 2011, at 11:22–23.
94   GMAC Mortgage, LLC, Consolidated Financial Statements (Dec. 31, 2006), at 50.
95   Dep. of J. Larson, May 11, 2011, at 11:24–12:7.
96   Id. at 12:8–22.
97   GMAC-RFC Presentation on CM Trading Business                  Overview,    dated   Dec.   1,   2005,   at
     MBIADEPEXH0003578 [MBIADEPEXH0003443].
98   Id.
99   Draft ResCap Presentation on CM Trading Overview: Bulk Bidding, dated Jan. 18, 2006, at
     MBIADEPEXH0003669 [MBIADEPEXH0003664].

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and custodian).100 The Trading group would then run loan-level data through a number of
diligence processes.101 Pricing of the loans was done by using loan models and industry
benchmarks.102

     To test the loans for compliance with RFC’s underwriting guidelines, loan data was
entered into one of its underwriting diligence systems.103 If the diligence process resulted in a
loan falling outside of RFC’s underwriting guide or the client-specific negotiated criteria,104
Underwriting was expected to take one of several actions with respect to each loan: (1) correct
the error and approve the loan; (2) approve the loan with an exception, but without a price
adjustment; (3) approve the loan with an exception and request a price adjustment; or
(4) decline the loan.105 Underwriting, within RFC’s Service Delivery Group, relayed any
exceptions to Trading before the loans were funded.106 Trading would then approve the final
price of the bulk sale or negotiate a price adjustment with the client.107

                        (b) Loan Flow Acquisition

     Loan flow acquisitions were completed through RFC’s correspondent and wholesale/
broker clients.108 In this process, clients and Trading would enter into commitment
agreements109 pursuant to which the client would commit to sell loans on a flow or individual



100   Id. at MBIADEPEXH0003676.
101   Id. at MBIADEPEXH0003684. Diligence included an automated valuation model (“AVM”), which provided
      automated property values based upon, among other factors, comparable property sales, characteristics, and
      neighborhood trends. See Susan Allen, What’s in Your AVM?, CORELOGIC, 2012, at 2–3,
      http://www.corelogic.com/downloadable-docs/whats-in-your-avm.pdf.
102   See Draft ResCap Presentation on CM Trading Overview: Bulk Bidding, dated Jan. 18, 2006 at
      MBIADEPEXH0003691–92 [MBIADEPEXH0003664].
103   See Second Mortgage Review/Diligence—Current State, Jan. 2007, at MBIADEPEXH0005585
      [MBIADEPEXH0005582].
104   See id.
105   Id.
106   Trading did not review each loan file to determine if the loan conformed with established guidelines. See Int.
      of L. Lundsten, Feb. 20, 2013, at 43:13–15 (“Trading is not looking at each loan file . . . Acquisition is
      looking at the loans as they come in.”).
107   See ResCap Presentation on CM Trading Overview: Bulk Bidding, at MBIADEPEXH0003701
      [MBIADEPEXH0003664]. Prices were re-negotiated if the loans were economically (e.g., rate, product type,
      etc.) different than the loans that were originally bid on. See Int. of E. Scholtz, Mar. 28, 2013, at 53:4–9,
      81:2–15.
108   GMAC-RFC Presentation on CM Trading Business                     Overview,     dated   Dec.   1,   2005,    at
      MBIADEPEXH0003582 [MBIADEPEXH0003443].
109   Conference call with Carpenter Lipps, Counsel for Debtors, and FTI, Financial Advisor to Debtors (Feb. 7,
      2013).

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basis.110 An automated underwriting system, Assetwise, would then process the loan
information111 and render an automated decision that would either: (1) approve the loan with
conditions; or (2) decline the loan.112

    When a price adjustment was required, the loan was referred by Underwriting to Trading
which had the authority to negotiate price adjustments with the client.113 Once a loan was
approved, the loan was purchased and a wire would be sent to the client.114

                         (c) Quality Control

     A second review for loan compliance, known as “post-fund quality control,” was then
conducted to ensure that acquired loans were in compliance with applicable policies and legal
requirements.115 Loans were both randomly selected, using a basic sampling tool to include a
variation of product types and geographies, and specifically targeted based on risk.116

                    (2) RFC Securitization Process

      The majority of the loans implicated by the RMBS Claims were loans acquired by RFC.
Allegations regarding GMAC Mortgage loans were primarily addressed through the
settlements with the GSEs.117

     The non-conforming loan securitization process primarily resided within RFC at Capital
Markets, specifically Trading and Structured Finance.118 Trading would engage an investment
bank119 to serve as lead underwriter.120 One of the responsibilities of the lead underwriter was
to distribute the securities to investors and also make certain decisions on the structuring of
110   See Dep. of S. Klein, Sept. 27, 2011, at 18:10–18.
111   Loan information included automated property valuations, credit reports, debt, bankruptcy history, etc. Dep.
      of R. Torborg, Apr. 27, 2011, at 34:19–35:8.
112   Id. at 37:12–15. Approved loans required a diligence check similar to that performed in the bulk bid process.
      See Second Mortgage Review/Diligence—Current State, Jan. 2007, at MBIADEPEXH0005585
      [MBIADEPEXH0005582].
113   Dep. of S. Klein, Sept. 27, 2011, at 24:23–25:16.
114   Dep. of R. Torborg, Apr. 27, 2011, at 43:2–6.
115   Dep. of S. McCumber, Mar. 4, 2011, at 35:10–17, 93:14–21.
116   Id. at 89:23–90:13.
117   See Section III.I.12 (providing additional details).
118   See Carpenter Lipps Presentation on               ResCap    PLS   Overview,   dated   Jan.   30,   2013,   at
      EXAM00234436–46[EXAM00234431].
119   Investment banks were often chosen based upon which ones were providing valuable services throughout the
      organization (e.g., funding, etc.). See Int. of E. Scholtz, Mar 28, 2013, at 40:4–15. The determination of
      whether to use RFS as lead/co underwriter was made by Scholtz as head of Capital Markets. See id. at
      60:16–19 (“[I]n 2006, I’d send [sic] a general strategy . . . [with] the desk that say, ‘Include RFS in some
      way, shape or form in 25% of the transactions.’”).
120   Id. at 27:11–14.

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the securities that they would be selling to investors (e.g., use of bond insurer enhancement
and sizing of tranches).121 Structured Finance would pool the loans122 and perform a pool
diligence resulting in an asset pool which matched anticipated securitization parameters.123
Trading was to address any critical issues (e.g., high LTVs or loan delinquencies) that were
highlighted by the diligence review prior to their approval/denial of the pool.124

     If approved, Trading would provide a list of assets to be added or removed from the
preliminary pool or would define new parameters (e.g., subordination or different
overcollateralization levels).125 At this stage in the process, the rating agencies worked with
Trading and Structured Finance to achieve investment grade ratings on certain classes or
tranches of the certificates.126

     A loan pool due diligence was then performed by an independent third party127 that was
generally hired by the lead underwriter.128 The lead underwriter would select the loan sample
to be reviewed.129 However, when a bond insurer was involved, the insurer also would
participate in the selection of the diligence firm130 and the review of loan sample to be
reviewed.131

    Where the securitization was insured, the bond insurer received a loan tape for analysis
and would provide preliminary credit enhancement targets (e.g., overcollateralization levels
121   Id. at 29:10–13.
122   See Int. of L. Lundsten, Feb. 20, 2013, at 17:17–18 (Structured Finance employees’ role was, in part, to
      “make sure that everything was in order in the files and that the pool was ready to sell”).
123   GMAC-RFC Securitization Transaction Activity Diagram, dated Sept. 18, 2000, at
      MBIADEPEXH0000059–60 [MBIADEPEXH0000056] (attached to E-mail from H. Peterson (Aug. 30,
      2006) [MBIADEPEXH0000056]).
124   Id. at MBIADEPEXH0000060.
125   Id. at MBIADEPEXH0000062.
126   Id. at MBIADEPEXH0000064.
127   See Int. of L. Lundsten, Feb. 20, 2013, at 79:25–80:15 (indicating these independent third parties included
      Clayton and The Bohan Group, Inc.). These firms perform a comprehensive review of loan files for
      compliance with investor preference and not necessarily if loans complied with RFC’s client guide. See
      Conference call with Carpenter Lipps, Counsel for Debtors, and FTI, Financial Advisor to Debtors (Feb. 7,
      2013).
128   A lead underwriter has more responsibility in the securitization process, as opposed to a co-underwriter,
      because, among other duties, they create the structure for the classes and “bring in investor demand.” Int. of
      E. Scholtz, Mar. 28, 2013, at 28:24–29:13.
129   GMAC-RFC Securitization Transaction Activity Diagram, dated Sept. 18, 2000, at MBIADEPEXH0000065
      [MBIADEPEXH0000056].
130   See Int. of L. Lundsten, Feb. 20, 2013, at 78:14–19 (rather than performing separate due diligence, the
      insurer would “piggyback” on the underwriter’s due diligence and “the two of them would decide together
      how many loans they wanted to review and how they wanted to review it”).
131   GMAC-RFC Securitization Transaction Activity Diagram, dated Sept. 18, 2000, at MBIADEPEXH0000065
      [MBIADEPEXH0000056].

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and letters of credit) to Trading.132 Trading, Structured Finance, the lead underwriter, and the
bond insurer would negotiate credit enhancement targets until an agreement was reached.133 A
deal structure was agreed upon by Trading and the underwriter,134 driven by the preliminary
risk levels and market conditions.135 The lead underwriter would then create marketing
materials which would be distributed to potential investors.136 In some instances RFC would
sell the loans to the lead underwriter, who would distribute the securities on its own.137 The
determination by RFC of whether to sell the loans to the underwriter or hold them until the
securitization got executed was based upon profitability and risk appetite.138

     The lead underwriter would provide pricing information on the securities to Trading
based upon feedback received from investors.139 Structured Finance would manage the
production of the preliminary deal documents, including the indenture, mortgage loan
purchase agreements, and insurance and indemnity agreements.140 Structured Finance created
tables for the prospectus supplement that contained information about the loan pool, such as
the distribution of credit scores, original loan balances, and LTVs,141 and worked with the lead
underwriter to review the deal documents to provide any necessary changes to both in-house
and external counsel.142

      For the transaction to close, the independent accounting firm compared the data in the
pool to the respective loan files and finalized the comfort letter.143 Structured Finance
facilitated the registration of the security and the final prospectus supplement was filed with
the SEC in addition to other deal information.144 Registration of the physical securities with



132   Id. at MBIADEPEXH0000067.
133   Id.
134   Id. at MBIADEPEXH0000069.
135   Id.
136   Id. at MBIADEPEXH0000068.
137   Int. of E. Scholtz, March 28, 2013, at 27:14–16.
138   See id. at 43:23–44:1.
139   However if the underwriter(s) owned the loans, RFC did not participate in the pricing discussions with
      investors. See id. at 30:19–25 (“If [the underwriters] own it, we don’t care because they own it at a dollar
      price. If we still own it and they are working as our underwriter, then they’re getting pricing feedback. They
      come back to us and say, ‘These are where the bonds are going to trade’ . . . and we work with them.”).
140   GMAC-RFC Securitization Transaction Activity Diagram, dated Sept. 18, 2000, at MBIADEPEXH0000080
      [MBIADEPEXH0000056].
141   Id. at MBIADEPEXH0000076.
142   Id. at MBIADEPEXH0000080.
143   Id. at MBIADEPEXH0000066;–81.
144   Id. at MBIADEPEXH0000082–85.

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the Depository Trust Company was done by the trustee.145 Once funds were wired to RFC per
the funding statement, Structured Finance would mark the pool as sold and provide a verbal
confirmation to release the bonds.146
     Upon securitization closing, or immediately prior, the custodian would take receipt of the
mortgage notes associated with the pool of loans for the securitization. The custodian would
confirm to the trustee that all of the relevant mortgage notes were received and that the
mortgage notes were executed and endorsed, as required under the pooling and servicing
agreement.147




145   Id. at MBIADEPEXH0000084.
146   The Depository Trust Company would release the securities to the trustee, who then released the securities to
      the investors. See id. at MBIADEPEXH0000095–96. For monitoring of securities or investor tracking, RFC
      had a proprietary database, Vision, which was designed to provide investors with as much transparency as
      possible with respect to the performance of loans backing their certificates. The Vision database “had
      extensive information that [RFC] provided investors in terms of performance of our securities.” Int. of E.
      Scholtz, Mar. 28, 2013, at 31:6–9. Through Vision, the investor could manipulate loan level data (e.g.,
      delinquency, foreclosure, REO, losses, etc) to derive its own perspective of performance of a given
      securitization. See id. at 31:12–22.
147   In the event there were missing or defective mortgage notes, the custodian was required to notify the trustee,
      servicer, and RFC. The custodian also had an ongoing responsibility to provide timely notification to the
      sponsor and trustee if it discovered a breach of the representations and warranties made by the sponsor. See,
      e.g., Custodial Agreement, RALI Series 2007-QH6, dated June 1, 2007, §§ 2.1, 2.3(a), 2.4
      [GSResCap0000117072].

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                 e. GMAC Mortgage’s PLS Business

                    (1) Sources Of Loan Production

     GMAC Mortgage both originated and acquired loans.148 Its primary sources for
originations were through direct lending149 and mortgage brokerages,150 while it acquired
loans through correspondent lenders151 and Ally Bank.152

                        (a) GMAC Mortgage Loan Origination

     Loan origination through GMAC Mortgage’s direct lending and broker networks was
similar in nature to that of RFC’s, with the following notable differences:

            •   Different underwriting/exceptions process, mostly managed by brick and mortar
                retail operations across the country.153

            •   As noted above, GMAC Mortgage’s Underwriting guidelines were structured more
                around GSE standards and conforming products rather than the more exotic, high
                yield products that came through RFC.154



148   Carpenter Lipps Presentation on ResCap PLS Overview, dated Jan. 30, 2013, at EXAM00234435
      [EXAM00234431].
149   GMAC Mortgage conducted origination in this channel through retail branches, the internet and telephone
      operations. Through their servicing platform, GMAC Mortgage was able to originate loans by refinancing
      borrower’s mortgage loans. See Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 4.
150   Through this network, mortgage brokers served as liaisons between GMAC Mortgage and borrowers. A
      mortgage broker assisted in identifying potential borrowers, compiled necessary information/documents and
      completed the loan application. GMAC Mortgage was responsible for underwriting, setting the interest rate
      and funding the loan. See id.
151   Correspondent lenders closed and funded their own loan originations, and subsequently sold the loans to
      GMAC Mortgage. Larger correspondent lenders were known as institutional lenders. These sales could take
      the form of bulk acquisitions. See id.
152   GMAC Mortgage often sold loans it originated or acquired to Ally Bank for a holding period. Pursuant to the
      MMLPSA, Ally Bank subsequently sold these loans, along with other loans it had originated and acquired,
      back to GMAC Mortgage prior to sale or securitization by GMAC Mortgage. See Memorandum, GMAC
      Mortgage to GMAC Bank Loan Transfer SAB99 Review, dated Jan. 6, 2009, at 1–2 [EXAM12042904]. For
      a more in depth discussion of the relationship between Ally Bank and GMAC Mortgage, see Section V.B.1.b.
      To take advantage of Ally Bank’s lower cost of funds, sales of these loans were conducted through a standard
      client correspondent agreement under Regulation W of section 23 of the Federal Reserve Act. Under
      exemption 250.250, Ally Bank was permitted to purchase up to 50% of GMAC Mortgage’s loan production
      in a 12 month period. See Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 29.
153   Carpenter Lipps Presentation on ResCap PLS Overview, dated Jan. 30, 2013, at EXAM00234457
      [EXAM00234431].
154   Id.

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                        (b) GMAC Mortgage Securitization

     The process of mortgage securitization was similar in nature to that of RFC’s, with the
following notable differences:

            •   RFC, through the Structured Finance Group, would structure the transactions (i.e.,
                deciding on senior/subordinate, credit enhancement, utilizing bond insurers, etc.),
                while GMAC Mortgage relied more upon third-party underwriters for this
                process.155

            •   GMAC Mortgage issued different representations and warranties than RFC (e.g., it
                did not use an underwriting representation and warranty in second lien deals and
                usually did not make any fraud representations and warranties).156

            •   GMAC Mortgage’s PLS often had different structures such as, inter alia, a revolving
                structure which enabled them to add loans after the deal closed by using proceeds,
                from the initial sale of the RMBS, to purchase the additional loans.157

C. ANALYSIS OF CLAIMS

      1. Choice Of Law

     A comprehensive choice-of-law analysis with respect to each of the Third-Party Claims
would not have been practicable because of the number of relevant actions pending in
different state and federal courts. The relevant choice-of-law questions are complicated by:
(1) numerous states of incorporation and principal places of business of the plaintiffs and
defendants; (2) varying locations of the subject transactions; and (3) differing choice-of-law
rules for various venues and causes of action.158 Accordingly, unless otherwise noted, the
Examiner has analyzed Third-Party Claims issues under New York and Second Circuit law.
This approach was appropriate given that the RMBS Actions, which as noted above are the




155   Id. at EXAM00234458.
156   Id.
157   Id.
158   See Debtors’ Omnibus Response to Third-Party Submissions, dated Dec. 18, 2012, at 46 n.48 (“The PLS
      Investors’ claims present choice-of-law issues given the varying residences of the investors, the Debtors and
      the varying locations of the subject transactions. Nonetheless, for purposes of this submission, the Debtors
      will look to the law of New York as setting forth the basic factors applicable to common-law fraud claims.”).

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most significant actions in monetary terms, are pleaded under New York and Second Circuit
law159 and the agreements governing the Debtors’ securitization transactions typically
designate New York law as controlling.160

     New York courts generally enforce choice-of-law provisions.161 However, choice-of-law
provisions that specify a contract will be governed by a certain body of law do “not
dispositively determine the law which will govern a tort claim arising incident to a
contract.”162 Generally, “tort claims are outside the scope of contractual choice of law
provisions” unless the “express language of the provision [is] ‘sufficiently broad’ as to
encompass the entire relationship between the contracting parties.”163 Nevertheless, under the
New York “interest analysis,” the New York and Second Circuit law of torts arising incident
to a contract is applied where the underlying facts of the case have “significant contacts” with
New York.164 The Second Circuit has stated that “[i]n all interest analyses, the significant


159   FHFA’s Mem. of Law in Opp. to Def.’s Mot. to Dismiss Am. Compl., FHFA v. Ally Fin. Inc., Case
      No. 11-07010, Docket No. 205, at 14–15, 23–24 (S.D.N.Y. Sep. 7, 2012); AFI’s Mem. of Law in Supp. of
      Mot. to Dismiss Am. Compl., Union Cent. Life Ins. Co. v. Ally Fin. Inc., Case No. 11-02890, Docket
      No. 219, at 2–6 (S.D.N.Y. July 27, 2012); Mem. of Law in Opp. to Def.’s Mot. to Dismiss, N.J. Carpenters
      Health Fund v. Residential Capital, LLC, Case No. 08-08781, Docket No. 194, at 5 (S.D.N.Y. Dec. 3, 2012);
      Pl.‘s Mem. of Law in Opp. to Def.’s Mot. to Dismiss, MBIA Ins. Corp. v. Residential Funding Co., LLC,
      Case No. 603552/2008, Docket No. 08, at 8 (N.Y. Sup. Ct. Feb. 3, 2009); Joint Mem. of Law in Supp. of
      Def.’s Mot. to Dismiss Compl., FDIC v. Chase Mortg. Fin. Co., Case No. 12-6166, Docket No. 70, at 4, 34
      (S.D.N.Y. Nov. 13, 2012). The Non-RMBS Actions have been filed in more diverse jurisdictions, but the
      Examiner has not undertaken an in-depth analysis of the choice of law issues that may arise (if any) in these
      cases.
160   See, e.g., Standard Terms of Pooling and Servicing Agreement, dated Nov. 1, 2006, § 11.02
      [EXAM00234978]; Underwriting Agreement—RALI 2006-Q09, dated Nov. 28, 2006, §12
      [EXAM00234794]; Pooling and Servicing Agreement—RASC 2006-KS3, dated Mar. 1, 2006, § 11.04
      [EXAM00236698]; FGIC Insurance and Indemnity Agreement—RASC 2007-EMX1, dated Mar. 12, 2007, §
      6.04 [EXAM30905047] (providing that “[t]his Insurance Agreement shall be governed by and construed in
      accordance with the laws of the State of New York”); MBIA Insurance Agreement—RFMS 2007-HSA1,
      dated Feb. 27, 2007, § 6.04 [EXAM30412508] (“This insurance agreement shall be governed by and
      construed in accordance with the Laws of the State of New York without regard to choice of law
      provisions.”).
161   See MBIA Ins. Corp. v. Royal Bank of Canada, No. 12238/09, 2010 WL 3294302, at *21 (N.Y. Sup.
      Ct. 2010) (“Choice of law clauses are accorded prima facie validity and are to be enforced absent a strong
      showing that the clause resulted from fraud or overreaching, that it is unreasonable or unfair, or that
      enforcement would contravene some strong public policy of the forum.”) (citation omitted).
162   Krock v. Lipsay, 97 F.3d 640, 645 (2d Cir. 1996) (emphasis omitted); see also Fin. One Pub. Co. Ltd. v.
      Lehman Bros. Spec. Fin., Inc., 414 F.3d 325, 333 (2d Cir. 2005) (“New York courts decide the scope of [a
      contractual choice of law clause] under New York law, not under the law selected by the clause . . . .”).
163   Fin. One Pub. Co. Ltd., 414 F.3d at 335; Krock, 97 F.3d at 645; Winter-Wolff Int’l., Inc. v. Alcan Packaging
      Food & Tobacco Inc., 499 F. Supp. 2d 233, 240 (E.D.N.Y. 2007) (citation omitted) (“[T]he Second Circuit
      surveyed New York cases and found that there were no reported New York state cases where a contractual
      choice-of-law clause was drafted broadly enough to reach tort claims.”).
164   Fin. One Pub. Co. Ltd., 414 F.3d at 337.

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contacts are, almost exclusively, the parties’ domiciles and the locus of the tort,”165 and Third-
Party Claimants are generally New York plaintiffs who have pleaded that “substantial activity
giving rise to the claims . . . occurred within New York County.”166

     Regardless of what law controls in each particular case, in light of the similarities
between the causes of action in the potentially relevant jurisdictions167 and the fact that the
Submission Papers did not raise any significant choice-of-law issues, it seems likely that any
jurisdictional variation among the causes of action will be slight.168 Nonetheless, to ensure




165   Krock, 97 F.3d at 646 (citations omitted).
166   Compl., FGIC v. Residential Funding Co. LLC, Case No. 11-09736, Docket No. 1-1, at 6 (N.Y. Sup. Ct. Dec.
      30, 2011); Compl., MBIA Ins. Corp. v. Ally Fin. Inc., Case No. 12-18889, at 8 (Minn. Dist. Ct. Sept. 17,
      2012); Compl., Assured Guar. Mun. Corp. v. GMAC Mortg., LLC, Case No. 12-03776, Docket No. 1, at 5
      (S.D.N.Y. May 11, 2012); Second Am. Compl., Rothstein v. Ally Fin. Inc., Case No. 12-03412, Docket
      No. 39, at 5 (S.D.N.Y. Jan. 22, 2013).
167   For instance, state blue-sky statutes are typically construed in accordance with federal securities laws. See,
      e.g., Kesling v. Kesling, 546 F. Supp. 2d 627, 636 n.4 (N.D. Ind. 2008) (“The Supreme Court of Indiana
      recently noted that reference to federal authority is often appropriate in interpreting the Indiana Securities
      Act.”); Fenoglio v. Augat, Inc., 50 F. Supp. 2d 46, 59 (D. Mass. 1999) (“These provisions of the
      Massachusetts blue sky law are ‘substantially similar to the federal securities laws and therefore decisions
      construing the federal statutory language are applicable to the state statute as well.’”); Adler v. William
      Blair & Co., 271 Ill. App. 3d 117, 130 (4th Dist. 1995) (“Illinois courts therefore look to Federal case law to
      interpret these provisions.”). Similarly, the elements of fraud and aiding and abetting are substantially similar
      in New York and Minnesota, the two states where such claims have most frequently been brought. Compare
      Eurycleia Partners, L.P. v. Seward & Kissel, LLP, 910 N.E.2d 976, 979 (N.Y. 2009) (under New York law,
      “[t]he elements of a cause of action for fraud require a material misrepresentation of fact, knowledge of its
      falsity, an intent to induce reliance, justifiable reliance by the plaintiff and damages”) (citations omitted), and
      Prickett v. N.Y. Life Ins. Co., No. 09 Civ. 3137, 2012 WL 4053810, at *11 (S.D.N.Y. 2012) (aiding and
      abetting fraud under New York law requires “a primary violation, actual knowledge of the violation on the
      part of the aider and abettor, and substantial assistance”) (citation omitted), with Valspar Refinish, Inc. v.
      Gaylord’s, Inc., 764 N.W.2d 359, 369 (Minn. 2009) (noting that under Minnesota law, fraud requires: (1) a
      false representation of a past or existing material fact susceptible of knowledge; (2) made with knowledge of
      the falsity of representation or made without knowing whether it was true or false; (3) with the intention to
      induce the claimant to act in reliance thereon; (4) that the representation caused the claimant to act in reliance
      thereon; and (5) that the claimant suffered pecuniary damages as a result of the reliance), and Witzman v.
      Lehrman, Lehrman & Flom, 601 N.W.2d 179,187 (Minn. 1999) (outlining that to establish aiding and
      abetting, a plaintiff must show: (1) the primary tortfeasor committed a tort that caused an injury to the
      plaintiff; (2) the defendant knew the primary tortfeasor’s conduct constituted a breach of duty; and (3) the
      defendant substantially assisted or encouraged the primary tortfeasor in the achievement of the breach).
168   The first step in a choice of law analysis “is to determine whether there is an actual conflict between the laws
      of the jurisdictions involved.” In re Allstate Ins. Co., 613 N.E.2d 936, 937 (1993). An actual conflict is
      present “[w]here the applicable law from each jurisdiction provides different substantive rules.” Curley v.
      AMR Corp., 153 F.3d 5, 12 (2d Cir. 1998). If the laws of the relevant jurisdictions are substantively the same,
      a court may avoid the choice of law analysis. See id. (citing J. Aron & Co. v. Chown, 231 A.D.2d 426, (N.Y.
      App. Div. 1996) (“It is only when it can be said that there is no actual conflict that New York will dispense
      with a choice of law analysis.”)).

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consideration of all relevant issues, the Examiner’s Professionals have noted legal
developments in other potentially relevant jurisdictions where appropriate.169

      2. RMBS Claims

     The RMBS Claims appear to fall into two broad categories: (1) claims by the financial
guaranty (i.e., monoline) companies that insured various of the Debtors’ RMBS offerings (the
“RMBS Insurer Claims”); and (2) claims by purchasers of RMBS, including private and
public investors (the “RMBS Investor Claims”). The RMBS Insurer Claims typically allege
fraud and/or breach of contractual representations and warranties contained in the insurance
and RMBS documentation.170 The RMBS Investor Claims typically allege material
misrepresentations and omissions in connection with the sale of RMBS in violation of state
and federal securities laws, as well as state common law.171

               a. Claims Against AFI

     A variety of Third-Party Claimants either have asserted or may assert claims against AFI
seeking to impose liability on it for underlying RMBS Claims asserted against one or more of
the Debtors and/or Ally Securities. Such claims are premised upon one of three principal
theories of liability: (1) piercing the corporate veil of the Debtors to hold AFI liable for
underlying claims asserted against those Debtors; (2) “control person” claims seeking to hold
AFI liable under federal or state securities laws for alleged primary securities law violations
by the Debtors and/or Ally Securities in connection with the issuance of RMBS; and
(3) common law aiding and abetting claims to hold AFI liable for alleged fraud or fraudulent
inducement by the Debtors and/or Ally Securities in connection with their issuance of RMBS
or their procurement of financial guaranty insurance for RMBS.

      Because each of those theories of liability requires Third-Party Claimants to prove an
underlying claim against one or more of the Debtors or Ally Securities, and as noted above
definitive conclusions as to the likelihood of success of those underlying claims are beyond
the scope of the Investigation, the Examiner does not reach definitive conclusions as to the
ultimate merits of theories seeking to impose those unproven liabilities on AFI. With those
necessary limitations, the Examiner reaches certain factual and legal conclusions as to the
RMBS claims that have been or may be asserted against AFI under those three theories of
liability.

     First, the Examiner concludes it is unlikely that any pending or potential claims by Third-
Party Claimants seeking to hold AFI liable on a veil-piercing or alter ego theory of liability for
169   Other potentially relevant jurisdictions include Delaware (the Debtors’ place of organization), Minnesota (the
      Debtors’ place of business), Michigan (AFI’s place of business), and Utah (Ally Bank’s place of
      organization).
170   See, e.g., Compl., FGIC v. Ally Fin., Inc., Case No. 12-01601, Docket No. 1 (S.D.N.Y. Mar. 5, 2012); Am.
      Compl., MBIA Ins. Corp. v. Residential Funding Co., LLC, Case No. 603552/2008, Docket No. 28 (N.Y.
      Sup. Ct. Mar. 19, 2010).
171   See, e.g., Compl., John Hancock Life Ins. Co. v. Ally Fin. Inc., Case No. 12-01841, Docket No. 1 (D. Minn.
      July 27, 2012); Am. Compl., FHFA v. Ally Fin. Inc., Case No. 11-07010 (S.D.N.Y. June 12, 2012).

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RMBS Claims asserted against the Debtors would prevail. For the reasons explained above,
the Examiner has concluded that a potential veil-piercing claim asserted on behalf of the
Debtors to hold AFI liable for all of those Debtors’ debts is unlikely to prevail.172 Veil-
piercing claims asserted by Third-Party Claimants would be governed by the same applicable
Delaware law and would face many of the same legal and factual hurdles as a potential veil-
piercing claim asserted on behalf of the Debtors.

      Moreover, any veil-piercing claim asserted by Third-Party Claimants seeking to hold AFI
liable for RMBS Claims against the Debtors would face the additional hurdle of standing.
Delaware law recognizes the existence of a claim of an entity to pierce its own corporate veil
and that such claim constitutes property of the bankruptcy estate. Accordingly, an individual
creditor lacks standing to assert veil-piercing claims against the shareholders of the debtor
unless its alleged injury is peculiar and personal to that creditor or a group of creditors (rather
than general and common to the debtor and all creditors). Third-Party Claimants seeking to
hold AFI liable for underlying RMBS Claims against the Debtors would appear vulnerable to
such a standing defense because their alleged injury—that the Debtors are insolvent and
cannot satisfy any judgment that may be obtained—may be deemed to be “generalized” in
nature and common to all creditors.

     Second, with respect to “control person” claims asserted against AFI under federal or
state securities laws, several such claims—although not all—have survived motions to
dismiss. Although the case law in this area continues to develop, several courts have found
allegations that a parent company exercised direction and control over a vertically integrated
structure of wholly owned subsidiaries that issued RMBS to be sufficient to plead that the
parent was a “controlling person” of the subsidiaries and the alleged primary securities law
violators. Of course, even if Third-Party Claimants succeed at the pleading stage in alleging
“control,” it does not necessarily mean they would succeed in proving their claims. While a
close question, the Examiner concludes that it is more likely than not that a court would not
find the requisite control by AFI over the alleged primary securities violators.

     The totality of the evidence indicates that it would be difficult to prove the necessary
degree of control during the relevant time period of 2004–2007. The Investigation has not
uncovered evidence that AFI—notwithstanding the existence of overlapping officers and
directors and certain shared corporate functions and services—had any direct involvement in
any of the Debtors’ securitizations. Moreover, even if Third-Party Claimants were to succeed
in proving a prima facie case for control person liability, certain of those securities claims
appear subject to potential affirmative defenses. For example, certain of the securities claims
asserted by Third-Party Claimants—including in particular certain claims under the Minnesota
Securities Act—may be susceptible to a defense that they are time-barred by the applicable
statutes of limitations and/or repose.

     Third, with respect to common law aiding and abetting fraud claims asserted against AFI,
Third-Party Claimants in general face higher pleading standards and burdens of proof than
many of the claims asserted under state and federal securities laws. Despite the need to plead
172   See Section VII.A.1.

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with particularity to meet those standards, aiding and abetting fraud claims asserted by one of
the Third-Party Claimants have to date survived the pleading stage and proceeded to
discovery. That said, the Investigation has revealed no evidence that supports the assertion
that AFI provided substantial assistance to the conduct alleged to give rise to Third-Party
Claimants’ common law fraud claims. The available evidence does not indicate that AFI had
any direct involvement in any of the securitizations at issue that could be considered the
proximate cause of the Debtors’ alleged fraud. Evidence concerning the financial support that
AFI provided to the Debtors and the corporate functions and services shared with AFI is not
likely to suffice. Not only is such general assistance to the Debtors’ businesses unlikely to be
deemed the proximate cause of the Debtors’ alleged fraud, but much of that assistance came
after the Debtors ceased private label securitizations in 2007. Subject to discovery of
contradictory facts, such evidence is unlikely to be enough to hold AFI liable for the alleged
fraud of its subsidiaries.

                    (1) Piercing The Corporate Veil And Alter Ego Claims

      The Examiner concludes it is unlikely that any pending or potential claims by Third-
Party Claimants seeking to hold AFI liable on a veil-piercing or alter ego theory of liability for
RMBS Claims asserted against the Debtors would prevail. The Examiner applies Delaware
law—the law of the jurisdiction of organization of each of AFI, GMAC Mortgage Group,
LLC, ResCap, GMAC Mortgage, and RFC—to any such veil-piercing claim.173 Courts do not
lightly pierce the corporate veil.174 Under Delaware law, a successful veil-piercing claim
would require proof both that: (1) the defendant Debtors and AFI “operated as a single
economic entity”; and (2) an “overall element of injustice or unfairness is present.”175 In the
context of assessing potential veil-piercing claims that could be asserted on behalf of the
Debtors against AFI, the Examiner concludes that the evidence does not support the
proposition that the Debtors and AFI should be considered a single economic entity.176 That
same evidence alone makes unlikely to prevail any claims asserted by Third-Party Claimants
seeking to pierce the corporate veil of the Debtors to impose liability upon AFI.


173   See Section VII.A.1.a.
174   See BASF Corp. v. POSM II Props. P’ship, No. 3608, 2009 Del. Ch. LEXIS 33, at *32 n.50 (Del. Ch. Mar. 3,
      2009) (“[P]ublic policy does not lightly disregard the separate legal existence of corporations.”); Official
      Comm. of Unsecured Creditors v. Bay Harbour Master Ltd. (In re BH S&B Holdings LLC), 420 B.R. 112,
      133 (Bankr. S.D.N.Y. 2009) (“In general, the corporate form is sacrosanct and courts will not disturb it to
      hold shareholders of a corporation, or members of an LLC, liable.”).
175   In re BH S&B Holdings LLC, 420 B.R. at 133–34 (quotation marks omitted); see also NetJets Aviation, Inc.
      v. LHC Commc’ns, LLC, 537 F.3d 168, 177 (2d Cir. 2008).
176   See Section VII.A.1. To reach that conclusion, the Examiner considered evidence including without
      limitation concerning each of the following factors: “(1) undercapitalization, (2) failure to observe corporate
      formalities, (3) nonpayment of dividends, (4) insolvency of the debtor corporation at the time, (5) siphoning
      off of the corporation’s funds by the dominant parent, (6) absence of corporate records, and (7) the fact that
      the corporation is merely a facade for the operations of the dominant parent.” In re BH S&B Holdings LLC,
      420 B.R. at 134; see also NetJets Aviation, Inc., 537 F.3d at 176–77.

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      Even assuming arguendo that Third-Party Claimants were to prevail on their underlying
claims against the Debtors and then prove that the Debtors and AFI should be considered a
single economic entity, each of Third-Party Claimants would still need to prove that it had
suffered the requisite “injustice or unfairness.” That “fraud or inequity ‘must be found in the
defendants’ use of the corporate form.’”177 Neither the “[t]he underlying cause of action”178
nor “the possibility that a plaintiff may have difficulty enforcing a judgment”179 suffices. The
Investigation has revealed evidence inconsistent with the assertion by Third-Party Claimants
that theirs is the type of “typical situation” where “fraud or injustice” may warrant piercing the
corporate veil when a subsidiary becomes unable to satisfy its creditors either because it was
undercapitalized at formation or later siphoned of its assets.180 Although the Examiner has
concluded that ResCap was left with unreasonably small capital and balance sheet insolvent
from August 15, 2007 and December 31, 2007, respectively, the available evidence indicates
that the primary drivers of that inadequacy of capital and insolvency were ResCap’s
substantial operating losses reported beginning in the fourth quarter of 2006—not any conduct
of AFI.181 In light of that evidence, the Examiner expects that it would be difficult for Third-
Party Claimants to prove that AFI used the Debtors as an “incorporated pocketbook”182 or for
“some sort of elaborate shell game.”183
177   Soroof Trading Dev. Co. LTD v. GE Microgen, Inc., Civ. No. 10-1391, 2012 U.S. Dist. LEXIS 67736, at *27
      (S.D.N.Y. May 11, 2012) (quoting Trevino v. Merscorp, Inc., 583 F. Supp. 2d 521, 530 (D. Del. 2008)); see
      also In re BH S&B Holdings LLC, 420 B.R. at 133 (“There must be an abuse of the corporate form to effect a
      fraud or an injustice–some sort of elaborate shell game.”) (quotation marks omitted).
178   NetJets Aviation, Inc., 537 F.3d at 183 (“To hold otherwise would render the fraud or injustice element
      meaningless.”) (quotation marks omitted); see also Mobil Oil Corp. v. Linear Films, Inc., 718 F. Supp. 260,
      268 (D. Del. 1989) (explaining that although “[a]ny breach of contract and any tort – such as patent
      infringement – is, in some sense, an injustice,” “[t]he underlying cause of action does not supply the
      necessary fraud or injustice”).
179   Trevino, 583 F. Supp. 2d at 530 (allegation that subsidiary was “ill-equipped to handle potential liability
      arising from this action” not sufficient to allege necessary “injustice”) (quotation marks omitted); see also
      Secured Sys. Tech., Inc. v. Frank Lill & Son, Inc., Civ. No. 08-6256, 2012 U.S. Dist. LEXIS 141845, at *14
      (W.D.N.Y. Oct. 1, 2012) (“[T]he required ‘fraud or injustice’ is not established merely because the
      alleged-subsidiary corporation may now be judgment proof.”) (applying Delaware law).
180   Official Comm. of Unsecured Creditors of Sunbeam Corp. v. Morgan Stanley & Co., Inc. (In re Sunbeam
      Corp.), 284 B.R. 355, 368 (Bankr. S.D.N.Y. 2002) (explaining that “the corporate form was used to effect a
      fraud or injustice” where “an entity completely controls an undercapitalized subsidiary or affiliate and,
      through that dominance, causes the underfunded-controlled entity to engage in inequitable conduct” and then
      “shields itself from liability behind the facade of the shell corporation”).
181   See Section VII.A.1.f(1)(b).
182   See Tese-Milner v. TPAC, LLC (In re Ticketplanet.com), 313 B.R. 46, 70 (Bankr. S.D.N.Y. 2004).
183   See Official Comm. of Unsecured Creditors v. Bay Harbour Master Ltd. (In re BH S&B Holdings LLC), 420
      B.R. 112, 133 (Bankr. S.D.N.Y. 2009) (quotation marks omitted). The Examiner reaches no definitive
      conclusions as to the likelihood that any of the Third-Party Claimants, if they were to prevail on an
      underlying claim against the Debtors and prove that the Debtors and AFI should be considered a single
      economic entity, could then succeed in proving the requisite “injustice or unfairness.” Addressing such a
      hypothetical would require an assessment of the Third-Party Claimants’ individual facts and circumstances
      and the particular theory or theories of “injustice or unfairness” asserted thereby.

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       The Examiner has identified ten pending RMBS Actions where a Third-Party Claimant
seeks to hold AFI liable on a veil-piercing or alter ego theory of liability.184 FGIC is the
plaintiff in each of those actions, which are pending in the U.S. District Court for the Southern
District of New York.185 FGIC asserts that its claims “arise from certain financial guaranty
insurance policies . . . issued by FGIC in connection with several securitization transactions
. . . sponsored by [the Debtors].”186 FGIC’s claims include causes of action against certain of
the Debtors for “fraudulent inducement of FGIC’s participation in the [t]ransactions” and
“material breaches of their insurance agreements.”187 FGIC seeks to hold AFI liable for the
Debtors’ alleged fraud and breach of contract in part on the theory that AFI and the Debtors
“were and continue to be alter egos of each other.”188 To date, each of the ten actions brought
by FGIC remains stayed by Order of the Bankruptcy Court.189

     For the same reasons set forth above that the Examiner concludes it is unlikely that any
veil-piercing claims asserted by Third-Party Claimants seeking to hold AFI liable for RMBS
Claims against the Debtors would prevail, the Examiner concludes it is unlikely that the
particular veil-piercing claims asserted by FGIC would prevail. Moreover, and as explained
further below, the Examiner concludes it is likely that a defense that FGIC lacks standing to
assert its alleged veil-piercing claims against AFI would prevail. Although the law is unsettled
as to whether a veil-piercing claim asserted by a creditor against a shareholder of a debtor is
“peculiar” or “personal” to that creditor or a group of creditors—and therefore not property of
the estate—a court would likely consider FGIC’s veil-piercing allegations “generalized” in
nature. Absent allegations that the conduct that warrants piercing the corporate veil is at least
in part the same conduct that directly harmed the plaintiff (rather than indirectly harmed the
plaintiff by rendering the Debtors judgment proof), any future veil-piercing claim brought by
other Third-Party Claimants seeking to hold AFI liable for RMBS Claims against the Debtors
would appear vulnerable to the same defense.
184   See Am. Compl., FGIC v. Ally Fin. Inc., Civ. No. 11-09729, Docket No. 29 (S.D.N.Y. Mar. 30, 2012);
      Compl., FGIC v. Ally Fin., Inc., Civ. No. 12-00338, Docket No. 1 (S.D.N.Y. Dec. 27, 2011); Compl., FGIC
      v. Ally Fin., Inc., Civ. No. 12-00339, Docket No. 1 (S.D.N.Y. Dec. 27, 2011); Compl., FGIC v. Ally Fin.,
      Inc., Civ. No. 12-00340, Docket No. 1 (S.D.N.Y. Dec. 27, 2011); Compl., FGIC v. Ally Fin., Inc., Civ.
      No. 12-00341, Docket No. 1 (S.D.N.Y. Dec. 15, 2011); Compl., FGIC v. Ally Fin., Inc., Civ. No. 12-00780,
      Docket No. 1 (S.D.N.Y. Jan. 31, 2012); Compl., FGIC v. Ally Fin., Inc., Civ. No. 12-01658, Docket No. 1
      (S.D.N.Y. Mar. 6, 2012); Compl., FGIC v. Ally Fin., Inc., Civ. No. 12-01860, Docket No. 1 (S.D.N.Y.
      Mar. 13, 2012); Compl., FGIC v. Ally Fin., Inc., Civ. No. 12-01601, Docket No. 1 (S.D.N.Y. Mar. 5, 2012);
      Compl., FGIC v. Ally Fin., Inc., Civ. No. 12-01818, Docket No. 1 (S.D.N.Y. Mar. 12, 2012).
185   See id. FGIC also asserts RMBS Insurer Claims against certain of the Debtors (but not AFI) in two other
      actions pending in the U.S. District Court for the Southern District of New York. See Compl., FGIC v.
      Residential Funding Co. LLC, Civ. No. 11-09736, Docket No. 1 (S.D.N.Y. Nov. 29, 2011); Compl., FGIC v.
      Residential Funding Co. LLC, Civ. No. 11-09737, Docket No. 1 (S.D.N.Y. Nov. 29, 2011).
186   FGIC Submission Paper, dated Oct. 17, 2012, at 2.
187   Id.
188   Id. The Examiner below assesses the aiding and abetting fraud claims asserted against AFI by certain Third-
      Party Claimants including FGIC. See Section VIII.C.2.a(3).
189   See Stipulation and Order with Respect to Debtors’ Motion to Extend the Automatic Stay or, in the
      Alternative, for Injunctive Relief [Case No. 12–01671; Docket No. 90].

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                        (a) Standing To Pursue Veil-Piercing Claims

                               (i) Legal Principles

        Delaware law recognizes the existence of a claim of an entity to pierce its own corporate
veil.190 Moreover, such a veil-piercing claim “constitutes property of the debtor corporation,
and the debtor-in-possession or bankruptcy trustee, rather than individual creditors, has
exclusive standing to assert the claim.”191 That a debtor may possess a potential claim to
pierce its own corporate veil does not necessarily divest a creditor of standing to assert a claim
outside of the bankruptcy seeking to pierce the corporate veil of the debtor and recover from a
shareholder.192 “In determining whether a [veil-piercing] claim should be brought [on behalf
of the debtor] or by the individual creditors, the court must consider whether the injury alleged
is peculiar and personal to the claimant or is general and common to the corporation and
creditors.”193

    An individual creditor possesses “standing to maintain [a veil-piercing] cause of action”
where the claim is “peculiar and personal” to that creditor rather than “general and common to




190   See Section VII.A.1.b.
191   See Kalb, Voorhis & Co. v. Am. Fin. Corp., 8 F.3d 130, 131 (2d Cir. 1993); see also Duke Energy Trading
      and Mktg., LLC v. Enron Corp. (In re Enron Corp.), Adv. No. 02-3609A, 2003 Bankr. LEXIS 330, at *11
      (Bankr. S.D.N.Y. Apr. 17, 2003) (“[T]he trustee or debtor-in-possession would have exclusive standing to
      maintain a Delaware corporation’s alter ego claim of a general nature.”).
192   See Kalb, Voorhis & Co. v. Am. Fin. Corp., Civ. No. 92-7754, 1993 U.S. Dist. LEXIS 6558, at *20 n.1
      (S.D.N.Y. May 14, 1993) (“[S]ome veil piercing claims may be specific to individual creditors.”), aff’d, 8
      F.3d 130 (2d Cir. 1993); see also Sec. Investor Prot. Corp. v. Bernard L. Madoff Inv. Sec. LLC (In re
      Bernard L. Madoff), 429 B.R. 423, 433 (Bankr. S.D.N.Y. 2010) (“[I]t is possible for a bankruptcy estate and
      a creditor to own separate claims against third parties arising out of the same general conduct.”).
193   Labarbera v. United Crane and Rigging Servs., Inc., Civ. No. 08-3274, 2011 U.S. Dist. LEXIS 20939, at *16
      (E.D.N.Y. Mar. 2, 2011); see also Levey v. Sys. Div., Inc. (In re Teknek LLC), 563 F.3d 639, 647 (7th Cir.
      2009) (“To determine whether an action accrues individually to a claimant or generally to a corporation,
      then, we must look to the injury for which relief is sought. We must consider whether that injury is ‘peculiar
      and personal to the claimant or general and common to the corporation and creditors.’”) (quoting Koch
      Refining v. Farmers Union Cent. Exch., Inc., 831 F.2d 1339, 1349 (7th Cir. 1987)); St. Paul Fire and Marine
      Ins. Co v. PepsiCo, Inc., 884 F.2d 688, 701 (2d Cir. 1989) (“If a claim is a general one, with no particularized
      injury arising from it, and if that claim could be brought by any creditor of the debtor, the trustee is the
      proper person to assert the claim, and the creditors are bound by the outcome of the trustee’s action.”); Flake
      v. Alper Holdings USA, Inc. (In re Alper Holdings USA, Inc.), 398 B.R. 736, 759 (S.D.N.Y. 2008) (claim to
      pierce debtor’s corporate veil is “property of the estate” where it is “general to the corporation rather than
      personal to the creditors”); Duke Energy Trading and Mktg., LLC, 2003 Bankr. LEXIS 330 at *11-12 (“What
      must be considered is whether the injury alleged is peculiar and personal to the claimant or is general and
      common to the corporation and creditors.”).

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the [debtor] and creditors.”194 “A cause of action is considered ‘personal’ if there is injury to
only one or a select group of specific creditors, and other creditors have no interest in the
action.”195 “For example, where the debtor and its corporate shareholder falsely hold
themselves out to some creditors but not to others as being a single entity rather than two
distinct corporations, a veil piercing claim intended to hold the shareholder liable for the
debtor’s debts could be deemed specific to the creditors misled into believing that the two
corporations are a single entity.”196

     “Where the harm suffered by the claimant is no different than the harm suffered by other
creditors, the action belongs to the trustee or debtor-in-possession.”197 “The injury [to the
194   Duke Energy Trading and Mktg., LLC, 2003 Bankr. LEXIS 330, at *11–12, 26 (granting motion to dismiss
      creditor’s “general [veil-piercing] claim that similarly affects all of the creditors of the respective Debtors’
      estates”); see also Hamilton v. Am. Corrective Counseling Servs., Inc., Civ. No. 05-434, 2009 U.S. Dist.
      LEXIS 30753, at *13 (N.D. Ind. Apr. 8, 2009) (“The plaintiffs’ alter ego claims are based on a particularized
      injury, not a generalized injury common to all creditors and the corporation, so their claims aren’t the
      property of the bankruptcy estate.”); Trustees of the Bricklayers Local 7 Pension Trust v. Stileitaliano Int’l,
      Civ. No. 04-952, 2004 U.S. Dist. LEXIS 15928, at *13 (N.D. Cal. Aug. 6, 2004) (“Plaintiffs have adequately
      plead a sufficiently particularized injury to confer upon them standing to bring this [veil-piercing] claim.”);
      Variable-Parameter Fixture Dev. Corp. v. Morpheus Lights, Inc., 945 F. Supp. 603, 608 (S.D.N.Y. 1996)
      (declining to extend automatic stay to creditor’s veil-piercing claims that alleged “a ‘particularized injury’
      and hence . . . are not property of the bankruptcy estate”). In Steinberg v. Buczynski, the Seventh Circuit
      described this use of the terms “personal” and “general” as “not an illuminating usage.” See 40 F.3d 890, 893
      (7th Cir. 1994); see also Highland Capital Mgmt. LP v. Chesapeake Energy Corp. (In re Seven Seas
      Petroleum Inc.), 522 F.3d 575, 588 (5th Cir. 2008) (“We agree with Judge Posner . . . . These terms are
      perhaps best understood as descriptions to be applied after a claim has been analyzed to determine whether it
      is properly assertable by the debtor or creditor, and not as a substitute for the analysis itself.”). “The point is
      simply that the trustee is confined to enforcing entitlements of the corporation. . . . [T]here is a difference
      between a creditor’s interest in the claims of the corporation against a third party, which are enforced by the
      trustee, and the creditor’s own direct–not derivative–claim against the third party, which only the creditor
      himself can enforce.” Steinberg, 40 F.3d at 893.
195   Mannucci v. Cabrini Med. Ctr. (In re Cabrini Med. Ctr.), Bankr. Case. No. 09-14398, 2012 Bankr. LEXIS
      2747, at *29 (Bankr. S.D.N.Y. June 15, 2012), aff’d, In re Cabrini Med. Ctr., Civ. No. 12-6661, 2012 U.S.
      Dist. LEXIS 180896 (S.D.N.Y. Dec. 20, 2012); see also Highland Capital Mgmt. LP, 522 F.3d at 588
      (“We . . . wish to dispel any notion that a claim belongs to the estate or is otherwise only assertable by the
      trustee merely because it could be brought by a number of creditors, instead of just one.”).
196   Kalb, Voorhis & Co., 1993 U.S. Dist. LEXIS 6558 at *20 n.1; see also Autobacs Strauss, Inc. v. Autobacs
      Seven Co. (In re Autobacs Strauss, Inc.), 473 B.R. 525, 555–56 (Bankr. D. Del. 2012) (rejecting argument
      that creditor “failed to allege any particularized harm” and lacked standing to assert veil-piercing claim
      where creditor alleged that it was “fraudulently induced by [parent defendants] to endorse the . . . Plan [of
      reorganization of the subsidiary]”).
197   Duke Energy Trading and Mktg., LLC v. Enron Corp. (In re Enron Corp.), Adv. No. 02-3609A, 2003 Bankr.
      LEXIS 330, at *12 (Bankr. S.D.N.Y. Apr. 17, 2003); see also Labarbera, 2011 U.S. Dist. LEXIS 20939, at
      *22 (“[A]n alter ego claim is general where the allegations supporting the claim were suffered by all other
      creditors, thus making the alter ego claim available to all creditors.”); In re Eagle Enters., Inc., 265 B.R. 671,
      678 (Bankr. E.D. Pa. 2001) (“Appellants’ alter ego theory is predicated on USA Waste’s alleged domination
      of debtors and disregard of their separate corporate existence. Any creditor could seek to impose liability on
      USA Waste for debtors’ debts on these allegations. . . . The Bankruptcy Court properly considered
      appellants’ alter ego claim to be property of the estate subject to the automatic stay.”).

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creditor] must be a particular injury that can be traced to the conduct of the entity controlling
the debtor corporation.”198 “If the direct injury stemming from the misuse of the corporate
form and misappropriation of corporate assets is to the controlled entity, and merely reduces
assets available to pay creditors, the cause of action belongs to the corporation.”199
Accordingly, veil-piercing claims alleging that a parent company engaged in “fraudulent
transfer[s]” that resulted in “gross undercapitalization” of a debtor subsidiary have been found
to be “of a generalized nature” and, therefore, property of the estate.200 At least one court,
however, has found that creditors had “standing to bring their alter ego claim” where they
alleged “they were injured in a way that other creditors of [the debtor] were not” because the
debtor’s “undercapitalization was achieved specifically [by the debtor and its alter ego] to
avoid financial obligations to Plaintiffs.”201

     The assertion of a breach of contract or tort claim against the debtor by one creditor,
without more, “fail[s] to distinguish it from [the debtor’s] other creditors” or to give rise to
“standing to assert . . . alter ego/veil piercing claims . . . against [the shareholder of the


198   In re Cabrini Med. Ctr., 2012 Bankr. LEXIS 2747, at *29; see also St. Paul Fire and Marine Ins. Co., 884
      F.2d at 704 (creditor lacked standing to assert veil-piercing claim where alleged injury “was not a particular
      one that can be directly traced to [parent entity’s] conduct” but instead “a secondary effect from harm done to
      [the debtor subsidiary]”).
199   In re Cabrini Med. Ctr., 2012 Bankr. LEXIS 2747, at *30; see also Maney v. Fischer, Civ. No. 96-0561,
      1998 U.S. Dist. LEXIS 4077, at *5 (S.D.N.Y. Mar. 31, 1998) (“Where plaintiffs are harmed because of the
      injury the alter ego does to the controlled corporation, the alter ego claim belongs to the bankruptcy estate.”).
200   See In re Alper Holdings USA, Case No. 07-12148, 2008 Bankr. LEXIS 522, at *20 (Bankr. S.D.N.Y.
      Feb. 25, 2008); see also St. Paul Fire and Marine Ins. Co, 884 F.2d at 704 (affirming dismissal of creditor’s
      veil-piercing claim for lack of standing where “[plaintiff’s] harm is precisely that suffered by all other
      creditors of [debtors]: because [debtors] were used by [the parent company] to preferentially pay off debts
      owed to [the parent], all other creditors . . . fell into disfavored positions”); Mannucci v. Cabrini Med. Ctr.
      (In re Cabrini Med. Ctr.), Civ. No. 12-6661, 2012 U.S. Dist. LEXIS 180896, at *40 (S.D.N.Y. Dec. 20,
      2012) (“[T]he kind of harm alleged by the [complaint] was no different from the harm suffered by the
      unsecured creditors of Cabrini generally, i.e. that due to the diminution of Cabrini’s assets by Missionary
      Sisters, they would not fully recover their claims.”); The Mediators, Inc. v. Manney (In re The Mediators,
      Inc.), Adv. No. 93-2304, 1996 U.S. Dist. LEXIS 7639, at *5, 19 (S.D.N.Y. June 3, 1996) (denying motion to
      dismiss creditors’ committee’s veil-piercing claim asserted against sole shareholder of debtor where the
      “complaint asserts an indirect injury common to every member of the creditors’ committee” and alleged that
      shareholders “misappropriated corporate assets . . . so as to place those assets beyond the reach of creditors
      and enrich themselves at [debtor’s] expense”); Murray v. Miner, 876 F. Supp. 512, 517 (S.D.N.Y. 1995)
      (“The amended complaint avers only that [shareholder] MMAR wasted [debtor’s] assets . . . . Under such
      circumstances, plaintiffs may assert a veil-piercing claim only if the claim has been abandoned by the
      trustee.”); Duke Energy Trading and Mktg., LLC, 2003 Bankr. LEXIS 330, at *15 (granting creditors’
      committee’s motion to dismiss individual creditor’s veil-piercing claim for lack of standing where “[t]he
      conduct described in the Amended Complaint by which various Debtors were allegedly looted and controlled
      by other of the Debtors and which allegedly caused the [individual creditor] to suffer injury is the same
      conduct that allegedly injured all of the other creditors”).
201   Trustees of the Bricklayers Local 7 Pension Trust v. Stileitaliano Int’l, Civ. No. 04-952, 2004 U.S. Dist.
      LEXIS 15928, at *14–15 (N.D. Cal. Aug. 6, 2004).

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debtor].”202 Courts have explained that “all of [the debtor’s] creditors have some contractual
or tortious ground for their individual claims against [the debtor], none of these creditors have
been fully paid as a result of [the debtor’s] insolvency, and all share the same general interest
. . . in [piercing the debtor’s corporate veil to reach the shareholder].”203 Nonetheless, some
courts have allowed a veil-piercing claim against a shareholder of the debtor by one creditor to
proceed where the creditor alleged that the shareholder “directly and actively participated” in
the conduct that gave rise to the claim of that creditor against the debtor.204

     For example, in Variable-Parameter Fixture Dev. Corp. v. Morpheus Lights, Inc., the
U.S. District Court for the Southern District of New York granted the plaintiff’s motion for
discovery sanctions as to a defendant who was the sole shareholder of a debtor, and rejected
the argument that plaintiff’s veil-piercing claim against the shareholder was “generalized” and
“exclusively the property of the debtor.”205 According to the district court, the shareholder’s
202   Kalb, Voorhis & Co. v. Am. Fin. Corp., Civ. No. 92-7754, 1993 U.S. Dist. LEXIS 6558, at *20, 23 (S.D.N.Y.
      May 14, 1993), aff’d, 8 F.3d 130 (2d Cir. 1993); see also Murray, 876 F. Supp. at 513 (denying motion for
      leave to amend to assert veil-piercing claim “that seeks to hold [the shareholder] liable . . . for the contractual
      obligations of [debtors]”); Gosconcert v. Hillyer, 158 B.R. 24, 25, 29 (S.D.N.Y. 1993) (granting motion to
      dismiss creditor’s “action against [controlling shareholder] alleging that she exerted such domination and
      control over [debtor] that the company was a ‘mere instrumentality’ and that, as a result, [the shareholder]
      should be held jointly liable for [debtor’s] breach of contract”; explaining that complaint “contains no
      allegations which uniquely affected Plaintiffs”); In re Cabrini Med. Ctr., 2012 Bankr. LEXIS 2747, at *2,
      *37 (denying “[creditors’] renewed motion to lift the automatic stay to pursue alter ego causes of action
      against the NY Missionary Sisters” to hold that non-debtor corporation liable for breach of “certain deferred
      compensation agreements” entered into by creditors and debtor Cabrini Medical Center; explaining that “the
      alter ego causes of action at issue belong to the Debtor’s estate” because creditors’ allegations “specify no
      direct or particularized injury to [them] from the conduct of the NY Missionary Sisters”); Raytheon Co. v.
      Boccard USA Corp., 369 S.W.3d 626, 628–29 (Tex. Ct. App. 2012) (vacating for lack of standing trial
      court’s judgment where creditor “sued Raytheon Company seeking to hold it liable for a breach of contract
      by Raytheon Company’s former third-tier subsidiary [the debtor] based on the theory of alter ego”).
203   Kalb, Voorhis & Co., 1993 U.S. Dist. LEXIS 6558, at *20, 24; see also Levey v. Sys. Div., Inc. (In re Teknek
      LLC), 563 F.3d 639, 644 (7th Cir. 2009) (“[T]he fact that the underlying harm suffered by [creditor] SDI was
      patent infringement does not, by itself, make [its veil-piercing claim against shareholders of debtor] a claim
      no other creditor could assert. By such logic, all creditors’ claims would be personal to the specific creditor: a
      supplier’s claim for payment on supplies would be deemed personal because no other creditor could claim
      payment for the same supplies; an employee’s claim for his back pay would be personal to the extent that no
      other employee could claim back pay for that employee’s hours worked. If all such claims were ‘personal,’
      no creditor would have to wait in line behind the bankruptcy trustee to assert her claims.”).
204   Variable-Parameter Fixture Dev. Corp. v. Morpheus Lights, Inc., 945 F. Supp. 603, 607 (S.D.N.Y. 1996);
      see also Hamilton v. Am. Corrective Counseling Servs., Inc., Civ. No. 05-434, 2009 U.S. Dist. LEXIS 30753,
      at *12–13 (N.D. Ind. Apr. 8, 2009) (“These plaintiffs assert that as the alter egos of [debtor], the non-case
      debtor defendants directly harmed them by acting as debt collectors through their corporate shells.”);
      MeccaTech, Inc. v. Kiser, Civ. No. 05-570, 2008 U.S. Dist. LEXIS 30829, at *39–40 (D. Neb. Apr. 18, 2008)
      (“A RICO claim, where the shareholders were instrumental in the fraud, provides a case where the injury to
      the creditor is different from a general one which can be brought by any creditor. . . . In this case, [plaintiff]
      MTI has an injury that is distinct from the general creditors in that O’Hara [the sole owner of the debtor], in
      conjunction with Lange, has used [debtor] SGS and ESP LLC, to engage in a pattern of racketeering to harm
      MTI.”).
205   945 F. Supp. at 607.

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“characterization of [plaintiff’s] claims . . . is simply incorrect.”206 Although the plaintiff’s
complaint “does allege that [the shareholder] siphoned assets from [the debtor] and thereby
damaged [the debtor],” the “gist of the claim against [the shareholder]” was instead that “as
the alter ego of [the debtor], [the shareholder directly and actively participated in infringing on
plaintiff’s patent and] caused harm directly to [plaintiff].”207 Accordingly, “[plaintiff’s] alter
ego claims against [the shareholder] do not fall into the category of a ‘generalized alter ego’
claim” and “do not fall within the ambit of the automatic stay.”208

     Certain subsequent decisions have distinguished Variable-Parameter, including on
grounds that, unlike there, “the ‘gist’ of the alter ego claim [at issue was] a general alter ego
claim based upon injuries inflicted on the corporation as a whole.”209 In Labarbera v. United
Crane and Rigging Servs., Inc., for example, the U.S. District Court for the Eastern District of
New York denied plaintiffs’ motion for summary judgment on their “successorship and alter
ego claim” against a non-debtor and dismissed that claim for lack of standing because the
debtor’s “bankruptcy proceedings are ongoing, and Plaintiffs’ claim is the property of
[debtor’s] bankruptcy estate.”210 According to the district court, “case law [including
Variable-Parameter] demonstrates that an alter ego or successorship claim is personal, and
thus can be asserted by an individual creditor, only if the conduct that supports [such] claim is
the same conduct that directly harmed the creditor in the underlying cause of action.”211 By
contrast, in Labarbera the plaintiffs failed to “assert allegations in support of their alter ego
claims that are associated with the underlying harm for which they seek damages.”212
Although plaintiffs asserted that the non-debtor defendant was “in cahoots” with the debtor



206   Id.
207   Id. at 607–08; see also Trustees of the Bricklayers Local 7 Pension Trust v. Stileitaliano Int’l, Civ.
      No. 04-952, 2004 U.S. Dist. LEXIS 15928, at *14 (N.D. Cal. Aug. 6, 2004) (“That some of Plaintiffs’
      allegations could support an alter ego claim brought by another creditor of [debtor] does not mean that
      Plaintiffs are asserting a generalized injury to the corporation for which only the trustee can seek redress.”).
208   Variable-Parameter Fixture Dev. Corp., 945 F. Supp. at 608.
209   In re Landmark Fence Co., Civ. No. 10-00143, 2010 U.S. Dist. LEXIS 130250, at *12–13 (C.D. Cal. Dec. 3,
      2010) (holding that “[plaintiff’s] alter ego claim is a general alter ego claim and belongs to the estate rather
      than to [plaintiffs]” where “[t]he vast majority of this evidence [asserted in support of plaintiff’s alter ego
      claim] relates to activities that affect all creditors equally” and “[o]nly the evidence with respect to the
      falsification of the payroll reports and the policies of underpayment relate directly to [plaintiff’s] injury”);
      see also Ginger Root Office Assocs., LLC v. Farmer (In re Advanced Packaging and Prods. Co.), 426 B.R.
      806, 823 (C.D. Cal. 2010) (“The plaintiff in Variable-Parameter . . . alleged that the president/director
      participated in the infringement in his role as alter ego of the corporation. Here, by contrast, [plaintiff] does
      not connect [the alleged parent company’s] contamination of its property to its alleged role as [the debtor’s]
      alter ego. Rather, [plaintiff] alleges that [the parent] independently acted to contaminate its property; it
      asserts direct claims – not alter ego claims – against [the parent] on this basis.”).
210   Civ. No. 08-3274, 2011 U.S. Dist. LEXIS 20939, at *3, 15 (E.D.N.Y. Mar. 2, 2011).
211   Id. at *19.
212   Id. at *23.

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that avoided ERISA contributions owed to plaintiffs’ pension fund, “there are no allegations in
the complaint that their working ‘in cahoots’ was in any way related to [debtor’s] avoidance of
ERISA contributions.”213

                             (ii) Application To RMBS Claims

      AFI asserts that Third-Party Claimants including FGIC “lack standing” to assert a
veil-piercing claim against AFI and that “such a claim is the property of ResCap’s estate.”214
According to AFI, “[t]he veil-piercing claim that [Third-Party Claimants] . . . would assert is
property of the estate because it is a general veil-piercing claim . . . and not an individual
veil-piercing claim that is particular to one creditor.”215 The Examiner agrees that, as alleged,
FGIC’s veil-piercing claims are likely to be considered “generalized” in nature and to lack any
“particularized injury” stemming from them.216 The Examiner concludes it is likely that a defense
that FGIC lacks standing to assert its alleged veil-piercing claims against AFI would prevail.

     Much of what FGIC alleges in support of its claim that “[AFI], ResCap, and [GMAC
Mortgage] were and continue to be alter egos of each other”217 is consistent with a
veil-piercing claim that “could be brought by any creditor of the debtor.”218 For example,
FGIC alleges that AFI “exercised . . . domination and control over its subsidiaries,” used
“ResCap as an intermediary instrument to achieve its goals,” “shares resources, management
and employees with its subsidiaries,” “considers its mortgage businesses to be ‘units’ of its
business,” and “has consistently been involved in the day-to-day operations of its
subsidiaries.”219 Moreover, FGIC alleges that this “domination and control” by AFI caused




213   Id.
214   AFI Submission Paper, dated Dec. 19, 2012, at 25; see also Debtors Submission Paper, dated Dec. 18, 2012,
      at 13 (“[O]nly the Debtors have standing to bring these claims.”).
215   AFI Submission Paper, dated Dec. 19, 2012, at 25–26 (emphases omitted); see also Debtors Submission
      Paper, dated Dec. 18, 2012, at 12-13, 85.
216   See Duke Energy Trading and Mktg., LLC v. Enron Corp. (In re Enron Corp.), Adv. No. 02-3609A, 2003
      Bankr. LEXIS 330, at *11–12, 26 (Bankr. S.D.N.Y. Apr. 17, 2003) (granting motion to dismiss creditor’s
      “general [veil-piercing] claim that similarly affects all of the creditors of the respective Debtors’ estates”);
      see also St. Paul Fire and Marine Ins. Co v. PepsiCo, Inc., 884 F.2d 688, 701 (2d Cir. 1989).
217   E.g., Am. Compl., FGIC v. Ally Fin. Inc., Civ. No. 11-09729, Docket No. 29, at 94 (S.D.N.Y. Mar. 30,
      2012).
218   St. Paul Fire and Marine Ins. Co, 884 F.2d at 701.
219   E.g., Am. Compl., FGIC v. Ally Fin. Inc., Civ. No. 11-09729, Docket No. 29, at 2–3, 71, 78 (S.D.N.Y.
      Mar. 30, 2012).

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harm to the Debtors.220 To the extent FGIC intends to assert that it suffered particularized
injuries from the “fraudulent inducement” and “breach of [contractual] representations,
warranties, and covenants” it alleges,221 the Examiner is not persuaded that a court would find
such allegations sufficient to give rise to standing.222 FGIC does not allege that those injuries
were the direct result of any abuse of the corporate form.223

     Nor do FGIC’s allegations present a case where a veil-piercing claim might be deemed
“specific to the creditors misled into believing that the two corporations are a single entity”
because “the debtor and its corporate shareholder falsely [held] themselves out to some
creditors [including FGIC] but not to others as being a single entity.”224 FGIC variously
alleges that “at least one” AFI employee was “on a working group list for transactions
involving ResCap subsidiaries that FGIC insured,” that a ResCap employee “communicated
with FGIC regarding rescission requests using an [AFI] email address,” and that FGIC was
“specifically instructed” to send “‘official letters’ regarding several AFI subsidiaries” to
“[AFI’s] internal counsel.”225 FGIC does not, however, allege that AFI or any one or more of
the Debtor defendants ever represented to FGIC that they were a single entity, or that FGIC



220   See, e.g., Am. Compl., FGIC v. Ally Fin. Inc., Civ. No. 11-09729, Docket No. 29, at 71 (“[AFI] has a
      business relationship with its subsidiaries designed to benefit itself at [their] expense . . . [AFI] treated
      ResCap as an extension of itself, rather than a subsidiary whose dealings were at arm’s length”), 78–79
      (“[AFI]—at least in the view of certain of ResCap’s bondholders—is believed to have stripped assets from its
      subsidiary. . . [AFI] is currently using its subsidiaries’ resources as its own in order to earn favorable ratings
      by credit rating agencies.”) (S.D.N.Y. Mar. 30, 2012). FGIC’s allegations that AFI caused harm to the
      Debtors are not entirely consistent. See id. at 71 (“[AFI] also provided ResCap with liquidity and capital.”);
      id. at 74 (“[AFI] has also agreed to directly pay the losses or expenses of ResCap.”); id. at 76 (“There is also
      substantial evidence that billions of dollars of TARP funds meant to stabilize [AFI] were given to ResCap by
      [AFI].”); id. at 241 (“In addition to the direct financial support [AFI] contributed to ResCap, it was also
      instrumental in obtaining outside investments that flowed directly to its mortgage subsidiaries.”).
221   See, e.g., Am. Compl., FGIC v. Ally Fin. Inc., Civ. No. 11-09729, Docket No. 29, at 83–94 (S.D.N.Y.
      Mar. 30, 2012).
222   See Kalb, Voorhis & Co. v. Am. Fin. Corp., Civ. No. 92-7754, 1993 U.S. Dist. LEXIS 6558, at *20 (S.D.N.Y.
      May 14, 1993) (“Kalb’s contractual claims based on the Debentures fail to distinguish it from Circle K’s
      other creditors: all of Circle K’s creditors have some contractual or tortious ground for their individual claims
      against Circle K, none of these creditors have been fully paid as a result of Circle K’s insolvency, and all
      share the same general interest as Kalb in the alter ego claim alleged in the Complaint.”), aff’d, 8 F.3d 130
      (2d Cir. 1993); see also Levey v. Sys. Div., Inc. (In re Teknek LLC), 563 F.3d 639, 644 (7th Cir. 2009)
      (“[T]he fact that the underlying harm suffered by [creditor] SDI was patent infringement does not, by itself,
      make [its veil-piercing claim against shareholders of debtor] a claim no other creditor could assert.”).
223   See Labarbera v. United Crane & Rigging Servs., Inc., Civ. No. 08-3274, 2011 U.S. Dist. LEXIS 20939, at
      *19 (E.D.N.Y. Mar. 2, 2011) (“[A]n alter ego or successorship claim is personal, and thus can be asserted by
      an individual creditor, only if the conduct that supports the claim is the same conduct that directly harmed the
      creditor in the underlying cause of action.”).
224   See Kalb, Voorhis & Co., 1993 U.S. Dist. LEXIS 6558 at *20 n.1.
225   See, e.g., Am. Compl., FGIC v. Ally Fin. Inc., Civ. No. 11-09729, Docket No. 29, at 78–82 (S.D.N.Y.
      Mar. 30, 2012).

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was misled by such alleged representations.226 To the contrary, FGIC concedes that the
Debtors—and not AFI—were parties to the agreements FGIC entered into in connection with
the disputed transactions.227

     Although the Examiner can reach no definitive conclusions concerning standing to
pursue potential veil-piercing claims, the foregoing analysis of FGIC’s pending claims
suggests that other veil-piercing claims that may be brought by Third-Party Claimants are
likely to be vulnerable to a lack of standing defense.228

                    (2) Control Person Liability Under Federal And State Securities Laws

     The Examiner has identified six pending RMBS Investor Actions where Third-Party
Claimants seek to hold AFI liable as a “control person” under federal and/or state securities
laws for an alleged primary securities law violation by one or more of the Debtors and/or Ally
Securities.229 Those actions are pending in state and federal courts located in Illinois,
226   FGIC’s allegations that AFI “describes its subsidiaries as its own business units” in certain public SEC
      filings and on an AFI website could be asserted by any creditor. See, e.g., Am. Compl., FGIC v. Ally Fin.
      Inc., Civ. No. 11-09729, Docket No. 29, at 78–79 (S.D.N.Y. Mar. 30, 2012). The Examiner has explained
      that his assessment of whether the Debtors and AFI could be deemed a single economic entity does not
      ascribe significant weight to similar allegations that they held themselves out to the public as such. See
      Section VII.A.1.f(4).
227   See, e.g., Am. Compl., FGIC v. Ally Fin. Inc., Civ. No. 11-09729, Docket No. 29, at 28–31 (S.D.N.Y.
      Mar. 30, 2012).
228   The Examiner’s conclusion that a lack of standing defense is likely to prevail against the veil-piercing claim
      asserted by Third-Party Claimant FGIC should not, however, be interpreted as a conclusion that no individual
      creditor or group of creditors could possess standing to hold AFI liable on a veil-piercing theory of liability.
      The potential veil-piercing claim that Wilmington Trust intends to assert on behalf of the Unsecured
      Noteholders, for example, appears to be on a different footing. See Motion of Wilmington Trust, National
      Association, Solely in its Capacity as Indenture Trustee for the Senior Unsecured Notes issued by Residential
      Capital, LLC for an Order Authorizing it to Prosecute Claims and Other Causes of Action on Behalf of the
      Residential Capital, LLC Estate [Docket No. 3475], Ex. B at 69–71. Although Wilmington Trust’s Proposed
      Complaint contains allegations of “asset stripping” that allege harm to ResCap, id. at 60, it further alleges
      that the Unsecured Noteholders suffered a “unique injury” from an alleged breach of the “substantially all”
      covenant in section 11.01 of the 2005 Indenture. See id. at 71. While a close question, the Examiner
      concludes it is more likely than not that a lack of standing defense would not prevail against such an alleged
      veil-piercing claim. As alleged, this “unique injury” could be deemed to have been directly caused by the
      same “asset stripping” allegations alleged to support the Unsecured Noteholders’ veil-piercing theory of
      liability (rather than indirectly caused by such “asset stripping” because it rendered ResCap unable to satisfy
      its debts). See Labarbera, 2011 U.S. Dist. LEXIS 20939, at *19 (“[A]n alter ego or successorship claim is
      personal, and thus can be asserted by an individual creditor, only if the conduct that supports claim is the
      same conduct that directly harmed the creditor in the underlying cause of action.”).
229   See Am. Compl., FHFA v. Ally Fin. Inc., Civ. No. 11-7010, Docket No. 114 (S.D.N.Y. June 13, 2012); Am.
      Compl., FHLB of Boston v. Ally Fin., Inc., Civ. No. 11-10952, Docket No. 180 (D. Mass. June 29, 2012);
      Am. Compl., FHLB of Chicago v. Banc of Am. Funding Corp., Case No. 10-CH-45033 (Ill. Cir. Ct. Apr. 8,
      2011); Am. Compl., John Hancock Life Ins. Co. (U.S.A.) v. Ally Fin. Inc., Civ. No.12-01841, Docket No. 84
      (D. Minn. Oct. 15, 2012); Am. Compl., Stichting Pensioenfonds ABP v. Ally Fin. Inc., Civ. No. 12-01381,
      Docket No. 101 (D. Minn. Oct. 11, 2011); Am. Compl., Union Central Life Ins. Co. v. Ally Fin., Inc., Civ.
      No. 11-02890, Docket No. 146 (S.D.N.Y. May 4, 2012).

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Massachusetts, Minnesota, and New York.230 AFI filed pre-answer motions to dismiss the
control person claims asserted against it in each of those actions.231 To date, Third-Party
Claimants’ control person claims have survived AFI motions to dismiss, in whole or in part, in
two of those six actions.232 According to Third-Party Claimants, those two actions are now “in
the early stages of discovery.”233

     AFI’s motion to dismiss control person claims asserted against it in one of the six actions
was granted and those claims were dismissed without prejudice and with an opportunity to
seek leave to amend.234 AFI’s motions to dismiss remain pending as to the control person




230   See Am. Compl., FHFA v. Ally Fin. Inc., Civ. No. 11-7010, Docket No. 114 (S.D.N.Y. June 13, 2012); Am.
      Compl., FHLB of Boston v. Ally Fin., Inc., Civ. No. 11-10952, Docket No. 180 (D. Mass. June 29, 2012);
      Am. Compl., FHLB of Chicago v. Banc of Am. Funding Corp., Case No. 10-CH-45033 (Ill. Cir. Ct. Apr. 8,
      2011); Am. Compl., John Hancock Life Ins. Co. (U.S.A.) v. Ally Fin. Inc., Civ. No.12-01841, Docket No. 84
      (D. Minn. Oct. 15, 2012); Am. Compl., Stichting Pensioenfonds ABP v. Ally Fin. Inc., Civ. No. 12-01381,
      Docket No. 101 (D. Minn. Oct. 11, 2011); Am. Compl., Union Central Life Ins. Co. v. Ally Fin., Inc., Civ.
      No. 11-02890, Docket No. 146 (S.D.N.Y. May 4, 2012).
231   See Mem. of Law in Supp. of Ally Fin. Inc.’s and GMAC Mortg. Group, Inc’s Mot. to Dismiss the Am.
      Compl., FHFA v. Ally Fin. Inc., Civ. No. 11-7010, Docket No. 149 (S.D.N.Y. July 13, 2012); Defs.’ Mem. of
      Law in Supp. of Their Mot. to Dismiss the Am. Compl., FHLB of Boston v. Ally Fin., Inc., Civ.
      No. 11-10952, Docket No. 200 (D. Mass. Oct. 11, 2012); Defs.’ Joint Mem. of Law in Supp. of Their Joint
      Combined Mot. to Dismiss Pl.’s Am. Compl. for Rescission and Damages, FHLB of Chicago v. Banc of Am.
      Funding Corp., Case No. 10-CH-45033 (Ill. Cir. Ct. June 3, 2011); Mem. in Supp. of the Ally Defs.’ Mot. to
      Dismiss the Am. Compl., John Hancock Life Ins. Co. (U.S.A.) v. Ally Fin. Inc., Civ. No.12-01841, Docket
      No. 104 (D. Minn. Dec. 14, 2012); Mem. in Supp. of the Ally Defs.’ Mot. to Dismiss the Am. Compl.,
      Stichting Pensioenfonds ABP v. Ally Fin. Inc., Civ. No. 12-01381, Docket No. 129 (D. Minn. Mar. 11, 2013);
      Ally Fin. Inc.’s Mem. of Law in Supp. of Mot. to Dismiss the Am. Compl., Union Central Life Ins. Co. v.
      Ally Fin., Inc., Civ. No. 11-02890, Docket No. 219 (S.D.N.Y. July 27, 2012).
232   See FHFA v. Ally Fin., Inc., Civ. No. 11-7010, 2012 U.S. Dist. LEXIS 179768, at *11–15 (S.D.N.Y. Dec. 19,
      2012); Order, FHLB of Chicago v. Banc of Am. Funding Corp., Case No. 10-CH-45033, at 33 (Ill. Cir. Ct.
      Sept. 19, 2012).
233   See Joint Submission Paper of Federal Home Loan Banks of Boston, Chicago, and Indianapolis, dated
      Oct. 19, 2012, at 7.
234   See Order, Union Central Life Ins. Co. v. Ally Fin., Inc., Civ. No. 11-02890, Docket No. 263, at 7 n.7
      (S.D.N.Y. Mar. 29, 2013) (granting plaintiffs opportunity to “file a letter motion to amend which attaches a
      proposed amended complaint within sixty (60) days”).

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claims asserted against it in the other three actions.235 No final judgment has been entered as to
the control person claims in any of these six RMBS Investor Actions.236

      Of those six RMBS Investor Actions, one asserts control person claims against AFI under
section 15 of the Securities Act of 1933 (the “Securities Act”), 15 U.S.C. § 77o.237 One other
of those actions asserts control person claims against AFI under section 20(a) of the Securities
Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. § 78t(a).238 Five of those six actions
assert control person claims against AFI under state securities (sometimes known as “blue
sky”) laws of Illinois (the Illinois Securities Law of 1953 (the “Illinois Securities Law”), 815
Ill. Comp. Stat. Ann. 5/1 et seq.), Massachusetts (the Massachusetts Uniform Securities Act
(the “MUSA”), Mass. Gen. Law. ch. 110A §§ 101 et seq.), Minnesota (the Minnesota
Securities Act, Minn. Stat. §§ 80A.40 et seq.), North Carolina (the North Carolina Securities
Law, N.C. Gen. Stat. §§ 78A-1 et seq.), and/or Virginia (the Virginia Securities Act, Va.




235   See Defs.’ Mem of Law in Supp. of Their Mot. to Dismiss the Am. Compl., FHLB of Boston v. Ally Fin.,
      Inc., Civ. No. 11-10952, Docket No. 200 (D. Mass. Oct. 11, 2012); Mem. in Supp. of the Ally Defs.’ Mot. to
      Dismiss the Am. Compl., John Hancock Life Ins. Co. (U.S.A.) v. Ally Fin. Inc., Civ. No.12-01841, Docket
      No. 104 (D. Minn. Dec. 14, 2012); Mem. in Supp. of the Ally Defs.’ Mot. to Dismiss the Am. Compl.,
      Stichting Pensioenfonds ABP v. Ally Fin. Inc., Civ. No. 12-01381, Docket No. 129 (D. Minn. Mar. 11, 2013).
236   The Examiner has identified one additional RMBS Investor Action that was dismissed with prejudice,
      including the control person claims asserted against AFI under the Minnesota Securities Act. See Order
      Granting Defs.’ Mot. to Dismiss Compl., Huntington Bancshares, Inc. v. Ally Fin. Inc., Case
      No. 27-cv-11-20276 (Minn. Dist. Ct. Dec. 11, 2012).
237   See Am. Compl., FHFA v. Ally Fin. Inc., Civ. No. 11-7010, Docket No. 114, at 124–27 (S.D.N.Y. June 13,
      2012). Certain Third-Party Claimants have asserted section 15 claims against Ally Securities and officers and
      directors of one or more of the Debtors. See Second Am. Compl., N.J. Carpenters Health Fund v. Residential
      Capital, LLC, Civ. No. 08-8781, Docket No. 121, at 98–99 (S.D.N.Y. Jan. 3, 2011); Am. Compl., John
      Hancock Life Ins. Co. (U.S.A.) v. Ally Fin. Inc., Civ. No.12-01841, Docket No. 84, at 330–32 (D. Minn.
      Oct. 15, 2012).
238   See Am. Compl., Union Central Life Ins. Co. v. Ally Fin., Inc., Civ. No. 11-02890, Docket No. 146, at 240–
      43 (S.D.N.Y. May 4, 2012). Third-Party Claimants also assert therein a claim against AFI under
      section 20(b) of the Exchange Act, which provision states that it “shall be unlawful for any person . . . to do
      any act or thing which it would be unlawful for such person to do under the [the Exchange Act] through or by
      means of any other person.” 15 U.S.C. § 78t(b). “There is a dearth of authority construing [s]ection 20(b),
      which has been thought largely superfluous in 10b-5 cases.” Janus Capital Group, Inc. v. First Derivative
      Traders, 131 S. Ct. 2296, 2311 (2011) (Breyer, J., dissenting) (quotation marks omitted). Those “[f]ew
      reported cases [to] discuss the applicability of [s]ection 20(b)” suggest that it requires a showing that a
      “controlling person knowingly used the controlled person to commit the illegal act.” Cohen v. Citibank, N.A.,
      954 F. Supp. 621, 630 (S.D.N.Y. 1996) (quotation marks omitted). The Examiner does not address separately
      section 20(b) of the Exchange Act.

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Code. Ann. §§ 13.1-501 et seq.).239 The Examiner has identified twelve other RMBS Investor
Actions where federal and/or state securities law claims are pending against one or more of
the Debtors and/or Ally Securities, but where, to date, no control person claims have been
asserted against AFI.240
     Control person liability “is a separate inquiry from that of primary liability and provides
an alternative basis of culpability.”241 “Typically, a control person is a parent corporation, the
employer of the primary violator, or a director or officer of the primary violator
corporation.”242 Section 15 and section 20(a) are “roughly parallel control person provisions”
under the federal securities laws.243 “Section 15 [of the Securities Act] imposes joint and
several vicarious liability for violations of §§ 11 and 12 [of that statute] on any person who
‘controls’ the primary violator.”244 “Section 20(a) of the [Exchange] Act imposes joint and
several liability on any person who controls another person who violates [provisions of that
statute including section 10(b)].”245
239   See Am. Compl., FHFA v. Ally Fin. Inc., Civ. No. 11-7010, Docket No. 114, at 130–33 (S.D.N.Y. June 13,
      2012) (Virginia Securities Act); Am. Compl., FHLB of Boston v. Ally Fin., Inc., Civ. No. 11-10952, Docket
      No. 180, at 406–20 (D. Mass. June 29, 2012) (MUSA); Am. Compl., FHLB of Chicago v. Banc of Am.
      Funding Corp., Case No. 10-CH-45033, at 268–92 (Ill. Cir. Ct. Apr. 8, 2011) (Illinois Securities Law and
      North Carolina Securities Act); Am. Compl., John Hancock Life Ins. Co. (U.S.A.) v. Ally Fin. Inc., Civ.
      No.12-01841, Docket No. 84, at 314–18 (D. Minn. Oct. 15, 2012) (Minnesota Securities Act); Am. Compl.,
      Stichting Pensioenfonds ABP v. Ally Fin. Inc., Civ. No. 12-01381, Docket No. 101, at 200–04 (D. Minn.
      Oct. 11, 2011) (Minnesota Securities Act). In Mass. Mut. Life Ins. Co. v. Residential Funding Co., LLC,
      Third-Party Claimants assert a MUSA § 410(b) claim against certain officers and directors of one or more of
      the Debtors—but not against AFI. See First Am. Compl., Civ. No. 11-30035, Docket No. 86, at 77–78 (D.
      Mass. Feb. 29, 2012).
240   See Am. Compl., Cambridge Place Inv. Mgmt., Inc. v. Morgan Stanley & Co., Case No. 10-2741 (Mass.
      Super. Ct. Oct. 14, 2011); Am. Compl., Cambridge Place Inv. Mgmt., Inc. v. Morgan Stanley & Co., Case
      No. 11-0555 (Mass. Super. Ct. Oct. 14, 2011); Second Am. Compl., Charles Schwab Corp. v. BNP Paribas
      Securities Corp., Case No. 10-501610 (Cal. Super. Ct. Apr. 9, 2012); Am. Compl., FDIC v. Bear Stearns
      Asset Back Sec. I, LLC, Civ. No. 12-4000, Docket No. 76 (S.D.N.Y. Oct. 12, 2012); Compl., FDIC v.
      CitiGroup Mortg. Loan Trust Inc., Case No. 12-901036 (Ala. Cir. Ct. Aug. 10, 2012); Am. Compl., FDIC v.
      Chase Mortg. Fin. Co., Civ. No. 12-6166, Docket No. 72 (S.D.N.Y. Aug. 10, 2012); Second Am. Compl.,
      FDIC v. Ally Securities LLC, Case No. 12-2522, Docket No. 91 (Tex. Dist. Ct. Nov. 19, 2012); First Am.
      Compl., Mass. Mutual Life Ins. Co. v. Residential Funding Co., LLC, Civ. No. 11-30035, Docket No. 86 (D.
      Mass. Feb. 29, 2012); First Am. Compl., Nat’l Credit Union Admin. Bd. v. Goldman, Sachs & Co., Civ.
      No. 11-6521, Docket No. 129 (C.D. Cal. Oct. 29, 2012); First Am. Compl., Nat’l Credit Union Admin. Bd. v.
      RBS Securities Inc., Civ. No. No. 11-2340, Docket No. 123 (D. Kan. Aug. 24, 2012); Second Am. Securities
      Class Action Compl., N.J. Carpenters Health Fund v. Residential Capital, LLC, Civ. No. 08-8781, Docket
      No. 121 (S.D.N.Y. Jan. 3, 2011); Am. Compl., W. & S. Life Ins. Co. v. Residential Funding Co., LLC, Case
      No. A1105042 (Ohio Ct. Com. Pl. Sept. 9, 2011).
241   See Suez Equity Investors, LP v. Toronto-Dominion Bank, 250 F.3d 87, 101 (2d Cir. 2001).
242   Kalin v. Xanboo, Inc., 526 F. Supp. 2d 392, 404 (S.D.N.Y. 2007).
243   See Wyo. State Treasurer v. Moody’s Investors Serv., Inc. (In re Lehman Bros. Mortgage-Backed Sec. Litig.),
      650 F.3d 167, 185 (2d Cir. 2011).
244   Iowa Pub. Emps.’ Ret. Sys. v. MF Global, Ltd., 620 F.3d 137, 140 n.3 (2d Cir. 2010).
245   Carr v. Equistar Offshore, Ltd., Civ. No. 94-5567, 1995 U.S. Dist. LEXIS 13703, at *46 (S.D.N.Y. Sept. 20,
      1995).

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     Several state securities laws, including state securities laws relied upon by Third-Party
Claimants, have been described by courts as analogous to provisions of federal securities laws
in certain respects.246 Accordingly, courts applying those state securities laws have looked to
decisions applying federal securities laws for guidance.247 For these reasons, the Examiner
frames his discussion of pending or potential control person claims against AFI in terms of
federal securities laws, with additional discussion of state securities laws where appropriate.

     Whether asserted under section 15 or section 20(a) or the aforementioned provisions of
the securities laws of Illinois, Massachusetts, Minnesota,248 North Carolina, or Virginia,
246   See Capital Ventures Int’l v. J.P. Morgan Mortg. Acquisition Corp., Civ. No. 12-10085, 2013 U.S. Dist.
      LEXIS 19227, at *5 (D. Mass. Feb. 13, 2013) (“These MUSA provisions [including § 410(b)] are modeled
      on similar provisions in the federal [Securities Act], and the Massachusetts legislature has directed courts to
      interpret MUSA in accordance with its federal counterpart.”); Marram v. Kobrick Offshore Fund, Ltd., 809
      N.E.2d 1017, 1025 (Mass. 2004) (“[W]e interpret the [MUSA] in coordination with the Securities Act of
      1933.”); Minneapolis Emps. Retirement Fund v. Allison-Williams Co., 519 N.W.2d 176, 179 (Minn. 1994)
      (“The Minnesota Securities Act is patterned after federal law.”); Hunt v. Miller, 908 F.2d 1210, 1214 n.5 (4th
      Cir. 1990) (“The controlling person provision of the North Carolina Securities Act, § 78A-56(c), has been
      interpreted by reference to federal law.”); Andrews v. Browne, 662 S.E.2d 58, 62 (Va. 2008) (“[T]he Virginia
      Securities Act should receive similar construction as the 1933 and 1934 Acts.”); Atocha Ltd. P’Ship v.
      Witness Tree, LLC, 65 Va. Cir. 213, 225 (Va. Cir. Ct. 2004) (“[T]he VSA [control person] section at issue
      closely tracks . . . § 20(a).”).
247   See Fenoglio v. Augat, Inc., 50 F. Supp. 2d 46, 59 (D. Mass. 1999) (“[D]ecisions construing the federal
      statutory language are applicable to the [MUSA] as well.”) (quotation marks omitted); Marram, 809 N.E.2d
      at 1025 (“[W]e look to Federal decisions under § 12(2) [of the Securities Act], as well as to the plain
      language of the statute and decisions of our appellate courts, for our interpretation of [MUSA § 410(a)(2)].”);
      Stephenson v. Deutsche Bank AG, 282 F. Supp. 2d 1032, 1060 n.22 (D. Minn. 2003) (“The parties agree that
      control-person liability under [the Minnesota Securities Act] follows the federal law.”); Minneapolis Emps.
      Retirement Fund, 519 N.W.2d at 179 (“Federal case law is of considerable value in deciding issues arising
      under the [Minnesota Securities] Act.”); Andrews v. Fitzgerald, Civ. No. 89-649, 1992 U.S. Dist. LEXIS
      9315, at *9 (M.D.N.C. Feb. 7, 1992) (“Section § 78A-56(c) [of the North Carolina Securities Act] parallels
      the federal law . . . in this area, however. Therefore, other courts’ analyses of the ‘controlling person’
      doctrine with those federal statutes are helpful.”) (internal citations omitted); Dunn v. Borta, 369 F.3d 421,
      428 (4th Cir. 2004) (“judicial constructions of section 12(2) of the [Securities Act], a statute substantially
      identical to section 13.1-522(A) of the [Virginia Securities] Act” are “instructive”); Andrews, 662 S.E.2d at
      62 (“When engaged in interpretation of a term used in the Virginia Securities Act, it is appropriate to look to
      the federal courts’ interpretation of the same term in the context of the 1933 and 1934 Acts.”) (internal
      citations and quotation marks omitted); Witness Tree, LLC, 65 Va. Cir. at 225 (“Given the close similarity
      between the [Virginia and federal securities] statutes, federal cases concerning control are informative.”).
248   “Effective August 1, 2007, Minnesota Statutes §§ 80A.01-.31 (2006) were repealed and replaced” by Minn.
      Stat. §§ 80A.40–90. See Risdall v. Brown-Wilbert, Inc., 753 N.W.2d 723, 727 n.1 (Minn. 2008). Nonetheless,
      the replaced statute “continues to govern all actions based on conduct occurring before that date.” Trooien v.
      Mansour, 608 F.3d 1020, 1027 n.2 (8th Cir. 2010); see also MINN. STAT. § 80A.90(a) (“The predecessor act
      exclusively governs all actions or proceedings that are pending on August 1, 2007, or may be instituted on
      the basis of conduct occurring before August 1, 2007 . . . .”). The Examiner applies Minn. Stat. §§ 80A.01–
      31 to the Minnesota Securities Act claims asserted by Third-Party Claimants because, as alleged, they arise
      in whole or in principal part from conduct occurring on or before August 1, 2007. See Am. Compl., John
      Hancock Life Ins. Co. (U.S.A.) v. Ally Fin. Inc., Civ. No. 12-01841; Docket No. 84, at 40–41 (D. Minn.
      Oct. 15, 2012); Am. Compl., Stichting Pensioenfonds ABP v. Ally Fin. Inc., Civ. No. 12-01381, Docket
      No. 101, at 31 (D. Minn. Oct. 11, 2011).

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common elements of a control person claim that must be pleaded and proved by any plaintiff
include: (1) the existence of a primary securities law violation by the controlled person; and
(2) the presence of control of the primary violator.249 Some courts have required plaintiffs
asserting control person claims under federal securities laws also to plead and prove the




249   See Wyo. State Treasurer v. Moody’s Investors Serv., Inc. (In re Lehman Bros. Mortgage-Backed Sec. Litig.),
      650 F.3d 167, 186 (2d Cir. 2011) (“To establish § 15 liability, a plaintiff must show a ‘primary violation’ of
      § 11 and control of the primary violator by defendants.”); ATSI Commc’ns, Inc. v. Shaar Fund, Ltd., 493 F.3d
      87, 108 (2d Cir. 2007) (“To establish a prima facie case of control person liability [under section 20(a)], a
      plaintiff must show (1) a primary violation by the controlled person, (2) control of the primary violator by the
      defendant, and (3) that the defendant was, in some meaningful sense, a culpable participant in the controlled
      person’s fraud.”); Capital Ventures Int’l v. UBS Sec. LLC, Civ. No. 11-11937, 2012 U.S. Dist. LEXIS
      140663, at *52 (D. Mass. Sept. 28, 2012) (“For ‘control person’ liability to attach [under the MUSA],
      [plaintiff] must allege (1) an underlying violation by the controlled entity, and (2) that the ‘control person’
      controlled the violator.”); Wooton v. CL, LLC, Civ. No. 09-34, 2010 U.S. Dist. LEXIS 101182, at *24
      (E.D.N.C. Sept. 27, 2010) (“An individual who directly or indirectly controls one who unlawfully sells such a
      security is also liable under the [North Carolina Securities Act].”); Au v. ADSI, Inc., 74 Va. Cir. 219, 220
      (Va. Cir. Ct. 2007) (“Should the Court determine that one or more of the defendants acted as . . . control
      person and that materially false or misleading information was also conveyed in connection with such sale of
      securities, then the burden of avoiding liability shifts to the defendant(s).”); Jacobs v. James, 574 N.E.2d
      1292, 1295 (Ill. App. Ct. 1991) (“[Defendant] is liable [under the Illinois Securities Law] as a controlling
      person in that he was part of a group of persons acting in concert in the illegal sale of the [securities].”);
      Murrin v. Mosher, Case No. 08-1418, 2009 Minn. App. Unpub. LEXIS 863, at *27–29 (Minn. Ct. App.
      Aug. 4, 2009) (unpublished) (control person claim under Minnesota Securities Act requires “predicate
      liability” and that “defendant is a controlling person”).

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“culpable participation” of the alleged control person in the primary violation.250 In its
submissions to the Examiner, AFI has not asserted that Third-Party Claimants must plead and
prove culpable participation to prevail on any of the control person claims they assert against



250   Put another way, “some courts view the pleading burden for a [control person] claim more akin to pleading
      [s]ection 10(b) scienter, while other courts find that a plaintiff need allege no more than control status in
      order to survive a motion to dismiss [such a] claim.” Edison Fund v. Cogent Inv. Strategies Fund, Ltd., 551
      F. Supp. 2d 210, 231 (S.D.N.Y. Mar. 31, 2008). The Second Circuit Court of Appeals has stated that “[t]o
      establish a prima facie case of [section 20(a)] control person liability, a plaintiff must show . . . that the
      defendant was, in some meaningful sense, a culpable participant in the controlled person’s fraud.” ATSI
      Commc’ns, Inc., 493 F.3d at 108. District courts in this circuit are split concerning whether such precedent
      obligates a section 20(a) plaintiff to affirmatively plead and prove “culpable participation.” Compare
      Meridian Horizon Fund, L.P. v. Tremont Group Holdings, Inc., Civ. No. 09-3708, 2012 U.S. Dist. LEXIS
      175760, at *5 (S.D.N.Y. Dec. 11, 2012) (“[T]his court regards the need for a plaintiff to plead ‘culpable
      participation’ [under section 20(a)] to be the law of the Second Circuit.”); with In re Lehman Bros. Sec. and
      ERISA Litig., 799 F. Supp. 2d 258, 307 (S.D.N.Y. 2011) (holding that “a [s]ection 20(a) plaintiff need not
      allege culpable participation at the pleading stage” and noting that it is a “question [that] remains open in this
      Circuit”).
      Among those district courts in the Second Circuit that have required section 20(a) plaintiffs to plead
      “culpable participation,” there is a further “split . . . as to whether ‘culpable participation’ must [likewise] be
      pleaded to state a claim under [s]ection 15.” See In re Sec. Capital Assurance Ltd. Sec. Litig., Civ.
      No. 07-11086, 2011 U.S. Dist. LEXIS 112926, at *23 n.4 (S.D.N.Y. Sep. 23, 2011); see also Wyo. State
      Treasurer, 650 F.3d at 186 (“The parties dispute whether we should further adopt the [culpable participation]
      requirement . . . for purposes of § 15. That issue has divided district courts in this Circuit.”) (internal citation
      omitted). Although multiple district courts in this circuit have held or suggested that “culpable participation”
      is a required element of a section 15 claim, an “apparent majority” have disagreed. See Am. Homes High-
      Income Trust v. AlliedSignal, 329 F. Supp. 2d 534, 549 n.10 (S.D.N.Y. 2004); see also Deutsche Bank AG
      Sec. Litig., Civ. No. 09-1714, 2011 U.S. Dist. LEXIS 93867, at *35 (S.D.N.Y. Aug. 19, 2011) (“It would be
      incongruous to require allegations regarding ‘state of mind’ . . . when the [s]ection 11 claims on which the
      [s]ection 15 claims are premised contain no ‘state of mind’ element.”); In re WorldCom, Inc., 377 B.R. 77,
      103 (Bankr. S.D.N.Y. 2007) (“[A]lthough a split exists, ‘culpable participation’ is generally a requirement of
      [s]ection 20 claims but not of [s]ection 15 claims.”). But see In re Am. Bank Note Holographics, Inc. Sec.
      Litig., 93 F. Supp. 2d 424, 441 (S.D.N.Y. 2000) (“applying the same test” to claims under sections 15 and
      20(a), including “culpable participation” element).
      An apparent majority of courts in other circuits, including several Circuit Courts of Appeals, have declined to
      require a plaintiff asserting a claim under section 20(a)—let alone section 15—to plead and prove culpable
      participation. See Belmont v. MB Inv. Partners, Inc., 708 F.3d 470, 484 n.20 (3d Cir. 2013) (noting that “a
      difference of opinion has emerged among district courts of this Circuit as to the pleading requirements for a
      § 20(a) claim” and declining to “resolve [it] at this time”); Lustgraaf v. Behrens, 619 F.3d 867, 873–74 (8th
      Cir. 2010) (“Culpable participation . . . is not part of a [section 20(a)] plaintiff’s prima facie case.”); Adams v.
      Kinger-Morgan, Inc., 340 F.3d 1083, 1109 (10th Cir. 2003) (“[W]e have expressly rejected those decisions
      that may be read to require a plaintiff to show the defendant actually or culpably participated in the primary
      violation.”) (quotation marks omitted); Howard v. Everex Sys., Inc., 228 F.3d 1057, 1065 (9th Cir. 2000)
      (“Plaintiff need not show that the [section 20(a)] defendant was a culpable participant in the violation . . . .”);
      Harrison v. Dean Witter Reynolds, Inc., 79 F.3d 609, 614 (7th Cir. 1996) (“we have never used any test
      similar to the culpable participant test”); In re Credit Suisse – AOL Sec. Litig., Civ. No. 02-12146, 2011 U.S.
      Dist. LEXIS 95889, at *26 (D. Mass. Aug. 26, 2011) (holding that section 20(a) “does not require proof . . .
      of ‘culpable participation’” but noting that “the First Circuit has reserved the issue”).

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AFI.251 Moreover, the prevailing view among courts in pertinent jurisdictions appears to be
that plaintiffs are not required to plead or prove culpable participation, with the potential
exception in the Second Circuit of claims asserted under section 20(a). For those reasons, the
Examiner does not further address any “culpable participation” element.252

     The Examiner’s factual and legal conclusions concerning certain elements or defenses
relevant to Third-Party Claimants’ control person claims are discussed below.

                         (a) Pleading Standard And Burden Of Proof

      In assessing whether a plaintiff asserting a control person claim has adequately alleged the
requisite primary securities law violation, “several circuits have distinguished between allegations
of fraud and allegations of negligence, applying Rule 9(b) only to claims pleaded under
[s]ection 11 and [s]ection 12(a)(2),” or state securities law provisions that likewise do not require
proof of scienter, if those claims “sound in fraud.”253 Accordingly, a court may “conduct a
preliminary inquiry into whether plaintiffs’ allegations are premised on fraud so as to require



251   See AFI Submission Paper, dated Dec. 19, 2012, at 30–36; AFI Submission Paper, dated Apr. 14, 2013, at 4–5.
      AFI did, however, move to dismiss on the ground of failure to plead “culpable participation” the control person
      claims asserted by Third-Party Claimants under federal securities law in actions pending in the Second Circuit.
      See Mem. of Law in Supp. of Ally Fin. Inc.’s and GMAC Mortg. Group, Inc.’s Mot. to Dismiss the Am.
      Compl., FHFA v. Ally Fin. Inc., Civ. No. 11-7010, Docket No. 149, at 8 n.5 (S.D.N.Y. July 31, 2012) (“The
      Court also should dismiss FHFA’s [s]ection 15 claim because it has failed to plead AFI’s . . . ‘culpable
      conduct.’”); Ally Financial, Inc’s Mem. of Law in Supp. of Mot. to Dismiss the Am. Compl., Union Central
      Life Ins. Co. v. Ally Fin., Inc., Civ. No. 11-02890, Docket No. 219, at 6 (S.D.N.Y. July 27, 2012) (“control
      person liability under § 20(a) requires a plaintiff to show . . . that the defendant was, in some meaningful sense,
      a culpable participant”). In FHFA v. Ally Fin., Inc., the district court denied AFI’s motion to dismiss the
      section 15 claims asserted against it by the FHFA without any apparent consideration of any “culpable
      participation” requirement. See Civ. No. 11-7010, 2012 U.S. Dist. LEXIS 179768, at *11–15 (S.D.N.Y.
      Dec. 19, 2012). In Union Central Life Ins. Co. v. Ally Fin., Inc., the district court granted AFI’s motion to
      dismiss the section 20 claims asserted against it without reaching whether section 20(a) required the pleading of
      “culpable participation.” See Order, Civ. No. 11-02890, Docket No. 263, at 3–4 (S.D.N.Y. Mar. 29, 2013)
      (granting motion to dismiss “claims against [AFI] for violations of [s]ection 20(a) and 20(b) of the Exchange
      Act”).
252   In the event that AFI’s assertion that “securities claims against AFI fail for the independent reason that
      [Third-Party Claimants] cannot show that AFI had knowledge of the Debtors’ alleged misstatements” is
      intended to argue culpable participation. See AFI Submission Paper, dated Dec. 19, 2012, at 35–36. The
      Examiner addresses this assertion below in Section VIII.C.2.a(3)(c)(ii).
253   Rombach v. Chang, 355 F.3d 164, 170 (2d Cir. 2004) (collecting cases); see also Wagner v. First Horizon
      Pharm. Corp., 464 F.3d 1273, 1277 (11th Cir. 2006) (“[W]e hold that Rule 9(b) applies when the
      misrepresentation justifying relief under the Securities Act is also alleged to support a claim for fraud under
      the Exchange Act and Rule 10b-5.”); Sears v. Likens, 912 F.2d 889, 893 (7th Cir. 1990) (suggesting that
      Securities Act claims sounding in fraud must be pleaded with particularity). But see Carlon v. Thaman (In re
      NationsMart Corp. Sec. Litig.), 130 F.3d 309, 314 (8th Cir. 1997) (“We hold that the particularity
      requirement of Rule 9(b) does not apply . . . because proof of fraud or mistake is not a prerequisite to
      establishing liability under § 11.”).

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satisfaction of the heightened pleading standards of Fed. R. Civ. P. 9(b).”254 Courts have declined
to apply Rule 9(b) to securities claims where the “plaintiffs’ complaint explicitly does not allege
fraud” but instead alleges that the defendant “acted negligently in preparing its Registration
Statement and Prospectus.”255 By contrast, where the alleged primary securities law violation is
pleaded under section 10(b) of the Exchange Act, then the plaintiff must “plead fraud with
particularity sufficient to satisfy the requirements of Fed. R. Civ. P. 9(b) . . . and of the
PSLRA.”256

     Courts have described the determination of “whether a person is a controlling person
[under federal or state securities laws as] a fact-intensive inquiry” that “generally should not
be resolved on a motion to dismiss.”257 “At the pleading stage, allegations of . . . control need
not be set forth with particularity.”258 Instead, “[c]ontrol allegations are evaluated under the




254   Wyo. State Treasurer, 650 F.3d at 174 (quotation marks omitted); see also In re Wachovia Equity Sec. Litig.,
      753 F. Supp. 2d 326, 374 (S.D.N.Y. 2011) (“determining whether Securities Act claims sound in fraud
      necessarily requires a case-by-case analysis of particular pleadings”) (quotation marks omitted).
255   See Litwin v. Blackstone Group, L.P., 634 F.3d 706, 715 (2d Cir. 2011); see also Hutchison v. Deutsche Bank
      Sec. Inc., 647 F.3d 479, 484 (2d Cir. 2011) (declining to apply Rule 9(b) to Securities Act claims where
      plaintiffs “expressly disclaim any allegation of fraud and Defendants do not contend otherwise”) (quotation
      marks omitted); FHFA v. JPMorgan Chase & Co., Civ. No. 11-6188, 2012 U.S. Dist. LEXIS 158442, at *16
      n.10 (S.D.N.Y. Nov. 5, 2012) (declining to apply Rule 9(b) to Securities Act claims where complaint
      “explicitly disclaims any suggestion of fraud”); N.J. Carpenters Health Fund v. NovaStar Mortg., Inc., Civ.
      No. 08-5310, 2012 U.S. Dist. LEXIS 56010, at *10–11 (S.D.N.Y. Mar. 29, 2012) (“Since Plaintiff’s
      allegations [that the underwriting guidelines set forth in the offering documents were systematically
      disregarded] and [Securities Act] claims sound in strict liability, not fraud, the [complaint] is subject to the
      standards of Rule 8(a), not to the heightened pleading requirements of Rule 9(b).”); Emps.’ Ret. Sys. of the
      Gov’t of the Virgin Is. v. J.P. Morgan Chase & Co., 804 F. Supp. 2d 141, 152 (S.D.N.Y. 2011) (Rule 9(b) not
      applicable to Securities Act claim alleging misrepresentations “concerning underwriting standards, appraisal
      standards, LTV ratios, and investment ratings”); N.J. Carpenters Health Fund v. Residential Capital, LLC,
      Civ. No. 08-8781, 2010 U.S. Dist. LEXIS 32058, at *13 (S.D.N.Y. Mar. 31, 2010) (“Defendants argue that
      Plaintiffs’ [Securities Act] claims sound in fraud, but Plaintiffs expressly disclaim any allegations of fraud,
      and their allegations focus on the alleged negligent omission of information.”).
256   See Rombach, 355 F.3d at 170. Among other requirements, a complaint must “‘specify each statement
      alleged to have been misleading, the reason or reasons why the statement is misleading, and, if an allegation
      regarding the statement or omission is made on information and belief, the complaint shall state with
      particularity all facts on which that belief is formed.’” See id. (quoting 15 U.S.C. § 78u-4(b)(1)(B)).
257   See Citilines Holdings, Inc. v. iStar Fin., Inc., 701 F. Supp. 2d 506, 517 (S.D.N.Y. 2010) (quotation marks
      omitted); see also In re Citigroup Inc. Bond Litig., 723 F. Supp. 2d 568, 596 (S.D.N.Y. 2010); CompuDyne
      Corp. v. Shane, 453 F. Supp. 2d 807, 829 (S.D.N.Y. 2006).
258   In re Am. Int’l Group, Inc., 2008 Sec. Litig., 741 F. Supp. 2d 511, 535 (S.D.N.Y. 2010); see also Dobina v.
      Weatherford Int’l Ltd., Civ. No. 11-1646, 2012 U.S. Dist. LEXIS 160663, at *61 (S.D.N.Y. Nov. 7, 2012)
      (“[A]llegations of control [need not] be pleaded with particularity.”); Sgalambo v. McKenzie, 739 F. Supp. 2d
      453, 474 (S.D.N.Y. 2010) (“Allegations of control are not averments of fraud and therefore need not be
      pleaded with particularity.”) (quoting In re Parmalat Sec. Litig., 414 F. Supp. 2d 428, 440 (S.D.N.Y. 2006)).

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liberal pleading standard set forth in Federal Rule of Civil Procedure 8(a).”259 Even under that
standard, conclusory allegations of control do not suffice.260 “While a party cannot be held
liable for both a primary violation and as a control person, alternative theories of liability are
permissible at the pleading stage.”261

     Where a plaintiff succeeds in stating a claim under section 15 of the Securities Act,
section 20(a) of the Exchange Act, or the control person provisions of pertinent state securities
laws, the plaintiff will then bear the burden of proving each element of the claim by a
preponderance of the evidence.262 Likewise, where the alleged control person asserts an




259   In re Moody’s Corp. Sec. Litig., 599 F. Supp. 2d 493, 517 (S.D.N.Y. 2009); see also In re Scottish Re Group
      Sec. Litig., 524 F. Supp. 2d 370, 386 (S.D.N.Y. 2007) (“at the pleading stage, the extent to which the control
      must be alleged will be governed by Rule 8’s pleading standard”) (quotation marks omitted). Most of those
      courts that have required plaintiffs to plead “culpable participation” under sections 15 and/or 20(a) appear to
      have concluded that this element “is subject to the heightened pleading requirements of the [Private
      Securities Litigation Reform Act (the “PSLRA”)].” See Pa. Pub. Sch. Emps.’ Ret. Sys. v. Bank of Am. Corp.,
      Civ. No. 11-733, 2012 U.S. Dist. LEXIS 96317, at *69 (S.D.N.Y. July 11, 2012) (quotation marks omitted).
      Some courts have instead concluded that the “culpable participation” element “is not the same as scienter”
      and is “governed by Rule 8’s pleading standard.” See Tronox, Inc. Sec. Litig., Civ. No. 09-6220, 2010 U.S.
      Dist. LEXIS 67664, at *64 (S.D.N.Y. June 28, 2010); see also Sedona Corp. v. Ladenburg Thalmann & Co.,
      Civ. No. 03-3120, 2005 U.S. Dist. LEXIS 16382, at *54 (S.D.N.Y. Aug. 9, 2005) (“A plaintiff’s pleading as
      to these elements [including culpable participation] must meet the requirements of [Rule 8(a)] . . . since
      neither the PSLRA (because scienter is not an essential element), nor Rule 9(b) (because fraud is not an
      essential element), apply to a [s]ection 20(a) claim.”) (quotation marks omitted).
260   See Suez Equity Investors, LP v. Toronto-Dominion Bank, 250 F.3d 87, 102 (2d Cir. 2001) (finding a
      section 20(a) claim “insufficient . . . as a matter of law” where allegations of control were “conclusory at
      best”); N.J. Carpenters Health Fund v. Residential Capital, LLC, Civ. No. 08-8781, 2011 WL 2020260, at *4
      (S.D.N.Y. May 19, 2011) (dismissing section 15 claim as “purely conclusory” where complaint alleged that
      underwriter defendants possessed “power to influence, and exercised that power and influence” over primary
      violators); Emps.’ Ret. Sys. of the Gov’t of the Virgin Is., 804 F. Supp. 2d at 157 (“The Second Amended
      Complaint’s further allegation that JPMC ‘had the power to, and did, direct JPM Acceptance’ is too
      conclusory to warrant an inference in the plaintiff’s favor.”).
261   In re Am. Int’l Group, Inc., 2008 Sec. Litig., 741 F. Supp. 2d 511, 534–35 (S.D.N.Y. 2010).
262   See Healey v. Chelsea Res. Ltd., 947 F.2d 611, 617 (2d Cir. 1991) (noting that plaintiff was required to prove
      Securities Act claims “by a preponderance of the evidence”); SEC v. Moran, 922 F. Supp. 867, 887
      (S.D.N.Y. 1996) (“There is no doubt that in a private securities action, the correct standard of proof is
      preponderance of the evidence.”); Polycast Tech. Corp. v. Uniroyal, Inc., 792 F. Supp. 244, 251 (S.D.N.Y.
      1992) (“In federal securities cases the plaintiff’s burden of proof is the ‘preponderance-of-the-evidence
      standard generally applicable in civil actions.’”) (quoting Herman & MacLean v. Huddleston, 459 U.S. 375,
      390 (1983)); Access Cardiosystems, Inc. v. Fincke (In re Access Cardiosystems, Inc.), 404 B.R. 593, 672
      (Bankr. D. Mass. 2009) (assessing MUSA § 410(a)(2) claim under “preponderance of the evidence”
      standard).

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affirmative defense to liability, including for example his “good faith” or lack of knowledge,
that defendant bears the burden of proof under a preponderance standard.263

                         (b) Primary Violation

     “Any claim for ‘control person’ liability under [section 15 of the Securities Act or
section] 20(a) of the Exchange Act must be predicated on a primary violation of securities
law.”264 To establish “control person liability pursuant to Section 20(a),” a plaintiff must
demonstrate “a primary violation of [the Exchange Act such as a violation of] [s]ection 10(b)
and Rule 10b-5.”265 Similarly, “to succeed on a claim under section 15, a plaintiff must
demonstrate primary liability under section 11 or 12 [of the Securities Act].”266 “Control
person” claims under either section are routinely dismissed where the plaintiff fails to state a
corresponding “primary violation.”267 Any claim for control person liability under the




263   See Dietrich v. Bauer, 126 F. Supp. 2d 759, 764 (S.D.N.Y. 2001) (“[T]o establish a good faith defense, the
      burden is on the defendant . . . .”); Mecca v. Gibraltar Corp. of Am., 746 F. Supp. 338, 341 (S.D.N.Y. 1990)
      (noting that defendants “could have avoided [control person] liability if they had proven to the jury by a
      preponderance of the evidence . . . that they acted in good faith”); Access Cardiosystems, Inc., 404 B.R. at
      640 (“Once the [MUSA § 410(a)(2)] plaintiff has demonstrated that the defendant has made an untrue
      statement of material fact . . . the burden shifts to the defendant to demonstrate either that the plaintiff knew
      of the falsity or omission or that the defendant did not know and could not, in the exercise of reasonable care,
      have known of the falsity or omission.”).
264   Pac. Inv. Mgmt. Co. LLC v. Mayer Brown LLP, 603 F.3d 144, 160 (2d Cir. 2010); see also Rombach v.
      Chang, 355 F.3d 164, 177–78 (2d Cir. 2004) (“Each of these [section 15 and 20(a)] claims is necessarily
      predicated on a primary violation of securities law.”).
265   See Oughtred v. E*Trade Fin. Corp., Civ. No. 08-3295, 2011 U.S. Dist. LEXIS 35712, at *36 (S.D.N.Y.
      Mar. 31, 2011) (dismissing section 20(a) claim for failure to plead a primary violation).
266   See Fait v. Regions Fin. Corp., 655 F.3d 105, 109 n.2 (2d Cir. 2011).
267   See id. at 109 n.2 (2d Cir. 2011) (“Since we conclude that the district court properly dismissed the section 11
      and 12 claims, we also find no error in the court’s dismissal of plaintiffs’ section 15 claims.”); Wilson v.
      Merrill Lynch & Co., Inc., 671 F.3d 120, 139 (2d Cir. 2011) (“Having concluded that [plaintiff] failed to state
      a claim for any primary violation of the securities laws, we affirm the district court’s dismissal of his
      [s]ection 20(a) claim alleging that Merrill Lynch & Co. is liable as a controlling person.”); Pac. Inv. Mgmt.
      Co. LLC, 603 F.3d at 160 (affirming dismissal of section 20(a) claim “[b]ecause we hold that plaintiffs failed
      to state a claim for a primary violation”); ECA & Local 134 IBEW Joint Pension Trust of Chicago v. JP
      Morgan Chase Co., 553 F.3d 187, 207 (2d Cir. 2009) (affirming dismissal of “control person liability claim
      pursuant to section 15 of the Securities Act and section 20 of the Exchange Act . . . for want of a primary
      violation”); In re Lehman Bros. Sec. & ERISA Litig., Md. No. 09-2017, 2012 U.S. Dist. LEXIS 148177, at
      *57 (S.D.N.Y. Oct. 15, 2012) (“Absent a primary violation of [s]ection 11 or 12 by another person, there can
      be no liability for a controlling person under [s]ection 15.”).

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securities laws of Illinois, Massachusetts, Minnesota, North Carolina, or Virginia likewise
must be predicated upon a primary violation of the respective securities laws of that state.268

      “In a typical [section 10(b)] action a plaintiff must prove: (1) a material misrepresentation
or omission by the defendant; (2) scienter; (3) a connection between the misrepresentation or
omission and the purchase or sale of a security; (4) reliance upon the misrepresentation or
omission; (5) economic loss; and (6) loss causation.”269 “[U]nlike securities fraud claims
pursuant to [section 10(b)], plaintiffs bringing claims under sections 11 and 12(a)(2) need not
allege scienter, reliance, or loss causation.”270 Instead, the elements of a claim under section 11
of the Securities Act include that: “(1) [the plaintiff] purchased a registered security, either
directly from the issuer or in the aftermarket following the offering; (2) the defendant
participated in the offering in a manner sufficient to give rise to liability under section 11; and
(3) the registration statement ‘contained an untrue statement of a material fact or omitted to state
a material fact required to be stated therein or necessary to make the statements therein not
misleading.’”271 In turn, the elements of a claim under section 12(a)(2) of the Securities Act
include that: “(1) the defendant is a ‘statutory seller’; (2) the sale was effectuated ‘by means of a
prospectus or oral communication’; and (3) the prospectus or oral communication ‘included an
untrue statement of a material fact or omitted to state a material fact necessary in order to make
the statements . . . not misleading.’”272

    Although their elements vary, in general the provisions of state securities laws relied upon
by Third-Party Claimants share more in common with claims under section 11 or 12(a)(2) of the




268   See Capital Ventures Int’l v. UBS Sec. LLC, Civ. No. 11-11937, 2012 U.S. Dist. LEXIS 140663, at *53 (D.
      Mass. Sept. 28, 2012) (granting motion to dismiss control person claims under MUSA § 410(b) where
      plaintiff had “not adequately pled primary violations”); Dunn v. Ronbotics Corp., Civ. No. 02-952, 2003 U.S.
      Dist. LEXIS 27951, at *31 (E.D. Va. Feb. 23, 2003) (“Because the Court fails to find that any of the
      Defendants are primarily liable under the Virginia statute, the Court dismisses [the control person claim]
      against all Defendants.”), rev’d on other grounds, 369 F.3d 421 (4th Cir. 2004); Murrin v. Mosher, Case
      No. 08-1418, 2009 Minn. App. Unpub. LEXIS 863, at *29 (Minn. Ct. App. Aug. 4, 2009) (affirming
      dismissal of control person claim under Minnesota Securities Act where “appellants failed to establish the
      predicate liability of any of the defendants in this case”).
269   Stoneridge Inv. Partners, LLC v. Scientific-Atlanta, Inc., 552 U.S. 148, 157 (2008).
270   In re Morgan Stanley Info. Fund Sec. Litig., 592 F.3d 347, 359 (2d Cir. 2010).
271   Id. (quoting 15 U.S.C. § 77k(a)).
272   Id. (quoting 15 U.S.C. § 77l(a)(2)).

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Securities Act than claims under section 10(b) of the Exchange Act.273 In particular, Third-Party
Claimants need not plead or prove scienter to prevail on a primary securities claim under
pertinent provisions of the Illinois Securities Law,274 the MUSA,275 the Minnesota Securities




273   See Carlucci v. Han, 886 F. Supp. 2d 497, 528 (E.D. Va. 2012) (“[T]o state a claim under the Virginia
      Securities Act, a plaintiff must plead a material misrepresentation.”); Elipas v. Jedynak, Civ. No. 07-3026,
      2011 U.S. Dist. LEXIS 48340, at *36 (N.D. Ill. May 5, 2011) (“[P]laintiffs [asserting claims under 815 Ill.
      Comp. Stat. Ann. 5/12(F)-(G)] must show at a minimum that [defendant] (1) made a misstatement or
      omission, (2) of material fact, (3) in connection with the purchase or sale of securities, (4) upon which the
      plaintiffs relied.”) (quotation marks omitted); NNN Durham Office Portfolio 1, LLC v. Highwoods Realty
      Ltd. P’ship, Case No. 12-3945, 2013 NCBC Lexis 11, at *64 (N.C. Super. Ct. Feb. 19, 2013) (“[N.C. Gen.
      Stat. § 78A-56(a)(2)] provides a cause of action against the offeror or seller of a security who (1) makes any
      untrue statement of a material fact, or (2) fails to state a material fact necessary for a statement which was
      made to not be misleading.”); Marram v. Kobrick Offshore Fund, Ltd., 809 N.E.2d 1017, 1026–27 (Mass.
      2004) (“It is enough [under MUSA § 410(a)(2)] for the plaintiff to establish that (1) the defendant offers or
      sells a security; (2) in Massachusetts; (3) by making any untrue statement of a material fact or by omitting to
      state a material fact; (4) the plaintiff did not know of the untruth or omission; and (5) the defendant knew, or
      in the exercise of reasonable care would have known of the untruth or omission.”) (quotation marks omitted);
      Siler v. Principal Fin. Sec., Inc., Case No. 1-00-576, 2000 Minn. App. LEXIS 1239, at *8–9 (Minn. App. Ct.
      Dec. 12, 2000) (unpublished) (“To present a claim under Minn. Stat. § 80A, the plaintiff must allege a
      misstatement or omission in connection with his own decision to purchase or sell a security.”).
274   See Elipas v. Jedynak, Civ. No. 07-3026, 2011 U.S. Dist. LEXIS 48340, at *36 (N.D. Ill. May 5, 2011) (“The
      elements of a [815 ILL. COMP. STAT. ANN. 5/12(F)-(G)] claim mirror the elements of a Rule 10b-5 claim,
      except that the plaintiff is not required to prove scienter and loss causation.”) (citations omitted); Lucas v.
      Downtown Greenville Investors Ltd. P’ship, 671 N.E.2d 389, 400 (Ill. App. Ct. 1996) (“Lacking any express
      statutory language or other authority which requires that the plaintiffs prove ‘loss causation,’ we decline to
      impose such a requirement.”); Foster v. Alex, 572 N.E.2d 1242, 1245 (Ill. App. Ct. 1991) (holding that
      “scienter need not be pled nor proved in a civil case brought under sections 12(F) and 12(G) of the Illinois
      Securities Act”). Some courts have stated that the 815 ILL. COMP. STAT. ANN. 5/12(F)-(G) plaintiff is
      required to plead reliance on the alleged misrepresentation. See Tirapelli v. Advanced Equities, Inc., 813
      N.E.2d 1138, 1142 (Ill. App. Ct. 2004) (“[R]easonable reliance is an element of sections 12(F), 12(G), and
      12(I) of the Illinois Securities Law.”).
275   See Mass. Mut. Life Ins. Co. v. Residential Funding Co., LLC, 843 F. Supp. 2d 191, 200 (D. Mass. 2012)
      (“Plaintiff does not need [under MUSA § 410(a)(2)] to prove negligence, scienter, reliance, or loss
      causation.”); Marram, 809 N.E.2d at 1026–27 (MUSA § 410(a)(2) does not require the plaintiff “to prove
      either negligence or scienter” or “reliance”).

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Act,276 the North Carolina Securities Act,277 or the Virginia Securities Act.278 Moreover, like
sections 11 and 12(a)(2) of the Securities Act, some of those state securities laws make available
to defendants affirmative defenses, including that: (1) the defendant exercised “due diligence” or
“reasonable care”;279 (2) there was an absence of loss causation;280 and/or (3) the plaintiff knew
of the alleged untruth or omission at the time of purchase.281
276   See Trooien v. Mansour, 608 F.3d 1020, 1027–28 (8th Cir. 2010) (holding that “claims arising under §
      80A.01(b) require only a showing of negligence” and explaining that its “plain language . . . contains no
      words of intent, no reference to fraud, or deceit”); see also Minneapolis Emps.’ Ret. Fund v. Allison-Williams
      Co., 519 N.W.2d 176, 181 (Minn. 1994) (“Minn. Stat. §§ 80A.01(b) and 80.01(c) may in some instances
      proscribe negligent as well as intentional misconduct.”); Sprangers v. Interactive Techs., Inc., 394 N.W.2d
      498, 503 (Minn. Ct. App. 1986) (“Minn. Stat. § [80A.01(b)] does not require scienter, but supports a
      negligence-based theory of recovery.”). But see Loop Corp. v. McIlroy, Case No. 04-362, 2004 Minn. App.
      LEXIS 1146, at *16 (Minn. App. Ct. Oct. 5, 2004) (unpublished) (“[W]e agree with the district court that
      scienter is required [to state a claim under Minn. Stat. § 80A.01].”). Those Third-Party Claimants asserting
      claims against AFI under the Minnesota Securities Act take the position (in opposition to AFI’s motions to
      dismiss) that they must plead scienter. See Pls.’ Omnibus Opp. to Defs.’ Mots. to Dismiss the Am. Compl.,
      John Hancock Life Ins. Co. (U.S.A.) v. Ally Fin. Inc., Civ. No.12-01841, Docket No. 118, at 90–91 n.62 (D.
      Minn. Feb. 15, 2013) (“Scienter also is an element of the violation.”); Pls.’ Ombibus Mem. of Law in Opp. to
      Defs.’ Mot. to Dismiss the Am. Compl., Stichting Pensioenfonds ABP v. Ally Fin. Inc., Civ. No. 12-01381,
      Docket No. 142, at 75 n.47 (D. Minn. Mar. 11, 2013) (same).
277   See NNN Durham Office Portfolio 1, LLC v. Highwoods Realty Ltd. P’ship, Case No. 12-3945, 2013 NCBC
      LEXIS 11, at *66 (N.C. Super. Ct. Feb. 19, 2013) (“[N.C. Gen. Stat. § 78A-56(a)(2)] does not additionally
      require proof of scienter or justifiable reliance.”); see also Venturtech II, LP v. Learning Res. Inc., 790
      F. Supp. 576, 588 (E.D.N.C. 1992) (“[§ 78A-56(a)(2)] closely parallels § [12(a)(2)] of the [Securities Act]”).
278   See Dunn v. Borta, 369 F.3d 421, 433 (4th Cir. 2004) (“We therefore decline to read the elements of reliance
      and causation into the [Virginia Securities Act].”); Carlucci, 886 F. Supp. 2d at 528 n.25 (“Scienter, reliance,
      and causation are not required elements of a Virginia Securities Act claim.”).
279   See In re Fuwei Films Sec. Litig., 634 F. Supp. 2d 419, 435 n.10 (S.D.N.Y. 2009) (“Section 12(a)(2) provides
      for a defense of reasonable care, which . . . may be asserted by all ‘sellers’ under section 12(a)(2), including
      the issuer of a security.”) (quotation marks omitted); In re Worldcom, Inc. Sec. Litig., 346 F. Supp. 2d 628,
      662 (S.D.N.Y. 2004) (“[T]wo of the affirmative defenses available [to defendants other than the issuer] under
      [s]ection 11(b) are collectively known as the ‘due diligence’ defense.”); MASS. GEN. LAW. ch. 110A
      § 410(a)(2) (defendant may “sustain the burden of proof that he did not know, and in the exercise of
      reasonable care could not have known, of the untruth or omission”); Minn. Stat. § 80A.23(4) (same); N.C.
      GEN. STAT. § 78A-56(a)(2) (same); VA. CODE ANN. § 13.1-522(A) (same).
280   See Iowa Pub. Emps.’ Ret. Sys. v. MF Global, Ltd., 620 F.3d 137, 145 (2d Cir. 2010) (“Loss causation is not
      an element of a plaintiff’s prima facie case [under section 11 or 12(a)(2)]; rather, the absence of loss
      causation is an affirmative defense.”); see also In re Mass. Mut. Life Ins. Co., 2012 U.S. Dist. LEXIS 149145
      at *24–26 (denying as “simply too early” a motion to strike a “loss causation” affirmative defense to a
      MUSA § 410 claim and explaining that merely because the plaintiff “need not prove the cause of its loss,
      does not necessarily mean that a lack of causation is not an affirmative defense”); Premier Capital Mgmt.,
      LLC v. Cohen, Civ. No. 02-5368, 2008 U.S. Dist. LEXIS 23484, at *61 (N.D. Ill. Mar. 24, 2008) (holding
      that the absence of “loss causation is not an affirmative defense to claims under the [Virginia Securities Act]”
      because the statute “does not require loss causation”).
281   See In re IPO Sec. Litig., 483 F.3d 70, 73 n.1 (2d Cir. 2007) (section 11 or 12(a)(2) defendant “can assert a
      defense that the plaintiff knew of the untruth or omission at the time of his or her acquisition of the
      security”); MASS. GEN. LAW. ch. 110A § 410(a)(2) (plaintiff “knowing of the untruth or omission” may not
      recover); N.C. GEN. STAT. § 78A-56(a)(2) (same); VA. CODE ANN. § 13.1-522(A) (same).

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      Third-Party Claimants assert that the primary securities law claims underlying the control
person claims brought against AFI either have or “will survive motions to dismiss and proceed
to discovery.”282 They anticipate that discovery and “direct access to . . . the underlying loan
files” will substantiate allegations that offering materials contained misrepresentations
concerning, inter alia, compliance with underwriting guidelines, appraisal practices and LTV
ratios, investment ratings, and owner-occupancy statistics.283 Although AFI concedes that
“certain of the [Third-Party Claimants] apparently have learned how to plead their claims to
survive dismissal,” AFI asserts that Third-Party Claimants will be unable to “prove . . . their
claims” and withstand potential affirmative defenses.284 AFI argues that Third-Party
Claimants’ primary securities law claims will “fail on every element” including because the
offering materials “disclosed . . . the very facts that [Third-Party Claimants] now assert are
misrepresentations.”285




282   See Joint Submission Paper of AIG, Allstate Life Ins. Co., Mass. Mut. Life Ins. Co., and Prudential Ins. Co.
      of Am., dated Oct. 17, 2012, at 3–4; see also Joint Submission Paper of Federal Home Loan Banks of
      Boston, Chicago, and Indianapolis, dated Oct. 19, 2012, at 20–21 (“[T]he FHLBs’ effectively universal
      success in defeating Defendants’ motions to dismiss provides support for the conclusion that [their] claims
      have merit.”).
283   See Joint Submission Paper of AIG, Allstate Life Ins. Co., Mass. Mut. Life Ins. Co., and Prudential Ins. Co.
      of Am., dated Oct. 17, 2012, at 23; see also Joint Submission Paper of Federal Home Loan Banks of Boston,
      Chicago, and Indianapolis, dated Oct. 19, 2012, at 7.
284   See AFI Submission Paper, dated Apr. 14, 2013, at 8.
285   See AFI Submission Paper, dated Dec. 19, 2012, at 50–52.

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     As AFI acknowledges, many of the primary securities law claims asserted by RMBS
investors against the Debtors and Ally Securities286 or against other unaffiliated issuers and




286   See Mass. Mut. Life Ins. Co. v. Residential Funding Co, LLC, 843 F. Supp. 2d 191, 200 (D. Mass. 2012)
      (denying motion to dismiss MUSA § 410(a)(2) claim asserted against Ally Securities where complaint
      alleged that “representations about the underwriting process” were “false because the originators
      systematically violated the underwriting standards by, for example, issuing loans on the basis of overstated
      incomes, inflated appraisals, and unjustified exceptions to the standards”); FHFA v. Ally Fin., Inc., Civ.
      No. 11-7010, 2012 U.S. Dist. LEXIS 179768, at *18 (S.D.N.Y. Dec. 19, 2012) (denying in part motions to
      dismiss section 11 and 12(a)(2) claims and Virginia Securities Act claims asserted against Ally Securities);
      Order, FHLB of Chicago v. Banc of Am. Funding Corp., Case No. 10-CH-45033, at 15–29 (Ill. Cir. Ct.
      Sept. 19, 2012) (denying motion to dismiss primary claims asserted against Ally Securities under the Illinois
      Securities Law and the North Carolina Securities Act); N.J. Carpenters Health Fund v. Residential Capital,
      LLC, Civ. No. 08-8781, 2010 U.S. Dist. LEXIS 32058, at *4, 21 (S.D.N.Y. Mar. 31, 2010) (denying in part
      motions to dismiss section 11 and 12(a)(2) claims asserted against certain of the Debtors and Ally Securities,
      allowing “[c]laims related to [misrepresentations concerning] the alleged disregard of underwriting
      guidelines [to] proceed,” and explaining that those alleged misrepresentations “are not cured by the risk
      disclosures . . . in the Offering Documents”); Cambridge Place Inv. Mgmt., Inc. v. Morgan Stanley & Co.,
      Case No. 2010-02741, 2012 Mass. Super. LEXIS 272, at *29 (Mass. Super. Ct. Sept. 28, 2012) (denying
      motion to dismiss MUSA § 410(a)(2) claim against Ally Securities alleging “misrepresentation with respect
      to underwriting guidelines, LTV ratios and appraisal standards, owner-occupancy rates, debt-to-income
      ratios, . . . and credit enhancements”); W. & S. Life Ins. Co. v. Residential Funding Co., LLC, Case
      No. A1105042, 2012 Ohio Misc. LEXIS 100, at *23 (Ohio Ct. Com. P. June 6, 2012) (denying motion to
      dismiss Ohio securities law claims against Ally Securities alleging misrepresentations concerning
      underwriting guidelines, the appraisal process, investment ratings, and owner occupancy). But see Order,
      Union Cent. Life Ins. Co. v. Ally Fin., Inc., Civ. No. 11-02890, Docket No. 263, at 3 (S.D.N.Y. Mar. 29,
      2013) (dismissing without prejudice claims asserted under section 10(b) of the Exchange Act against AFI and
      Ally Securities where plaintiffs “have not pled any facts with particularity to demonstrate . . . scienter” and
      failed to specify “which defendant engaged in any specific conduct”).

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underwriters of RMBS287 have survived in whole or in part motions to dismiss for failure to
state a claim, notwithstanding the risk disclosures in the offering materials at issue. In at least
one case, securities claims asserted against an unaffiliated issuer of RMBS (neither Debtors




287   See N.J. Carpenters Health Fund v. Royal Bank of Scot. Group, PLC, 709 F.3d 109, 122 (2d Cir. 2013)
      (reversing in part decision dismissing section 11 and 12(a)(2) claims and explaining that such claims should
      “proceed where the plaintiff has provided a ‘fairly specific’ account of how the relevant underwriters had
      systematically disregarded the guidelines disclosed in a security’s registration statement”); Plumbers’ Union
      Local No. 12 Pension Fund v. Nomura Asset Acceptance Corp., 632 F.3d 762, 773 (1st Cir. 2011) (finding
      allegations of “wholesale abandonment of underwriting standards” sufficient to state a Securities Act claim);
      FHFA v. UBS Ams. Inc., 858 F. Supp. 2d 306, 332 (S.D.N.Y. 2012) (denying motion to dismiss Securities
      Act claims where plaintiff alleged “widespread failure to conduct any underwriting”); In re Bear Stearns
      Mortg. Pass-Through Certificates Litig., 851 F. Supp. 2d 746, 767–69 (S.D.N.Y. 2012) (finding that the
      complaint “properly states a [section 11 and 12(a)(2)] claim as to the underwriting allegations.”); Capital
      Ventures Int’l v. UBS Sec. LLC, Civ. No. 11-11937, 2012 U.S. Dist. LEXIS 140663, at *53 (D. Mass.
      Sept. 28, 2012) (denying in part motion to dismiss MUSA § 410(a)(2) claim alleging misrepresentations
      “regarding underwriting guidelines, owner-occupancy rates, appraisals and LTV ratios”); Nat’l Credit Union
      Admin. Bd. v. RBS Sec., Inc., Civ. No. 11-2340, 2012 U.S. Dist. LEXIS 103170, at *95 (D. Kan. July 25,
      2012) (denying motion to dismiss section 11 and 12(a)(2) claims insofar as they allege that “underwriting
      standards . . . were systematically abandoned”); Plumbers’ & Pipefitters’ Local #562 Supplemental Plan &
      Trust v. J.P. Morgan Acceptance Corp. I, Civ. No. 08-1713, 2012 WL 601488, at *17 (E.D.N.Y. Feb. 23,
      2012) (denying motion to dismiss section 11 claim alleging “systematic deviation” from underwriting
      guidelines); Dexia Holdings, Inc. v. Countrywide Fin. Corp., Civ. No. 11-07165, 2012 WL 1798997, at *2
      (C.D. Cal. Feb. 17, 2012) (“Plaintiffs’ [section 11] claim that Countrywide abandoned its underwriting
      standards . . . is adequately pleaded.”); Emps.’ Ret. Sys. of the Gov’t of the Virgin Is. v. J.P. Morgan Chase &
      Co., 804 F. Supp. 2d 141, 153-54 (S.D.N.Y. 2011) (“allegations regarding deviations from underwriting
      standards are sufficient to survive dismissal”); In re Morgan Stanley Mortg. Pass-Through Certificates Litig.,
      810 F. Supp. 2d 650, 672 (S.D.N.Y. 2011) (“Plaintiffs have adequately alleged actionable misstatements or
      omissions . . . [concerning] the alleged systematic disregard of underwriting criteria . . . .”); Pub. Emps.’ Ret.
      Sys. of Miss. v. Goldman Sachs Group, Inc., Civ. No. 09-1110, 2011 U.S. Dist. LEXIS 3267, at *34
      (S.D.N.Y. Jan. 12, 2011) (“Plaintiff has pled sufficient factual allegations [under section 11] to plausibly
      infer that the underwriting guidelines were disregarded . . . in conflict with the disclosures made in the
      Offering Documents.”); Boilermakers Nat’l Annuity Trust Fund v. WaMu Mortg. Pass-Through Certificates,
      Series AR1, 748 F. Supp. 2d 1246, 1254–55 (W.D. Wash. 2010) (denying motion to dismiss section 11 claim
      alleging “improper deviations from underwriting guidelines”); In re Lehman Bros. Sec. & ERISA Litig., 684
      F. Supp. 2d 485, 493 (S.D.N.Y. 2010) (denying motion to dismiss section 11 claim with respect to allegations
      that underwriting guidelines were “systematically disregarded”). But see Footbridge Ltd. Trust v.
      Countrywide Home Loans, Inc., Civ. No. 09-4050, 2010 U.S. Dist. LEXIS 102134, at *32 (S.D.N.Y.
      Sept. 28, 2010) (dismissing section 10(b) claim and holding that allegations that “defendants were too
      flexible in the underwriting decisions” were “insufficient to set forth a plausible claim of fraud based on the
      heightened pleading requirements of Rule 9(b) and the PSLRA”).

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nor AFI is a party) also have survived a motion for summary judgment.288 Of course, here
“[d]iscovery may reveal that the actual facts support the inferences drawn by [AFI], rather
than those drawn by the [Third-Party Claimants].”289 Definitive conclusions concerning the
likelihood of success of the primary securities law claims underlying Third-Party Claimants’
control person claims in these six pending RMBS Investor Actions (and other such claims) are
outside the scope of the Investigation. The Examiner describes, in Section VIII.C.2.b, the
primary claims asserted against Ally Securities under federal and state securities laws.

                         (c) Control Over A Primary Violator

                             (i) Legal Principles

     “Control over a primary violator may be established by showing that the defendant
possessed ‘the power to direct or cause the direction of the management and policies of a
person, whether through the ownership of voting securities, by contract, or otherwise.’”290
“Actual control over the wrongdoer and the transactions in question is necessary for control
person liability.”291 “Control in this context is not the mere ability to persuade, but almost
always means the practical ability to direct the actions of people who issue or sell
288   See In re Wash. Mut. Mortg. Backed Sec. Litig., Civ. No. 09-37, 2012 U.S. Dist. LEXIS 102064, at
      *37 (W.D. Wash. July 23, 2012). There, as here, the plaintiffs’ section 11 claims were premised in part on
      allegations that the defendant RMBS issuer “systematically deviated from its underwriting guidelines so as to
      render the statements in the offering documents false.” Id. at *31. “Taking the facts in the light most
      favorable to Plaintiffs,” the court found “a dispute of material fact” that precluded summary judgment. Id. at
      *37. The court clarified that plaintiffs would not “have to show the underwriting guidelines ceased to exist in
      order to prevail in this case,” but instead “show a pattern of deviations from the underwriting practices
      caused the disclosures to be materially misleading or false.” Id. at *30–31. Plaintiffs’ evidence that
      defendant’s “internal risk management concluded there were substantial deviations in loan quality that far
      exceeded the [underwriting] benchmarks” and “expert reports finding that 37.1% of the loans sampled
      suffered from material defects” sufficed at this stage “to sustain the § 11 claims.” Id. at *32. According to the
      court, the “countervailing facts” presented by defendants might lead a jury to “reach[] a verdict in
      Defendants’ favor,” but “do not negate the extensive evidence Plaintiffs present” or “foreclose Plaintiffs’
      § 11 claims” from reaching trial. Id. at *34–37.
289   See N.J. Carpenters Health Fund v. Royal Bank of Scot. Group, PLC, 709 F.3d 109, 125 (2d Cir. 2013).
290   See SEC v. First Jersey Sec., Inc., 101 F.3d 1450, 1472–73 (2d Cir. 1996) (quoting 17 C.F.R. § 240.12b-2);
      see also Wyo. State Treasurer v. Moody’s Investors Serv., Inc. (In re Lehman Bros. Mortgage-Backed Sec.
      Litig.), 650 F.3d 167, 185 (2d Cir. 2011) (“Because § 15 and § 20(a) are roughly parallel control person
      provisions . . . we here adopt the quoted First Jersey definition of control for § 15 claims.”); In re AOL Time
      Warner, Inc. Sec. & ERISA Litig., 381 F. Supp. 2d 192, 234 (S.D.N.Y. 2004) (“means of exercising control
      pursuant to [s]ections 15 and 20(a)” include “stock ownership,” “business relationships, interlocking
      directors, family relationships, and the power to influence and control the activities of another”).
291   Cromer Fin. Ltd. v. Berger, 137 F. Supp. 2d 452, 484 (S.D.N.Y. 2001); see also Cohen v. Stevanovich,
      722 F. Supp. 2d 416, 435 (S.D.N.Y. 2010) (“The [s]ection 20(a) defendant must not only have actual control
      over the primary violator, but have actual control over the transaction in question.”) (quotation marks
      omitted); In re Refco Sec. Litig., 503 F. Supp. 2d 611, 637 (S.D.N.Y. 2007) (“To prevail on a § 15 claim, a
      plaintiff is required to prove actual control, not merely control person status.”) (quotation marks omitted); In
      re Livent, Inc. Sec. Litig., 78 F. Supp. 2d 194, 221 (S.D.N.Y. 1999) (“Actual control is essential to control
      person liability.”).

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securities.”292 Some courts in the Second Circuit have clarified that “control requires only the
ability to direct the actions of the controlled person, and not the active exercise thereof.”293
Courts in certain other jurisdictions have required that “the alleged control person actually
exercised control over the general operations of the primary violator” and “possessed—but did
not necessarily exercise—the power to determine the specific acts or omissions upon which
the underlying violation is predicated.”294

     “A court ‘must consider the total effect of the various indicia of control in combination,’
rather than examining any one indicia in isolation.”295 “Allegations that an entity was the
parent corporation of a primary violator, standing alone, do not make out a claim of



292   In re Flag Telecom Holdings, Ltd. Sec. Litig., 352 F. Supp. 2d 429, 458 (S.D.N.Y. 2005) (quotation marks
      omitted); see also Wyo. State Treasurer, 650 F.3d at 18 (“[A]llegations of advice, feedback, and guidance fail
      to raise a reasonable inference that the Rating Agencies had the power to direct, rather than merely inform,
      the banks’ ultimate structuring decisions. Put another way, providing advice that the banks chose to follow
      does not suggest control.”); N.J. Carpenters Health Fund v. NovaStar Mortg., Inc., Civ. No. 08-5310, 2011
      U.S. Dist. LEXIS 36363, at *29 (S.D.N.Y. Mar. 31, 2011) (“Plaintiff’s allegations do not demonstrate
      control, but only the power to influence or persuade those who issued or sold the securities.”); In re Alstom
      Sec. Litig., 406 F. Supp. 2d 433, 487 (S.D.N.Y. 2005) (“[E]xercise of influence, without power to direct or
      cause the direction of management and policies . . . is not sufficient to establish control for purposes of
      [s]ection 20(a).”).
293   See CompuDyne Corp. v. Shane, 453 F. Supp. 2d 807, 829 (S.D.N.Y. 2006) (quoting Dietrich v. Bauer,
      126 F. Supp. 2d 759, 764 (S.D.N.Y. 2001)); see also Epstein v. Haas Sec. Corp., 731 F. Supp. 1166, 1175 n.5
      (S.D.N.Y. 1990) (rejecting argument that “plaintiffs must show that defendants actually exercised control
      over the conduct constituting the violation” because it “clearly runs counter” to the rule that “the plaintiff
      need not allege that the defendant actively exercised the control in the transaction in question”).
294   See Lustgraaf v. Behrens, 619 F.3d 867, 873 (8th Cir. 2010) (applying section 20(a) of the Exchange Act);
      see also In re Credit Suisse – AOL Sec. Litig., Civ. No. 02-12146, 2011 U.S. Dist. LEXIS 95889, at *25 (D.
      Mass. Aug. 26, 2011) (same); Premier Capital Mgmt., LLC v. Cohen, Civ. No. 02-5368, 2008 U.S. Dist.
      LEXIS 23484, at *26 (N.D. Ill. Mar. 24, 2008) (“First, [under section 15] the ‘control person’ needs to have
      actually exercised general control over the operations of the wrongdoer, and second, the control person must
      have had the power or ability—even if not exercised—to control the specific transaction or activity that is
      alleged to give rise to liability.”) (quoting Donohoe v. Consol. Operating & Prod. Corp., 30 F.3d 907, 911–
      12 (7th Cir. 1994)); Semrad v. Edina Realty, Inc., 493 N.W.2d 528, 532–33 (Minn. 1992) (applying same
      standard under MINN. STAT. § 80A.23). To the extent AFI argues that Third-Party Claimants must instead
      demonstrate that AFI “exercised operational control over . . . the securitizations they challenge,” see AFI
      Submission Paper, Dec. 19, 2012, at 30, 34, that argument is inconsistent with what appears to be the
      prevailing view. None of the decisions relied upon by AFI are to the contrary. See, e.g., Ho v. Duoyuan
      Global Water, Inc., 887 F. Supp. 2d 547, 579 (S.D.N.Y. 2012) (dismissing section 15 claims where
      complaint failed to allege that defendant possessed “actual control over the transaction in question,” without
      suggesting that plaintiff was required to plead that defendant exercised such control over that transaction)
      (quotation marks and emphasis omitted).
295   In re Adelphia Commc’ns Corp. Sec. & Derivative Litig., 398 F. Supp. 2d 244, 262 (S.D.N.Y. 2005) (quoting
      In re Leslie Fay Cos., Inc. Sec. Litig., 918 F. Supp. 749, 763 (S.D.N.Y. 1996)); see also United States v.
      Corr, 543 F.2d 1042, 1050 (2d Cir. 1976) (explaining that “[w]hile there is no statutory definition of
      ‘control,’ its concept is not a narrow one,” but “depends upon the totality of the circumstances”).

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control.”296 By itself, “[t]he parent/subsidiary relationship is an insufficient basis from which
to infer control because a parent corporation and its subsidiary are regarded as legally distinct
entities.”297 “Minority stock ownership [by a parent] and the ability to appoint a minority of
the board,” without more, “do not create power to direct management and policies, and thus
do not constitute sufficient control.”298 The existence of overlapping officers or directors
among parent and subsidiary entities likewise may not “create any presumption of control for
purposes of establishing control person liability.”299 “Moreover, the right [of a parent] to
access another [affiliated] firm’s books and records, without more, does not suggest any
concomitant right to control that firm.”300

    Nonetheless, “[i]n cases involving parent-subsidiary relationships, courts have regularly
based findings of control person liability on allegations of substantial stock ownership and
296   Emps.’ Ret. Sys. of the Gov’t of the Virgin Is. v. J.P. Morgan Chase & Co., 804 F. Supp. 2d 141, 157
      (S.D.N.Y. 2011) (dismissing section 15 claim as against parent entity); see also Suez Equity Investors, LP v.
      Toronto-Dominion Bank, 250 F.3d 87, 102 (2d Cir. 2001) (finding a section 20(a) claim “insufficient . . . as a
      matter of law” where allegations that “Holdings controlled various of the other corporate defendants” were
      “conclusory at best”); Pub. Emps.’ Ret. Sys. of Miss. v. Merrill Lynch & Co. Inc., 714 F. Supp. 2d 475, 484
      (S.D.N.Y. 2010) (dismissing section 15 claim where plaintiffs “failed to allege beyond ‘formulaic recitation’
      how Merrill . . . exercised control over [the alleged primary violators]” where plaintiffs “merely allege that
      [they] were Merrill subsidiaries and affiliates of each other”); In re Global Crossing, Ltd., Sec. Litig., Civ.
      No. 02-910, 2005 U.S. Dist. LEXIS 16232, at *13 (S.D.N.Y. Aug. 5, 2005) (“The mere existence of a parent/
      subsidiary relationship may be an insufficient basis from which to infer control for allegations of [s]ection 15
      liability, but plaintiffs have pled more than that.”) (citation omitted); Alameda Co. Emps.’ Ret. Ass’n v.
      Ebbers (In re WorldCom, Inc. Sec. Litig.), Civ. Nos. 02-3288 & 03-0890, 2004 U.S. Dist. LEXIS 8661, at
      *10–11 (S.D.N.Y. May 18, 2004) (granting motion to dismiss section 15 claim where complaint “does not
      allege any ownership of voting securities or other basis for asserting that the Holding Company Defendants
      have the power to direct or cause the direction of the management or policies of the defendant subsidiaries”).
297   Pub. Emps.’ Ret. Sys. of Miss., 714 F. Supp. 2d at 484 (quotation marks omitted).
298   In re Alstom Sec. Litig., 406 F. Supp. 2d at 492 (dismissing section 20(a) claim where “Alcatel was a [24%]
      minority shareholder”); see also In re Flag Telecom Holdings, Ltd. Sec. Litig., 352 F. Supp. 2d 429, 458
      (S.D.N.Y. 2005) (allegations that “Verizon owned 30% of Flag’s voting shares and had the power to appoint
      three members to Flag’s Board of Directors” not adequate to establish “control”); In re Deutsche Telekom
      AG Sec. Litig., Civ. No. 00-9475, 2002 U.S. Dist. LEXIS 2627, at *19 (S.D.N.Y. Feb. 20, 2002) (deciding
      that allegation that “KfW owned 22 percent of Deutche Telekom” was “insufficient by itself to infer control
      of Deutsche Telecom by KfW, especially given the 43% ownership share of Deutsche Telekom by the
      Federal Republic of Germany”).
299   See In re WorldCom, Inc., 377 B.R. 77, 105 (Bankr. S.D.N.Y. 2007) (denying plaintiff’s motion for summary
      judgment as to control person liability where it was undisputed that “the same individual, Lawrence Tucker,
      simultaneously served as a member on the board of directors for both [alleged control person] WorldCom
      and [alleged primary violator] WAXS”); see also Suez Equity Investors, LP v. Toronto-Dominion Bank, 250
      F.3d 87, 102 (2d Cir. 2001) (“vague allegations . . . indicating only that certain employees worked for
      multiple defendants” are “insufficient under § 20 as a matter of law” to plead that “Holdings controlled
      various of the other corporate defendants”); In re Flag Telecom Holdings, Ltd. Sec. Litig., 308 F. Supp. 2d
      249, 274 (S.D.N.Y. 2004).
300   In re Parmalat Sec. Litig., 375 F. Supp. 2d 278, 311 (S.D.N.Y. 2005) (“Plaintiffs’ [section 20] claim in
      respect of GT-USA, however, falls short. The only non-conclusory allegations of control are that of relative
      size and GT-USA’s access to member firms’ books and records.”).

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common principals.”301 Allegations that a “control person” defendant “was not simply the
corporate parent” of its subsidiary but instead exercised day-to-day direction or supervision
over that subsidiary’s actions have been found indicative of control.302 Similarly, allegations




301   STMicroelectronics v. Credit Suisse Group, 775 F. Supp. 2d 525, 536 (E.D.N.Y. 2011) (quoting Kalin v.
      Xanboo, Inc., 526 F. Supp. 2d 392, 406 (S.D.N.Y. 2007)); see also Healey v. Chelsea Res. Ltd., 947 F.2d
      611, 626 (2d Cir. 1991) (noting that “[w]hether or not sufficient, such proof [of a parent-wholly-owned-
      subsidiary relationship] would at least seem relevant” to determination of “control”); In re Citigroup Inc.
      Bond Litig., 723 F. Supp. 2d 568, 595 (S.D.N.Y. 2010) (denying motion to dismiss section 15 claim where
      alleged primary violator was the “wholly-owned subsidiary” of the alleged control person); In re Prestige
      Brands Holdings, Inc. Sec. Litig., Civ. No. 05-6924, 2006 U.S. Dist. LEXIS 81980, at *7 (S.D.N.Y. Nov. 9,
      2006) (denying motion to dismiss section 15 claim where plaintiff’s allegations of control included that
      “GTCR formed Prestige and owned 85.2% of its stock” and “GTCR placed two of its principals on Prestige’s
      five member Board of Directors”); In re Parmalat Sec. Litig., 375 F. Supp. 2d at 311 (“[A]llegations that the
      top executives of [alleged control person] Deloitte & Touche LLP held the top two positions at [affiliate]
      DTT and that at least one of those executives was involved in the Parmalat audit are sufficient to give rise to
      an inference of control.”); Dietrich v. Bauer, 126 F. Supp. 2d 759, 765 (S.D.N.Y. 2001) (“A sole shareholder
      of the company that is the primary wrongdoer has been held to be a control person within the meaning of
      [s]ection 20(a), as ownership strongly suggests that the defendant has the potential power to influence and
      direct the activities of the wrongdoer.”); Pollack v. Laidlaw Holdings, Inc., Civ. No. 90-5788, 1995 U.S.
      Dist. LEXIS 5909, at *59 (S.D.N.Y. May 2, 1995) (denying motion to dismiss control person claims because
      “plaintiffs have provided prima facie evidence of Laidlaw Holdings’ status as a controlling person” where it
      was alleged that “Laidlaw Holdings controlled both Laidlaw Equities and Laidlaw Asset Management
      through one hundred percent stock ownership and through common officers and directors”); Borden, Inc. v.
      Spoor Behrins Campbell & Young, Inc., 735 F. Supp. 587, 591 (S.D.N.Y. 1990) (holding that “plaintiffs have
      sufficiently stated control status and therefore, a [s]ection 20 claim” because “[p]laintiffs’ allegation that
      defendants were sole shareholders of [alleged primary violator] SBCY clearly meets [the ‘control’]
      standard”).
302   See FHFA v. UBS Ams. Inc., 858 F. Supp. 2d 306, 333 (S.D.N.Y. 2012) (denying motion to dismiss
      section 15 claim where plaintiff alleged that “UBS Americas was not simply the corporate parent of UBS
      Securities and MASTR but, in practice, controlled their actions in issuing and selling RMBS certificates”);
      see also Kalin v. Xanboo, Inc., 526 F. Supp. 2d 392, 405 (S.D.N.Y. 2007) (finding that “[p]laintiff has
      sufficiently pled that RDI is a ‘control person’ over the primary violator Xanboo” where plaintiff alleged “a
      mix of substantial stock ownership, shared officers and principals, and at least some direct involvement in
      Xanboo by officers of RDI”); In re Global Crossing, Ltd., Sec. Litig., Civ. No. 02-910, 2005 U.S. Dist.
      LEXIS 16232, at *13–14 (S.D.N.Y. Aug. 5, 2005) (plaintiffs’ allegations were “sufficient to state a claim of
      control under [s]ection 15” where plaintiffs “alleged that Securities is JPMC’s wholly owned subsidiary, that
      the directors of both corporations were ‘interchangeable,’ and that JPMC ‘had direct involvement in the day-
      to-day operations of Securities’”) (internal citations omitted); Cromer Fin. Ltd. v. Berger, 137 F. Supp. 2d
      452, 484 (S.D.N.Y. 2001) (denying motion to dismiss section 20(a) claim complaint alleged that defendant
      entity “exercis[ed] ‘direct, daily supervision, oversight and control’ through common personnel and shared
      offices” with affiliates).

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that a parent used its subsidiary as a vehicle to conduct the parent’s business may also be
relevant to a finding of control.303

     In recent years, courts have applied these standards to decide motions to dismiss control
person claims asserted by investors under federal or states securities laws against the parents
or affiliates of issuers or underwriters of RMBS. Some courts granted such motions to dismiss
explaining that “[a]llegations that an entity was the parent corporation of a primary violator,
standing alone, do not make out a claim of control.”304 Several other courts, however, denied
motions to dismiss control person claims where the plaintiff did more than plead mere
corporate ownership or affiliation including, for example, by alleging facts showing that a
parent “operated its subsidiaries as a collective enterprise with respect to the origination of
mortgage loans”305 or “structured [its affiliates] to facilitate the issuance and sale of the
[RMBS] and controlled them directly.”306 Some courts denying motions to dismiss have also
303   See In re Indep. Energy Holdings PLC Sec. Litig., 154 F. Supp. 2d 741, 770 (S.D.N.Y. 2001) (finding that
      “[p]laintiffs have pled sufficient facts supporting an inference that DLJ Inc. controlled DLJ Securities and
      DLJ International” where plaintiffs alleged that “DLJ Inc. conducts its business domestically and
      internationally through [those] wholly-owned subsidiaries” and that “DLJ Inc. was running the business of
      DLJ Securities through common management”) (quotation marks omitted); Cromer Fin. Ltd. v. Berger, 137
      F. Supp. 2d 452, 484 (S.D.N.Y. 2001) (denying motion to dismiss section 20(a) claim and finding that
      complaint “adequately alleges . . . actual control” where, among other allegations, the complaint stated that
      “EYB identified FASB and K&W as ‘the corporate vehicles through which’ EYB provided administrative
      services to its clients”); see also Emps.’ Ret. Sys. of the Gov’t of the Virgin Is. v. J.P. Morgan Chase & Co.,
      804 F. Supp. 2d 141, 157 (S.D.N.Y. 2011) (“Nor is the fact that the J.P Morgan name appeared prominently
      on the Prospectus Supplement [issued by its subsidiary], lending the investment the imprimatur of the larger
      corporation, enough to establish control person liability.”).
304   See Emps.’ Ret. Sys. of the Gov’t of the Virgin Is. 804 F. Supp. 2d at 157 (granting motion to dismiss
      section 15 claim asserted against parent of issuer and underwriter of RMBS despite allegations “that the
      [parent’s] name appeared prominently on the Prospectus Supplement”); see also Pub. Emps.’ Ret. Sys. of
      Miss. v. Merrill Lynch & Co. Inc., 714 F. Supp. 2d 475, 485 (S.D.N.Y. 2010) (granting motion to dismiss
      section 15 claim where plaintiffs “failed to allege beyond formulaic recitation how Merrill . . . exercised
      control over Merrill Depositor” and “merely allege that . . . [the defendants] were Merrill subsidiaries and
      affiliates of each other”) (quotation marks omitted).
305   See Mass. Mut. Life Ins. Co. v. Countrywide Fin. Corp., 2012 U.S. Dist. LEXIS 121702, at *17 (C.D. Cal.
      Aug. 17, 2012) (denying motion to dismiss state-law control person claims asserted against Countrywide
      Financial Corporation, “the corporate parent of [primary violator] CSC,” where the complaint “alleged that
      CFC operated its subsidiaries as a collective enterprise with respect to the origination of mortgage loans,
      while maintaining high-level control”); see also In re Wash. Mut., Inc., 462 B.R. 137, 141 (Bankr. D. Del.
      2011) (denying objection to control person claims asserted by creditor under section 15 and California
      securities laws where plaintiff adequately alleged that the parent “controlled the offering entities as divisions
      of an integrated mortgage-backed securities production ‘factory’”).
306   See Me. State Ret. Sys. v. Countrywide Fin. Corp., Civ. No. 10-0302, 2011 U.S. Dist. LEXIS 125203, at *45
      (C.D. Cal. May 5, 2011) (denying motion to dismiss section 15 claim asserted against Countrywide Financial
      Corporation where the plaintiff “alleges that CFC structured the [primary violator] Issuer Defendants to
      facilitate the issuance and sale of the [RMBS] and controlled them directly”); see also Capital Ventures Int’l v.
      J.P. Morgan Mortg. Acquisition Corp., Civ. No. 12-10085, 2013 U.S. Dist. LEXIS 19227, at *30 (D. Mass.
      Feb. 13, 2013) (denying motion to dismiss MUSA § 410(b) claim where the complaint alleged that the
      securitization sponsor “had day-to-day control” over the primary violations including control over “select[ing]
      the loans that would be securitized” and “the disclosures made in connection with the related securitizations”).

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found relevant allegations of a “significant overlap in the controlling executives and directors
of each entity [involved in the securitization process].”307

                             (ii) Application To RMBS Claims

     Third-Party Claimants allege that AFI “had the practical ability to and in fact exercised
direction and control of [its] subsidiaries in coordinating the [vertically-integrated]
securitization process, determining the structure of each offering, and issuing and selling the
[securities] purchased by [Third-Party Claimants].”308 In support of such allegations, Third-
Party Claimants further allege, inter alia, that (1) “[AFI], [GMAC Mortgage Group, LLC],
ResCap, and [RFC] shared overlapping management with each other and/or [the Depositor
Entities]”; (2) AFI “supports its subsidiaries financially”; (3) AFI “publicly reports on its own
business and that of its subsidiaries on an integrated basis”; (4) AFI “provides various services
to [the Debtors], which demonstrate the integrated nature of the . . . businesses”; and
(5) “[u]nlike typical arm’s length securitizations, [these] involved various [AFI] subsidiaries
and affiliates at virtually each step in the chain.”309



307   See Genesee Co. Emps.’ Ret. Sys. v. Thornburg Mortg. Sec. Trust 2006-3, 825 F. Supp. 2d 1082, 1222
      (D.N.M. 2011) (denying motion to dismiss section 15 claim where the complaint’s allegations that “[control
      person] RBS Securities created [primary violator] GC Acceptance and receives basically all of its revenue
      from securitizations” and that there was “significant overlap in the controlling executives and directors of
      each entity” were sufficient to “demonstrate that RBS Securities had the practical ability to direct the actions
      of the primary violator”); see also Capital Ventures Int’l, 2013 U.S. Dist. LEXIS 19227, at *30 (denying
      motion to dismiss MUSA § 410(b) control person claim where complaint alleged “details about how the
      depositors were organized and managed” including that “the management of the depositor and sponsor often
      overlap”).
308   See Am. Compl., FHFA v. Ally Fin. Inc., Civ. No. 11-07010, Docket No. 114, at 25–26 (S.D.N.Y. June 13,
      2012); see also Am. Compl., FHLB of Boston v. Ally Fin., Inc., Civ. No. 11-10952, Docket No. 180, at 46–
      47 113 (D. Mass. June 29, 2012) (“[AFI] possessed the practical ability to direct or cause the direction of the
      management, policies, and actions of Defendants . . . and in fact exercised such direction and control . . .
      related to the issuance and sale of the Certificates.”); Am. Compl., FHLB of Chicago v. Banc of Am. Funding
      Corp., Case No. 10-CH-45033, at 20, 200–201 (Ill. Cir. Ct. Apr. 8, 2011); Am. Compl., John Hancock Life
      Ins. Co. (U.S.A.) v. Ally Fin. Inc., Civ. No.12-01841, Docket No. 84, at 12 (D. Minn. Oct. 15, 2012) (“[AFI]
      is the ultimate corporate parent of all the other [defendants] and controls the policy of the . . . business
      operation. In this capacity, [AFI] pursued the securitizations at issue . . . at the expense of Plaintiffs.”); Am.
      Compl., Stichting Pensioenfonds ABP v. Ally Fin. Inc., Civ. No. 12-01381, Docket No. 101, at 10–11 (D.
      Minn. Oct. 11, 2011) (same); Am. Compl., Union Central Life Ins. Co. v. Ally Fin., Inc., Civ. No. 11-02890,
      Docket No. 146, at 13, 240–241 (S.D.N.Y. May 4, 2012).
309   See Am. Compl., FHFA v. Ally Fin. Inc., Civ. No. 11-7010, Docket No. 114, at 26–31 (S.D.N.Y. June 13,
      2012); see also Am. Compl., FHLB of Boston v. Ally Fin., Inc., Civ. No. 11-10952, Docket No. 180, at 278
      (D. Mass. June 29, 2012); Am. Compl., FHLB of Chicago v. Banc of Am. Funding Corp., Case
      No. 10-CH-45033, at 200–202 (Ill. Cir. Ct. Apr. 8, 2011); Am. Compl., John Hancock Life Ins. Co. (U.S.A.)
      v. Ally Fin. Inc., Civ. No.12-01841, Docket No. 84, at 263–269 (D. Minn. Oct. 15, 2012); Am. Compl.,
      Stichting Pensioenfonds ABP v. Ally Fin. Inc., Civ. No. 12-01381, Docket No. 101, at 162–168 (D. Minn.
      Oct. 11, 2011); Am. Compl., Union Cent. Life Ins. Co. v. Ally Fin., Inc., Civ. No. 11-02890, Docket No. 146,
      at 240–241 (S.D.N.Y. May 4, 2012).

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     To date, two courts have found such allegations sufficient as a matter of law to plead that
AFI was a “controlling person” of one or more alleged primary violators.310 In FHFA v. Ally
Fin., Inc., the U.S. District Court for the Southern District of New York denied AFI’s motion
to dismiss the section 15 claims asserted against it by the FHFA.311 The district court rejected
AFI’s argument that the FHFA’s allegations of control were “insufficient” and found adequate
the complaint’s allegations that AFI “(1) exercised direction and control over a vertically
integrated structure of wholly owned subsidiaries that sold the [RMBS] Certificates,
(2) shared officers and directors with those subsidiaries, (3) supplied them with essential
services and financial support, and (4) profited substantially from this vertically integrated
approach to the securitization process.”312 In FHLB of Chicago v. Banc of Am. Funding Corp.,
the Circuit Court in Cook County, Illinois, denied AFI’s motion to dismiss control person
claims asserted under the Illinois Securities Law and the North Carolina Securities Act.313
Those courts that have granted motions to dismiss control person claims asserted by Third-
Party Claimants against AFI do not appear to have done so on the ground of a failure to plead
control.314

      Of course, the denial of a motion to dismiss “is not to say that [such] claims are strong, or
that they will necessarily succeed.”315 To prevail on the merits of their control person claims
against AFI, Third-Party Claimants will be required to prove by a preponderance of the
evidence the necessary control (among other elements).316 In their submissions to the
Examiner, Third-Party Claimants have asserted that they expect to “demonstrate the
controlling person status of [AFI] through [its] extensive operational control of the relevant
debtor affiliates, such as their control over all major decisions respecting the debtor affiliates
310   See FHFA v. Ally Fin., Inc., Civ. No. 11-7010, 2012 U.S. Dist. LEXIS 179768, at *11–15 (S.D.N.Y. Dec. 19,
      2012); Order, FHLB of Chicago v. Banc of Am. Funding Corp., Case No. 10-CH-45033, at 33 (Ill. Cir. Ct.
      Sept. 19, 2012).
311   Civ. No. 11-7010, 2012 U.S. Dist. LEXIS 179768, at *11–15 (S.D.N.Y. Dec. 19, 2012).
312   Id. at *12–13; see also FHFA v. UBS Americas, Inc., 858 F. Supp. 2d 306, 333 (S.D.N.Y. 2012) (Cote, J.)
      (denying motion to dismiss section 15 claim where the complaint “alleges that [control person] UBS Real
      Estate was actively involved in coordinating the securitization process and determining the structure of each
      offering and that [control person] UBS Americas was not simply the corporate parent of UBS Securities and
      MASTR but, in practice, controlled their actions in issuing and selling RMBS certificates”).
313   See Order, FHLB of Chicago v. Banc of Am. Funding Corp., Case No. 10-CH-45033, at 33 (Ill. Cir. Ct.
      Sept. 19, 2012) (“The [FHLB] correctly argues that it has stated a claim for ‘control person’ liability because
      it has properly stated claims for primary violations of securities laws.”).
314   See Order, Union Cent. Life Ins. Co. v. Ally Fin., Inc., Civ. No. 11-02890, Docket No. 263, at 3–4 (S.D.N.Y.
      Mar. 29, 2013) (granting motion to dismiss “claims against [AFI] for violations of [s]ection 20(a) and 20(b) of
      the Exchange Act” where plaintiffs “have not pled any facts with particularity to demonstrate [defendants’]
      scienter” and such allegations were “wholly conclusory”); Huntington Bancshares, Inc. v. Ally Fin. Inc., Case
      No. 27-cv-11-20276, at 9 (Minn. Dist. Ct. Dec. 11, 2012) (dismissing with prejudice Minnesota Securities Act
      claims asserted against AFI as “barred as a matter of law by the three-year statute of limitations”).
315   See City of Ann Arbor Emps.’ Ret. Sys. v. Citigroup Mortg. Loan Trust Inc., Civ. No. 08-1418, 2010 U.S.
      Dist. LEXIS 137290, at *16–17 (E.D.N.Y. Dec. 23, 2010) (denying motion to dismiss Securities Act claims
      alleging a “departure from underwriting standards”).
316   See Section VIII.C.2.a(2)(a).

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and shared personnel,” and that “discovery will yield even more evidence.”317 AFI disagrees,
contending that Third-Party Claimants “offer no evidence” and cannot prove that “AFI ever
exercised operational control over ResCap (or its operating subsidiaries), much less that it did
so with respect to the securitizations.”318
     While a close question, the Examiner concludes that it is more likely than not that a court
would not find the requisite control of AFI over the alleged primary securities violators. To
reach this conclusion, the Examiner considered the parties’ arguments and the available
evidence, including with respect to: (A) the Operating Agreement; (B) overlapping officers
and directors; (C) shared functions and services; (D) AFI’s audits of the Debtors; and
(E) certain statements by AFI and the Debtors concerning their relationship.
                                 (A) The Operating Agreement
     AFI asserts that it “was walled off from ResCap as a result of ResCap’s Operating
Agreement” and that those “restrictions . . . collectively precluded AFI from exercising actual
control over ResCap’s operations . . . and . . . ResCap’s conduct in connection with the RMBS
transactions at issue here.”319 To the extent that AFI intends to argue that the Operating
Agreement alone could defeat Third-Party Claimants’ control person claims, that argument
has been rejected by one court and does not persuade the Examiner.320
     In FHFA v. Ally Fin., Inc., the district court concluded that the “operating agreement
entered into between AFI and ResCap in June 2005” failed to “demonstrate[] as a matter of
law that [AFI] did not exercise control over [RFC] and the [Depositor Entities] during the
period that the securitizations at issue were sold.”321 According to the court, the complaint
contained allegations that “call into question the appearance of independence that might be
conveyed by the Operating Agreement in isolation” including that “in several instances
officers of AFI served on the board of ResCap or its subsidiaries.”322 Although “[i]t may be
the case that, whether because of the Operating Agreement or for other reasons, the
involvement of [AFI] in ResCap’s securitization activities was not sufficient to give rise to
control-person liability,” such a finding could not be made as a matter of law based on the text
of the Operating Agreement alone.323
317   See Joint Submission Paper of Federal Home Loan Banks of Boston, Chicago and Indianapolis, dated Oct.
      19, 2012, at 23–24, 28; see also Joint Submission Paper of AIG, Allstate Life Ins. Co., Mass. Mut. Life Ins.
      Co., and Prudential Ins. Co. of Am., dated Oct. 17, 2012, at 25 (“The Investors have powerful claims that
      [AFI] aided and abetted the fraud of the debtor and non-debtor entities which issued the RMBS . . . . The
      Examiner likely will find further evidence of [AFI’s] vicarious liability through the discovery into [AFI’s]
      management of ResCap and the other Debtors prior to the financial crisis.”).
318   See AFI Submission Paper, Dec. 19, 2012, at 30.
319   See id. at 32 (emphasis omitted).
320   See Section VII.A.1.f(4)(b)(i) (explaining that the Operating Agreement is not dispositive of whether the
      Debtors observed all appropriate corporate formalities).
321   FHFA v. Ally Fin., Inc., Civ. No. 11-7010, 2012 U.S. Dist. LEXIS 179768, at *13 (S.D.N.Y. Dec. 19, 2012).
322   Id. at *14–15.
323   Id. at *15.

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      Indeed, the Investigation has revealed evidence that, in some cases, ResCap’s officers
and directors failed to follow or inconsistently followed certain provisions of the Operating
Agreement.324 Moreover, the terms of the Operating Agreement are not necessarily
inconsistent with the type of control required by the pertinent securities laws.325 The Operating
Agreement authorizes AFI to appoint each member of the ResCap Board, including its
Independent Directors.326 Although the Operating Agreement imposes certain limitations on
related-party transactions and contains a series of provisions “so that ResCap will maintain its
separate legal existence and identity,” it does not purport to expressly prevent AFI’s
involvement in any one or more aspects of the securitization process at ResCap and its
subsidiaries.327

      The Examiner is conversely not persuaded by Third-Party Claimants’ assertion that the
“Operating Agreement enabled [AFI] to financially control ResCap, by preventing ResCap
from declaring dividends or paying off debt owed to [AFI].”328 The stated purpose of such
restrictions was to “create separation between GM and [GMAC], on the one hand, and
ResCap, on the other” so that ResCap could “obtain[] investment grade credit ratings for its
unsecured indebtedness that are separate from [GMAC’s] ratings and the ratings of GM.”329
The Investigation has revealed no evidence that would suggest that limitations on the
circumstances in which ResCap was permitted to make payments to AFI somehow gave rise
to AFI’s “‘power to direct or cause the direction of the management and policies of [the
Debtors].’”330



324   See Section VII.A.1.f(4)(b)(i).
325   See, e.g., In re Prestige Brands Holdings, Inc. Sec. Litig., Civ. No. 05-6924, 2006 U.S. Dist. LEXIS 81980, at
      *7 (S.D.N.Y. Nov. 9, 2006) (denying motion to dismiss section 15 claim where plaintiff’s allegations of
      control included that “GTCR formed Prestige and owned 85.2% of its stock” and “GTCR placed two of its
      principals on Prestige’s five member Board of Directors”).
326   See 2005 Operating Agreement, section 2(g)(i) [ALLY_0140795]; see also 2006 Amended Operating
      Agreement, § 2(f)(i) (attached to Residential Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006),
      Ex. 10.1).
327   See 2005 Operating Agreement, §§ 2(b), (f) [ALLY_0140795]; see also 2006 Amended Operating
      Agreement, § 2(b), (e) (attached to Residential Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006),
      Ex. 10.1). Notably, the 2006 Amended Operating Agreement removed the requirement that “ResCap shall at
      all times . . . cause to be conducted the business operations of itself and its Subsidiaries by its or their own
      employees and officers, who will not also be employees or officers of any GMAC Affiliates.” Compare 2005
      Operating Agreement, § 2(f) [ALLY_0140795], with 2006 Amended Operating Agreement, § 2(e) (attached
      to Residential Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006), Ex. 10.1).
328   See Joint Submission Paper of AIG, Allstate Life Ins. Co., Mass. Mut. Life Ins. Co., and Prudential Ins. Co.
      of Am., dated Oct. 17, 2012, at 25; see also Joint Submission Paper of Federal Home Loan Banks of Boston,
      Chicago, and Indianapolis, dated Oct. 19, 2012, at 28 n.18 (noting the “financial dependence of ResCap on
      Ally”).
329   See General Motors Acceptance Corporation, Annual Report (Form 10-K) (March 28, 2006), at 5.
330   See SEC v. First Jersey Sec., Inc., 101 F.3d 1450, 1472–73 (2d Cir. 1996) (quoting 17 C.F.R. § 240.12b-2).

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     In sum, whether AFI had the requisite control over one or more alleged primary violators
“depends upon the totality of the circumstances,” and the text of the Operating Agreement
alone is unlikely to be dispositive.331

                                 (B) Overlapping Officers And Directors

      Third-Party Claimants assert as evidence of control that AFI “shared overlapping
management with [its] controlled entities.”332 AFI responds that “the existence of some
common management and directors” is a “common characteristic[] of a parent-subsidiary
relationship” and “insufficient to establish control person liability.”333 According to AFI, its
officers and directors did not have “any involvement in selecting loans for collateral pools,
conducting due diligence on the loans, approving individual RMBS issuances, drafting
offering materials, or marketing RMBS for sale.”334

      It is undisputed that the management of AFI overlapped with that of ResCap.335 AFI
exercised its authority under the Operating Agreement to elect each of the directors that served
on the ResCap Board—including the Independent Directors.336 From 2004 through 2007,
several of the directors that served on the ResCap Board were affiliated with AFI and/or
Cerberus.337 Moreover, many officers and other employees of ResCap also possessed dual
affiliations.338 Although overlapping management among a parent and wholly owned




331   See United States v. Corr, 543 F.2d 1042, 1050 (2d Cir. 1976). For the same reasons, the text of the
      Operating Agreement is unlikely to be dispositive of the aiding and abetting common law fraud claims
      asserted against AFI. See FHFA v. Ally Fin., Inc., Civ. No. 11-7010, 2012 U.S. Dist. LEXIS 179768, at *15
      (S.D.N.Y. Dec. 19, 2012) (denying motion to dismiss aiding and abetting claim asserted against AFI and
      rejecting argument that the Operating Agreement could defeat such claims as a matter of law).
332   See Joint Submission Paper of Federal Home Loan Banks of Boston, Chicago, and Indianapolis, dated Oct.
      19, 2012, at 27-28; see also Joint Submission Paper of AIG, Allstate Life Ins. Co., Mass. Mut. Life Ins. Co.,
      and Prudential Ins. Co. of Am., dated Oct. 17, 2012, at 25 (“The management of [AFI] and the Debtors
      substantially overlapped.”).
333   See AFI Submission Paper, dated Dec. 19, 2012, at 33.
334   Id. at 35.
335   See Appendix IV.A—1, —3.
336   See 2005 Operating Agreement, § 2(g)(i) [ALLY_0140795]; 2006 Amended Operating Agreement, § 2(f)(i)
      (attached to Residential Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006), Ex. 10.1); E-mail from
      W. Solomon (Apr. 14, 2008) [MELZER.004778] (“I am writing on behalf of GMAC to confirm that you
      [T. Melzer and T. Jacob] were originally recruited, and continue to serve, as independent directors of
      Residential Capital, LLC at the request of GMAC, the sole shareholder of that company.”).
337   See Appendix IV.A—3.
338   See Appendix IV.A—1.

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subsidiary may perhaps not be unusual, courts have nonetheless considered it relevant to
establishing the requisite control.339

     The Investigation has not, however, uncovered evidence that AFI—through such
overlapping directors and officers or otherwise—had any direct involvement in any of the
Debtors’ securitizations. Sanjiv Khattri, AFI CFO and ResCap Board member, described the
degree of involvement, if any, of AFI in the securitizations of RFC or GMAC Mortgage as
“[n]one whatsoever, to the best of my knowledge.”340 According to Khattri and others inside
AFI and its subsidiaries during the relevant time period, the “departments [within ResCap and
its subsidiaries] were very strong and independent” and “siloed.”341 In particular, those
interviewed by the Examiner’s Professionals did not recall any direct involvement by AFI in




339   See Healey v. Chelsea Res. Ltd., 947 F.2d 611, 626 (2d Cir. 1991) (noting that “[w]hether or not sufficient,
      such proof [of a parent wholly owned subsidiary relationship] would at least seem relevant” to determination
      of “control”); STMicroelectronics v. Credit Suisse Grp., 775 F. Supp. 2d 525, 536 (E.D.N.Y. 2011) (denying
      motion to dismiss section 20(a) claim where “CSS is a wholly-owned subsidiary of CSG and that the entities’
      executives overlap significantly at the highest levels”); In re Prestige Brands Holdings, Inc. Sec. Litig., Civ.
      No. 05-6924, 2006 U.S. Dist. LEXIS 81980, at *7 (S.D.N.Y. Nov. 9, 2006) (denying motion to dismiss
      section 15 claim where “GTCR placed two of its principals on Prestige’s five member Board of Directors”);
      In re Parmalat Sec. Litig., 375 F. Supp. 2d 278, 311 (S.D.N.Y. 2005) (“[A]llegations that the top executives
      of [alleged control person] Deloitte & Touche LLP held the top two positions at [affiliate] DTT and that at
      least one of those executives was involved in the Parmalat audit are sufficient to give rise to an inference of
      control.”); Pollack v. Laidlaw Holdings, Inc., Civ. No. 90-5788, 1995 U.S. Dist. LEXIS 5909, at *59
      (S.D.N.Y. May 2, 1995) (denying motion to dismiss control person claims where it was alleged that “Laidlaw
      Holdings controlled both Laidlaw Equities and Laidlaw Asset Management through one hundred percent
      stock ownership and through common officers and directors”). AFI’s reliance on In re Parmalat Sec. Litig.
      appears misplaced, as that decision concerned an agency theory of liability and not a control person claim
      asserted under pertinent federal or state securities laws. 501 F. Supp. 2d 560, 588 (S.D.N.Y. 2007) (granting
      motion to dismiss complaint and rejecting theory that defendant accounting firm was the “agent” of its
      affiliate, notwithstanding that the affiliates “share officers and directors”) (cited by AFI Submission Paper,
      dated Dec. 19, 2012, at 33).
340   Int. of S. Khattri, Apr. 5, 2013, at 5:4–18.
341   Id. at 8:8–16, 52:10–21 (describing “the culture at RFC and ResCap” as “independent” and “very siloed”);
      see also Int. of J. Steinhagen, Apr. 3, 2013, at 19:4–5 (“I didn’t pay much attention to what was going on at
      [AFI].”); Int. of D. Olson, Apr. 26, 2013, at 14:6–7 (“[W]e [at RFC] were operating fairly independently or
      very independently before [the formation of ResCap] and continued that way.”); Int. of E. Scholtz, Mar. 28,
      2013, at 18:8–22 (answering “No” to whether there were “any [AFI] representatives on the RFC Executive
      Committee [or any of the other senior management committees in which Scholtz participiated],” whether
      “[AFI] personnel attend[ed] any of those meetings,” and whether he “ever report[ed] to anyone who was an
      officer or employee of [AFI or GM]”). Eric Scholtz, Head of Capital Markets at RFC, did recall, without
      specific details, that AFI officer David Walker “may have sat in a couple of those meetings” of the “Funding
      Liquidity Committee [in 2005 or 2006] where we would discuss . . . all of the support that all these
      [investment] banks were providing in each individual area of the company.” Id. at 41:6–43:4.

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any securitization with respect to acquisition of the mortgage loans,342 pooling of the loans and
structuring of the securitizations,343 due diligence performed by underwriters and/or third-
party vendors,344 whether and under what terms to obtain financial guaranty insurance,345




342   Id. at 44:22–45:4 (stating that “details as to what the underwriters would do, what the quality control folks
      would do, what the fraud folks would do [in connection with acquiring loans]” did not reach his level), 58:6–
      14 (“That was three levels below me and, frankly, I had a lot of people in a lot of departments to manage so I
      didn’t get involved in the detailed work of a three level below trader [concerning bulk sale agreements and
      negotiated criteria agreements].”).
343   Int. of S. Khattri, Apr. 5, 2013, at 5:19–23 (“[Q:] [N]either GM nor GMAC supervised any of the
      securitizations or participated in structuring those deals? [A:] No, no.”); Int. of L. Lundsten, Feb. 20, 2013, at
      44:1–8 (“[Q:] [A]re you aware of any situations where . . . [AFI] would be involved in product
      development. . . ? [A:] I’m not aware of any, no.”), 65:6–14 (“[Q:] [A]re you aware of any circumstances
      where a question about whether to include or remove loans from a pool went above RFC . . . to anyone in
      [AFI]? [A:] No, I’m not aware. . . . [T]hey did not get that I recall ever involved at that level of detail . . . not
      even close. It generally stayed within Capital Markets.”).
344   Int. of S. Khattri, Apr. 5, 2013, at 6:11–15 (“[Q:] Do you know if [AFI] recommended which . . .
      [underwriters] RFC might use in connection with a securitization? [A:] To the best of my knowledge,
      nowhere.”); Int. of D. Olson, Apr. 26, 2013, at 74:6–23 (Olson did not recall AFI involvement in “picking
      underwriters for deals”).
345   Int. of S. Khattri, Apr. 5, 2013, at 11:13–19 (“[Q:] Do you have any understanding as to what criteria, if any,
      were used by RFC . . . to determine whether to obtain an insurance [w]rap for a securitization? [A:] I’m not
      aware of it actually, no.”), 11:20–25 (“[Q:] Do you know how it is that RFC or ResCap would determine
      which monoline to use? [A:] I was not privy to that process at all. They were independent.”); Int. of L.
      Lundsten, Feb. 20, 2013, at 140:3–17 (“[Q:] Can you recall any instance where someone from ResCap or
      [AFI] became involved with . . . the terms of any insurance agreement in a deal that was securitized by RFC?
      [A:] [N]o, I can’t remember any specific instance. . . . [B]ased on my recollection, it would have seemed odd
      for them to get into that level of detail.”); Int. of E. Scholtz, Mar. 28, 2013, at 37:2–6 (“[T]raders were
      probably three levels below me after 2001 in terms of management levels, so I wouldn’t have been involved
      at that level of specificity [in determining whether to obtain financial guaranty insurance for a
      securitization].”).

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obtaining ratings from ratings agencies,346 preparing the offering materials,347 or marketing
RMBS to investors.348 Further discovery would permit these recollections to be tested against
a full factual record and to reach definitive conclusions with respect to Third-Party Claimants’
allegations of day-to-day AFI control over the Debtors and their securitizations.349

                                  (C) Shared Functions And Services

     Third-Party Claimants assert that AFI and the Debtors “shared services” at relevant
times.350 The Investigation has revealed evidence that supports Third-Party Claimants’
assertion. AFI provided certain financial, operational, and administrative services to the


346   Int. of S. Khattri, Apr. 5, 2013, at 6:11–15 (“[Q:] Do you know if [AFI] had any input into the selection
      which rating agency . . . RFC might use? [A:] To the best of my knowledge, no, none whatsoever.”), 7:14–15
      (“[B]ecause of the firewall, all the rating agency issues were handled by ResCap.”), 6:21–25 (“[Q:] Did you
      attend any of the rating agency meetings [with] either RFC or ResCap in connection with any securitization?
      [A:] No, I did not.”); Int. of E. Scholtz, Mar. 28, 2013, at 39:18–21 (“[Q:] Do you recall if [AFI] ever had any
      input into which rating agencies RFC should consider using? [A:] Never.”), 108:23–109:1 (“[Q:] Did you
      ever have conversations with [AFI] relating to rating actions taken on various RFC offerings? [A:] Never.”);
      Int. of D. Olson, Apr. 26, 2013, at 74:6–23 (Olson did not recall any AFI involvement in “dealing with rating
      agencies”). The Investigation revealed evidence that, at least on one occasion, AFI officers provided high–
      level guidance concerning the selection of rating agencies for the Debtors’ securitizations. See E-mail from
      D. Walker (Mar. 18, 2005) [EXAM11735388] (Walker wrote to ResCap CFO Davee Olson and others “to
      make you aware of . . . Sanjiv [Khattri’s] vision and to request your support” for increasing the number of
      ratings agencies used by the Debtors to “improv[e] the competitiveness of the ratings industry”).
347   Int. of L. Lundsten, dated Feb. 20, 2013, at 93:12–95:10 (Lundsten recalled that she was “layer[s] removed”
      from the preparation of offering materials for RFC securitizations, which process involved RFC “deal
      managers . . . working with outside counsel”); see also Int. of D. Olson, Apr. 26, 2013, at 14:6–7 (“[Q:] [D]o
      you recall [AFI] weighing in on various transactions that RFC might have been involved in? [A:] I don’t
      recall [AFI] weighing in on transactions. We would have utilized their expertise to help advise us on things
      and . . . asked the lawyers or something up at the [AFI] level what they thought to see for consistency. . . . I
      don’t have any recollection of seeking advice [from AFI concerning the securitization process].”).
348   Int. of S. Khattri, Apr. 5, 2013, at 8:18–21 (“[Q:] Did representat[ives] of [AFI] participate in meetings with
      RMBS investors? [A:] No, they did not, to the best of my knowledge.”); Int. of J. Steinhagen, Apr. 3, 2013,
      at 112:3–11 (“[Q:] Did [AFI] ever attend [investor conferences] in connection with the mortgage operations?
      [A:] No.”).
349   The Investigation has revealed no evidence to support Third-Party Claimants’ assertion that AFI was a party
      to any of the “Pooling and Servicing Agreement, Mortgage Loan Purchase Agreement, Servicing Agreement,
      [or] Assignment, Assumption and Recognition Agreement” executed in connection with the issuance of
      RMBS by its affiliates. See Joint Submission Paper of Federal Home Loan Banks of Boston, Chicago, and
      Indianapolis, dated Oct. 19, 2012, at 25. Instead, such agreements were entered into by other parties
      including entities affiliated with AFI acting as sponsor, depositor, or servicer. See, e.g., Pooling and
      Servicing Agreement for Home Equity Mortgage Asset-Backed Pass-Through Certificates Series 2006-KS3,
      dated Mar. 1, 2006 [EXAM00236698] (entered into by RFC as Master Servicer, RASC as Depositor, and
      U.S. Bank National Association, as Trustee); Assignment and Assumption Agreement, dated Nov. 29, 2006
      [EXAM00235471] (entered into by RFC and RALI); see also Section VIII.B.1.b.
350   See Joint Submission Paper of Federal Home Loan Banks of Boston, Chicago, and Indianapolis, dated
      Oct. 19, 2012, at 26–27.

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Debtors for which it was paid management fees from 2004 through 2007 (and later).351 The
available evidence also offers, however, at least two reasons to expect that such evidence
would be of minimal probative value with respect to allegations of AFI’s control over the
Debtors’ securitization process during the relevant time period.

     First, many of the corporate functions and services identified by the Debtors as being
“shared” or “integrated” with AFI do not implicate control by AFI of the Debtors’
securitization process.352 As of the date of the Debtors’ bankruptcy petition, AFI provided to
the Debtors certain services in areas including information technology, human resources,
finance, treasury, supply chain, capital markets, and facilities.353 AFI’s provision of such
ordinary corporate services likely could not, without more, demonstrate the requisite “actual
control over the transaction in question” (i.e., over the Debtors’ securitization process).354

     Second, to the extent certain of the services provided by AFI to the Debtors could be
probative of the requisite control, those services may not have been provided until after the
alleged securities law violations. For example, Third-Party Claimants assert that the “shared
services” provided by AFI to the Debtors included “legal services.”355 It was not until
March 2007, however, that AFI CEO Eric Feldstein announced that “[t]he staff functions of
GMAC [would] be realigned into strong global functions” in areas including legal, finance,
information technology, communications, and human resources.356 According to Feldstein,
AFI’s “historical business model” had “emphasized autonomous business units.”357 Indeed,
the evidence indicates that it was not until 2008 or later that legal and other “global functions”




351   See Section V.H (describing arrangements for sharing of certain services); see also Residential Capital
      Corporation, Annual Report (Form 10-K) (Mar. 28, 2006), at 142 (“[AFI] has provided [ResCap] with certain
      services for which a management fee was paid. [ResCap] paid [AFI] management fees of $8.7 and $5.4
      million for 2005 and 2004, respectively.”); Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27,
      2009), at 206 (disclosing management fees paid by ResCap to AFI from 2006–2008 for services in areas
      including “finance, information technology, communication, corporate marketing, procurement, and services
      related to facilities”).
352   See Debtors’ Motion for Interim and Final Orders Under Bankruptcy Code sections 105(a) and 363(b)
      Authorizing Residential Capital, LLC to Enter into a Shared Services Agreement with Ally Financial Inc.
      Nunc Pro Tunc to the Petition Date for the Continued Receipt and Provision of Shared Services Necessary
      for the Operation of the Debtors’ Business [Docket No. 41] at 4, 14–16.
353   See id. at 14.
354   See Cohen v. Stevanovich, 722 F. Supp. 2d 416, 435 (S.D.N.Y. 2010) (emphasis omitted).
355   See Joint Submission Paper of Federal Home Loan Banks of Boston, Chicago, and Indianapolis, dated Oct.
      19, 2012, at 26–27.
356   See Memorandum, GMAC Global Functions, dated Mar. 15, 2007 [EXAM10063058].
357   See id.; see also Int. of L. Tessler, Feb. 28, 2013, at 34:7–14 (“ResCap was and has always been operated as a
      standalone company . . . . And, [by] definition, you have redundancies in cost structure as a result of that.”).

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were centralized within AFI.358 Evidence of alleged control by AFI that did not commence
until after most if not all of the securities law violations alleged by Third-Party Claimants
would not support their control person claims.359

                                  (D) AFI’s Audits Of The Debtors

     Third-Party Claimants assert as evidence of AFI control that AFI “was responsible for
auditing ResCap and other of the Debtors’ loan acquisition, distribution, servicing and
underwriting processes and procedures.”360 The Investigation has revealed evidence to support
Third-Party Claimants’ assertion.

     Audit Services, a “global” business function, performed an internal “audit function” at
AFI and its subsidiaries.361 Audit Services performed audits at AFI subsidiaries including
GMAC Mortgage, RFC, Homecomings Financial, Ally Securities, and Ally Bank.362 The
Audit Services personnel that conducted audits at the Debtors were employees of the Debtors
who considered themselves “independent” and reported to Audit Services at GM and later
AFI.363 From 2004 through 2007, the areas audited by Audit Services included several related
to the Debtors’ securitization process such as certain aspects of loan acquisition, loan pooling
358   See Int. of T. Hamzehpour, Oct. 5, 2012, at 67:16–24 (“The GMAC organization historically was an
      organization of business unit silos and he viewed that as redundant and he wanted centralized functions. So
      all of the functions—finance, compliance, risk, legal were expected to centralize, and legal was one of the
      last ones [in January 2009].”); Int. of L. Tessler, Feb. 28, 2013, at 33:23–34:3 (“[T]here are two ways to
      survive a crisis. You know, raise revenues and reduce expenses and raise liquidity. And I suspect all of those
      options were on the table [in June 2008].”).
359   See Ho v. Duoyuan Global Water, Inc., 887 F. Supp. 2d 547, 579 (S.D.N.Y. 2012) (dismissing section 15
      claims where the defendant’s “veto power [over the actions of the alleged primary violator] ceased prior to
      the IPO . . . and thus provides no support for Plaintiffs’ contention that [the defendant] was a control person
      during the § 11 violations alleged in this action.”).
360   See Joint Submission Paper of AIG, Allstate Life Ins. Co., Mass. Mut. Life Ins. Co., and Prudential Ins. Co.
      of Am., dated Oct. 17, 2012, at 25; see also MBIA Submission Paper, Nov. 9, 2012, at 28–30.
361   See Int. of S. Khattri, Apr. 5, 2013, at 46:12–15 (“[T]he audit was a global function . . . and the department
      was called GMAC Audit.”), 14:20–15:6. Before “GMAC became an independent company,” the “audit
      function of GMAC” and its subsidiaries was performed by GM Audit Services as “part of the audit function
      of GM.” Id. at 14:7–15:6. The Examiner uses the term “Audit Services” to refer both to GM Audit Services
      and its successor GMAC Audit.
362   See Int. of H. McKenzie, Apr. 23, 2013, at 7:12–15 (“GM Audit Services actually oversaw audit practices
      basically for all of the GM subsidiaries which included [AFI] and in that case included [RFC].”); see also
      Report on Audit of GMACM – Pool Delivery and Collateral Curative, dated Oct. 22, 2004
      [ALLY_0220624]; Report on Audit of GMAC-RFC Homecomings Financial Network, dated Nov. 1, 2004
      [ALLY_0220627]; Report on Audit of GMAC-RFC Securities, dated Nov. 4, 2004 [ALLY_0220643];
      Report on Audit of GMAC Bank – Trust & Custody Services, dated Sept. 23, 2005 [ALLY_0220368]; Audit
      Report of: GMAC-RFC Service Delivery Group, dated May 18, 2006 [EXAM12501048].
363   See Int. of H. McKenzie, Apr. 23, 2013, at 36:9–12 (“I reported to the ResCap director [Bill Russell]. The
      ResCap director reported to the GMAC director who reported to the GM Financial.”), at 70:13–18
      (“[B]ecause the internal audit function is required to be independent of the organization, the reporting line for
      internal audit actually went up to GM Audit Services.”), 81:2–6 (“[Q:] When you went in as a team to . . .
      conduct this audit, your team, were they all [RFC] employees? [A:] Yes.”).

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and structuring, and the preparation of deal documents.364 The typical stated objective of those
audits was “to identify risk exposures and evaluate the adequacy and effectiveness of internal
controls, risk management practices, and corporate governance.”365
     Audit Services prepared audit reports containing “a summary of [its] conclusions, [the]
issues, and a brief description of the objectives and scope of the audit.”366 Those audit reports
often assigned an overall “Rating” to the areas audited of “1” (“Satisfactory”), “2” (“Needs
Improvement”), or “3” (“Unsatisfactory”).367 In general, they set also forth any “Matters
Requiring Management’s Attention” and “Management’s Action Plan” to address the
identified matters.368 For example, an Audit Services report titled “GMAC ResCap—
Creating & Accounting for Structured Finance Transactions,” dated January 31, 2007,
identified certain “Matters Requiring Management Attention” including that “Finance does
not formally review security and whole loan transaction documents . . . to determine the
appropriate accounting treatment under GAAP.”369 The corresponding “Management Action
Plan” stated that management would “improve the control by implementing a detailed
checklist,” assigned “Implementation Responsibility” to Lisa Lundsten, Managing Director of
364   See Int. of L. Lundsten, Feb. 20, 2013, at 153:22–25 (“There was a group from GMAC that did conduct a
      formal audit [of the Structured Finance Group within RFC] on a number of occasions.”); Audit Report of:
      GMAC-RFC Service Delivery Group, dated May 18, 2006, at 2 [ALLY_0220776] (“[T]his audit focused on
      Asset Acquisition processes including loan serviceability, salability and funding.”); GMAC ResCap—
      Creating & Accounting for Structured Finance Transactions, dated Jan. 31, 2007, at 2 [EXAM10380373]
      (“This audit focused on pooling of assets, accuracy of disclosures, compliance with SEC filing requirements,
      inventory management, [and] approval of deal structures . . . .”).
365   See Report on Audit of: GMAC Residential Funding – Warehouse Lending Operations, dated Feb. 2, 2004
      [ALLY_0220507]; see also Int. of H. McKenzie, Apr. 23, 2013, at 31:3–6 (“[T]he bulk of . . . our work and
      our focus was on the control environment as it related to the established policies and practices that had been
      defined.”).
366   See, e.g., GMAC ResCap—Creating & Accounting for Structured Finance Transactions, dated Jan. 31, 2007
      [EXAM10380373].
367   See Int. of S. Khattri, Apr. 5, 2013, at 23:10–17 (“[M]ost of the time we were rating and I think we had
      Unsat, Sat, and Needs Improvement. You know, so, 1, 2, 3, something like that.”); Int. of H. McKenzie,
      Apr. 23, 2013, at 98:2–7 (“[I]t’s satisfactory, needs improvement, and unsatisfactory.”), 142:11–15; GMAC
      ResCap—Creating & Accounting for Structured Finance Transactions, dated Jan. 31, 2007
      [EXAM10380373] (assigning “Rating: 2” and concluding that “[t]he system of internal control needs
      improvement”); Report on Audit of GMAC Residential Funding – Warehouse Lending Operations, dated
      Feb. 2, 2004, at 1 [ALLY_0220507] (assigning “Rating: Satisfactory” and concluding that “[t]he overall
      system of internal controls for Warehouse Lending is satisfactory”).
368   See Audit Report: GMAC-RFC Master Servicing, dated Jan. 13, 2006 [ALLY_0220429]; see also Int. of H.
      McKenzie, Apr. 23, 2013, at 21:10–22:21 (“[D]eficiencies that are identified are documented. Those were
      provided to management in a note saying this is the issue that we’ve identified. In some cases you would
      have a recommendation . . . the goal was to get management to determine what actions they were going to
      take to actually remediate the issue and the management action plan was owned by management. . . . [T]hen
      it moves on to the next phase which is monitoring and on a regular basis we would monitor all the issues that
      had been identified previously and then we provided reporting up to the audit committee of any issues that
      were again outstanding . . . .”).
369   See GMAC ResCap—Creating & Accounting for Structured Finance Transactions, dated Jan. 31, 2007, at 1
      [EXAM10380373].

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the Structured Finance Group of RFC, and set an “Expected Implementation Date.”370
Lundsten recalled that RFC complied with this “Management Action Plan” as “part of the
process.”371
      Audit Services reports were generally circulated to members of the senior management of
AFI, ResCap, RFC, and GMAC Mortgage, as well as to the respective outside auditors of AFI
and ResCap.372 The available evidence indicates that, as in the example above, Audit
Services’s findings and recommendations often prompted action from the Debtors. In response
to one Audit Services report dated May 6, 2005, GMAC Mortgage CFO David Walker wrote
RFC CEO David Applegate that they should “move on this stuff quickly.”373 Similarly, upon
receiving an Audit Services report dated January 17, 2006, Eric Scholtz, head of Capital
Markets at RFC, wrote that “[w]e need to be prepared to get after these issues.”374 On another
occasion, Applegate wrote Scholtz concerning an Audit Services report dated May 18, 2006,
and stated that “I know you are working on this—you need to be the disciplinarian and push
all parties including the channels to clean up their acts.”375
     The evidence also indicates that, in certain cases, AFI management took additional steps
to monitor compliance by the Debtors with Audit Services findings and recommendations.
AFI CFO (and ResCap Board member) Sanjiv Khattri considered himself to have “ultimate
oversight as the CFO of [AFI]” over the “internal audit” process.376 Accordingly, Khattri
would “definitely read the [Audit Services reports] that had some critical comments [in] them”
and, “depending on what the issue was, [would] raise the issue or have a discussion, or find
out what has been done to fix it.”377 Khattri was “sure there were many, many instances where
[he] would get involved—especially if the report was not good.”378 Indeed, upon receipt of
370   See id. at 3.
371   See Int. of L. Lundsten, Feb. 20, 2013, at 162:9–18; see also Int. of H. McKenzie, Apr. 23, 2013, at 33:2–13
      (“Most of the disagreements [with management concerning findings of Audit Services] were tied to a need
      for additional clarity or just making sure that the facts as we had them documented were accurate . . . . But in
      terms of our role within the organization we were independent of the business and ultimately again once we
      got our facts straight . . . there was no real kind of disagreement I guess from that perspective.”).
372   See Int. of H. McKenzie, Apr. 23, 2013, at 33:17–34:21 (“[W]e had pretty broad distribution.”); GMAC
      ResCap—Creating & Accounting for Structured Finance Transactions, dated Jan. 31, 2007, at 7
      [EXAM10380373] (recipient list includes, among others, ResCap COO David Applegate, ResCap CFO
      James Giertz, Chairman of the AFI Board Eric Feldstein, AFI CFO Khattri, and AFI Controller Linda
      Zuckauckas).
373   See E-mail from D. Walker (May 6, 2005) [EXAM11956737]; see also Report on Audit of GMACM—
      Home Connects Lending Services, dated May 6, 2005 [ALLY_0220732].
374   See E-mail from E. Scholtz (Jan. 18, 2006) [EXAM12500763]; see also Report on Audit of GMAC
      Mortgage—Capital Markets Pricing, dated Jan. 17, 2006 [EXAM12500764].
375   See E-mail from D. Applegate (May 20, 2006) [EXAM12499915]; see also Report on Audit of GMAC-RFC
      Service Delivery Group, dated May 18, 2006 [ALLY_0220776].
376   Int. of S. Khattri, Apr. 5, 2013, at 21:1–18.
377   Id. at 21:18–22:19; see also Int. of H. McKenzie, Apr. 23, 2013, at 46:18–25 (“I didn’t work directly with
      Sanjiv [Khattri] . . . but Bill Russell would have in his role as the ResCap audit director.”).
378   Int. of S. Khattri, Apr. 5, 2013, at 22:22–24.

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one Audit Services report Walker advised Applegate that it “doesn’t read well” and he should
expect to receive “other love notes from Sanjiv.”379

     The Examiner considers below, in Section VIII.C.2.a(2)(d)(ii), the assertion by Third-
Party Claimants that the Audit Services reports evidence knowledge of the alleged securities
law violations.

                                 (E) Statements By AFI And The Debtors Concerning Their
                                     Relationship

     Third-Party Claimants assert that they expect to “demonstrate the controlling person
status of [AFI]” in part from public statements in SEC filings and elsewhere by which AFI
“admitted” that it “operated its consolidated subsidiaries as a collective enterprise.”380 For
example, Third-Party Claimants rely upon language in AFI’s SEC filings stating that “We
originate, purchase, service, sell and securitize residential and commercial mortgage loans”
and that “Our business activities include the . . . securitization of residential mortgage
loans.”381 Third-Party Claimants further rely upon statements such as the statement in the
FRB/FDIC Consent Order that AFI “indirectly owns and controls Ally Bank . . . and
numerous direct and indirect nonbank subsidiaries, including [ResCap and its
subsidiaries].”382

      Although similar statements have been found relevant in the context of a motion to
dismiss for failure to state a claim, the Examiner affords them little weight when assessing
whether Third-Party Claimants would succeed in proving the requisite control. In FHFA v.
Ally Fin., Inc., the district court denied AFI’s motion to dismiss the FHFA’s section 15 claim
in part because a registration statement filed with the SEC by ResCap stated that AFI
“controls all fundamental matters affecting ResCap.”383 The district court explained that while
this and other allegations sufficed to preclude “a finding [of the absence of control] as a matter
of law,” the facts might yet show that “the involvement of AFI . . . in ResCap’s securitization
activities was not sufficient to give rise to control-person liability.”384 Without more, the
379   E-mail from D. Walker (May 6, 2005) [EXAM11956737].
380   See Joint Submission Paper of Federal Home Loan Banks of Boston, Chicago, and Indianapolis, dated
      Oct. 19, 2012, at 24; see also Joint Submission Paper of AIG, Allstate Life Ins. Co., Mass. Mut. Life Ins. Co.,
      and Prudential Ins. Co. of Am., dated Oct. 17, 2012, at 25 (“[AFI] repeatedly represented to the market and
      regulators that it owns and controls the Debtors.”).
381   See General Motors Acceptance Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 1 (emphasis added);
      GMAC LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 3 (emphasis added).
382   See FRB/FDIC Consent Order (Apr. 13, 2011), at 1; see also Residential Capital Corporation, Registration
      Statement (Form S-4) (Feb. 27, 2008), at 23 (“GM and GMAC control all fundamental matters affecting us”;
      “GMAC indirectly owns all of our outstanding common stock and has the power to elect and remove all of
      our directors.”); Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 43 (“GMAC
      controls all fundamental matters affecting us, and its interests may differ from ours.”) (emphasis omitted).
383   See Civ. No. 11-7010, 2012 U.S. Dist. LEXIS 179768, at *14–15 (S.D.N.Y. Dec. 19, 2012).
384   Id. at *14–15.

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Examiner does not consider such public statements of AFI’s “control” over its subsidiaries to
be probative of AFI’s “actual control over the transaction in question” (i.e., the Debtors’
securitization process).385

     Nor does the Examiner consider probative of control Third-Party Claimants’ allegation
that AFI was “prominently identified . . . in the Offering Documents.”386 Although the
offering documents for the securitizations typically identified affiliates of the transaction
parties including AFI,387 such statements only repeated the undisputed fact that AFI was the
indirect parent of each of the Debtors.388 Courts have found similar language in offering
materials to be insufficient as a matter of law to establish control.389

                         (d) Good Faith Or Lack Of Knowledge Defense

                             (i) Legal Principles

     “[O]nce control is established, section 15 and section 20(a) each contain an affirmative
exception to liability.”390 Section 20(a) provides for an affirmative defense that “exempts a
controlling person from liability if ‘the controlling person acted in good faith and did not
directly or indirectly induce the act or acts constituting the underlying violation or cause of
action.’”391 Similarly, “lack of knowledge (i.e., lack of ‘culpable participation’) is an
affirmative defense under section 15: the text of the statute eliminates Securities Act ‘control
person’ liability where the alleged control person ‘had no knowledge of or reasonable ground
to believe in the existence of the facts by reason of which the liability of the controlled person




385   See Cohen v. Stevanovich, 722 F. Supp. 2d 416, 435 (S.D.N.Y. 2010) (emphasis omitted).
386   See Joint Submission Paper of Federal Home Loan Banks of Boston, Chicago, and Indianapolis, dated
      Oct. 19, 2012, at 25.
387   See, e.g., Prospectus Supplement for Mortgage Asset-Backed Pass-Through Certificates Series 2006-QO9,
      dated Nov. 28, 2006 [EXAM00234465], at S-50 (diagram that “illustrates the various relationships among
      the affiliated transaction parties”).
388   Emps.’ Ret. Sys. of the Gov’t of the Virgin Is. v. J.P. Morgan Chase & Co., 804 F. Supp. 2d 141, 157
      (S.D.N.Y. 2011) (“Allegations that an entity was the parent corporation of a primary violator, standing alone,
      do not make out a claim of control.”); Pub. Emps.’ Ret. Sys. of Miss. v. Merrill Lynch & Co. Inc., 714
      F. Supp. 2d 475, 484 (S.D.N.Y. 2010) (dismissing section 15 claim where plaintiffs “failed to allege beyond
      ‘formulaic recitation’ how Merrill . . . exercised control over [the alleged primary violators]” where plaintiffs
      “merely allege that [they] were Merrill subsidiaries and affiliates of each other”).
389   See Emps.’ Ret. Sys., 804 F. Supp. 2d at 157 (“Nor is the fact that the J.P Morgan name appeared prominently
      on the Prospectus Supplement [issued by its subsidiary], lending the investment the imprimatur of the larger
      corporation, enough to establish control person liability.”).
390   Cordius Trust v. Kummerfeld (In re Kummerfeld), 444 B.R. 28, 43 (Bankr. S.D.N.Y. 2011).
391   See In re WorldCom, Inc. Sec. Litig., Civ. No. 02-3288, 2005 U.S. Dist. LEXIS 4193, at *49 (S.D.N.Y.
      Mar. 21, 2005) (quoting 15 U.S.C. § 78t(a)).

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is alleged to exist.’”392 Pertinent state securities laws recognize an analogous affirmative
defense where the alleged control person proves that it did not and could not reasonably have
known of the primary violation.393

      “In order to establish a good faith defense, the burden is on the defendant to ‘prove that
he exercised due care in his supervision of the violator’s activities in that he maintained and
enforced a reasonable and proper system of supervision and internal controls.’”394 Evidence
that the control person “had no notice of any alleged wrongdoing” may not suffice to establish
a “good faith defense” if the evidence shows that the control person “should have known of
the primary fraud, but was willfully blind to the facts.”395 Moreover, “[i]t is not enough on a
motion for summary judgment to demonstrate that plaintiffs fall short of producing evidence
of culpable conduct; rather, the defendant must put forth her own evidence of this defense
sufficient to direct a conclusion of law that she is entitled to the defense.”396



392   McKenna v. Smart Techs. Inc., Civ. No. 11-7673, 2012 U.S. Dist. LEXIS 47134, at *60 (S.D.N.Y. Apr. 3,
      2012) (quoting 15 U.S.C. § 77o(a)); see also DeMarco v. Edens, 390 F.2d 836, 841–42 (2d Cir. 1968)
      (section 15 “specifically provide[s] that a defendant may exculpate himself from liability by fulfilling his
      burden of proving that he did not know . . . of the existence of the facts by reason of which the liability of the
      controlled person is alleged to exist”); In re Ambac Fin. Group, Inc. Sec. Litig., 693 F. Supp. 2d 241, 281
      (S.D.N.Y. 2010) (noting that section 15 claims are “subject only to the defense of ‘good faith’”); In re IPO
      Sec. Litig., 241 F. Supp. 2d 281, 352 n.84 (S.D.N.Y. 2003) (section 15 “defendant may raise, as an
      affirmative defense, that the underlying violation occurred without her knowledge”).
393   See MASS. GEN. LAWS ch. 110A § 410(b) (control person liable unless he “sustains the burden of proof that
      he did not know, and in exercise of reasonable care could not have known, of the existence of the facts by
      reason of which the liability is alleged to exist.”); VA. CODE ANN. § 13.1-522(C) (same); N.C. GEN. STAT.
      § 78A-56(c)(1) (same). The Illinois Securities Law does not contain the same language and the Examiner’s
      Professionals have not identified any controlling decision on point concerning whether such an affirmative
      defense is available to an alleged control person. See 815 ILL. COMP. STAT. ANN. 5/2.4 & 5/13.
394   Dietrich v. Bauer, 126 F. Supp. 2d 759, 764 (S.D.N.Y. 2001) (quoting SEC v. First Jersey Sec., Inc., 101
      F.3d 1450, 1473 (2d Cir. 1996)).
395   See id. at 768 (S.D.N.Y. 2001) (rejecting defendant’s argument that he “is entitled to summary judgment [on
      section 20(a) claim] based on a good faith defense” where “there is sufficient evidence from which a jury
      could conclude that [defendant] knew or should have known of the primary fraud, but was willfully blind to
      the facts”); see also In re Ivan F. Boesky Sec. Litig., MDL No. 732, 1995 U.S. Dist. LEXIS 10759, at *3
      (S.D.N.Y. Aug. 1, 1995) (“[W]illful blindness . . . cannot form the basis for a defense of good faith to a
      charge under § 20(a).”); Ingenito v. Bermec Corp., 441 F. Supp. 525, 533 (S.D.N.Y. 1977) (“If the
      perpetration of fraud went unnoticed because of willful or reckless disregard, the good faith defense is
      unavailable.”).
396   In re Ivan F. Boesky Sec. Litig., 1995 U.S. Dist. LEXIS 10759, at *3–4 (denying defendant’s motion for
      summary judgment on section 20(a) claim because “[t]he possibility that [alleged control person] Seema
      Boesky may have recklessly or intentionally disregarded the alleged primary violations leaves open a triable
      issue of fact on which the defendant bears the burden of proof”); see also In re WorldCom, Inc. Sec. Litig.,
      2005 U.S. Dist. LEXIS 4193, at *54 (denying alleged control person’s motion for summary judgment on
      section 15 claim where defendant failed to show “that there is no material disputed issue of fact that he had
      no reasonable ground to believe in the facts constituting the violation”).

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                              (ii) Application To RMBS Claims

     AFI asserts that “AFI simply could not have known, or even had reason to know, of any
misrepresentations in the Offering Materials for the securitizations at issue here.”397
According to AFI, it could not have possessed such knowledge because it did not have “any
involvement in selecting loans for collateral pools, conducting due diligence on the loans,
approving individual RMBS issuances, drafting offering materials, or marketing RMBS for
sale.”398 Moreover, the alleged misrepresentations “including supposed inflated valuations,
inaccurate owner-occupancy statistics, and abandonment of underwriting standards . . . have
nothing to do with the business of AFI.”399 Third-Party Claimants respond that “Ally plainly
knew of the Debtor subsidiaries’ fraudulent origination and securitization practices” and
suggest that evidence of such knowledge will be developed through discovery.400


397   See AFI Submission Paper, dated Dec. 19, 2012, at 36; see also AFI Submission Paper, dated Apr. 14, 2013,
      at 5. The Examiner is not persuaded that Third-Party Claimants bear the burden of proving AFI’s knowledge
      of the alleged securities law violations. See AFI Submission Paper, dated Dec. 19, 2012, at 36; see also AFI
      Submission Paper, dated Apr. 14, 2013, at 5. Except by those courts that have held that section 15 and/or
      section 20(a) requires the plaintiff to plead and prove culpable participation, the alleged control person’s lack
      of knowledge is solely an affirmative defense to liability under the federal securities laws that must be
      proven by the defendant. See McKenna, 2012 U.S. Dist. LEXIS 47134, at *60 (“[L]ack of knowledge (i.e.,
      lack of ‘culpable participation’) is an affirmative defense under section 15: the text of the statute eliminates
      Securities Act ‘control person’ liability where the alleged control person ‘had no knowledge of or reasonable
      ground to believe in the existence of the facts by reason of which the liability of the controlled person is
      alleged to exist.’”) (quoting 15 U.S.C. § 77o(a)); In re WorldCom, Inc. Sec. Litig., 2005 U.S. Dist. LEXIS
      4193, at *49 (noting that section 20(a) affirmative defense “exempts a controlling person from liability if ‘the
      controlling person acted in good faith and did not directly or indirectly induce the act or acts constituting the
      underlying violation or cause of action’”) (quoting 15 U.S.C. § 78t(a)). The same is true of certain of those
      state securities laws under which Third-Party Claimants assert control person claims against AFI. See MASS.
      GEN. LAWS ch. 110A § 410(b) (control person liable “unless the non-seller who is so liable sustains the
      burden of proof that he did not know, and in exercise of reasonable care could not have known, of the
      existence of the facts by reason of which the liability is alleged to exist”); MINN. STAT. § 80A.23(4) (same);
      N.C. GEN. STAT. § 78A-56(c)(1) (same); VA. CODE ANN. § 13.1-522(C) (same). Although the Illinois
      Securities Law requires a plaintiff to prove that an alleged control person “act[ed] in concert in the offer or
      sale of a security,” AFI identifies no authority requiring proof that the alleged control person acted with
      knowledge of a material misrepresentation made in violation of 815 ILL. COMP. STAT. ANN. 5/12(F)–(G). See
      815 ILL. COMP. STAT. ANN. 5/2.4; see also Froehlich v. Matz, 417 N.E.2d 183, 190 (Ill. App. Ct. 1981)
      (“While overt action by a member of a controlling group would not always be required, there must be some
      showing of assent, approval or concurrence, albeit tacit approval, in the action of the group in selling
      securities, before an individual will be held liable for the actions of the controlling group.”). Notably, scienter
      is not an element of a primary violation alleged under those provisions of the Illinois Securities Law. See
      Foster v. Alex, 572 N.E.2d 1242, 1245 (Ill. App. Ct. 1991) (“scienter need not be pled nor proved . . . under
      sections 12(F) and 12(G)”).
398   See AFI Submission Paper, dated Dec. 19, 2012, at 35.
399   See id. at 35–36.
400   See Joint Submission Paper of AIG, Allstate Life Ins. Co., Mass. Mut. Life Ins. Co., and Prudential Ins. Co.
      of Am., dated Oct. 17, 2012, at 10, 25; see also Joint Submission Paper of Federal Home Loan Banks of
      Boston, Chicago, and Indianapolis, dated Oct. 19, 2012, at 28.

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     As explained above, definitive conclusions concerning the facts underlying the primary
securities law violations alleged by Third-Party Claimants against the Debtors and Ally
Securities are outside the scope of the Investigation. Accordingly, the likelihood that AFI
could succeed in proving an affirmative defense of lack of knowledge of such as yet unproven
facts also is outside the scope of the Investigation. With those important caveats, the Examiner
has considered the available evidence concerning AFI’s assertion that it did not have
“knowledge of the Debtors’ alleged misstatements.”401 Third-Party Claimants have not
produced nor has the Investigation located any evidence to support the assertion that AFI
possessed knowledge of the primary securities law violations alleged by Third-Party
Claimants.402 The Investigation has, however, revealed evidence that could support attempts
by Third-Party Claimants to cast doubt on AFI’s blanket statement that it “simply could not
have known, or even had reason to know, of any misrepresentations.”403
     For example, it is undisputed that there was significant overlap among the officers and
directors of AFI and the Debtors.404 Moreover, the available evidence does indicate that, at
least in certain circumstances and on an informal basis, management of the Debtors would
communicate with and report to management of AFI.405 If, as Third-Party Claimants assert,
there was an abandonment of underwriting standards at the Debtors, such overlapping
management and lines of communication could have the potential, with further discovery, to
undermine an AFI defense that it “had no knowledge of or reasonable ground to believe in the
existence of the facts by reason of which the liability of the controlled person is alleged to
exist.”406
401   See AFI Submission Paper, dated Dec. 19, 2012, at 35.
402   Although certain of Third-Party Claimants’ submission papers define “Ally” to mean AFI, the term “Ally” is
      used interchangeably therein to refer to any one or more of AFI and its direct and indirect subsidiaries. See
      Joint Submission Paper of AIG, Allstate Life Ins. Co., Mass. Mut. Life Ins. Co., and Prudential Ins. Co. of
      Am., dated Oct. 17, 2012, at 1. For example, in support of the assertion that “Ally plainly knew of the Debtor
      subsidiaries’ fraudulent origination and securitization practices,” Third-Party Claimants rely on information
      allegedly provided by a director of Ally Securities concerning Ally Securities—not AFI. See id. at 10–11.
      Absent evidence that AFI knew such information, which Third-Party Claimants have not provided, the
      Examiner affords no weight to such allegations when assessing the evidence of AFI’s knowledge of the
      alleged securities fraud violations.
403   See AFI Submission Paper, dated Dec. 19, 2012, at 36; see also AFI Submission Paper, dated Apr. 14, 2013,
      at 5.
404   See Section VIII.C.2.a(2)(c)(ii)(B).
405   See Int. of D. Olson, Apr. 26, 2013, at 63:24–64:12 (“I would characterize my relationship as I had solid line
      reporting to the CEOs of ResCap and dotted line reporting to Sanjiv [Khattri]. . . . “[S]olid line, day-to-day
      interaction would have been with the CEOs direction and all that. Dotted line would have been more periodic
      or random as necessary to Sanjiv.”); Int. of E. Scholtz, Mar. 28, 2013, at 20:2–21:10 (recalling generally that
      he “had conversations with Eric [Feldstein] from time to time” but that those conversations did not involve
      “the securitization process”).
406   McKenna v. Smart Techs. Inc., Civ. No. 11-7673, 2012 U.S. Dist. LEXIS 47134, at *60 (S.D.N.Y. Apr. 3,
      2012) (quoting 15 U.S.C. § 77o(a)); see also In re WorldCom, Inc. Sec. Litig., Civ. No. 02–3288, 2005 U.S.
      Dist. LEXIS 4193, at *55 (S.D.N.Y. Mar. 21, 2005) (denying alleged control person’s motion for summary
      judgment on section 15 claim “[b]ecause sufficient evidence exists to create a question of fact regarding
      whether [that defendant] had no reasonable grounds to believe that financial improprieties were present”).

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      The same is true of evidence concerning the series of audits of AFI’s subsidiaries
conducted by Audit Services from 2004 through 2007, including several with respect to areas
related to the Debtors’ securitization process.407 Audit Services interviewed personnel and
collected information from AFI’s subsidiaries concerning aspects of that process.408 Audit
Services prepared reports that were circulated to and reviewed by members of senior
management of AFI including AFI CFO Khattri.409 Assuming arguendo that Third-Party
Claimants were to prevail in proving the alleged underlying securities law violations, AFI’s
access through Audit Services to information concerning the Debtors’ securitization process
could, subject to discovery of contradictory evidence, potentially undermine an AFI “good
faith” or lack of knowledge defense.

     The available Audit Services reports do not purport on their face to make any findings of
the facts Third-Party Claimants allege give rise to their primary securities law claims. Of the
dozens of Audit Services reports from 2004 through 2007 that were identified by the
Examiner, only a small minority assigned a rating to the areas audited of “2” or “Needs
Improvement,” and even fewer assigned a rating of “3” or “Unsatisfactory.”410 Although
certain Third-Party Claimants contend otherwise, the findings in those Audit Services reports
are unlikely to be sufficient to demonstrate AFI’s knowledge of the alleged securities law
violations.411 Moreover, Humphrey McKenzie, a Director in Audit Services who performed
audits at RFC during 2004 through 2007, did not recall encountering any indication that there
407   See Section VIII.C.a(2)(c)(ii)(D).
408   See Int. of L. Lundsten, Feb. 20, 2013, at 157:10–158:6 (when performing an audit of RFC’s Structured
      Finance Group, Audit Services would “come in and talk to [Lundsten] and [her] managers,” “ask[] for
      information,” and then “go off and do their work”); Int. of H. McKenzie, Apr. 23, 2013, at 19:18–21:17
      (Audit Services would develop an “audit plan” including by “work[ing] with management to get due
      diligence information” and then “go in and execute whatever control testing is needed to review and
      validate”).
409   See Int. of S. Khattri, Apr. 5, 2013, at 21:18–22:19; GMAC ResCap—Creating & Accounting for Structured
      Finance Transactions, dated Jan. 31, 2007, at 7 [EXAM10380373] (recipient list).
410   See Int. of S. Khattri, Apr. 5, 2013, at 23:18–24:11 (“[Q:] Do you recall ever seeing an audit report of either
      ResCap or RFC that had a 3 rating?” [A:] Which would be unsatisfactory? I don’t think so.”). Those audit
      reports identified by the Examiner to which a rating of “3” or “Unsatisfactory” was assigned generally do not
      implicate the facts Third-Party Claimants allege give rise to their primary securities law claims. See, e.g.,
      Nerve Center Project Audit, dated Sept. 21, 2007, at 2 [EXAM11280122]; RFG Finance – Servicing Loan
      Accounting, dated Sept. 28, 2007, at 2 [EXAM10385423].
411   MBIA identifies certain Audit Services reports that it considers evidence that AFI “had actual and
      constructive knowledge of the Debtors’ fraudulent conduct.” MBIA Submission Paper, Nov. 9, 2012, at 26,
      29–30. The Examiner is not persuaded, however, that the findings of those identified reports could, without
      more, demonstrate such knowledge. For example, Audit Services’s finding of “inadequate management
      reporting on the levels, trends and root causes of . . . unsalable loans” does not evidence that “unsalable
      loans” were included in any relevant securitizations when they should not have been or prove any alleged
      misrepresentations in the offering documents issued in connection with those securitizations. See Report on
      Audit of GMAC-RFC Service Delivery Group, dated May 18, 2006, at 1 [ALLY_0220776]. Instead, that
      Audit Services report represents that such “unsalable loans” would be “in need of repair prior to being
      included in a loan pool” and sets forth a management action plan to “develop new reporting” and “update
      existing training.” See id. at 5.

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had been an abandonment of underwriting standards.412 Nonetheless, further discovery
concerning the information and judgments that resulted in the findings set forth in the audit
reports—and any other information that may have been discovered in the course of the audit
and communicated to AFI but not reflected in any audit reports—would be necessary to
determine whether AFI had no knowledge of or reasonable grounds to believe in the existence
of the facts alleged by Third-Party Claimants.
                        (e) Statute Of Limitations Defenses
     AFI asserts that those Third-Party Claimants that have brought control person claims
against it “did not bring their securities claims until well after the applicable statutes of
limitations had run.”413 Third-Party Claimants respond that “all of [their] claims are
timely.”414 In each of the six pending RMBS Investor Actions identified by the Examiner
where Third-Party Claimants assert control person claims against AFI, AFI has moved to
dismiss such claims as time-barred.415 Where those motions to dismiss have been denied—to
date they have been denied in two of those six actions—AFI seeks to prove as an affirmative
defense that such control person claims are time-barred.416
     The Examiner concludes it is likely that AFI’s statute of limitations defense will prevail
with respect to certain of the alleged control person claims subject to statutes of repose. The
Examiner does not reach any definitive conclusions concerning the likelihood that AFI’s
timeliness defenses will prevail as to those statute of limitations provisions that begin to run
412   Int. of H. McKenzie, Apr. 23, 2013, at 53:19–54:2 ([Q]: “[D]id you in internal audit ever identify any
      concern or red flags that underwriting standards were being ignored or not follow[ed] closely for the sake of
      being able to continue to write volume of business? [A:] As far as I know, no.”).
413   AFI Submission Paper, dated Dec. 19, 2012, at 50.
414   Joint Submission Paper of AIG, Allstate Life Ins. Co., Mass. Mut. Life Ins. Co., and Prudential Ins. Co. of
      Am., dated Mar. 15, 2013, at 19; see also Joint Submission Paper of Federal Home Loan Banks of Boston,
      Chicago and Indianapolis, dated Oct. 19, 2012, at 21 (“FHLB’s effectively universal success in defeating
      Defendants’ motions to dismiss . . . . cast[s] doubt on the merits of Defendants’ affirmative defenses, many of
      which [including the statute of limitations] were raised by Rule 12 motions.”).
415   See Mem. of Law in Supp. of Ally Fin. Inc.’s and GMAC Mortg. Group, Inc’s Mot. to Dismiss the Am.
      Compl., FHFA v. Ally Fin. Inc., Civ. No. 11-7010, Docket No. 149, at 15 (S.D.N.Y. July 13, 2012); Def.’s
      Mem. of Law in Supp. of Their Mot. to Dismiss the Am. Compl., FHLB of Boston v. Ally Fin., Inc., Civ.
      No. 11-10952, Docket No. 200, at 54 (D. Mass. Oct. 11, 2012); Def.’s Joint Mem. of Law in Supp. of Their
      Joint Combined Mot. to Dismiss Pl.’ s Am. Compl. for Rescission and Damages, FHLB of Chicago v. Banc
      of Am. Funding Corp., Case No. 10-CH-45033, at 12–19 (Ill. Cir. Ct. June 3, 2011); Mem. in Supp. of the
      Ally Defs.’ Mot. to Dismiss the Am. Compl., John Hancock Life Ins. Co. (U.S.A.) v. Ally Fin. Inc., Civ.
      No.12-01841, Docket No. 104, at 16 (D. Minn. Dec. 14, 2012); Mem. in Supp. of the Ally Defs.’ Mot. to
      Dismiss the Am. Compl., Stichting Pensioenfonds ABP v. Ally Fin. Inc., Civ. No. 12–01381, Docket No. 129,
      at 16 (D. Minn. Mar. 11, 2013); Ally Financial, Inc’s Mem. of Law in Supp. of Mot. to Dismiss the Am.
      Compl., Union Cent. Life Ins. Co. v. Ally Fin., Inc., Civ. No. 11-02890, Docket No. 219, at 5 (S.D.N.Y.
      July 27, 2012).
416   See Def. Ally Fin. Inc. and GMAC Mortg. Group, Inc’s Answer, Defenses and Affirmative Defenses to
      FHFA’s Am. Compl., FHFA v. Ally Fin. Inc., Civ. No. 11-7010, Docket No. 371, at 74 (S.D.N.Y. Feb. 1,
      2013) (“Each of FHFA’s claims is time-barred, in whole or in part, by the applicable statute of limitations
      and/or repose.”).

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only when Third-Party Claimants possess actual or constructive knowledge of sufficient facts.
As to those claims, however, the available evidence and pertinent case law appear to present
potential hurdles to AFI’s attempts to prove that the time for Third-Party Claimants to bring
their securities claims began to run as early as 2007. Finally, although the Examiner can reach
no definitive conclusions as to potential claims, any similar control person claim asserted
against AFI in the future by Third-Party Claimants that have not to date asserted claims
against AFI would appear presumptively time-barred under applicable statutes of limitations
and/or repose.

      The Examiner’s conclusions concerning AFI’s asserted statute of limitations defenses
turn in part upon the particularities of the timing provisions of each of the federal and state
securities laws invoked by Third-Party Claimants. “Because [s]ection 20 merely creates a
derivative liability for violations of other sections of the [Exchange] Act, claims under
[s]ection 20 are governed by the limitations periods for those other sections.”417 Specifically,
“claims brought under § 10(b) and § 20(a) of the Exchange Act may be brought no later than
the earlier of: (1) two years after the discovery of the facts constituting the alleged fraud, or
(2) five years after such fraud.”418 The “same limitations period” applicable to claims under
section 11 or 12(a)(2) of the Securities Act also “applies to [s]ection 15 claims.”419 All such
claims are “subject to the two-pronged timing provision of [s]ection 13 of the Securities
Act.”420 “The first prong of [s]ection 13 is a statute of limitations, which provides that claims
417   Dodds v. Cigna Sec., Inc., 12 F.3d 346, 350 n.2 (2d Cir. 1993); see also Glonti v. Stevenson, Civ.
      No. 08-8960, 2009 U.S. Dist. LEXIS 13857, at *14 (S.D.N.Y. Feb. 6, 2009) (“A [s]ection 20(a) claim alleges
      derivative liability based on someone else’s violation of [s]ection 10(b). Therefore, the statute of limitations
      for [s]ection 20(a) claims is identical to that of . . . [s]ection 10(b) claims.”); In re MBIA Inc. Sec. Litig., Civ.
      No. 05-03514, 2007 U.S. Dist. LEXIS 10416, at *27 (S.D.N.Y. Feb. 13, 2007) (“Plaintiffs’ claims for control
      person liability under [s]ection 20(a) of the Exchange Act are subject to the same statute of limitations as
      Section 10(b) claims . . . .”); Shah v. Morgan Stanley, Civ. No. 03-8761, 2004 U.S. Dist. LEXIS 20897, at
      *44 n.12 (S.D.N.Y. Oct. 15, 2004) (“Since the Court dismisses plaintiff’s § 10(b) claim as untimely, the
      § 20(a) claim against Purcell, which is dependant on the underlying § 10(b) claim and shares the same
      limitations period, is also dismissed.”).
418   Pro Bono Invs., Inc. v. Gerry, Civ. No. 03-4347, 2005 U.S. Dist. LEXIS 22348, at *23 n.5 (S.D.N.Y.
      Sept. 30, 2005); see also 28 U.S.C. § 1658(b). The two-year “limitations period commences not when a
      reasonable investor would have begun investigating, but when such a reasonable investor conducting such a
      timely investigation would have uncovered the facts constituting a violation.” City of Pontiac Gen. Emps.’
      Ret. Sys. v. MBIA, Inc., 637 F.3d 169, 174 (2d Cir. 2011); see also FirstBank P.R. v. La Vida Merger Sub,
      Inc., 638 F.3d 37, 38 (1st Cir. 2011) (“[An Exchange Act] cause of action accrues (1) when the plaintiff did
      in fact discover, or (2) when a reasonably diligent plaintiff would have discovered, the facts constituting the
      violation—whichever comes first.”) (quotation marks omitted). In Merck & Co. v. Reynolds, the U.S.
      Supreme Court rejected an argument that “the limitations period began to run” as to an Exchange Act claim
      at the “point the plaintiffs were on ‘inquiry notice.’” See 130 S. Ct. 1784, 1797, 1799 (2010). The Court
      explained that it could not accept such an argument “[b]ecause the statute contains no indication that the
      limitations period should occur at some earlier moment before ‘discovery,’ when a plaintiff would have
      begun investigating.” Id. at 1797 (emphasis in original).
419   See In re Morgan Stanley Mortg. Pass-Through Certificates Litig., 810 F. Supp. 2d 650, 662 (S.D.N.Y.
      2011); see also Dodds, 12 F.3d at 350 n.1 (“Since [s]ection 15 merely creates a derivative liability for
      violations of [s]ections 11 and 12, [s]ection 13 applies to it as well.”).
420   In re Bear Stearns Mortg. Pass-Through Certificates Litig., 851 F. Supp. 2d 746, 761 (S.D.N.Y. 2012).

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must be brought within one year of ‘the discovery of the untrue statement or the omission, or
after such discovery should have been made by the exercise of reasonable diligence.’”421 The
second prong of section 13 contains “a three year statute of repose.”422

     Control person claims asserted under pertinent state securities laws are governed by
limitations periods of two years (the Virginia Securities Act), three years (the Illinois
Securities Law, the Minnesota Securities Act, and the North Carolina Securities Act), or four




421   Id. (quoting 15 U.S.C. § 77m). There is “conflicting law” in the Second Circuit and certain other jurisdictions
      concerning whether the “inquiry notice standard . . . applies [to Securities Act claims] following the Supreme
      Court’s decision in Merck.” Pa. Pub. Sch. Emps.’ Ret. Sys. v. Bank of Am. Corp., 874 F. Supp. 2d 341, 364
      (S.D.N.Y. 2012) (collecting cases). Several courts have “declined to apply Merck to [s]ection 11 [or 12(a)(2)]
      claims” because “the Merck Court construed . . . the limitations statute applicable to [s]ection 10(b) claims”
      and “[t]he text of [that provision] is different from [section 13].” Id. at 364–65; see also Lighthouse Fin. Grp.
      v. Royal Bank of Scot. Grp., PLC, Civ. No. 11-398, 2012 U.S. Dist. LEXIS 146640, at *36–37 n.11
      (S.D.N.Y. Sept. 27, 2012) (declining to apply Merck to Securities Act claims); Pension Trust Fund for
      Operating Eng’rs v. Mortg. Asset Securitization Transactions, Inc., Civ. No. 10-898, 2012 U.S. Dist. LEXIS
      106542, at *13 n.5 (D.N.J. July 31, 2012) (same); In re IndyMac Mortgage-Backed Sec. Litig., 793
      F. Supp. 2d 637, 648 (S.D.N.Y. 2011) (same); In re Barclays Bank PLC Sec. Litig., Civ. No. 09-1989, 2011
      U.S. Dist. LEXIS 2667, at *24 (S.D.N.Y. Jan. 5, 2011) (same). Other courts have reasoned that “although
      [Merck] concerns the statute of limitations [for Exchange Act claims], to apply them to a Securities Act cause
      of action is consistent with the Securities Act’s statute of limitations.” See Brecher v. Citigroup Inc., Civ.
      No. 09-7359, 2011 U.S. Dist. LEXIS 131104, at *10 n.1 (S.D.N.Y. Nov. 14, 2011); see also FHFA v. UBS
      Ams. Inc., 858 F. Supp. 2d 306, 319 (S.D.N.Y. 2012) (“[T]he majority of district courts that have considered
      the matter have concluded that [Merck applies to Securities Act claims].”) (internal citations omitted); In re
      Bear Stearns Mortg. Pass-Through Certificates Litig., 851 F. Supp. 2d at 763 (applying Merck to Securities
      Act claims); Nat’l Credit Union Admin. Bd. v. RBS Sec., Inc., Civ. No. 11-2340, 2012 U.S. Dist. LEXIS
      103170, at *60 (D. Kan. July 25, 2012) (same); In re Direxion Shares ETF Trust, Civ. No. 09-8011, 2012
      U.S. Dist. LEXIS 29709, at *9 n.3 (S.D.N.Y. Mar. 6, 2012) (same); N.J. Carpenters Health Fund v.
      Residential Capital, LLC, Civ. Nos. 08-8781 and 08-5093, 2011 U.S. Dist. LEXIS 46066, at *23-24
      (S.D.N.Y. Apr. 28, 2011) (same); In re Wachovia Equity Sec. Litig., 753 F. Supp. 2d 326, 371 n.39 (S.D.N.Y.
      Mar. 31, 2011) (same).
422   In re IndyMac Mortgage-Backed Sec. Litig., 718 F. Supp. 2d 495, 507 (S.D.N.Y. 2010); see also 15 U.S.C.
      § 77m (“In no event shall any such action be brought to enforce a liability created under section 11 or section
      12(a)(1) more than three years after the security was bona fide offered to the public, or under section 12(a)(2)
      more than three years after the sale.”). “[T]he three year statute of repose set forth in [s]ection 13 provides an
      absolute limit.” In re Lehman Bros. Sec. & ERISA Litig., Md. No. 09-2017, 2012 U.S. Dist. LEXIS 148177,
      at *25 (S.D.N.Y. Oct. 15, 2012). With respect to a section 15 control person claim alleging an underlying
      primary violation of section 11, the three-year period “normally begins to run when the security is first bona
      fide offered” to the public at the effective date of the registration statement. See id. at *26; see also P. Stolz
      Family P’ship L.P. v. Daum, 355 F.3d 92, 99–100 (2d Cir. 2004) (agreeing with “vast majority of courts” and
      holding that the section 13 “three-year period begins when the security is first bona fide offered”). As to a
      section 15 claim alleging a primary violation of section 12(a)(2), the three-year period begins to run at the
      time of “sale.” See 15 U.S.C. § 77m; see also Finkel v. Stratton Corp., 962 F.2d 169, 173 (2d Cir. 1992)
      (“[A] sale occurs for [section 12(a)(2)] purposes when the parties obligate themselves to perform what they
      had agreed to perform even if the formal performance of their agreement is to be after a lapse of time.”)
      (quotation marks omitted).

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years (the MUSA).423 The three-year limitations period under the Illinois Securities Law runs
from “the date upon which the party bringing the action has notice of facts which in the
exercise of reasonable diligence would lead to actual knowledge of the alleged violation.”424
The Illinois Securities Law also features a five-year statute of repose, beyond which the
discovery rule cannot toll the otherwise applicable limitations period.425 The three-year
limitations period under the North Carolina Securities Act runs from the date when “the




423   See 815 ILL. COMP. STAT. ANN. 5/13(D) (three years); MASS. GEN. LAWS ch. 110A § 410(e) (four years);
      MINN. STAT. § 80A.23(7) (three years); N.C. GEN. STAT. § 78A-56(f) (three years); VA. CODE ANN. § 13.1–
      522(D) (two years). To the extent that Third-Party Claimants have asserted or may assert a claim against AFI
      under the Minnesota Securities Act “on the basis of conduct occurring [on or after] August 1, 2007,” Minn.
      Stat. § 80A.90, then such claim would instead be timely if brought “within the earlier of two years after
      discovery of the facts constituting the violation or five years after the violation.” See MINN. STAT.
      § 80A.76(j)(2).
424   815 ILL. COMP. STAT. ANN. 5/13(D)(2). There is disagreement concerning what triggers the running of this
      limitations period. Compare Blumenthal v. Flynn, Case No. 11–2306, 2012 Ill. App. Unpub. LEXIS 2441, at
      *16-18 (Ill. App. Ct. Sept. 28, 2012) (“[T]he language of the statute of limitations at issue in [Merck] differs
      significantly from the language of [the Illinois] Securities Law”; the 815 Ill. Comp. Stat. Ann. 5/13
      limitations period runs from when the plaintiff obtains actual “notice of facts which in the exercise of
      reasonable diligence, would lead to actual knowledge of [defendant’s] acts and omissions.”), Order, FHLB of
      Chicago v. Banc of Am. Funding Corp., Case No. 10-CH-45033, at 13–14 (Ill. Cir. Ct. Sept. 19, 2012)
      (denying motion to dismiss Illinois Securities Law claims as untimely where “Defendants’ exhibits fail to
      show that the [plaintiff] had ‘actual knowledge’”), and Allstate Ins. Co. v. Countrywide Fin. Corp., 824
      F. Supp. 2d 1164, 1182–83 (C.D. Cal. 2011) (“If facts sufficient to support a claim [under 815 Ill. Comp.
      Stat. Ann. 5/13] were public and/or discoverable by Allstate, then the clock began to run when Allstate had
      notice of facts that should have triggered an investigation into its Countrywide-issued RMBS. . . . The Court
      understands this to require that Allstate must have had actual, not constructive, notice of facts that should
      have triggered an investigation.”), with Stone v. Chicago. Inv. Grp. LLC, Civ. No. 11-51, 2011 U.S. Dist.
      LEXIS 149153, at *7–8 (N.D. Ill. Dec. 29, 2011) (“The language of the statute indicates that the three-year
      period begins to run when the plaintiff is on inquiry notice . . . . It is not clear how Illinois Courts will
      interpret this provision in light of Merck, but . . . both parties agree that an inquiry notice standard applies to
      the state law claim.”), and Grumhaus v. Comerica Secs., Inc., Civ. No. 99-1776, 2003 U.S. Dist. LEXIS
      11033, at *7 (N.D. Ill. June 27, 2003) (“[A]s in federal securities actions, the limitations begins to run when
      the plaintiff has ‘inquiry notice’ of the conduct giving rise to the claim. . . . This is an objective test: not
      whether plaintiffs actually knew of the conduct but whether they reasonably should have known.”).
425   See 815 ILL. COMP. STAT. ANN. 5/13(D)(2) (“[I]n no event shall the period of limitation so extended be more
      than 2 years beyond the expiration of the 3 year period otherwise applicable.”); see also Klein v. George G.
      Kerasotes Corp., 500 F.3d 669, 671 (7th Cir. 2007) (“[T]he total period of repose expires five years after the
      violation, no matter when it was discovered.”).

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person discovers facts constituting the violation.”426 The four-year limitations period under the
MUSA “runs from the date of ‘the discovery by the person bringing the action of a
violation.’”427

     The two-year limitations period under the Virginia Securities Act, by contrast, begins to
run at the time of the “transaction upon which it is based,”428 and “does not provide for a
discovery rule.”429 Similarly, the three-year limitations period under the Minnesota Securities
Act runs from “the occurrence of the act or transactions constituting the violation,”430 and is
not tolled by any “discovery rule” or “fraudulent concealment.”431

     The bases for the Examiner’s conclusions are set forth below concerning the application
of the foregoing statutes of limitations and repose to the control person claims asserted (or that
might be asserted in the future) against AFI by Third-Party Claimants.
426   N.C. GEN. STAT. § 78A-56(f); see also Kelley v. CINAR Corp. (In re CINAR Corp. Sec. Litig.), 186
      F. Supp. 2d 279, 321 (E.D.N.Y. 2002) (providing that N.C. Gen. Stat. § 78A-56(f) limitations period runs
      “from the time when the fraud reasonably should have been discovered”). The statute further provides that
      “[n]o person may sue under this section . . . later than five years after the sale or contract of sale, except that
      if a person who may be liable under this section engages in any fraudulent or deceitful act that conceals the
      violation or induces the person to forgo or postpone commencing an action based upon the violation, the suit
      may be commenced not later than three years after the person discovers or should have discovered that the
      act was fraudulent or deceitful.” N.C. GEN. STAT. § 78A-56(f).
427   Capital Ventures Int’l v. UBS Sec. LLC, Civ. No. 11-11937, 2012 U.S. Dist. LEXIS 140663, at *43 (D. Mass.
      Sept. 28, 2012) (quoting MASS. GEN. LAW. ch. 110A § 410(e)). According to one district court, “courts are
      divided” as to “whether the statute of limitations for section 410 of MUSA is tied to inquiry notice or to the
      discovery rule.” See Capital Ventures Int’l v. J.P. Morgan Mortg. Acquisition Corp., Civ. No. 12-10085,
      2013 U.S. Dist. LEXIS 19227, at *22–23 n.8 (D. Mass. Feb. 13, 2013) (declining to “resolve that question
      here”); see also Capital Ventures Int’l, 2012 U.S. Dist. LEXIS 140663, at *43–44 (“The limitations period
      [of MUSA § 410(e)] does not begin [until] the later date on which an investor, alerted by storm warnings and
      thereafter exercising reasonable diligence, would have discovered the fraud.”) (quotation marks omitted);
      Mass. Mut. Life Ins. Co. v. Residential Funding Co., LLC, 843 F. Supp. 2d 191, 208 (D. Mass. 2012)
      (“Claims under MUSA section 410(a) are subject to a four-year statute of limitations that runs from the date
      the plaintiff is put on inquiry notice of its claims.”).
428   VA. CODE ANN. § 13.1-522(D).
429   Libon v. Infineon Techs., AG, Civ. No. 04-929, 2006 U.S. Dist. LEXIS 76430, at *35 (E.D. Va. Aug. 7,
      2006) (“[T]he claim for violation of the Virginia Securities Act, filed more than two years after its accrual, is
      barred by the applicable statute of limitations.”); see also Caviness v. Derand Res. Corp., 983 F.2d 1295,
      1306 (4th Cir. 1993) (“[W]e conclude from the plain meaning of the statute that the Virginia legislature
      intended to provide unqualifiedly that a claim must be brought within two years ‘after the transaction upon
      which it is based.’”).
430   MINN. STAT. § 80A.23(7).
431   See Kopperud v. Agers, 312 N.W.2d 443, 446–47 (Minn. 1981); see also Hayden v. McDonald, 742 F.2d
      423, 437 (8th Cir. 1984) (“We view this authority as favoring a continued strict interpretation of the
      limitations period in section 80A.23(7) of the present statute, especially in actions based entirely upon the
      nonregistration of securities.”); Semrad v. Edina Realty, Inc., 470 N.W.2d 135, 140 (Minn. Ct. App. 1991)
      (“We conclude that fraud does not toll the limitations period for claims under section 80A.23 . . . .”), rev’d in
      part on other grounds, 493 N.W.2d 528, 534 (Minn. 1992) (“The court of appeals affirmed [the trial court’s
      statute of limitations] ruling and the plaintiffs do not complain of it here.”).

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                             (i) Application Of Statutes Of Limitations To RMBS Claims
     AFI moved to dismiss certain of the control person claims asserted by Third-Party
Claimants under section 15 and 20(a) of the federal securities laws and under the Illinois
Securities Law, the MUSA, and the North Carolina Securities Act, on the ground that such claims
were in whole or part barred by applicable statutes of limitations.432 According to AFI, “all
evidence demonstrates that [Third-Party Claimants] have known [or reasonably should have
known] the facts underlying their securities claims for years” including because they were
“among the most sophisticated purchasers of [RMBS]” and the “originator practices” they now
allege were “the subject of intense public scrutiny and numerous critical media and government
reports” before the end of 2007.433 Third-Party Claimants respond that certain courts have denied
motions to dismiss filed by AFI and rejected the “same arguments as [AFI] makes here.”434
“[K]nowledge that RMBS in general were risky,” Third-Party Claimants assert, is different from
knowledge that “the loans underlying [their] Certificates were being misrepresented.”435
     The Examiner reaches no definitive conclusions concerning the likelihood that AFI’s
statute of limitations defenses will prevail. Determining when any of Third-Party Claimants
possessed actual or constructive knowledge of “sufficient facts” to begin the running of a
statute of limitations is “a fact-intensive inquiry and, thus, generally ill-suited for resolution at
the motion to dismiss stage.”436 In most cases “a motion to dismiss will only be granted where
432   See Mem. of Law in Supp. of Ally Fin. Inc.’s and GMAC Mortg. Group, Inc’s Mot. to Dismiss the Am.
      Compl., FHFA v. Ally Fin. Inc., Civ. No. 11-7010, Docket No. 149, at 16 (S.D.N.Y. July 13, 2012) (noting
      that one-year limitations period for section 15 claim “expired long ago with respect to two of the
      Securitizations” where certain tranches received credit rating downgrades beginning in July 2007); Defs.’
      Mem. of Law in Supp. of Their Mot. to Dismiss the Am. Compl., FHLB of Boston v. Ally Fin., Inc., Civ.
      No. 11-10952, Docket No. 200, at 55 (D. Mass. Oct. 11, 2012) (“[T]here were ‘storm warnings’ sufficient to
      alert FHLB Boston as to the ‘possibility’ of its [MUSA § 410] claims more than four years before it filed the
      Complaint on April 20, 2011.”); Defs.’ Joint Mem. of Law in Supp. of Their Joint Combined Mot. to Dismiss
      Pl.’s Am. Compl. for Rescission and Damages, FHLB of Chicago v. Banc of Am. Funding Corp., Case
      No. 10-CH-45033 (Ill. Cir. Ct. June 3, 2011) (“[FHLB] knew or should have known of the issues in the
      complaint [giving rise to its Illinois Securities Law and North Carolina Securities Act claims] more than
      three years before it filed suit in October 2010.”); Ally Fin. Inc’s Mem. of Law in Supp. of Mot. to Dismiss
      the Am. Compl., Union Cent. Life Ins. Co. v. Ally Fin., Inc., Civ. No. 11-02890, Docket No. 219, at 5
      (S.D.N.Y. July 27, 2012) (section 20 claims are time-barred); see also Ally Securities’ Mem. of Law in Supp.
      of Mot. to Dismiss the Am. Compl., Union Cent. Life Ins. Co. v. Ally Fin., Inc., Civ. No. 11-02890, Docket
      No. 222, at 9 (S.D.N.Y. July 28, 2012) (“Because Plaintiffs failed to bring [these claims under section 10(b)
      of the Exchange Act] within two years after the April 6, 2009 [credit rating] downgrades, their federal
      securities claims are untimely and should be dismissed.”).
433   AFI Submission Paper, dated Dec. 19, 2012, at 44, 46.
434   See Joint Submission Paper of AIG, Allstate Life Ins. Co., Mass. Mut. Life Ins. Co., and Prudential Ins. Co.
      of Am., dated Mar. 15, 2013, at 19; see also Joint Submission Paper of Federal Home Loan Banks of Boston,
      Chicago, and Indianapolis, dated Oct. 19, 2012, at 21 (“FHLB’s effectively universal success in defeating
      Defendants’ motions to dismiss . . . . cast[s] doubt on the merits of Defendants’ affirmative defenses, many of
      which [including the statute of limitations] were raised by Rule 12 motions.”).
435   Joint Submission Paper of AIG, Allstate Life Ins. Co., Mass. Mut. Life Ins. Co., and Prudential Ins. Co. of
      Am., dated Mar. 15, 2013, at 19.
436   See In re Bear Stearns Mortg. Pass-Through Certificates Litig., 851 F. Supp. 2d 746, 763 (S.D.N.Y. 2012).

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uncontroverted evidence irrefutably demonstrates that the plaintiff discovered or should have
discovered facts sufficient to [begin the running of the statute of limitations].”437 Accordingly,
and without discovery from Third-Party Claimants, the fact that certain courts have issued
decisions denying AFI’s motions to dismiss is not necessarily dispositive of the statute of
limitations defenses asserted by AFI.438 With that qualification, the Examiner considers those
decisions—and others deciding motions by the Debtors or unaffiliated defendants seeking to
dismiss securities claims asserted by RMBS investors—to be instructive of potential hurdles
AFI may face in proving that the time for Third-Party Claimants to bring their securities
claims began to run as early as 2007.

     At least at the motion to dismiss stage, some courts have appeared “reluctant to conclude
that purchasers of mortgage-backed securities were on inquiry notice of [potential securities]
claims as late as mid-2008, let alone as early as 2007.”439 Indeed, several courts have found
evidence of public knowledge of general problems in the housing or RMBS markets to be
insufficient, without more, to warrant dismissal on statute of limitations grounds of Securities




437   Id. (denying motion to dismiss Securities Act claims on statute of limitations grounds); see also In re IPO
      Sec. Litig., 341 F. Supp. 2d 328, 345 (S.D.N.Y. 2004) (“[D]efendants bear a heavy burden in establishing that
      the plaintiff was on inquiry notice as a matter of law. Inquiry notice exists only when uncontroverted
      evidence irrefutably demonstrates when plaintiff discovered or should have discovered the fraudulent
      conduct.”) (quotation marks omitted).
438   See FHFA v. Ally Fin., Inc., Civ. No. 11-7010, 2012 U.S. Dist. LEXIS 179768, at *18 (S.D.N.Y. Dec. 19,
      2012); Order, FHLB of Chicago v. Banc of Am. Funding Corp., Case No. 10-CH-45033, at 13 (Ill. Cir. Ct.
      Sept. 19, 2012). Unlike other Third-Party Claimants, FHFA has recourse to the statute of limitations
      provisions of the Housing and Economic Recovery Act of 2008 (“HERA”). See FHFA v. UBS Ams., Inc., 858
      F. Supp. 2d 306, 311 (S.D.N.Y. 2012), aff’d, No. 12-3207, 2013 U.S. App. LEXIS 6962 (2d Cir. Apr. 5,
      2013). HERA “affords FHFA three years from the [September 6, 2008] date of conservatorship [over the
      GSEs] to bring suit on its Securities Act claims, irrespective of any other provision of law.” Id. at 317; see
      also 12 U.S.C. § 4617(b)(12). Notably, “HERA explicitly provides that the statute does not revive claims for
      which the statute of limitations had expired prior to the conservatorship unless the claim arose from ‘fraud,
      intentional misconduct resulting in unjust enrichment, or intentional misconduct resulting in substantial loss
      to the regulated entity.’” FHFA, 858 F. Supp. 2d at 317–18 (quoting 12 U.S.C. § 4617(b)(13)).
439   Mass. Mut. Life Ins. Co. v. Residential Funding Co, LLC, 843 F. Supp. 2d 191, 208–09 (D. Mass. 2012).

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Act claims.440 Downgrades in the investment ratings of RMBS have, however, been found
sufficient in certain circumstances to begin the running of the statute of limitations.441 That
said, “downgrades alone do not convey facts sufficient to plead a [s]ection 11 or 12(a)(2)




440   See FHFA, 858 F. Supp. 2d at 321 (“[E]ven under the pre-Merck, duty-of-inquiry standard for accrual,
      generalized reports like [the 2007 reports, lawsuits and investigations regarding loan origination practices]
      relied upon by defendants are insufficient to trigger the statute of limitations.”); In re Bear Stearns Mortg.
      Pass-Through Certificates Litig., 851 F. Supp. 2d at 763–64 (“news articles” reporting “[a]llegations of
      industry-wide or market-wide troubles” were “unconnected to any of the entities that were involved in the
      origination, packaging, and sale of the BSMF 2006-AR1 trust” and insufficient to warrant dismissal)
      (quotation marks omitted); Capital Ventures Int’l v. UBS Secs. LLC, Civ. No. 11-11937, 2012 U.S. Dist.
      LEXIS 140663, at *45 (D. Mass. Sept. 28, 2012) (denying motion to dismiss MUSA claim on limitations
      grounds where “the sources upon which the Defendants rely . . . deal with the mortgage industry generally”);
      Nat’l Credit Union Admin. Bd. v. RBS Sec., Inc., Civ. No. 11-2340, 2012 U.S. Dist. LEXIS 103170, at *64
      (D. Kan. July 25, 2012) (“[F]ind[ing] that the general information regarding troubling issues in the [RMBS]
      market is insufficient to [start running the statute of limitations] under § 11 or § 12(a)(2).”); Plumbers’ &
      Pipefitters’ Local #562 Supplemental Plan & Trust v. J.P. Morgan Acceptance Corp. I, Civ. No. 08-1713,
      2012 WL 601488, at *11 (E.D.N.Y. Feb. 23, 2012) (denying motion to dismiss section 11 claim where
      defendants reference “seventy news stories” but “none of stories refer to the offerings, the Certificates, or tie
      the originators to securities offered by the defendants”); In re Morgan Stanley Mortg. Pass-Through
      Certificates Litig., Civ. No. 09-2137, 2012 U.S. Dist. LEXIS 98669, at *7–8 (S.D.N.Y. Jul. 16, 2012)
      (“Defendants’ exhibits do not persuade the Court that . . . there was enough information in the public domain
      for Plaintiffs to have filed a complaint that could survive a 12(b)(6) motion. The exhibits paint a vivid picture
      of a distressed [RMBS] industry, but not one references by name any of the entities that were involved in the
      origination, packaging, and sale of the Certificates at issue here.”); In re Morgan Stanley Mortg. Pass-
      Through Certificates Litig., 810 F. Supp. 2d 650, 665 (S.D.N.Y. 2011) (“The cited [news] articles and [SEC]
      report were not specifically about Morgan Stanley and were therefore too general to provide inquiry
      notice.”); N.J. Carpenters Vacation Fund v. Royal Bank of Scot. Grp., PLC, 720 F. Supp. 2d 254, 267
      (S.D.N.Y. 2010) (“Although Defendants point to a number of publicly available documents generally related
      to the weakening and outright disregard for underwriting guidelines by subprime originators, this information
      alone does not relate directly to the misrepresentations and omissions alleged [here].”) (quotation marks
      omitted).
441   See In re Morgan Stanley Mortg. Pass-Through Certificates Litig., Civ. No. 09-2137, 2010 WL 3239430, at
      *8 (S.D.N.Y. Aug. 17, 2010) (granting motion to dismiss Securities Act claims and finding it “plain that
      inquiry notice arose well before May 2008” where “thirteen of sixteen downgrades by Moody’s of 2007–
      11AR occurred before May 2008, and four out of sixteen downgrades by S&P of 2007–11AR occurred
      before May 2008”); see also FHFA, 858 F. Supp. 2d at 322 (“[I]t cannot be said that [the GSEs] should have
      ‘discovered’ that those securitizations in fact contained loans that failed to meet the standards set out in the
      offering materials until they were alerted to this possibility by the ratings agencies in early 2008 [when the
      securities they held were downgraded from investment grade to near-junk status].”).

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claim” and “can occur for any number of reasons.”442 The limitations period may not be
considered to have started to run until the investment ratings of the specific certificates or
tranches purchased by the plaintiff were downgraded.443 Prior lawsuits and regulatory actions
concerning the particular defendants or RMBS at issue have also been deemed, when
sufficiently similar, to put investors on notice of their potential securities claims.444

     Courts deciding motions by AFI and the Debtors to dismiss federal and state securities
claims have shown similar reluctance to find as a matter of law that statutes of limitations began
to run in 2007. For example, in N.J. Carpenters Health Fund v. Residential Capital, LLC, the
U.S. District Court for the Southern District of New York denied the Debtors’ motion to dismiss
442   In re Bear Stearns Mortg. Pass-Through Certificates Litig., 851 F. Supp. 2d at 766 (denying motion to
      dismiss complaints on statute of limitations grounds); Pub. Emps.’ Ret. Sys. of Miss. v. Goldman Sachs Grp.
      Inc., Civ. No. 09-1110, 2011 U.S. Dist. LEXIS 3267, at *26-27 (S.D.N.Y. Jan. 12, 2011) (denying motion to
      dismiss section 11 claims as untimely where ratings agencies “downgraded their ratings of the Certificates by
      December 2007” but “it was not until [2008]” that one of the ratings agencies “downgraded the GSAMP
      Trust Series 2006-S2 Certificates to below investment grade”); Pub. Emps.’ Ret. Sys. of Miss. v. Merrill
      Lynch & Co. Inc., 714 F. Supp. 2d 475, 479–80 (S.D.N.Y. 2010) (Securities Act claims are not time barred
      where “the certificates at issue were not downgraded below investment grade until April 2008, that is, after
      the March 27, 2008 limitation date, and, even then, the downgrade was not premised on the discovery of
      fraud but only on a perceived increase in risk”); cf. Carlucci v. Han, 886 F. Supp. 2d 497, 516 (E.D. Va.
      2012) (rejecting “the notion that poor performance of an investment is in itself sufficient to commence the
      limitations period [for a section 10(b) claim]”).
443   See In re Bear Stearns Mortg. Pass-Through Certificates Litig., 851 F. Supp. 2d at 766–67 (denying motion
      to dismiss complaints on statute of limitations grounds where plaintiff “purchased exclusively from the
      AAA-rated tranches” of the RMBS issuance that were “(at least as judged by the ratings) seemingly
      untarnished by the problems that plagued the [RMBS] industry as a whole”); see also In re Morgan Stanley
      Mortg. Pass-Through Certificates Litig., 810 F. Supp. 2d at 664–65 (“In light of the maintenance of
      investment-grade ratings on the 2006-14SL Trust well into the one-year limitation period . . . the cited
      delinquency rates and ratings changes are insufficient to warrant dismissal of [plaintiff’s] claim as untimely
      as a matter of law.”).
444   See FDIC v. Countrywide Fin. Corp., Civ. No. 12-4354, 2012 U.S. Dist. LEXIS 167696, at *9–14 (C.D. Cal.
      Nov. 21, 2012) (granting motion to dismiss section 11 claim as untimely where defendants “submitted ten
      complaints filed against Countrywide entities before May 22, 2008,” certain of which “had survived a motion
      to dismiss”); Lighthouse Fin. Grp. v. Royal Bank of Scot. Grp. PLC, Civ. No. 11-398, 2012 U.S. Dist. LEXIS
      146640, at *39 (S.D.N.Y. Sept. 27, 2012) (dismissing Securities Act claims as untimely in part because
      plaintiff’s filing of earlier lawsuit against defendant “undermines their contention that they could not have
      known about [defendant’s] alleged misstatements and omissions” until later); In re Morgan Stanley Mortg.
      Pass-Through Certificates Litig., 2010 WL 3239430, at *8 (granting motion to dismiss Securities Act claims
      and finding it “plain that inquiry notice arose well before May 2008” where “Lead Plaintiff’s counsel [had
      filed an earlier lawsuit], which involved similar allegations regarding [RMBS-related] misconduct by . . . the
      key originator of mortgages held by 2007–11AR”); Nat’l Credit Union Admin. Bd., 2012 U.S. Dist. LEXIS
      103170, at *81 (“A reasonably diligent investor who was aware of this [FDIC] cease and desist order [against
      defendant Fremont Investment and Loan] would have been alerted to discover facts prior to March 20, 2008
      which would support a plausible claim against the issuers, underwriters and sellers of the Fremont
      certificates.”); Boilermakers Nat’l Annuity Trust Fund v. WaMu Mortg. Pass Through Certificates, Series
      AR1, 748 F. Supp. 2d 1246, 1258 (W.D. Wash. 2010) (granting motion to dismiss Securities Act claims of
      one of the named plaintiffs in a consolidated class action because the first named plaintiff’s complaint was
      “sufficient to put other holders of WaMu certificates on notice of underwriting and appraisal issues,”
      notwithstanding that “the two [complaints] involved different securities”).

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section 11 and 12(a)(2) claims on statute of limitations grounds.445 There, the Debtors argued
that “claims relating to the 2006-QS8 offering must be dismissed as time-barred because
[plaintiff] failed to bring them within one year of being on inquiry notice.”446 According to the
district court, “the clock starts to tick when ‘a reasonably diligent plaintiff would have
discovered the facts constituting the violation.’”447 The court concluded that “[d]efendants
fail[ed] to show that a reasonably diligent plaintiff would have discovered the facts constituting
the violation over a year before bringing this action, or by May 18, 2008.”448 In particular, that
“delinquency rates for 2006-QS8 approached 15%” was “not enough,” and that a ratings agency
“put the relevant securities on ratings watch for possible downgrades” was considered “an even
further reach.”449

      In FHLB of Chicago v. Banc of America Funding Corp., the Circuit Court in Cook
County, Illinois, denied AFI’s motion to dismiss as time-barred control person claims asserted
against it by a Third-Party Claimant under the Illinois Securities Law and the North Carolina
Securities Act.450 The court found that the plaintiff “pled facts demonstrating that its claims
were brought [on October 15, 2010] within two years of discovery of the defendants’ wrongs,
which means that the claims are timely under Illinois . . . and North Carolina law.”451 In
particular, plaintiff pleaded that it had no “access to the loan files” and no “way of testing the
rating agencies’ triple-A ratings,” which “began to be downgraded only in 2008.”452 The court
rejected AFI’s argument that the plaintiff was “on inquiry notice prior to October 2007.”453 As
an initial matter, when the statute of limitations begins to run is “ordinarily a question of fact
. . . unless only one conclusion can be drawn at some particular point from undisputed




445   See Civ. Nos. 08–8781 and 08–5093, 2011 U.S. Dist. LEXIS 46066, at *23–26 (S.D.N.Y. Apr. 28, 2011); see
      also Mass. Mut. Life Ins. Co. v. Residential Funding Co., LLC, 843 F. Supp. 2d 191, 208–09 (D. Mass. 2012)
      (denying Debtors’ motion to dismiss MUSA section 410(a) claims on statute of limitations grounds where
      “generalized reports on the industry” and “reports show[ing] an increase in the number of loans going into
      default” may “have indicated that the loans were performing poorly, [but] did not put Plaintiff on notice [by
      early 2007] that the specific underwriting and appraisal practices represented in the offering materials were
      false”).
446   N.J. Carpenters Health Fund v. Residential Capital, LLC, Civ. Nos. 08–8781, 05–5093, 2011 U.S. Dist.
      LEXIS 46066, at *23 (S.D.N.Y. Apr. 28, 2011).
447   Id. at *24 (quoting Merck & Co. v. Reynolds, 130 S. Ct 1784, 1797 (2010)).
448   Id. at *25.
449   Id. at *25–26.
450   Order, FHLB of Chicago v. Banc of Am. Funding Corp., Case No. 10-CH-45033, at 13 (Ill. Cir. Ct. Sept. 19,
      2012).
451   Id.
452   Id.
453   Id. at 14.

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facts.”454 Moreover, “generalized information about the mortgage market or about certain
mortgage originators cannot trigger the statute of limitations.”455
      Although the law in this area continues to evolve, it may pose obstacles to AFI prevailing
on statute of limitations defenses (including its pending motions to dismiss) premised upon
arguments that general “public scrutiny and numerous critical media and government reports”
started limitations periods running in 2007.456 Discovery could perhaps permit AFI to prove
that, notwithstanding the limited information available to the public at that time, one or more
of Third-Party Claimants had knowledge sufficient for the applicable statute of limitations
period to have run before it filed its claims against AFI.457 Moreover, this body of case law
also suggests that any Third-Party Claimants that have not to date asserted claims against AFI
would face potential dismissal of future control person claims asserted under federal or state
securities laws. Even under the four-year limitations period that governs control person claims
asserted under MUSA § 410(b), a Third-Party Claimant asserting such a claim for the first
time now would be required to allege that it lacked sufficient knowledge of the alleged
misrepresentations as late as mid-2009.458 In light of intervening credit rating downgrades and
454   Id. at 12.
455   Id. at 14. The court also denied AFI’s motion to dismiss under 815 Ill. Comp. Stat. Ann. 5/13(B). See id.
      at 8–10. That provision requires a plaintiff asserting a claim under the Illinois Securities Law to have given
      written notice “within 6 months after the purchaser shall have knowledge that the sale of the securities to him
      or her is voidable, to each person from whom recovery will be sought.” 815 ILL. COMP. STAT. ANN. 5/13(B).
      AFI argued that the FHLB of Chicago had failed to “plead affirmative facts demonstrating that it served
      notices of rescission on defendants within six months of acquiring constructive knowledge that each
      certificate was voidable.” See Order, FHLB of Chicago v. Banc of Am. Funding Corp., Case No. 10–CH–
      45033, at 8 (Ill. Cir. Ct. Sept. 19, 2012). The court declined to find as a matter of law that the notices of
      rescission sent by the FHLB of Chicago in July 2010 were untimely. See id. at 9–10. The court explained that
      “the six-month period begins when a party gains actual or constructive knowledge that the purchase is legally
      voidable . . . rather than . . . of the facts underlying the claim.” Id. at 9. In the context of a motion to dismiss,
      AFI had not met the “burden of showing that the Bank has failed to comply with the six-month notice
      provision.” See id. The Examiner reaches no conclusion concerning whether the FHLB of Chicago complied
      with this six-month notice provision, which is a “mixed question of law and fact” that to answer would
      require discovery concerning the circumstances by which the plaintiff “learned that the sale was voidable.”
      See 766347 Ontario Ltd. v. Zurich Capital Markets Inc., 249 F. Supp. 2d 974, 989 (N.D. Ill. 2003) (quotation
      marks omitted); see also Reshal Assocs., Inc. v. Long Grove Trading Co., 754 F. Supp. 1226, 1236 (N.D. Ill.
      1990) (“Illinois courts have been lenient in their interpretation of what constitutes knowledge of voidability.
      They have held that the time for notice begins to run not from the time of knowledge of the underlying facts,
      but rather from the time of knowledge that those facts give rise to a right of rescission.”).
456   See AFI Submission Paper, dated Dec. 19, 2012, at 46–47; see also Defs.’ Mem. of Law in Supp. of Their
      Mot. to Dismiss the Am. Compl., FHLB of Boston v. Ally Fin., Inc., Civ. No. 11-10952, Docket No. 200,
      at 55 (D. Mass. Oct. 11, 2012) (“[T]here were ‘storm warnings’ sufficient to alert FHLB Boston as to the
      possibility of its [MUSA § 410] claims more than four years before it filed the Complaint on April 20,
      2011.”).
457   For example, AFI asserts—but would need to prove—that “if [Third-Party Claimants’] allegations of
      systematic abandonment of underwriting guidelines were true, there would be no entity that would have been
      more aware of that fact than Freddie/Fannie” because “Freddie Mac personnel visited nearly every originator
      in the business.” See AFI Submission Paper, dated Dec. 19, 2012, at 47 (emphasis omitted).
458   See MASS. GEN. LAWS ch. 110A § 410(e) (“No person may sue under this section more than four years after
      the discovery by the person bringing the action of a violation . . . .”).

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the filing of other lawsuits concerning the Debtors’ securitizations, such a claim could be
susceptible to dismissal as time-barred as a matter of law.459

                             (ii) Application Of Statutes Of Repose To RMBS Claims

     AFI moved to dismiss claims asserted by Third-Party Claimants under section 20(a) of
the Exchange Act, the Minnesota Securities Act, and the Virginia Securities Act as barred by
applicable statutes of repose.460 In Union Central Life Ins. Co. v. Ally Fin., Inc., AFI’s motion
to dismiss section 20(a) claims was granted on other grounds.461 In FHFA v. Ally Fin., Inc.,
the plaintiff agreed to “abandon” Virginia Securities Act claims as to “securitizations it
459   See In re Morgan Stanley Mortg. Pass-Through Certificates Litig., Civ. No. 09–2137, 2010 WL 3239430, at
      *8 (S.D.N.Y. Aug. 17, 2012) (granting motion to dismiss Securities Act claims and finding it “plain that
      inquiry notice arose well before May 2008” where “Lead Plaintiff’s counsel [had filed an earlier lawsuit],
      which involved similar allegations regarding [RMBS-related] misconduct by . . . the key originator of
      mortgages held by 2007–11AR”); Nat’l Credit Union Admin. Bd. v. RBS Sec., Inc., Civ. No. 11-2340, 2012
      U.S. Dist. LEXIS 103170, at *81 (D. Kan. July 25, 2012) (“A reasonably diligent investor who was aware of
      this [FDIC] cease and desist order [against defendant Fremont Investment and Loan] would have been alerted
      to discover facts prior to March 20, 2008 which would support a plausible claim against the issuers,
      underwriters and sellers of the Fremont certificates.”); In re Morgan Stanley Mortg. Pass-Through
      Certificates Litig., 2010 WL 3239430, at *8 (granting motion to dismiss Securities Act claims and finding it
      “plain that inquiry notice arose well before May 2008” where “thirteen of sixteen downgrades by Moody’s of
      2007–11AR occurred before May 2008, and four out of sixteen downgrades by S & P of 2007–11AR
      occurred before May 2008”). The Examiner reaches no definitive conclusions concerning whether any
      potential control person claims asserted against AFI would be subject to dismissal as time-barred under these
      or other federal or state securities laws.
460   See Mem. of Law in Supp. of Ally Fin. Inc.’s and GMAC Mortg. Group, Inc’s Mot. to Dismiss the Am.
      Compl., FHFA v. Ally Fin. Inc., Civ. No. 11-7010, Docket No. 149 (S.D.N.Y. July 13, 2012) (Virginia
      Securities Act); Mem. in Supp. of the Ally Defs.’ Mot. to Dismiss the Am. Compl., John Hancock Life Ins.
      Co. (U.S.A.) v. Ally Fin. Inc., Civ. No.12-01841, Docket No. 104 (D. Minn. Dec. 14, 2012) (Minnesota
      Securities Act); Mem. in Supp. of the Ally Defs.’ Mot. to Dismiss the Am. Compl., Stichting Pensioenfonds
      ABP v. Ally Fin. Inc., Civ. No. 12-01381, Docket No. 129 (D. Minn. Mar. 11, 2013) (Minnesota Securities
      Act); Ally Fin, Inc’s Mem. of Law in Supp. of Mot. to Dismiss the Am. Compl., Union Cent. Life Ins. Co. v.
      Ally Fin., Inc., Civ. No. 11-02890, Docket No. 219 (S.D.N.Y. July 27, 2012) (section 20 of the Exchange
      Act).
461   See Order, Civ. No. 11-02890, Docket No. 263, at 7 n.7 (S.D.N.Y. Mar. 29, 2013) (granting plaintiffs
      opportunity to “file a letter motion to amend which attaches a proposed amended complaint within sixty
      (60) days”). Assuming arguendo that plaintiffs were to seek and be granted leave to file an amended
      complaint asserting section 20 claims AFI would presumably again assert the defense that such claims are
      barred by the five-year statute of repose because AFI “was not named as a defendant in this action until . .
      May 4, 2012” and “all of the certificates . . . were issued in 2005 or 2006.” See Ally Fin. Inc’s Mem. of Law
      in Supp. of Mot. to Dismiss the Am. Compl., Civ. No. 11-02890, Docket No. 219, at 5 (S.D.N.Y. July 27,
      2012). Plaintiffs opposed dismissal on the theory that their section 20 claims against AFI “relate[] back to the
      date of the original pleading” pursuant to Rule 15(c) of the Federal Rules of Civil Procedure. See Pl.’s Opp.
      to Defs. Ally Sec., LLC, Ally Fin. Inc. and Bruce J. Paradis’ Mots. to Dismiss the Am. Compl., Civ.
      No. 11-02890, Docket No. 234, at 11 (S.D.N.Y. Oct. 1, 2012). The Examiner reaches no conclusions
      concerning the likelihood of success of a statute of repose defense with respect to these section 20 claims.
      The Examiner does note, however, that the “relation back” doctrine under Rule 15(c) requires, inter alia, “a
      mistake concerning the proper party’s identity.” See FED. R. CIV. P. 15(c)(1)(C)(ii).

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purchased before September 6, 2006.”462 AFI’s motions to dismiss remain pending as to the
Minnesota Securities Act claims asserted against it in two RMBS Investor Actions in the U.S.
District Court for the District of Minnesota.463

       AFI argues that “claims brought [therein by Third-Party Claimants] for violations of the
[Minnesota Securities Act] based on ‘conduct occurring’ before August 1, 2007” are
time-barred because they were not asserted within three years.464 Those two actions were
commenced on October 11, 2011 and July 27, 2012, respectively.465 The Examiner concludes
it is likely that AFI’s statute of limitations defense will prevail as to all Minnesota Securities
Act claims asserted in those two actions and based upon conduct occurring before August 1,
2007.466

     Minnesota Securities Act claims asserted against AFI in Huntington Bancshares, Inc. v.
Ally Financial, Inc. were recently dismissed with prejudice by the Minnesota District Court
for Hennepin County.467 The court granted AFI’s motion to dismiss such claims as “barred as
a matter of law . . . because the [three-year] statute of repose expired on September 29,
2009.”468 The court explained that plaintiff waited until 2011 to bring its claims but “[a]ll of
the claims asserted in Plaintiff’s complaint” concern “Offering Documents [that] were issued
462   Civ. No. 11-7010, 2012 U.S. Dist. LEXIS 179768, at *8 n.4 (S.D.N.Y. Dec. 19, 2012).
463   See Mem. in Supp. of the Ally Defs.’ Mot. to Dismiss the Am. Compl., John Hancock Life Ins. Co. (U.S.A.)
      v. Ally Fin. Inc., Civ. No.12-01841, Docket No. 104 (D. Minn. Dec. 14, 2012); Mem. in Supp. of the Ally
      Defs.’ Mot. to Dismiss the Am. Compl., Stichting Pensioenfonds ABP v. Ally Fin. Inc., Civ. No. 12–01381,
      Docket No. 129 (D. Minn. Mar. 11, 2013).
464   Mem. in Supp. of the Ally Defs.’ Mot. to Dismiss the Am. Compl., John Hancock Life Ins. Co. (U.S.A.) v.
      Ally Fin. Inc., Civ. No. 12-01841, Docket No. 104, at 16 (D. Minn. Dec. 14, 2012); see also Mem. in Supp.
      of the Ally Defs.’ Mot. to Dismiss the Am. Compl., Stichting Pensioenfonds ABP v. Ally Fin. Inc., Civ.
      No. 12–01381, Docket No. 129, at 16-19 (D. Minn. Mar. 11, 2013).
465   See Compl., John Hancock Life Ins. Co. (U.S.A.) v. Ally Fin. Inc., Civ. No.12-01841, Docket No. 1 (D. Minn.
      July 27, 2012); Compl., Stichting Pensioenfonds ABP v. Ally Fin. Inc., Case No. 27–CV–11–20426 (Minn.
      Dist. Ct. Oct. 11, 2011).
466   AFI concedes that the Minnesota Securities Act claims asserted as to one of the securitizations at issue
      (RALI 2007-QS11) would not, as alleged, be barred by the three-year statute of repose because the
      prospectus was issued on September 27, 2007 (i.e., after the August 1, 2007 effective date of Minn. Stat.
      § 80A.76). See Mem. in Supp. of the Ally Defs.’ Mot. to Dismiss the Am. Compl., John Hancock Life Ins.
      Co. (U.S.A.) v. Ally Fin. Inc., Civ. No.12-01841, Docket No. 104, at 18-19 (D. Minn. Dec. 14, 2012). AFI
      argues that claims as to that securitization are nonetheless time-barred under the applicable statute of
      limitations because plaintiffs “had knowledge of the facts . . . more than two years before they brought this
      suit” as a result of credit rating downgrades and the filing of lawsuits by other plaintiffs concerning other of
      Debtors’ securitizations. See id.; MINN. STAT. § 80A.76(j)(2) (claims must be brought “within . . . two years
      after discovery of the facts constituting the violation”). The Examiner discussed above similar statute of
      limitations defenses raised by AFI in other RMBS Investor Actions. See Section VIII.C.2.a(2)(e)(i).
467   See Order Granting Defs.’ Mots. to Dismiss Compl., Case No. 27-CV-11-20276, at 9 (Minn. Dist. Ct.
      Dec. 11, 2012).
468   Id.

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between July 11, 2003 and September 29, 2006.”469 The Examiner finds no reason to expect a
different result as to those Minnesota Securities Act claims that remain pending against
AFI.470

      The statutes of repose that govern control person claims asserted under sections 15
and 20(a) of the federal securities laws and several state securities laws also have potential
implications for whether any Third-Party Claimants that have not to date asserted any claims
against AFI could in the future timely assert control person claims against AFI. The available
evidence suggests that many such future claims would be time-barred. Even under the
five-year statute of repose applicable to control person claims asserted under section 20(a) of
the Exchange Act (and the Illinois Securities Law), any such claim asserted on May 10, 2013
would be subject to an apparent time bar unless it accrued no earlier than May 10, 2008.471 A
control person claim asserted on May 10, 2013 under section 15 of the Securities Act would
be subject to an apparent time bar by the three-year statute of repose unless it accrued no
earlier than May 10, 2010.472 Accordingly, given that the Debtors ceased private label
securitizations by 2007, any future control person claims asserted under federal or state
securities laws governed by a statute of repose of five years or less would appear
presumptively time-barred.473
469   See id.
470   The Examiner is not persuaded that the three-year statute of repose under Minn. Stat. § 80A.23(7) is only
      applicable to claims that “could have been instituted . . . prior to August 1, 2007.” See Pls.’ Omnibus Opp. to
      Defs.’ Mots. to Dismiss the Am. Compl., John Hancock Life Ins. Co. (U.S.A.) v. Ally Fin. Inc., Civ.
      No.12-01841, Docket No. 118, at 88 (D. Minn. Feb. 15, 2013). Such an interpretation is inconsistent with the
      plain meaning of the relevant statute and has not been adopted by the courts. See MINN. STAT. § 80A.90(a)
      (“The predecessor act exclusively governs all actions or proceedings that are pending on August 1, 2007, or
      may be instituted on the basis of conduct occurring before August 1, 2007 . . . .”); Trooien v. Mansour, 608
      F.3d 1020, 1027 n.2 (8th Cir. 2010) (predecessor statute “continues to govern all actions based on conduct
      occurring before that date”); Order Granting Defs.’ Mots. to Dismiss Compl., Huntington Bancshares, Inc. v.
      Ally Fin. Inc., Case No. 27-CV-11-20276, at 9 (Minn. Dist. Ct. Dec. 11, 2012) (“[A]ny claims brought for
      violation of the MSA based on conduct occurring before August 1, 2007 are governed by the prior version of
      the MSA . . . .”). Notably, Third-Party Claimants concede that, even under Minn. Stat. § 80A.76(j)(2), their
      Minnesota Securities Act claims would be time-barred by its five-year statute of repose as to at least some of
      the securitizations at issue. See Pls.’ Omnibus Opp. to Defs.’ Mots. to Dismiss the Am. Compl., John
      Hancock Life Ins. Co. (U.S.A.) v. Ally Fin. Inc., Civ. No.12-01841, Docket No. 118, at 92 (D. Minn. Feb. 15,
      2013) (“While some of Plaintiffs’ claims are barred by the five-year statute of repose, many are not”); see
      also Pls.’ Ombibus Memo. of Law in Opp. to Defs.’ Mot. to Dismiss the Am. Compl., Stichting
      Pensioenfonds ABP v. Ally Fin. Inc., Civ. No. 12-01381, Docket No. 142, at 77 (D. Minn. Apr. 25, 2013)
      (same).
471   See 28 U.S.C. § 1658(b); 815 ILL. COMP. STAT. ANN. 5/13(D).
472   See 15 U.S.C. § 77m.
473   See Section III.G; Int. of J. Gray, Mar. 1, 2013, at 61:8–63:23. The Examiner reaches no definitive
      conclusions concerning whether any potential control person claims asserted against AFI would be subject to
      dismissal as time-barred under these or other federal or state securities laws. Such conclusions would require
      a case-by-case assessment of the facts and the law including, for example, whether any tolling agreement
      might permit otherwise time-barred claims to proceed.

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                   (3) Aiding And Abetting Fraud And Fraudulent Inducement

     The Examiner has identified fourteen pending RMBS Actions where Third-Party
Claimants seek to hold AFI liable for aiding and abetting an alleged common law fraud by one
or more of the Debtors.474 Those actions are pending in federal district courts located in
Minnesota and New York.475 Of those fourteen actions, ten are RMBS Insurer Actions brought
by either FGIC or MBIA, who contracted to provide financial guaranty insurance in
connection with issuances of RMBS by the Debtors.476 The other four actions are RMBS
Investor Actions brought by purchasers of RMBS issued by the Debtors.477

     AFI filed pre-answer motions to dismiss the aiding and abetting claims asserted against it
in five of those fourteen actions (the other nine actions brought by FGIC remain stayed by




474   See Am. Compl., FGIC v. Ally Fin., Inc., Civ. No. 11-09729, Docket No. 29, at 86–88 (S.D.N.Y. Mar. 30,
      2012); Compl., FGIC v. Ally Fin., Inc., Civ. No. 12-00338, Docket No. 1, at 67–68 (S.D.N.Y. Dec. 27,
      2011); Compl., FGIC v. Ally Fin., Inc., Civ. No. 12-00339, Docket No. 1, at 63 (S.D.N.Y. Dec. 27, 2011);
      Compl., FGIC v. Ally Fin., Inc., Civ. No. 12-00340, Docket No. 1, at 69 (S.D.N.Y. Dec. 27, 2011); Compl.,
      FGIC v. Ally Fin., Inc., Civ. No. 12-00341, Docket No. 1, at 57 (S.D.N.Y. Dec. 15, 2011); Compl., FGIC v.
      Ally Fin., Inc., Civ. No. 12-01658, Docket No. 1, at 88–90 (S.D.N.Y. Mar. 6, 2012); Compl., FGIC v. Ally
      Fin., Inc., Civ. No. 12-01860, Docket No. 1, at 88–89 (S.D.N.Y. Mar. 13, 2012); Compl., FGIC v. Ally Fin.,
      Inc., Civ. No. 12-01601, Docket No. 1, at 85 (S.D.N.Y. Mar. 5, 2012); Compl., FGIC v. Ally Fin., Inc., Civ.
      No. 12-01818, Docket No. 1, at 91–92 (S.D.N.Y. Mar. 12, 2012); Am. Compl., FHFA v. Ally Fin. Inc., Civ.
      No. 11-07010, Docket No. 114, at 135 (S.D.N.Y. June 13, 2012); Am. Compl., John Hancock Life Ins. Co.
      (U.S.A.) v. Ally Fin. Inc., Civ. No.12-01841 Docket No. 84, at 278–82 (D. Minn. Oct. 15, 2012); Compl.,
      MBIA Ins. Co. v. Ally Fin. Inc., Case. No. Civ. No. 12–02563, Docket No. 1, at 49–55 (D. Minn. Sept. 17,
      2012); Am. Compl., Stichting Pensioenfonds ABP v. Ally Fin. Inc., Civ. No. 12–01381, Docket No. 101, at
      176-80 (D. Minn. Oct. 11, 2011); Am. Compl., Union Cent. Life Ins. Co. v. Ally Fin., Inc., Civ.
      No. 11-02890, Docket No. 146, at 237-38 (S.D.N.Y. May 4, 2012).
475   See id.
476   See Am. Compl., FGIC v. Ally Fin., Inc., Civ. No. 11-09729, Docket No. 29 (S.D.N.Y. Mar. 30, 2012);
      Compl., FGIC v. Ally Fin., Inc., Civ. No. 12-00338, Docket No. 1 (S.D.N.Y. Dec. 27, 2011); Compl., FGIC
      v. Ally Fin., Inc., Civ. No. 12-00339, Docket No. 1 (S.D.N.Y. Dec. 27, 2011); Compl., FGIC v. Ally Fin.,
      Inc., Civ. No. 12-340, Docket No. 1 (S.D.N.Y. Dec. 27, 2011); Compl., FGIC v. Ally Fin., Inc., Civ.
      No. 12-341, Docket No. 1 (S.D.N.Y. Dec. 15, 2011); Compl., FGIC v. Ally Fin., Inc., Civ. No. 12-01658,
      Docket No. 1 (S.D.N.Y. Mar. 6, 2012); Compl., FGIC v. Ally Fin., Inc., Civ. No. 12-1860, Docket No. 1
      (S.D.N.Y. Mar. 13, 2012); Compl., FGIC v. Ally Fin., Inc., Civ. No. 12-1601, Docket No. 1 (S.D.N.Y.
      Mar. 5, 2012); Compl., FGIC v. Ally Fin., Inc., Civ. No. 12–1818, Docket No. 1 (S.D.N.Y. Mar. 12, 2012);
      Compl., MBIA Ins. Co. v. Ally Fin. Inc., Case. No. Civ. No. 12–02563, Docket No. 1 (D. Minn. Sept. 17,
      2012).
477   See Am. Compl., FHFA v. Ally Fin. Inc., Civ. No. 11–7010, Docket No. 114 (S.D.N.Y. June 13, 2012); Am.
      Compl., John Hancock Life Ins. Co. (U.S.A.) v. Ally Fin. Inc., Civ. No.12-01841 Docket No. 84 (D. Minn.
      Oct. 15, 2012); Am. Compl., Stichting Pensioenfonds ABP v. Ally Fin. Inc., Civ. No. 12-01381, Docket
      No. 101 (D. Minn. Oct. 11, 2011); Am. Compl., Union Cent. Life Ins. Co. v. Ally Fin., Inc., Civ.
      No. 11-02890, Docket No. 146 (S.D.N.Y. May 4, 2012).

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Order of the Bankruptcy Court).478 To date, Third-Party Claimants’ aiding and abetting claims
in one of those actions have survived an AFI motion to dismiss and are in discovery,479 while
aiding and abetting claims in one other action were dismissed without prejudice.480 The three
other AFI motions to dismiss remain pending. No final judgment has been entered as to the
aiding and abetting claims asserted against AFI in any of these fourteen RMBS Actions.481
The Examiner has identified six other RMBS Actions where common law fraud claims are
pending against one or more of the Debtors, but where, to date, no aiding and abetting claims
have been asserted against AFI.482

      “The purpose of an aiding and abetting claim is to draw in defendants who would not be
liable on the main fraud claim, but who are alleged to have actual knowledge of the fraud and
substantially assisted it.”483 Accordingly, any plaintiff asserting a claim that a defendant aided
and abetted an underlying fraud must plead and prove the following elements: (1) the
existence of the fraud; (2) knowledge of the fraud by that defendant; and (3) substantial




478   See Mem. of Law in Supp. of Ally Fin. Inc.’s and GMAC Mortg. Group, Inc’s Mot. to Dismiss the Am.
      Compl., FHFA v. Ally Fin. Inc., Civ. No. 11–7010, Docket No. 149 (S.D.N.Y. July 13, 2012); Mem. in Supp.
      of the Ally Defs.’ Mot. to Dismiss the Am. Compl., John Hancock Life Ins. Co. (U.S.A.) v. Ally Fin. Inc.,
      Civ. No.12–01841, Docket No. 104 (D. Minn. Dec. 14, 2012); Am. Mem. of Law in Supp. of Defs.’ Mot. to
      Dismiss, MBIA Ins. Co. v. Ally Fin. Inc., Civ. No. 12–02563, Docket No. 36 (D. Minn. Mar. 12, 2013); Mem.
      in Supp. of the Ally Defs.’ Mot. to Dismiss the Am. Compl., Stichting Pensioenfonds ABP v. Ally Fin. Inc., et
      al., Civ. No. 12–01381, Docket No. 129 (D. Minn. Mar. 11, 2013); Ally Fin., Inc’s Mem. of Law in Supp. of
      Mot. to Dismiss the Am. Compl., Union Cent. Life Ins. Co. v. Ally Fin., Inc., Civ. No. 11–02890, Docket
      No. 219 (S.D.N.Y. July 27, 2012); Stipulation and Order with Respect to Debtors’ Motion to Extend the
      Automatic Stay or, in the Alternative, for Injunctive Relief [Case No. 12–01671; Docket No. 90].
479   See FHFA v. Ally Fin., Inc., Civ. No. 11–7010, 2012 U.S. Dist. LEXIS 179768, at *15 (S.D.N.Y. Dec. 19,
      2012).
480   See Order, Union Cent. Life Ins. Co. v. Ally Fin., Inc., Civ. No. 11–02890, Docket No. 263, at 7 n.7
      (S.D.N.Y. Mar. 29, 2013) (granting plaintiffs opportunity to “file a letter motion to amend which attaches a
      proposed amended complaint within sixty (60) days”).
481   One additional RMBS Investor Action that asserted aiding and abetting claims against AFI was dismissed
      with prejudice. See Order Granting Defs.’ Mot. to Dismiss Compl., Huntington Bancshares, Inc. v. Ally Fin.
      Inc., Case No. 27–cv–11–20276 (Minn. Dist. Ct. Dec. 11, 2012).
482   See First Am. Compl., Allstate Ins. Co. v. GMAC Mortgage LLC, Case No. 11–3480 (Minn. Dist. Ct. Apr. 15,
      2011); Compl., FGIC v. Residential Funding Co. LLC, Civ. No. 11–9736, Docket No. 1 (S.D.N.Y. Nov. 29,
      2011); Compl., FGIC v. Residential Funding Co. LLC, Civ. No. 11–9737, Docket No. 1 (S.D.N.Y. Nov. 29,
      2011); First Am. Compl., MBIA Ins. Corp. v. Residential Funding Co., LLC, Index No. 603552/2008 (N.Y.
      Sup. Ct. Mar. 19, 2010); Compl., MBIA Ins. Corp. v. GMAC Mortg., LLC, Index No. 600837/2010 (N.Y.
      Sup. Ct. Apr. 1, 2010); Compl., W. Va. Inv. Mgmt. Bd. v. Residential Accredit Loans, Inc., Civ. No. 10-0461,
      Docket. No. 1 (S.D.W.V. Apr. 7, 2010).
483   380544 Canada, Inc. v. Aspen Tech., Inc., 633 F. Supp. 2d 15, 36 (S.D.N.Y. May 5, 2009) (citation omitted).

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assistance in the commission of the fraud by that defendant.484 “Rule 9(b)’s particularity
requirement for fraud applies equally to a claim for aiding and abetting.”485 Thus, a plaintiff
must “plead facts with the requisite particularity” to show the defendant’s “actual knowledge
of fraud.”486 If the plaintiff satisfies this pleading burden, then “[a] claim for aiding and
abetting fraud must be proven by clear and convincing evidence.”487




484   See Dexia SA/NV v. Bear, Stearns & Co., Inc., Civ. No. 12-4761, 2013 U.S. Dist. LEXIS 30916, at * 28–29
      (S.D.N.Y. Feb. 26, 2013) (“U]nder New York law, plaintiffs must allege (1) the existence of an underlying
      fraud, (2) actual knowledge of the fraud, and (3) substantial assistance in the commission of the fraud.”);
      Christopher v. Hanson, Civ. No. 09-3703, 2011 U.S. Dist. LEXIS 60201, at *33 (D. Minn. June 6, 2011)
      (“Aiding and abetting tortious conduct has three elements [under Minnesota law]: (1) the primary tort-feasor
      must commit a tort that causes an injury to the plaintiff; (2) the defendant must know that the primary tort-
      feasor’s conduct constitutes a breach of duty; and (3) the defendant must substantially assist or encourage the
      primary tort-feasor in the achievement of the breach.”). Because these fourteen RMBS Actions are pending
      in Minnesota and New York courts, the Examiner’s discussion of the law of aiding and abetting common law
      fraud relies upon both Minnesota and New York law. With certain distinctions to be discussed below, the
      laws of those jurisdictions do not appear to be in conflict. See Am. Bank of St. Paul v. TD Bank, N.A., 2013
      U.S. App. LEXIS 8489, at *11 n.4 (8th Cir. Apr. 26, 2013) (“New York and Minnesota both follow the
      Second Restatement approach to aiding and abetting.”); Thrivent Fin. for Lutherans v. Countrywide Fin.
      Corp., Civ. No. 11-71376, 2012 U.S. Dist. LEXIS 71376, at *18 (C.D. Cal. Feb. 17, 2012) (noting that
      Minnesota and New York apply the same elements to claims of aiding and abetting fraud claims).
485   E-Shops Corp. v. U.S. Bank Nat’l Ass’n, 678 F.3d 659, 663 (8th Cir. 2012); see also Lerner v. Fleet Bank,
      N.A., 459 F.3d 273, 292–93 (2d Cir. 2006). “[C]onclusory allegations” do not suffice and “[i]nstead, the
      complaint must set forth the who, what, when, where, and how surrounding the alleged fraud.” See E-Shops
      Corp., 678 F.3d at 663 (quotation marks omitted); see also Lerner, 459 F.3d at 290 (“[I]n order to comply
      with Rule 9(b), the complaint must: (1) specify the statements that the plaintiff contends were fraudulent,
      (2) identify the speaker, (3) state where and when the statements were made, and (4) explain why the
      statements were fraudulent.”) (quotation marks omitted).
486   See Lerner, 459 F.3d at 292–93; see also E-Shops Corp., 678 F.3d at 663 (affirming dismissal of aiding and
      abetting fraud claim that failed to “plead with particularity how [defendant] knowingly and substantially
      assisted the underlying fraud” and explaining that “[a]n aider and abettor’s knowledge of the wrongful
      purpose is a crucial element in aiding or abetting cases”) (quotation marks omitted). Courts in the Second
      Circuit have explained that “pleading knowledge for purposes of an aiding and abetting claim requires
      allegations of facts that give rise to a ‘strong inference’ of actual knowledge.” Fraternity Fund Ltd. v. Beacon
      Hill Asset Mgmt., LLC, 479 F. Supp. 2d 349, 367 (S.D.N.Y. 2007) (quoting Lerner, 459 F.3d at 293).
487   Mazzaro De Abreu v. Bank of Am. Corp., 812 F. Supp. 2d 316, 322 (S.D.N.Y. 2011) (quotation marks
      omitted) (applying New York law). If a court were instead to apply Minnesota law, however, “‘[t]he standard
      of proof in all fraud cases is the preponderance of the evidence standard.’” Cornerstone Home Builders, Inc.
      v. Guyers Dev., LLC, Case No. A09-1178, 2010 Minn. App. Unpub. LEXIS 342, at *7 (Minn. App. Cr.
      Apr. 20, 2010) (unpublished) (quoting State by Humphrey v. Alpine Air Prods., Inc., 500 N.W.2d 788, 791
      (Minn. 1993)).

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     The Examiner’s factual and legal conclusions concerning certain elements or defenses
relevant to Third-Party Claimants’ aiding and abetting claims are discussed below.488

                         (a) Primary Violation

      Any aiding and abetting fraud claim requires the plaintiff to plead and prove “the
existence of an underlying fraud.”489 “Absent a sufficient claim of a primary fraud, a claim for
aiding and abetting fraud must fail without regard to whether the remaining elements are
satisfied.”490 The elements of a cause of action for common law fraud include that: “(1) the
defendant made a material false representation, (2) the defendant intended to defraud the
plaintiff thereby, (3) the plaintiff reasonably relied upon the representation, and (4) the
plaintiff suffered damage as a result of such reliance.”491


488   In its submissions to the Examiner, AFI in general does not assert that the common law aiding and abetting
      frauds claims asserted by Third-Party Claimants would be time-barred by an applicable statute of limitations.
      Although AFI in its initial submission argued that “MBIA’s recently asserted [aiding and abetting fraud]
      claims against AFI . . . will also fail as time-barred,” AFI Submission Paper, dated Dec. 17, 2012, at 74–75,
      AFI’s subsequent amended motion to dismiss those claims appears to abandon such arguments. See Am.
      Mem. of Law in Supp. of Defs.’ Mot. to Dismiss, MBIA Ins. Corp. v. Ally Fin. Inc., Civ. No. 12-02563,
      Docket No. 36 (D. Minn. Mar. 12, 2013). Accordingly, the Examiner does not further address the timeliness
      of Third-Party Claimants’ aiding and abetting fraud claims except to note that the limitations periods
      applicable to such claims under the laws of certain potentially relevant jurisdictions appear lengthier than
      those applicable to Third-Party Claimants’ securities law claims. See, e.g., MINN. STAT. § 541.05(6) (six-year
      statute of limitations for fraud claims “shall not be deemed to have accrued until the discovery by the
      aggrieved party of the facts constituting the fraud”); N.Y. C.P.L.R. § 213(8) (statute of limitations for fraud
      claims “the greater of six years from the date the cause of action accrued or two years from the time the
      plaintiff or the person under whom the plaintiff claims discovered the fraud, or could with reasonable
      diligence have discovered it”).
489   Dexia SA/NV, 2013 U.S. Dist. LEXIS 30916, at *28–29; see also Christopher, 2011 U.S. Dist. LEXIS
      60201, at *33–34.
490   See In re Lehman Bros. Sec. & ERISA Litig., Case No. 09-MD-2017, 2012 U.S. Dist. LEXIS 148177, at *82
      (S.D.N.Y. Oct. 15, 2012); see also Kittay v. Atl. Bank of N.Y. (In re Global Serv. Group LLC), 316 B.R. 451,
      462 (Bankr. S.D.N.Y. 2004) (“Without a primary violation, there is no wrongdoing to aid and abet.”);
      Alliance Bank v. Dykes, Case No. A12-0455, 2012 Minn. App. Unpub. LEXIS 1253, at *33–34 n.12 (Minn.
      Ct. App. Dec. 31, 2012) (unpublished) (affirming decision granting defendant’s motion for summary
      judgment on aiding and abetting claim in part “under the first element of such a claim because it is
      contingent on the conclusion that [the primary tortfeasor] breached its fiduciary duty”).
491   Banque Arabe et Internationale D’Investissement v. Md. Nat’l Bank, 57 F.3d 146, 153 (2d Cir. 1995)
      (applying New York law); see also Eurycleia Partners, LP v. Seward & Kissel, LLP, 12 N.Y.3d 553, 559
      (N.Y. 2009) (“The elements of a cause of action for fraud [under New York law] require a material
      misrepresentation of a fact, knowledge of its falsity, an intent to induce reliance, justifiable reliance by the
      plaintiff and damages.”); Damon v. Groteboer, Civ. No. 10-92, 2013 U.S. Dist. LEXIS 45223, at *38 (D.
      Minn. Mar. 29, 2013) (“Under Minnesota law, the elements of fraud are: (1) there was a false representation
      by a party of a past or existing material fact susceptible of knowledge; (2) made with knowledge of the falsity
      of the representation or made as of the party’s own knowledge without knowing whether it was true or false;
      (3) with the intention to induce another to act in reliance thereon; (4) that the representation caused the other
      party to act in reliance thereon; and (5) that the party suffer pecuniary damage as a result of the reliance.”).

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     Third-Party Claimants assert that, like certain of their securities law claims, the common
law fraud claims underlying the aiding and abetting claims brought against AFI either will or
“have already survived motions to dismiss, and will proceed to trial.”492 Certain common law
fraud claims asserted by Third-Party Claimants against the Debtors and Ally Securities have
foundered at the pleading stage for failure to plead fraud with the requisite particularity.493 In
several other cases, however, such primary claims have survived the pleading stage and
proceeded to discovery.494

     Definitive conclusions concerning the likelihood of success of the primary fraud claims
underlying Third-Party Claimants’ aiding and abetting claims in these fourteen pending
RMBS Actions (and other such underlying claims) are outside the scope of the Investigation.
The Examiner further describes, in Section VIII.C.2.b, the primary common law fraud claims
that have been asserted against Ally Securities.

492   Joint Submission Paper of AIG, Allstate Life Ins. Co., Mass. Mut. Life Ins. Co., and Prudential Ins. Co. of
      Am., dated Oct. 17, 2012, at 35; see also Joint Submission Paper of Federal Home Loan Banks of Boston,
      Chicago, and Indianapolis, dated Oct. 19, 2012, at 21 (“[T]he FHLBs’ effectively universal success in
      defeating Defendants’ motions to dismiss provides support for the conclusion that [their] claims have
      merit.”).
493   See Order, Union Cent. Life Ins. Co., et al. v. Ally Fin., Inc., Civ. No. 11-02890, Docket No. 263, at 3
      (S.D.N.Y. Mar. 29, 2013) (dismissing without prejudice common law fraud claims because plaintiffs “have
      not pled any facts with particularity to demonstrate [defendants’] scienter”); Order Granting Defendants’
      Motions to Dismiss Compl., Huntington Bancshares, Inc. v. Ally Fin., Inc., Case No. 27-CV-11-20276, at 6–
      7 (Minn. Dist. Ct. Dec. 11, 2012) (dismissing common law fraud claim where “Plaintiff has not pled with
      particularity which specific [defendant] was responsible for the alleged misrepresentation or omission and
      . . . has not identified the specific misrepresentation or omission”); see also Footbridge Ltd. Trust v.
      Countrywide Home Loans, Inc., Civ. No. 09-4050, 2010 U.S. Dist. LEXIS 102134, at *69–70 (S.D.N.Y.
      Sept. 28, 2010) (dismissing common law fraud claims for failure to plead with particularity “a material, false
      representation or that defendants made such statements with an intent to defraud the plaintiffs”).
494   See FHFA v. Ally Fin., Inc., Civ. No. 11-7010, 2012 U.S. Dist. LEXIS 179768, at *18 (S.D.N.Y. Dec. 19,
      2012) (denying in part motion to dismiss common law fraud claims asserted against Ally Securities); Allstate
      Ins. Co. v. GMAC Mortgage, LLC, Case No. 27-cv-11-3480, at 12 (Minn. Dist. Ct. Nov. 28, 2011) (denying
      motion to dismiss common law fraud claims asserted against certain of the Debtors and Ally Securities in
      part because “[a]llegations of wholesale abandonment of underwriting standards that loan originators
      purported to follow, but in fact ignored, meet the particularity requirement for fraud”); W. & S. Life Ins. Co.
      v. Residential Funding Co., LLC, Case No. A1105042, 2012 Ohio Misc. LEXIS 100, at *28 (Ohio Ct. Com.
      Pl. June 6, 2012) (denying motion to dismiss common law fraud claim against Ally Securities and rejecting
      argument that complaint “fails to state the fraud and misrepresentation claims with particularity”); MBIA Ins.
      Co. v. Residential Funding Co., LLC, Index No. 603552/08, 2009 N.Y. Misc. LEXIS 3523, at *13 (N.Y. Sup.
      Ct. Dec. 22, 2009) (denying motion to dismiss common law fraud claim); see also Dexia Holdings, Inc. v.
      Countrywide Fin. Corp., Civ. No. 11-07165, 2012 WL 1798997, at *5 (C.D. Cal. Feb. 17, 2012) (denying
      motion to dismiss common law fraud claims as to alleged misrepresentations concerning “underwriting
      standards” and “appraisals, [LTV] ratios, and ratings”). Notably, in MBIA Insurance Co. v. Ally Financial
      Inc., AFI’s pending motion to dismiss MBIA’s aiding and abetting fraud claim does not argue that MBIA
      fails to adequately plead an underlying fraud. See Am. Mem. of Law in Supp. of Defs.’ Mot. to Dismiss,
      MBIA Ins. Corp. v. Ally Fin. Inc., Civ. No. 12-02563, Docket No. 36, at 12 (D. Minn. Mar. 12, 2013)
      (“Whether MBIA was in fact defrauded by the Securitization Sponsors can be left for another day, for it is
      clear that the Complaint fails to plead adequately the elements of aiding and abetting fraud.”).

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                        (b) Knowledge Of Fraud

                             (i) Legal Principles

     The elements of a cause of action for aiding and abetting fraud include that “the
defendant had actual knowledge of the wrongful conduct committed, not simply that the
defendant should have known of the conduct.”495 Thus, actual, not “constructive knowledge”
is required.496 Although the “burden of demonstrating actual knowledge is a heavy one,” the
495   Anwar v. Fairfield Greenwich Ltd., 728 F. Supp. 2d 372, 442 (S.D.N.Y. 2010) (applying New York law); see
      also Lerner v. Fleet Bank, N.A., 459 F.3d 273, 292 (2d Cir. 2006) (“actual knowledge is required to impose
      liability on an aider and abettor under New York law”) (quotation marks omitted); Thrivent Fin. for
      Lutherans v. Countrywide Fin. Corp., Civ. No. 11-07154, 2012 U.S. Dist. LEXIS 71376, at *18 (C.D. Cal.
      Feb. 17, 2012) (“Minnesota, like New York, requires a plaintiff to show . . . actual knowledge of the primary
      violation . . . .”); Witzman v. Lehrman, Lehrman & Flom, 601 N.W.2d 179, 188 (Minn. 1999) (“[W]here the
      conduct is not a facial breach of duty, courts have been reluctant to impose liability on an alleged aider and
      abettor for anything less than actual knowledge that the primary tort-feasor’s conduct was wrongful.”)
      (applying Minnesota law). “[U]nder certain circumstances, some courts [in the Second Circuit] have found
      that a plaintiff met the actual knowledge requirement for aiding and abetting fraud or a breach of fiduciary
      duty through allegations of conscious avoidance.” Clarke v. Cosmo (In re Agape Litig.), 773 F. Supp. 2d 298,
      308 (E.D.N.Y. 2011). “Lower courts disagree whether conscious avoidance is legally equivalent to actual
      knowledge.” Krys v. Butt, 486 Fed. Appx. 153, 157 n.5 (2d Cir. 2012) (collecting cases). Some of the courts
      considering the question have, however, construed “the difference [as] a narrow one” that will not always be
      “material.” Krys v. Sugrue (In re Refco Inc. Sec. Litig.), Civ. Nos. 08-3065, 08-3086, 2012 U.S. Dist. LEXIS
      108305, at *17 (S.D.N.Y. July 28, 2012); see also Boyarsky v. Hoberman (In re Jeweled Objects LLC), Adv.
      Pro. No. 10-03198, 2012 Bankr. LEXIS 3877, at *27 (Bankr. S.D.N.Y. Aug. 22, 2012) (“The distinction
      between actual knowledge and conscious avoidance is, at most miniscule, however: consciously avoiding
      something is tantamount to knowing it.”).
496   See Chemtex, LLC v. St. Anthony Enters., Inc., 490 F. Supp. 2d 536, 546 (S.D.N.Y. 2007) (“New York courts
      . . . have uniformly required that a defendant have actual knowledge of the alleged fraud to sustain a claim
      for aiding and abetting.”); see also Kolbeck v. LIT Am. Inc., 939 F. Supp. 240, 246 (S.D.N.Y. 1996) (“New
      York common law . . . has not adopted a constructive knowledge standard for imposing aiding and abetting
      liability.”). The Minnesota Supreme Court has suggested that “constructive knowledge” may arise where a
      defendant has a “long-term or in-depth relationship” with a tortfeasor whose “conduct is clearly tortious or
      illegal.” See Witzman, 601 N.W.2d at 188 (allegations failed to satisfy “actual knowledge” requirement
      where “most of [the primary tortfeasor’s] activities regarding the trusts were not clear violations of the broad
      discretionary authority he held as trustee”). Subsequent decisions have disagreed concerning the scope of this
      apparent exception to the “actual knowledge” requirement. Compare Christopher v. Hanson, Civ. No. 09-
      3703, 2011 U.S. Dist. LEXIS 60201, at *34–35 (D. Minn. June 6, 2011) (granting defendant’s motion for
      summary judgment on aiding and abetting claim where there was no “evidence of actual knowledge,” despite
      “in-depth familial relationship” of the defendants, because the determination of an underlying breach of duty
      “requires a fact-intensive look at [the primary tortfeasor’s] conduct in comparison with that of a prudent
      person”); with Bank of Montreal v. Avalon Capital Grp. Inc., Civ. No. 10-591, 2012 U.S. Dist. LEXIS 46935,
      at *21 (D. Minn. Apr. 3, 2012) (denying motion to dismiss aiding and abetting claim where “the facts pled
      . . . are sufficient to create a plausible implication of constructive knowledge [of the sole manager and owner
      of the primary tortfeasor] of clearly tortious or illegal conduct”). In Huntington Bancshares, Inc. v. Ally
      Financial Inc., the Minnesota District Court for Hennepin County granted AFI’s motion to dismiss aiding
      and abetting claims in part on the ground that the plaintiff had “not adequately pled actual knowledge of the
      alleged fraud.” See Order Granting Defs.’ Mots. to Dismiss Compl., Case No. 27-CV-11-20276, at 8 (Minn.
      Dist. Ct. Dec. 11, 2012) (applying Minnesota law). According to the court, “actual knowledge” was
      necessary because “the alleged primary tortfeasor’s conduct is not a clear breach of a clear duty.” Id.

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defendant’s “actual knowledge does not have to be based on defendant’s explicit
acknowledgment of the fraud.”497 “Rather, actual knowledge may be inferred from
circumstantial evidence, provided that the central inquiry remains whether the evidence
permits a reasonable finder of fact to infer that the defendant actually knew of the underlying
fraud.”498 An inference of actual knowledge may arise from, inter alia, “facts showing a
motive for participating in a fraudulent scheme and a clear opportunity to do so.”499

    A corporation may be charged with the knowledge of its directors, officers, and
employees.500 Without more, the parent-subsidiary relationship has in general not been found




497   IMG Fragrance Brands, LLC v. Houbigant, Inc., 759 F. Supp. 2d 363, 385 (S.D.N.Y. 2010); see also
      Pension Comm. of the Univ. of Montreal Pension Plan v. Banc of Am. Sec., LLC, 652 F. Supp. 2d 495, 503–
      04 (S.D.N.Y. 2009) (denying defendant’s motion for summary judgment on aiding and abetting claim despite
      that “every . . . employee [of the defendant] has denied any actual knowledge of the fraud” and there was “no
      email, memorandum, or other . . . document that expressly admits knowledge of the fraud,” because there
      was other evidence that “would permit a reasonable jury to infer that [defendant] had actual knowledge”);
      Silverman v. United Talmudical Acad. Torah Vyirah, Inc. (In re Allou Distribs., Inc.), 446 B.R. 32, 51
      (Bankr. E.D.N.Y. 2011) (“[A] defendant’s admission of actual knowledge of the underlying fraud is likely to
      be rare. But such direct evidence of actual knowledge is not necessary to establish this element of the
      claim.”).
498   In re Allou Distribs., Inc., 446 B.R. at 51; see also Am. Bank of St. Paul v. TD Bank, N.A., Civ. No. 09-2240,
      2011 U.S. Dist. LEXIS 49646, at *22 (D. Minn. May 9, 2011) (“Actual knowledge is usually a question of
      fact, as it must be inferred from circumstantial evidence.”).
499   AHT Corp. v. Bioshield Techs., Inc. (In re AHT Corp.), 292 B.R. 734, (S.D.N.Y. 2003), aff’d, 123 Fed. Appx.
      17 (2d Cir. 2005). An “ordinary economic motive” does not suffice. See Burns v. Del. Charter Guar. & Trust
      Co., 805 F. Supp. 2d 12, 30 (S.D.N.Y. 2011) (dismissing aiding and abetting claim where “[d]efendants had
      no motive to assist Westgate in perpetrating a fraud on their investors, and any motive would have been
      ordinary economic motive”).
500   See City of Monroe Emps.’ Ret. Sys. v. Hartford Fin. Servs. Group, Inc., Civ. No. 10-2835, 2011 U.S. Dist.
      LEXIS 106046, at *48 (S.D.N.Y. Sept. 19, 2011) (“Courts routinely impute to the corporation the intent of
      officers and directors acting within the scope of their authority.”); In re Medtronic Inc., Sec. Litig., 618
      F. Supp. 2d 1016, 1035 (D. Minn. 2009) (“Plaintiffs [may] establish corporate scienter by adequately
      alleging the scienter of individual corporate officers.”); In re Marsh & McLennan Cos., Inc. Sec. Litig., 501
      F. Supp. 2d 452, 481 (S.D.N.Y. 2006) (“A corporate defendant’s scienter is necessarily derived from its
      employees. While there is no simple formula for how senior an employee must be in order to serve as a proxy
      for corporate scienter, courts have readily attributed the scienter of management-level employees to corporate
      defendants.”) (citation omitted); Adams v. RTC, 831 F. Supp. 1471, 1480 (D. Minn. 1993) (granting
      defendant corporation’s motion for summary judgment as to aiding and abetting securities fraud claim where
      the plaintiff “failed to produce any evidence demonstrating that an employee, officer, or director of [the
      corporation] had actual knowledge of any misrepresentations contained in, or omissions made from, the
      debenture offering documents”).

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sufficient to impute knowledge from one entity to another.501 Likewise, that a parent company
of an alleged primary violator “was vested generally with ‘management and control’ of [the
subsidiary]” and “had the authority to require [the subsidiary] to comply with applicable laws”
has been found insufficient to “permit an inference that [the parent] had actual knowledge of the
alleged fraud.”502 More is needed to charge a parent with knowledge of a fraud by its subsidiary.
For example, allegations that “high-level executives of the [parent] knew and participated in
creating policies that incentivized high-risk lending and reduced controls [at its subsidiaries] in
order to increase profits by creating greater numbers of RMBS regardless of quality” could, if
proven, “satisfy the knowledge . . . requirement[ ] of aiding and abetting fraud.”503

                             (ii) Application To RMBS Claims

     Third-Party Claimants assert that “[t]he evidence will show that [AFI] had actual and
constructive knowledge that the Debtors were perpetrating a fraud through the
securitizations.”504 AFI responds that it “had limited knowledge of the Debtors’ day-to-day
business” and that there is “no evidence that AFI had knowledge regarding any specific
securitization transaction, let alone the alleged fraudulent conduct.”505

     As explained above, the Investigation revealed evidence suggesting that—if the facts
underlying the alleged fraud were to be proven—there may be a basis to expect that Third-
Party Claimants could prove that AFI had at least constructive knowledge of those facts.506
For example, the existence of overlapping officers or directors among AFI and the Debtors
presents a potential avenue for proof of knowledge that could be imputed to AFI.507 Similarly,
the audits AFI conducted through Audit Services of the mortgage and securitization operations



501   Compare Valentini v. Citigroup, Inc., 837 F. Supp. 2d 304, 317 (S.D.N.Y. 2011) (“[T]he mere existence of a
      parent-subsidiary or affiliate relationship is not on its own sufficient to impute the scienter of the subsidiary
      to the parent or affiliate. Instead, plaintiffs must demonstrate that the parent or affiliate possessed some
      degree of control over, or awareness about, the fraud.”), and Defer LP v. Raymond James Fin., Inc., 654
      F. Supp. 2d 204, 218 (S.D.N.Y. 2009) (“[T]here is no . . . rule requiring the imputation of a subsidiary’s
      knowledge to its parent, at least where there are no allegations as to the existence of an agency relationship or
      other foundation on which to premise the parent’s vicarious liability.”), with Marino v. Grupo Mundial
      Tenedora, S.A., Civ. No. 10-4126, 2011 U.S. Dist. LEXIS 27543, at *15 (S.D.N.Y. Mar. 17, 2011) (holding
      that “knowledge of the transaction should be attributed to [defendant]” that was “a wholly-owned and
      controlled shell subsidiary of [the alleged primary violator] set up for the sole purpose of receiving the
      proceeds of the below fair market value sale . . . to disguise the self-dealing transaction”).
502   Fraternity Fund Ltd. v. Beacon Hill Asset Mgmt. LLC, 376 F. Supp. 2d 385, 412–13 (S.D.N.Y. 2005).
503   Dexia SA/NV v. Bear, Stearns & Co., Inc., Civ. No. 12-4761, 2013 U.S. Dist. LEXIS 30916, at *29–30
      (S.D.N.Y. Feb. 26, 2013).
504   MBIA Submission Paper, dated Nov. 9, 2012, at 25.
505   See AFI Submission Paper, dated Dec. 19, 2012, at 36–37.
506   See Section VIII.C.2.a(2)(d)(ii).
507   See id.

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of its subsidiaries from 2004 through 2007 offer another potential opportunity where
additional discovery would clarify whether the audit process resulted in AFI obtaining
knowledge of the facts underlying the alleged fraud.508

     However, Third-Party Claimants have not produced nor has the Investigation revealed
any evidence to support the assertion that AFI possessed actual knowledge of the facts
underlying the fraud alleged by Third-Party Claimants. MBIA asserts that “[i]n early 2007,
AFI replaced management throughout the Debtors with hand-picked executives,” which
“provided AFI with additional knowledge . . . of the Debtors’ . . . securitization practices.”509
In particular, MBIA asserts that two of those “hand-picked” executives—Jim Redmond
(ResCap Chief Risk Officer) and Luke Hayden (Head of Capital Markets)—may have
obtained “insight into the deficient aspects of the Debtors’ securitization practices.”510 The
available evidence supports the proposition that after the close of the Cerberus PSA various
members of the Debtors’ management were replaced by individuals (including Redmond and
Hayden) who were recruited, directly or indirectly, by Cerberus and AFI.511 Nonetheless, there
are at least two reasons why knowledge of facts underlying the alleged fraud possessed by
Redmond and Hayden, if any, may not be probative of AFI’s knowledge of those same facts at
a relevant time. First, neither joined ResCap earlier than March 2007, which MBIA
acknowledges was after the closing of all but two of the seven transactions it challenges (and
months or years after many of the securitizations challenged by other Third-Party
Claimants).512 Second, MBIA does not assert that after Redmond and Hayden were “installed”
by AFI they also served as officers of AFI.513 Subject to evidence that they or other “hand-
picked” executives of the Debtors communicated such facts to AFI, therefore, their knowledge
may not be imputed to AFI on the basis of the parent-subsidiary relationship alone.514
508   See id.
509   See MBIA Submission Paper, dated Nov. 9, 2012, at 27.
510   See id. at 27–28; Int. of J. Redmond, Nov. 13, 2012, at 5:22–6:25.
511   See Sections III.E, VII.A.1.f(4)(b)(iv); see also Int. of J. Redmond, Nov. 13, 2012, at 5:22–6:25 (“In 2006 . . .
      some people I’d worked with before . . . . asked me to come help them with the [Cerberus] diligence on the
      GMAC portal portfolio [as a consultant]. . . . [T]hat’s primarily what I was doing until sometime in the first
      part of January ‘07, when Jim Jones reached out and said would I like to come to work for ResCap . . . .
      Eventually I joined the team . . . sometime between March and April of ‘07 and that’s how I got involved
      with ResCap.”). Cerberus and AFI also installed Cerberus and COAC employees at ResCap as consultants
      pursuant to the April 1, 2007 Consulting Agreement. See Section III.E.
512   See MBIA Submission Paper, dated Nov. 9, 2012, at 4, 32; see also Int. of J. Redmond, Nov. 13, 2012, at
      6:22–25 (“I joined the [ResCap] team . . . sometime between March and April of ‘07”). For the same reason,
      MBIA’s assertion that “Khattri met with MBIA in [July] 2007 to discuss expanding the relationship between
      MBIA and the Debtors” is not, without more, probative of AFI knowledge of the facts underlying the alleged
      fraud. See MBIA Submission Paper, dated Nov. 9, 2012, at 4, 32.
513   See MBIA Submission Paper, dated Nov. 9, 2012, at 27–28.
514   See Valentini v. Citigroup, Inc., 837 F. Supp. 2d 304, 317 (S.D.N.Y. 2011) (“[T]he mere existence of a
      parent-subsidiary or affiliate relationship is not on its own sufficient to impute the scienter of the subsidiary
      to the parent or affiliate.”).

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     The evidence of AFI’s knowledge proffered by FGIC has similar limitations. FGIC
asserts that “at least one [AFI] employee . . . appeared on the working group list for [certain
securitization transactions insured by FGIC] and received all distributions . . . including all
drafts, final versions, and communications concerning the Operative and Offering
Documents.”515 FGIC did not provide the Examiner with any such communications that it
considered probative of that unidentified AFI employee’s knowledge of the alleged fraud and,
without evidence that such communications were further shared with officers or directors of
AFI, any such knowledge possessed by that “employee” is unlikely to be imputed to AFI.516

     That Third-Party Claimants have not provided and the Investigation has not uncovered
evidence to support the assertion that AFI possessed actual knowledge of the facts underlying
the alleged fraud is not, of course, dispositive of whether Third-Party Claimants would
succeed after conducting further discovery in proving the requisite knowledge with respect to
each challenged securitization.

                         (c) Substantial Assistance

                             (i) Legal Principles

     Third-Party Claimants must further plead and prove “substantial assistance” in the
alleged primary violation, which exists “where a defendant affirmatively assists, helps
conceal, or by virtue of failing to act when required to do so enables the fraud to proceed.”517
“[T]he actions of the aider/abettor [must have] proximately caused the harm on which the
primary liability is predicated.”518 Accordingly, “‘[b]ut-for’ causation is insufficient; aider and




515   FGIC Submission Paper, dated Oct. 17, 2012, at 24.
516   See In re Marsh & McLennan Cos., Inc. Sec. Litig., 501 F. Supp. 2d 452, 481 (S.D.N.Y. 2006) (“While there
      is no simple formula for how senior an employee must be in order to serve as a proxy for corporate scienter,
      courts have readily attributed the scienter of management-level employees to corporate defendants.”)
      (internal citation omitted).
517   Fezzani v. Bear, Stearns & Co., Inc., 592 F. Supp. 2d 410, 423 (S.D.N.Y. 2008) (quoting Cromer Fin. Ltd. v.
      Berger, 137 F. Supp. 2d 452, 470 (S.D.N.Y. 2001)).
518   Cromer Fin. Ltd., 137 F. Supp. 2d at 470; see also Metge v. Baehler, 762 F.2d 621, 624 (8th Cir. 1985)
      (“Regarding the ‘substantial assistance’ factor, we note that the district court properly held that the appellants
      had the burden of showing that the secondary party proximately caused the violation.”); In re TMJ Implants
      Prods. Liab. Litig., 880 F. Supp. 1311, 1319 (D. Minn. 1995) (“A plaintiff seeking to demonstrate aiding-
      abetting liability must also show proximate cause . . . .”).

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abettor liability requires the injury to be a direct or reasonably foreseeable result of the
conduct.”519 “Inaction is actionable participation only when the defendant owes a fiduciary
duty directly to the plaintiff.”520

     Several courts have found the provision of routine business services to, or the entry into
ordinary course transactions with, an alleged primary violator, without more, to be insufficient
to demonstrate substantial assistance.521 However, even conduct “routinely performed in the
course of business” can “constitute substantial assistance under some circumstances, such as




519   Cromer Fin. Ltd., 137 F. Supp. 2d at 470; see also In re TMJ Implants Prods. Liab. Litig., 880 F. Supp. at
      1319 (proximate cause requires a “substantial causal connection between the culpable conduct of the alleged
      aider and abettor and the harm to the plaintiff” or that “the encouragement or assistance is a substantial factor
      in causing the resulting tort”) (quotation marks omitted).
520   Cromer Fin. Ltd., 137 F. Supp. 2d at 470 (quotation marks omitted); see also Am. Bank of St. Paul v. TD
      Bank, N.A., Civ. Nos. 12-1806, 12-1862, 12-23999, 2013 U.S. App. LEXIS 8489, at *7 (8th Cir. Apr. 26,
      2013) (“Some affirmative step is required, because the mere presence of the particular defendant at the
      commission of the wrong, or his failure to object to it, is not enough to charge him with responsibility.”)
      (applying Minnesota law); Christopher v. Hanson, Civ. No. 09-3703, 2011 U.S. Dist. LEXIS 60201, at
      *34–35 (D. Minn. June 6, 2011) (granting defendant’s motion for summary judgment on aiding and abetting
      claim where “the showing of substantial assistance . . . amounts to a failure to monitor”); J.P. Morgan Chase
      Bank v. Winnick, 406 F. Supp. 2d 247, 258 (S.D.N.Y. 2005) (“Mere presence [at meetings], and passive
      receipt of email, cannot, by definition, constitute affirmative assistance.”).
521   See Greenberg v. Bear, Stearns & Co., 220 F.3d 22, 29 (2d Cir. 2000) (“The simple providing of normal
      clearing services to a primary broker who is acting in violation of the law does not make out a case of aiding
      and abetting against the clearing broker.”) (quotation marks omitted); Halo Tech Holdings, Inc. v. Cooper,
      Civ. No. 07-489, 2008 U.S. Dist. LEXIS 24831, at *66 (D. Conn. Mar. 26, 2008) (granting motion to dismiss
      aiding and abetting fiduciary duty claim despite allegations that defendants provided substantial assistance
      “by performing due diligence, providing financial advice, participating in negotiations, and continuing their
      financial support,” because those actions were merely “steps to complete the [transaction]” that had been
      commenced before defendants learned of the alleged breach of fiduciary duty) (applying Connecticut law);
      Pension Comm. of the Univ. of Montreal Pension Plan v. Banc of Am. Sec., LLC, 446 F. Supp. 2d 163, 174
      (S.D.N.Y. 2006) (granting motion to dismiss aiding and abetting fraud claim against “prime broker and
      custodian” to hedge funds allegedly defrauded by their manager despite allegations that broker provided the
      manager “with dial-in access to its computer network and allow[ed] him to generate false position
      statements”; explaining that “routine functions such as clearing trades, administrative tasks, and portfolio
      management” did not, in this context, plead “substantial assistance” in the underlying fraud); Felker v.
      McGhan Med. Corp. (In re Minn. Breast Implant Litig.), 36 F. Supp. 2d 863, 877 (D. Minn. 1998)
      (dismissing claim that defendant that allegedly “sold the division knowing that the breast implants were
      defective” had aided and abetted the subsequent torts of the third party that purchased the division;
      allegations that defendant “allowed [the third party] to purchase the implant division on credit” and
      “reorganized the debt twice following the . . . sale” did not “rise to the level of substantial assistance”)
      (applying Arizona law); In re TMJ Implants Prods. Liab. Litig., 880 F. Supp. at 1319 (granting defendant
      parent company’s motion for summary judgment on aiding and abetting claim where the parent provided
      “research assistance and facilities” to its primary violator subsidiary but “[t]here [was] no evidence . . . that
      [the subsidiary] was ‘heavily dependent’ upon [its parent] for any assistance regarding the manufacture of
      [the allegedly defective] TMJ implants”).

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where there is an extraordinary motivation to aid the fraud.”522 “The critical test is not . . .
whether the alleged aiding and abetting conduct was routine, but whether it made a substantial
contribution to the perpetration of the fraud.”523

     Some courts have required that “where the alleged primary violations consist of
misrepresentations in a document, the defendant must be alleged to have given substantial
assistance to the making and dissemination of that document.”524 If otherwise, “in most
situations, [the plaintiffs] could not say that their losses were proximately caused by the aider
and abettor’s actions.”525 For example, in Dexia Holdings, Inc. v. Countrywide Financial
Corp., the U.S. District Court for the Central District of California granted a motion to dismiss
aiding and abetting fraud claims asserted under New York law against a defendant that
“operates [one of the alleged primary violators] as a subsidiary.”526 The district court
explained that the defendant “must have assisted with the allegedly false statements
[concerning mortgage loan underwriting standards, appraisal and LTV ratios, investment
ratings, and title transfers] that form the basis of the complaint; assistance with underwriting at
Countrywide generally does not suffice.”527 Other courts have determined that a plaintiff need
not prove that a defendant “assist[ed] in the preparation of the documents themselves” if those
documents were but one part of a “highly interdependent scheme in which both parties




522   Winnick, 406 F. Supp. 2d at 257 (denying motion by in-house counsel to dismiss aiding and abetting claim
      where he was “alleged to have been directly involved in bringing about—including negotiating—
      transactions, which while not themselves necessarily fraudulent, are alleged to have been carried out solely
      for the purpose of inflating revenue and thus could reasonably be understood as a proximate cause leading
      foreseeably to defrauding the [plaintiffs]”) (quotation marks omitted); see also K&S P’ship v. Cont’l Bank,
      N.A., 952 F.2d 971, 980 (8th Cir. 1991) (“[A] party’s involvement in only routine business transactions will
      not necessarily protect it from aiding and abetting liability.”) (applying federal common law); Primavera
      Familienstiftung v. Askin, 130 F. Supp. 2d 450, 511 (S.D.N.Y. 2001) (collecting cases where participation in
      “ordinary course transactions” or “financing the fraudulent scheme” was considered “substantial assistance”
      in context). Courts applying Minnesota law have evaluated knowledge and substantial assistance “in tandem”
      and, thus, “where there is a minimal showing of substantial assistance, a greater showing of scienter is
      required.” Witzman v. Lehrman, Lehrman & Flom, 601 N.W.2d 179, 188 (Minn. 1999) (quotation marks
      omitted).
523   Id. at 257.
524   Fraternity Fund Ltd. v. Beacon Hill Asset Mgmt., LLC, 479 F. Supp. 2d 349, 371 (S.D.N.Y. 2007); see also
      Morin v. Trupin, 711 F. Supp. 97, 113 (S.D.N.Y. 1989) (granting motion to dismiss aiding and abetting claim
      where “plaintiffs acknowledge that the . . . defendants had no involvement in the preparation or
      dissemination of the offending documents”).
525   Fraternity Fund Ltd., 479 F. Supp. 2d at 371.
526   See Civ. No. 11-07165, 2012 U.S. Dist. LEXIS 71374, at *25 (C.D. Cal. Feb. 17, 2012).
527   Id. at *24.

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benefitted from [the primary violator’s] fraudulent activity.”528 “In such circumstances,
allegations that a defendant actively assisted and facilitated the fraudulent scheme itself . . .
are sufficient.”529
                             (ii) Application To RMBS Claims
     Third-Party Claimants assert that AFI “provided substantial assistance to the Debtors’
[fraud]” including through “managerial and financial assistance.”530 AFI responds that it never
“provided substantial assistance in support of . . . any fraud” and that Third-Party Claimants
“only point to alleged conduct occurring after the . . . securitizations at issue.”531
     The Investigation has revealed no evidence that supports the assertion that AFI provided
substantial assistance to the conduct alleged to give rise to Third-Party Claimants’ common
law fraud claims. The Examiner discusses below the parties’ arguments and the available
evidence, including with respect to: (A) direction and control of the securitizations at issue;
(B) financial support; and (C) shared functions and services.
                                  (A) Direction And Control Of The Debtors’ Securitizations
     Third-Party Claimants assert as evidence of substantial assistance that “AFI controlled
the Debtors and directed their loan acquisition, underwriting and securitization practices.”532
Third-Party Claimants note that there were “shared officers and directors among and between
[AFI] and its subsidiaries” with “overlapping responsibilities.”533 As discussed above, there
was extensive overlap of the directors and officers of AFI with those of ResCap, and each
member of the ResCap Board was elected by AFI.534 Moreover, at least in certain
circumstances and on an informal basis, certain members of the management of the Debtors
528   ABF Capital Mgmt. v. Askin Capital Mgmt., L.P., 957 F. Supp. 1308, 1328 (S.D.N.Y. 1997).
529   Id. (“[T]he allegations related to the Brokers’ involvement in the fraudulent scheme need not be limited to
      assistance with the preparation of the materials themselves, and their provision of the allegedly ‘toxic’
      securities and lenient financing constitute substantial assistance in the fraud.”); see also Nathel v. Siegal, 592
      F. Supp. 2d 452, 470 (S.D.N.Y. 2008) (denying motion to dismiss aiding and abetting fraud claim where
      defendants “signed Partnership Agreements that misrepresented their expertise and permitted [the primary
      violator] to represent them as experts in the oil and gas field,” despite that defendants did not assist in the
      preparation of the allegedly misleading offering memoranda provided to plaintiffs); Gabriel Capital, LP v.
      NatWest Fin., Inc., 94 F. Supp. 2d 491, 495 n.1, 512 (S.D.N.Y. 2000) (denying motion to dismiss aiding and
      abetting fraud claim where the complaint did not “allege that [defendant] participated in the drafting of the
      [misleading] Offering Memorandum or slides,” but defendant’s “participation in this scheme played a
      substantial role in inducing . . . investors to purchase the [debt securities]” issued pursuant to that offering
      memorandum for an experimental steel mill venture because defendant was the “owner of a well-regarded
      [similar] operation”).
530   MBIA Submission Paper, dated Nov. 9, 2012, at 25, 31; see also FGIC Submission Paper, dated Oct. 17,
      2012, at 24; Joint Submission Paper of AIG, Allstate Life Ins. Co., Mass. Mut. Life Ins. Co., and Prudential
      Ins. Co. of Am., dated Oct. 17, 2012, at 25–26.
531   See AFI Submission Paper, dated Dec. 19, 2012, at 36, 40 (emphasis omitted).
532   MBIA Submission Paper, Nov. 9, 2012, at 31.
533   FGIC Submission Paper, dated Oct. 17, 2012, at 23.
534   See Section VIII.C.2.a(2)(c)(ii)(B); Appendix IV.A.

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would report to management of AFI.535 AFI disputes that any of its directors and officers had
“any involvement in selecting loans for collateral pools, conducting due diligence on the
loans, approving individual RMBS issuances, drafting offering materials, or marketing RMBS
for sale.”536

     The Investigation has not uncovered evidence that AFI—through such overlapping
directors and officers or otherwise—had any direct involvement in any of the Debtors’
securitizations.537 Those individuals interviewed by the Examiner’s Professionals either
denied or could not recall any such involvement.538 The evidence provided to the Examiner by
Third-Party Claimants does not, without more, suggest an inference to the contrary. For
example, FGIC asserts that AFI officer David Walker “acting as a director of [RAMP]” was
“a signatory to RAMP’s December 20, 2005 ‘Unanimous Written Consent of Directors in
Lieu of Meeting of Board of Directors,’ which was included among the closing documents for
[a securitization transaction for which FGIC provided insurance].”539 FGIC does not, however,
provide evidence that Walker was involved with the acquisition of relevant mortgage loans,
the pooling of those loans in securitizations, the preparation of the deal documents for those
securitizations, or any of the alleged misrepresentations allegedly made to FGIC.540 If
accurate, the Examiner considers the fact that an AFI officer signed a written consent as a
director of one of the Depositor Entities, which was then “included among” insurance
transaction documents, to be unlikely, by itself, to weigh in favor of a finding that AFI made
“a substantial contribution to the perpetration of the fraud.”541

                                  (B) Financial Support

      Third-Party Claimants also assert as evidence of substantial assistance that “AFI made $1
billion worth of capital infusions into ResCap over the first four months of 2007.”542 AFI
responds that “AFI’s financial investment . . . in ResCap” is “common . . . of a parent-
subsidiary relationship” and that “helping ResCap continue in business” did not “proximately
cause[ ] any of the losses for which [Third-Party Claimants] seek redress.”543 The timing and
535   See Section VIII.C.2.a(2)(d)(ii).
536   See AFI Submission Paper, dated Dec. 19, 2012, at 35.
537   See Section VIII.C.2.a(2)(c)(ii)(B).
538   See id.
539   FGIC Submission Paper, dated Oct. 17, 2012, at 23.
540   Id.
541   J.P. Morgan Chase Bank v. Winnick, 406 F. Supp. 2d 247, 257 (S.D.N.Y. 2005).
542   MBIA Submission Paper, Nov. 9, 2012, at 32; see also FGIC Submission Paper, dated Oct. 17, 2012, at 21
      (“[AFI] also provided ResCap with liquidity and capital in order to perpetuate the securitization business”);
      Joint Submission Paper of AIG, Allstate Life Ins. Co., Mass. Mut. Life Ins. Co., and Prudential Ins. Co. of
      Am., dated Oct. 17, 2012, at 25 (“[AFI’s] 2011 Form 10-K states that ‘ResCap remains heavily dependent on
      [AFI] and its affiliates for funding and capital support.’”).
543   See AFI Submission Paper, dated Dec. 19, 2012, at 33, 40.

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circumstances of AFI’s financial support of ResCap are likely to pose hurdles to Third-Party
Claimants’ efforts to rely upon that support as evidence of substantial assistance of the alleged
primary violations.

      First, AFI’s financial support of ResCap occurred after most, if not all, of the fraudulent
misrepresentations alleged by Third-Party Claimants and therefore could not have assisted in
causing such misrepresentations. Although AFI provided more than $8 billion in financial
support to ResCap in advance of the Petition Date in 2012, that support did not begin until
March 2007.544 Before the end of 2007, the Debtors had ceased private label securitizations.545
Second, to the extent Third-Party Claimants’ primary fraud claims rely upon
misrepresentations that occurred on or after the date AFI commenced its financial support of
ResCap, such support may be viewed as the type of ordinary business conduct that does not,
without more, constitute “substantial assistance.”546 The Examiner expects that it would be
difficult, given the available evidence, for Third-Party Claimants to prove that AFI’s capital
contributions to ResCap provided the requisite substantial assistance to the alleged fraud in
connection with the securitizations at issue.547

     The Examiner reaches similar conclusions concerning FGIC’s assertion as evidence of
substantial assistance that AFI “modif[ied] its corporate structure” to “improve and maintain
the investment-grade rating and profitability of [its] mortgage securitization business.”548
Presumably referring to the formation of ResCap and contribution in 2005 of RFC and GMAC
Mortgage to ResCap, FGIC is correct that the available evidence indicates that this
restructuring was intended to allow the mortgage business, through ResCap, to “obtain[]
investment grade credit ratings for its unsecured indebtedness that are separate from [AFI’s
and GM’s] ratings.”549 As with AFI’s direct financial support of the Debtors, the Examiner
expects it would be challenging, given the available evidence, to prove that lowering the


544   See Section VI.B.
545   See Section III.G; Int. of J. Gray, Mar. 1, 2013, at 61:8–63:23 (“I think in early August [2007] there was a
      significant pullback in the marketplace in terms of what investors were willing to buy and I think that was the
      major impetus for [shutting down non-conforming products].”).
546   See Felker v. McGhan Med. Corp.(In re Minn. Breast Implant Litig.), 36 F. Supp. 2d 863, 877 (D. Minn.
      1998) (dismissing claim that defendant that allegedly “sold the division knowing that the breast implants
      were defective” had aided and abetted the subsequent torts of the third party that purchased the division;
      allegations that defendant “allowed [the third party] to purchase the implant division on credit” and
      “reorganized the debt twice following the . . . sale” did not “rise to the level of substantial assistance”)
      (applying Arizona law).
547   Cf. Henry v. Lehman Commercial Paper, Inc., 471 F.3d 977, 995 (9th Cir. 2006) (finding evidence that
      parent “satisfied all of [its mortgage origination subsidiary’s] financing needs” sufficient to support jury
      finding of “substantial assistance” in “a situation where [the subsidiary’s] whole business is built like a house
      of cards on a fraudulent enterprise”).
548   FGIC Submission Paper, dated Oct. 17, 2012, at 22, 24.
549   See General Motors Acceptance Corporation, Annual Report (Form 10-K) (March 28, 2006), at 5; see also
      Section III.B.

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Debtors’ costs of raising capital via a 2005 restructuring was a proximate cause of the alleged
fraudulent inducement of FGIC to provide insurance in connection with the Debtors’
securitizations.550

                                 (C) Shared Functions And Services

      Third-Party Claimants assert that AFI provided “managerial . . . and strategic assistance
to its subsidiaries”551 and that such “seemingly routine business practices give rise to aiding
and abetting liability.”552 As explained above, AFI provided certain financial, operational, and
administrative services to the Debtors for which it was paid management fees from 2004
through 2007 (and later).553 The available evidence suggests, however, that such services
would likely be found to be of minimal probative value as to AFI’s alleged substantial
assistance of fraud during the relevant time period. Certain corporate functions and services
identified by the Debtors as being “shared” or “integrated” with AFI (e.g., in areas including
information technology, human resources, finance, treasury, supply chain, capital markets, and
facilities)554 appear to be the type of ordinary business functions and services that would not,
without more, be expected to have substantially assisted the alleged fraud.555

550   See Cromer Fin. Ltd. v. Berger, 137 F. Supp. 2d 452, 470 (S.D.N.Y. 2001); In re TMJ Implants Prods. Liab.
      Litig., 880 F. Supp. 1311, 1319 (D. Minn. 1995).
551   FGIC Submission Paper, dated Oct. 17, 2012, at 24.
552   MBIA Submission Paper, dated Nov. 9, 2012, at 31–32.
553   See Section V.H (describing arrangements for sharing of certain services); see also Residential Capital
      Corporation, Annual Report (Form 10-K) (Mar. 28, 2006), at 143 (“[AFI] has provided [ResCap] with certain
      services for which a management fee was paid. [ResCap] paid [AFI] management fees of $8.7 and $5.4
      million for 2005 and 2004, respectively.”); Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27,
      2009), at 206 (disclosing management fees paid by ResCap to AFI from 2006–2008 for services in areas
      including “finance, information technology, communication, corporate marketing, procurement, and services
      related to facilities”).
554   See Debtors’ Motion for Interim and Final Orders Under Bankruptcy Code [s]ections 105(a) and 363(b)
      Authorizing Residential Capital, LLC to Enter into a Shared Services Agreement with Ally Financial Inc.
      Nunc Pro Tunc to the Petition Date for the Continued Receipt and Provision of Shared Services Necessary
      for the Operation of the Debtors’ Business [Docket No. 41] at ¶ 14.
555   See Greenberg v. Bear, Stearns & Co., 220 F.3d 22, 29 (2d Cir. 2000) (“The simple providing of normal
      clearing services to a primary broker who is acting in violation of the law does not make out a case of aiding
      and abetting against the clearing broker.”) (quotation marks and citations omitted); Pension Comm. of the
      Univ. of Montreal Pension Plan v. Banc of Am. Sec., LLC, 446 F. Supp. 2d 163, 174, 203–04 (S.D.N.Y.
      2006) (granting motion to dismiss aiding and abetting fraud claim against “prime broker and custodian” to
      hedge funds allegedly defrauded by their manager despite allegations that broker provided the manager “with
      dial-in access to its computer network and allow[ed] him to generate false position statements”; explaining
      that “routine functions such as clearing trades, administrative tasks, and portfolio management” did not, in
      this context, plead “substantial assistance” in the underlying fraud); In re TMJ Implants Prods. Liab. Litig.,
      880 F. Supp. at 1319 (granting defendant parent company’s motion for summary judgment on aiding and
      abetting claim where the parent provided “research assistance and facilities” to its primary violator subsidiary
      but “[t]here [was] no evidence . . . that [the subsidiary] was ‘heavily dependent’ upon [its parent] for any
      assistance regarding the manufacture of [the allegedly defective] TMJ implants”).

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Moreover, the evidence indicates that it was not until 2008 or later that many of the “global
functions” including the in-house legal function were centralized within AFI.556

               b. Claims Against Ally Securities As Securities Underwriter

                    (1) Ally Securities’ Role As Underwriter Of RFC Offerings

     The RMBS Claims involving Ally Securities focus on Ally Securities’ role as
underwriter in the applicable securitizations. Generally speaking, the role of an underwriter in
a private label securitization is to bring the security into the marketplace.557 From 2004 to
2007, Ally Securities underwrote “a significant portion of ResCap’s securitization activity.”558
Specifically, it underwrote mortgage-backed securities issued by its affiliates of approximately
$8.6 billion in 2004,559 $14.3 billion in 2005,560 $13.5 billion in 2006,561 and $10.3 billion in
2007.562

                        (a) Lead Underwriter And Co-Underwriter

    Ally Securities’ role as underwriter varied in the securitizations. As detailed in
Appendix VIII.B–1, Ally Securities was an underwriter on 236 of the 392 RFC and GMAC
Mortgage securitizations. Of those securitizations, Ally Securities served as lead or joint lead




556   See Int. of T. Hamzehpour, Oct. 5, 2012, at 67:16–68:3 (“The GMAC organization historically was an
      organization of business unit silos and he viewed that as redundant and he wanted centralized functions. So
      all of the functions—finance, compliance, risk, legal were expected to centralize, and legal was one of the
      last ones [in January 2009].”); Int. of L. Tessler, Feb. 28, 2013, at 33:23–34:3 (“[T]here are two ways to
      survive a crisis. You know, raise revenues and reduce expenses and raise liquidity. And I suspect all of those
      options were on the table [in June 2008].”).
557   Dep. of J. Getchis, Apr. 21, 2011, at 10:16–25 [MBIADEP0000278]. For a discussion of the role of an
      underwriter in securitizations, see Section VIII.B.1.a.
558   Draft Goldin Associates Presentation to the Committee of Independent Members of the Board of Directors of
      Residential Capital, LLC Regarding the Purchase of Residential Funding Securities, LLC and RFC
      Investments Limited by GMAC, LLC, dated Mar. 18, 2009, at 11 [GOLDIN00132386]; Int. of K. Dammen,
      Apr. 25, 2013, at 14:20–24 (“[C]apital markets could create a security, have one of the Wall Street firms
      being the lead and [Ally Securities] as a co-lead or a co-manager, and place securities to certain accounts that
      we were in touch with.”).
559   Residential Funding Securities, Corporation Financial Statements and Supplementary Schedules, Dec. 31,
      2004, at 11 [FHFA-AS-0314592].
560   Residential Funding Securities Corporation Financial Statements and Supplementary Schedules, Dec. 31,
      2005, at 11 [FHFA-AS-0314471].
561   Residential Funding Securities, LLC Financial Statements and Supplementary Schedules, Dec. 31, 2006, at
      11 [FHFA-AS-0314430].
562   Residential Funding Securities, LLC Financial Statements and Supplementary Schedules, Dec. 31, 2007, at
      11 [FHFA-AS-0314450].

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underwriter 105 times, and served as co-underwriter 131 times.563 Ally Securities typically
served as lead underwriter in single issuer deals,564 which were generally smaller.565

     All underwriters, whether lead or otherwise, have certain roles and duties, as set forth in
the applicable underwriting agreements.566 These roles and duties are discussed in Section
VIII.B.1.a. The role of lead underwriter carries more responsibility and a higher profile.567 The
lead underwriter takes the lead in structuring the securities with the sponsor, and has “a higher
responsibility to bring in investor demand.”568 John Getchis, Chief Operational Officer of Ally
Securities, described the difference in responsibility as follows:

                    The lead underwriter would generally interact with the issuer to
                    effect . . . the design and structure of the securitization in its
                    final form; it would be responsible for the development of the
                    offer[ing] materials; and primarily responsible for the price talk
                    and setting expectations . . . of the proceeds they could expect in
                    the marketplace for that particular securitization.569

Generally, the co-underwriter assists the lead underwriter in selling the RMBS into the
marketplace.570

                         (b) Due Diligence

     Ally Securities purported to follow general procedures regarding due diligence performed
on underlying loan pools.571 These procedures provided that the diligence that Ally Securities
performed was essentially a function of two variables: whether the loans were RFC collateral




563   See Appendix VIII.B—1 and VIII.B—2. Data was obtained from RMBS prospectus supplements.
564   Single issuer deals were deals where RFC capital markets purchased all of the loans from one correspondent.
      Int. of K. Dammen, Apr. 25, 2013, at 155:1–2.
565   Id. at 121:10–12 (“I know that we were lead typically on single issuer deals which were considerably
      smaller.”).
566   See Section VIII.B.1.a.
567   Int. of K. Dammen, Apr. 25, 2013, at 26:9–16 (“The lead underwriter is going to create the structure of the
      different classes or the different tranches. And they’re going to buy the lion’s share of the bonds. They’re
      going to run the books . . . . And their name is going to be on the prospectus in the biggest letters.”).
568   Int. of E. Scholtz, Mar. 28, 2013, at 29:6–7.
569   Dep. of J. Getchis, Apr. 21, 2011, at 13:24–14:10 [MBIADEP0000278].
570   IAN GIDDY, THE SECURITIZATION PROCESS, Stern School of Business, New York University, 2001, at 41,
      http://people.stern.nyu.edu/igiddy/ABS/absprocess.pdf; Int. of E. Scholtz, Mar. 28, 2013, at 28:9–15.
571   See Residential Funding Securities Policies and Supervisory Procedures Manual, updated Mar. 30, 2007, at
      56 [EXAM12503903].

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(i.e., RFC had purchased and diligenced the underlying loans)572 and whether Ally Securities
was a sole underwriter or a co-underwriter (either lead or otherwise).573

      If the loans were RFC collateral and Ally Securities was the sole underwriter, Ally
Securities would “rel[y] on the front-end review done by [RFC], additional due diligence
[was] not conducted for each deal . . . .”574 This was subject to two exceptions: monoline-
insured deals and senior-subordinated deals.575 Getchis explained that where Ally Securities
was the sole underwriter, it was the only interested party—there was no other “interested party
in [the] transaction to conduct additional diligence or insist upon additional diligence with the
specific asset.”576 While Dennis Crosson, Director of Ally Securities, disagreed with the
assertion that additional due diligence was not conducted where Ally Securities was the sole
underwriter, stating that Ally Securities “always did a sample,”577 evidence does not support
this proposition.578

     If the loans were RFC collateral and Ally Securities was a co-underwriter, the
underwriters on a given deal would confer in hiring an outside due diligence firm and would
share the results of this diligence.579 Crosson explained that generally the lead underwriter
would retain the third-party due diligence firm to conduct the due diligence by re-underwriting
a sample of loans.580 The use of this process is discussed in a January 2013 presentation




572   See Int. of K. Dammen, Apr. 25, 2013, at 33:14–16. The loans would not be considered RFC collateral if
      purchased from a correspondent who diligenced the loans. See id. at 155:3–24.
573   See Residential Funding Securities Policies and Supervisory Procedures Manual, updated Mar. 30, 2007, at
      56 [EXAM12503903].
574   Id.
575   Id.; Underwriting Procedures, at FHFA-AS-0363175–76 [FHFA-AS-0363173]. Evidence indicates that these
      exceptions occurred frequently. In the Dammen interview, Jeffrey Lipps states that the monoline deals and
      the senior-subordinated deals were “a big portion of the securitizations.” This was confirmed by Dammen.
      See Int. of K. Dammen, Apr. 25, 2013, at 35:4–36:8.
576   Dep. of J. Getchis, Apr. 21, 2011, at 156:15–158:7 [MBIADEP0000278].
577   Dep. of D. Crosson, Apr. 20, 2011, at 124:10–125:8 [MBIADEP0000500].
578   E-mail from J. Blaschko (Jan 8, 2007), at FHFA-AS-0255786 [FHFA-AS-0255785].
579   E.g., AFI Submission Paper, dated Dec. 19, 2012, at 76.
580   Dep. of D. Crosson, Apr. 20, 2011, at 48:14–49:2 [MBIADEP0000500]. In some circumstances, the lead
      underwriter might conduct its own diligence. Residential Funding Securities Policies and Supervisory
      Procedures Manual, updated Mar. 30, 2007, at 56 [EXAM12503903]; Underwriting Procedures, at FHFA-
      AS-0363175 [FHFA-AS-0363173]. Ally Securities did not conduct its own diligence. Id.

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prepared by Carpenter Lipps, summarizing the diligence related to the ResCap PLS process.581
When Ally Securities retained an outside diligence firm, it typically retained Office Tiger
LLC.582

     If the loans were not RFC collateral with Ally Securities as sole underwriter, Ally
Securities would hire an outside firm to perform diligence, which would either be a sample or
a 100% review, depending on Ally Securities’ comfort level with the loans.583 If Ally
Securities was a co-underwriter, it would share in the diligence with the other underwriters.584
Employees of Ally Securities at the time believed that Ally Securities’ loan review selection
process was standard for the industry.585

     Ally Securities was aware of the existence of problematic loans. For example, Ally
Securities was aware in 2006 that RFC Trading was relying more on the originators’ diligence
process and that certain loans were underperforming.586 That same year, Cerberus, in
connection with its acquisition of AFI, brought in Navigant Consulting Inc., a third-party
consulting firm, to go to Ally Securities and “check into the business and understand . . . what




581   Carpenter Lipps ResCap PLS Overview Presentation, Jan. 30, 2013, at EXAM00234446 [EXAM00234431].
      The presentation generally characterized the underwriting process in stages: (1) the underwriter oversees loan
      file diligence; (2) the lead underwriter retains an external diligence firm; (3) the underwriter randomly selects
      a loan sample; (4) the diligence firm reviews the actual loan files and provides initial results; (5) RFC’s
      diligence underwriting team responds to these results by providing missing documents, clarifying the
      application of underwriting guidelines, and identifying compensating factors; and (6) the underwriter makes
      a final decision regarding whether to keep a loan or remove it from the pool. Id.; see also Int. of K. Dammen,
      Apr. 25, 2013, at 148:2–20 (“The process would be that if we were ever involved in diligence, which would
      be when we’re a lead and could have been when we were co . . . . RFC does a quality control process for
      every loan that theyor for a sampling of loans that they buy. . . . [Ally Securities], though, we would
      diligence anywhere from a hundred percent to a lesser number, if we were the lead.”).
582   E.g., AFI Submission Paper, dated Dec. 19, 2012, at 76. Evidence shows that Ally Securities also used
      Clayton at times. See Int. of K. Dammen, Apr. 25, 2013, at 145:25–146:3.
583   Residential Funding Securities Policies and Supervisory Procedures Manual, updated Mar. 30, 2007, at 56
      [EXAM12503903].
584   Id.
585   Int. of K. Dammen, Apr. 25, 2013, at 218:3–10 (“I believe that Dennis [Crosson] and John [Getchis] were
      consistent with the way the street was diligencing loans. . . . I believe the broker-dealer was doing diligence
      in a comparable way to other street firms.”); E-mail from D. Crosson (Oct. 30, 2006), at 1 [FHFA-AS-
      0255028] (“GRS as Lead Underwriter has a selection process that we work to keep in line with other Street
      selection trends for diligence.”). Crosson also noted that Ally Securities’ underwriting process also covered
      Fannie Mae and Freddie Mac requirements, however the types of loans sold to such GSEs were typically
      conforming loans, rather than subprime and non-conforming loans. E-mail from D. Crosson (Feb. 7, 2007), at
      FHFA-AS-0115852 [FHFA-AS-0115849].
586   E-mail from B. Cleary (Sept. 28, 2006) [FHFA-AS-0146218]; see Carpenter Lipps ResCap PLS Overview
      Presentation, Jan. 30, 2013, at EXAM00234442 [EXAM00234431] (listing B. Cleary under Trading in RFC).

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we had bought, but maybe also what we were buying.”587 Navigant was also “reviewing
processes and loan data.”588 After this review, “they had questions and subsequently either
suggestions or directives on things that they might want changed.”589 Evidence indicates that
Navigant found certain credits to have issues, including one which had “extremely liberal”
underwriting guidelines.590

                         (c) Offering Documents

     The underwriter of a securitization had an obligation to ensure that disclosures in offering
documents were accurate. This included testing the accuracy of the information disclosed in a
prospectus against information from the issuer.591 Getchis viewed lead or co-underwriters as
having equal liability and therefore an equal interest in ensuring that the disclosures in
offering materials were accurate.592

     Ally Securities’ policies and procedures manuals provided that in any securitization in
which Ally Securities was an underwriter, RFG’s Structured Finance group was to review the
prospectus to ensure that the prospectus was adequately prepared and complied with all legal
requirements.593 The manuals provided that where Ally Securities was sole underwriter, RFG
Structured Finance was to take the lead role on behalf of the underwriter, and coordinate all
interactions. If Ally Securities was a co-underwriter, RFG Structured Finance was to assist
587   Int. of K. Dammen, Apr. 25, 2013, at 65:9–12; Int. of D. Olson, Apr. 26, 2013, at 113:6–12 (“I viewed
      Navigant’s role as being a resource to my group in making sure that we were on top of our credits and
      minimizing any losses that . . . would be occurring coming out of the . . . backing away, by Wall Street of
      buying mortgage loans.”).
588   Int. of K. Dammen, Apr. 25, 2013, at 65:18–23.
589   Id.
590   E-mail from J. DelPonti, Navigant Consulting (Dec. 21, 2006), at EXAM11336243 [EXAM11336242]; see
      also Int. of D. Olson, Apr. 26, 2013, at 114:3–8.
591   Dep. of J. Getchis, Apr. 21, 2011, at 11:16–23; 33:19–25 [MBIADEP0000278]; see Int. of K. Dammen, Apr.
      25, 2013, at 198:19–20 (“The underwriter has to make the—be comfortable with the reps and warrants made
      in the pro supp.”).
592   Dep. of J. Getchis, Apr. 21, 2011, at 15:7–15; see also Int. of K. Dammen, Apr. 25, 2013, at 29:17–30:10
      (“[O]ur role at [Ally Securities] was to be comfortable with what capital markets has created, so understand
      that they’re giving us sufficient information to describe those bonds to our investors. . . . And then our role . .
      . was to tell that story within the rules of how one tells a story to sell bonds. . . . [W]e always would describe
      the bonds within the purview of what we did as a broker/dealer and the SEC.”).
593   Residential Funding Securities Policies and Supervisory Procedures Manual, updated Mar. 30, 2007, at 58
      [EXAM12503903]; Underwriting Procedures, at FHFA-AS-0363177 [FHFA-AS-0363173]; Underwriting
      Procedures, at EXAM30974518–20 [EXAM30974511]. The RFG Structured Finance Group were “the
      people that basically put the securities together, interact[ed] with the attorneys and accountants and the rating
      agencies and things of that nature, and create the different securities on the different shelves that RFC issued
      on.” Int. of K. Dammen, April 25, 2013, at 13:8–13. Dammen also noted that “people on my staff would very
      carefully review the pro supp to make sure what they were saying was correct.” Id. at 170:11–13.

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Ally Securities in negotiations concerning allocation, pricing, fees, and expense sharing.594
The manuals did not specify the process that applied where there was more than one
underwriter, with Ally Securities as lead underwriter.595

                    (2) Description Of Claims Against Ally Securities

      Based upon Ally Securities’ activities as underwriter, Third-Party Claimants generally
assert that “[n]on-debtor Ally Securities . . . is directly liable for false statements in the
Offerings Materials.”596 These plaintiffs allege that “[a]s underwriter for most of the
certificates at issue, Ally Securities directly participated in the structuring of the RMBS, the
preparation of the Offering Materials, and the marketing of the RMBS to investors.”597
Plaintiffs have asserted several causes of action against Ally Securities including claims based
on (1) federal and state securities law; (2) common law fraud and fraudulent inducement;
(3) aiding and abetting fraud; and (4) negligent misrepresentation.598




594   Residential Funding Securities Policies and Supervisory Procedures Manual, updated Mar. 30, 2007, at
      58–59 [EXAM12503903]; Underwriting Procedures, at FHFA-AS-0363177–78 [FHFA-AS-0363173];
      Underwriting Procedures, at EXAM30974512–21 [EXAM30974511]. The manuals further provided that in
      deals where RFC did not provide collateral but was sole underwriter or co-underwriter, RFG Structured
      Finance represented Ally Securities to all external parties. Residential Funding Securities Policies and
      Supervisory Procedures Manual, updated Mar. 30, 2007, at 58–59 [EXAM12503903]; Underwriting
      Procedures,    at    FHFA-AS-0363177–78           [FHFA-AS-0363173];        Underwriting      Procedures, at
      EXAM309745120–21 [EXAM30974511]; see also Dep. of J. Getchis, Apr. 21, 2011, at 193:14–23
      [MBIADEP0000278] (describing the role of underwriter at other firms with respect to interactions with
      monoline insurers: “the underwriter would get the call and the underwriter would interact with monoline
      insurers. RFC had a different approach, is that the issuer would take on that relationship”).
595   Residential Funding Securities Policies and Supervisory Procedures Manual, updated Mar. 30, 2007, at
      58–59 [EXAM12503903]; Underwriting Procedures, at FHFA-AS-0363177–78 [FHFA-AS-0363173];
      Underwriting Procedures, EXAM309745120–21 [EXAM30974511].
596   AIG, Allstate, MassMutual, and Prudential Joint Reply Submission Paper, dated Feb. 12, 2013, at 3.
597   Id.
598   These theories of recovery account for the overwhelming majority of claims against Ally Securities. Certain
      Third-Party Claimants have raised claims based on other theories which are not discussed as they have only
      been raised in a very limited context. Third-Party Claimant Union Central Life Insurance Co. brought a claim
      based on unjust enrichment, which was recently dismissed without prejudice. Union Cent. Life Inc. Co. v.
      Ally Fin., Inc., Case No. 11-cv-2890, Docket No. 261 (S.D.N.Y. Mar. 29, 2013). Allstate Insurance Co. has
      brought a claim under the Minnesota Consumer Fraud Act, which has survived a motion to dismiss (along
      with its common law fraud claims). See Order, Allstate Ins. Co. v. GMAC Mortg., LLC, Case No. 27-cv-11-
      3480, Docket No. 740 at 24–34 (Minn. Dist. Ct. Nov. 28, 2011). However, this is the only instance in which
      such a claim is raised, and the parties do not address it at length in their submissions. Accordingly, while this
      claim may have some value, the Examiner focuses on the most significant disputed claims.

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     All of these theories of liability stem from alleged misrepresentations made in the RMBS
Offering Documents. A number of Third-Party Claimants have separately described these
misrepresentations or omissions in their complaints and submissions. The majority of these
alleged misrepresentations are substantively similar, including that:
         •    The loans underlying the RMBS would be generated in accordance with
              underwriting guidelines. Plaintiffs allege that the RMBS Offering Documents
              represent that the loans underlying the mortgage pools were originated in
              accordance with certain underwriting guidelines. However, these underwriting
              guidelines were systematically abandoned, and thus the loans underlying the RMBS
              were substantially riskier than advertised, and therefore much more likely to
              default.599
         •    The loans had specific LTV features and were based on valid appraisals
              performed in accordance with specific regulations and standards. Plaintiffs
              generally allege that despite representing that LTV and other ratios would not
              exceed specified percentages, Ally Securities routinely ignored this requirement.
              Further, it is alleged that the appraisals underlying such ratios were not performed in
              accordance with stated standards and were inflated without justification.600
         •    A specified percentage of the mortgage loan properties were the primary residence
              of the borrower. Plaintiffs allege that the RMBS Offering Documents misstated and
              omitted information regarding the primary residence status of the mortgaged
              properties. They allege that Ally Securities knew that many of those properties were
              being purchased as investment properties or vacation homes rather than as a primary
              residence.601
         •    The ratings agencies conducted analyses that were designed to assess the
              likelihood of delinquency and defaults in the underlying mortgage pools. Plaintiffs
              allege that the ratings set forth in the RMBS Offering Documents were corrupted by
              unreliable data and faulty assumptions, which made representations that the process
              would assess the likelihood of receipt of payment misleading.602
599   E.g., AIG, Allstate, MassMutual, and Prudential Joint Reply Submission Paper, dated Feb. 12, 2013, at 5;
      Pl.’s Original Pet. for Damages, FDIC v. Ally Sec. LLC, Case No. 12-002522, Docket No. 1, at 23–30 (Tex.
      200th Dist. Aug. 17, 2012).
600   E.g., AIG, Allstate, MassMutual, and Prudential Joint Reply Submission Paper, dated Mar. 15, 2013, at 7;
      AIG, Allstate, MassMutual, and Prudential Joint Reply Submission Paper, dated Feb. 12, 2013, at 8; Federal
      Home Loan Banks of Boston, Chicago, and Indianapolis Submission Paper, dated Oct. 19, 2012, at 11.
601   E.g., AIG, Allstate, MassMutual, and Prudential Joint Reply Submission Paper, dated Feb. 12, 2013, at 8–9;
      Federal Home Loan Banks of Boston, Chicago, and Indianapolis Submission Paper, dated Oct. 19, 2012, at
      19. Plaintiffs state that these allegations are “just the tip of the iceberg. This is because the Offering Materials
      made representations as to numerous risk features beyond loan-to-value ratios and occupancy status that can
      only be scrutinized by reviewing the actual loan files, which the Investors largely do not have.” AIG,
      Allstate, MassMutual, and Prudential Joint Reply Submission Paper, dated Mar. 15, 2013, at 4.
602   E.g., AIG, Allstate, MassMutual, and Prudential Joint Reply Submission Paper, dated Feb. 12, 2013, at 9–10;
      Federal Home Loan Banks of Boston, Chicago and Indianapolis Submission Paper, dated Oct. 19, 2012,
      at 18.

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     Third-Party Claimants adduce certain evidence of the falsity of these representations,
which, as stated in complaints and submissions to the Examiner, is also substantively similar.
In supporting their theories of liability, plaintiffs generally rely on the following evidence:

         •    Loan-Specific Forensic Analyses. A number of Third-Party Claimants have
              engaged consultants to conduct investigations of the mortgage pools underlying the
              RMBS at issue. These consultants sampled loans from the RMBS transactions using
              an automated valuation model analysis. The claimants generally assert that these
              analyses show that a significant percentage of the loans sampled were inconsistent
              with representations in the RMBS Offering Documents, which evidences a
              systematic disregard of stated underwriting guidelines.603

         •    Review of Actual Loan Files. Certain Third-Party Claimants were able to obtain
              and review samples of loan files for some RMBS. These claimants allege that the
              results of such reviews demonstrate that a large percentage of the loans did not
              comply with stated underwriting guidelines.604

         •    Confidential Witness Statements. Third-Party Claimants assert that they have
              interviewed confidential witnesses, who have provided details regarding the
              improper origination and securitization practices employed with respect to the
              RMBS.605

         •    Rising Default Rates and Plummeting Credit Ratings. Further, claimants point to
              existing defaults, high delinquency rates of the mortgage loans, and other “industry-
              and originator- specific facts” as evidence of the systematic abandonment of
              underwriting standards.606

      Based on the alleged misrepresentations or omissions and the purported evidence of these
misrepresentations or omissions, Third-Party Claimants have advanced several theories of
liability against Ally Securities.607
603   E.g., AIG, Allstate, MassMutual, and Prudential Joint Reply Submission Paper, dated Feb. 12, 2013, at 6
      (“The results not only show that the specific data-points were misrepresented, but also confirm a systemic
      underwriting abandonment problem. For example, AIG’s analysis of nearly 14,400 loans revealed a breach
      rate of 36.5%, and Prudential’s analysis of 22,400 loans revealed a breach rate of 41.66%.”); Pl.’s Original
      Pet. for Damages, FDIC v. Ally Sec. LLC, Case No. 12-002522, Docket No 1, at 23–30 (Tex. 200th Dist.
      Aug. 17, 2012).
604   E.g., AIG, Allstate, MassMutual, and Prudential Joint Reply Submission Paper, dated Feb. 12, 2013, at 6–7
      (stating that the results of AIG’s review show “that over 90% of the loans failed to comply with underwriting
      guidelines” and that MBIA found “breach rates of 88 and 89%” across a sample of “thousands of
      mortgages”) (emphasis omitted).
605   E.g., AIG, Allstate, MassMutual, and Prudential Joint Reply Submission Paper, dated Mar. 15, 2013, at 15.
606   E.g., AIG, Allstate, MassMutual, and Prudential Joint Reply Submission Paper, dated Feb. 12, 2013, at 5, 9–
      10.
607   A discussion of potential damages under these theories of liability is set forth in Section VIII.D. Additionally,
      a discussion of potentially applicable statutes of limitation and repose is provided in Section VIII.C.2.a.3.e.

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                     (3) Analysis Of Claims

                          (a) Federal And State Securities Law

     Sections 11 and 12(a)(2) of the Securities Act of 1933608 “impose liability on certain
participants in a registered securities offering when the publicly filed documents used during
the offering contain material misstatements or omissions.”609 “Section 11 . . . prohibits
materially misleading statements or omissions in registration statements filed with the SEC”
and “provides for a cause of action by the purchaser of the registered security against the
security’s issuer, its underwriter, and certain other statutorily enumerated parties.”610 “Section
12(a)(2) provides similar redress” against so-called “statutory sellers” where “the securities at
issue were sold using prospectuses or oral communications.”611

     “[U]nlike securities fraud claims pursuant to [section 10(b) of Exchange Act], plaintiffs
bringing claims under sections 11 and 12(a)(2) need not allege scienter, reliance, or loss
causation.”612 Instead, the elements of a claim under section 11 require that:

                     (1) [The plaintiff] purchased a registered security, either directly
                     from the issuer or in the aftermarket following the offering;
                     (2) the defendant participated in the offering in a manner
                     sufficient to give rise to liability under section 11; and (3) the
                     registration statement ‘contained an untrue statement of a
                     material fact or omitted to state a material fact required to be
                     stated therein or necessary to make the statements therein not
                     misleading.’613
608   15 U.S.C. §§ 77k(a); 77l(a)(2). Third-Party Claimants have also brought analogous state law claims. E.g..
      Mass. Mut. Life Ins. Co. v. Residential Funding Co, LLC, 843 F. Supp. 2d 191 (D. Mass. 2012) (claims
      brought under Massachusetts Uniform Securities Act § 410(a)(2)); W. & S. Life Ins. Co. v. Residential
      Funding Co., LLC, Case No. A1105042, 2012 Ohio Misc. LEXIS 100 (Ohio Ct. Com. Pl. June 6, 2012)
      (claims under Ohio securities law).
609   Lindsay v. Morgan Stanley (In re Morgan Stanley Info. Fund Sec. Litig.), 592 F.3d 347, 358 (2d Cir. 2010).
610   Id.; see also Wyo. State Treasurer v. Moody’s Investors Serv., Inc. (In re Lehman Bros. Mortg.-Backed Sec.
      Litig.), 650 F.3d 167, 175 (2d Cir. 2011). In Wyo. State Treasurer, the court found that:
            The imposition of strict liability [under Section 11] is limited, however, to statutorily enumerated
            parties: (1) signatories of the registration statement; (2) directors or partners of the issuer at the time
            of filing; (3) persons consenting to be named as about to become a director or partner;
            (4) accountants or other experts consenting to be named as preparing or certifying part of the
            registration statement; and (5) underwriters of the security at issue.
      650 F.3d at 175.
611   In re Morgan Stanley Info. Fund Sec. Litig., 592 F.3d at 359 (explaining that section 12(a)(2) liability is
      limited to “statutory sellers,” which term has been interpreted to include parties that “(1) passed title, or other
      interest in the security, to the buyer for value, or (2) successfully solicited the purchase of a security,
      motivated at least in part by a desire to serve his own financial interests or those of the securities’ owner”).
612   Id.
613   Id. at 358–59 (quoting 15 U.S.C. § 77k(a)).

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        The elements of a claim under section 12(a)(2) require that:

                    (1) the defendant is a ‘statutory seller’; (2) the sale was
                    effectuated ‘by means of a prospectus or oral communication’;
                    and (3) the prospectus or oral communication ‘included an
                    untrue statement of a material fact or omitted to state a material
                    fact necessary in order to make the statements . . . not
                    misleading.’’614

The elements of a section 11 or 12(a)(2) claim must be proven “by a preponderance of the
evidence.”615 Defendants bear the burden of proof with respect to any affirmative defenses to
liability.616

     Debtors’ and AFI’s submissions to the Examiner do not purport to challenge any of the
Third-Party Claimants’ standing or that any of the named defendants participated in the
RMBS offerings at issue in a manner sufficient to give rise to liability.617 Accordingly, two
elements are central to the claimants’ section 11 and 12(a)(2) claims: “(1) the existence of
either a misstatement or an unlawful omission; and (2) materiality.”618

     To satisfy the first of these two elements, a plaintiff must allege: “(1) a
misrepresentation; (2) an omission in contravention of an affirmative legal disclosure
obligation; [or] (3) an omission of information that is necessary to prevent existing disclosures
from being misleading.”619 The second “[m]ateriality” element “is satisfied when a plaintiff
614   Id. at 359 (quoting 15 U.S.C. § 77l(a)(2)).
615   See Healey v. Chelsea Res. Ltd., 947 F.2d 611, 617 (2d Cir. 1991) (affirming judgment entered after trial
      dismissing of section 12(a)(2) claims); cf. Herman & MacLean v. Huddleston, 459 U.S. 375,
      387 (1983) (stating that “plaintiffs must prove their [section 10(b) of the Exchange Act claim] by a
      preponderance of the evidence,” as in “a typical civil suit for money damages”).
616   See In re Morgan Stanley Info. Fund Sec. Litig., 592 F.3d at 359, n.7 (“Generally speaking, defendants bear
      the burden of demonstrating the applicability of each of these defenses, which are therefore unavailing as a
      means of defeating a motion to dismiss . . . .”); Loftin v. Bande (In re Flag Telecom Holdings, Ltd. Sec.
      Litig.), 574 F.3d 29, 36 (2d Cir. 2009) (noting that defendant “bears the burden of demonstrating that
      something other than the misstatement at issue caused plaintiff’s loss”); Miles v. Merrill Lynch & Co. (In re
      IPO Sec. Litig.), 483 F.3d 70, 73 n.1 (2d Cir. 2007) (noting that section 11 defendant “can assert a defense
      that the plaintiff knew of the untruth or omission at the time of his or her acquisition of the security,” but
      there is no “reliance element” that plaintiff must prove) (quotation marks omitted); In re Turkcell Iletisim
      Hizmetleri, A.S. Sec. Litig., 202 F. Supp. 2d 8, 12 (S.D.N.Y. 2001) (“[T]he burden of proof for the [due
      diligence defenses] is on the defendants.”).
617   See, e.g., AIG, Allstate, MassMutual, and Prudential Joint Reply Submission Paper, dated Mar. 15, 2013, at
      20–21. Case law and commentary generally agree. The distinction between lead and other underwriters in
      Securities Act cases is normally only considered in the application of the due diligence defense.
      See, e.g., William K. Sjostrom, Jr., The Due Diligence Defense Under Section 11 of the Securities Act of
      1933, 44 BRANDEIS L.J. 549, 592 (Spring 2006) (“Section 11 does not make a distinction between lead
      underwriters and participating underwriters—both are potential Section 11 defendants.”).
618   See In re Morgan Stanley Info. Fund Sec. Litig., 592 F.3d at 360.
619   See id.

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alleges ‘a statement or omission that a reasonable investor would have considered significant
in making investment decisions.’”620

     “In the wake of the recent collapse of the housing market, courts within the Second
Circuit [and other jurisdictions] have repeatedly dealt with suits brought under the Securities
Act against issuers of mortgage-backed securities.”621 The majority of courts considering
motions to dismiss Securities Act (and state securities law) claims premised on the
misrepresentations summarized above have found, at least in part, that plaintiffs have
adequately alleged a claim.622 The same is true for similar claims against Ally Securities.623

620   Litwin v. Blackstone Grp., L.P., 634 F.3d 706, 716–17 (2d Cir. 2011) (quoting Ganino v. Citizens Utils. Co.,
      228 F.3d 154, 161–62 (2d Cir. 2000)).
621   Emps.’ Ret. Sys. of the Gov’t of the Virgin Is. v. J.P. Morgan Chase & Co., 804 F. Supp. 2d 141, 152
      (S.D.N.Y. 2011).
622   See, e.g., N.J. Carpenters Health Fund v. Royal Bank of Scot. Grp., PLC, 709 F.3d 109 (2d Cir. 2013);
      Plumbers’ Union Local No. 12 Pension Fund v. Nomura Asset Acceptance Corp., 632 F.3d 762 (1st Cir.
      2011); FHFA v. UBS Ams., Inc., 858 F. Supp. 2d 306 (S.D.N.Y. 2012); In re Bear Stearns Mortg.
      Pass-Through Certificates Litig., 851 F. Supp. 2d 746 (S.D.N.Y. 2012); Plumbers’ & Pipefitters’ Local #562
      Supplemental Plan & Trust v. J.P. Morgan Acceptance Corp. I, No. 08-1713, 2012 U.S. Dist. LEXIS 132057
      (E.D.N.Y. Feb. 23, 2012); Emps.’ Ret. Sys. of the Gov’t of the Virgin Is., 804 F. Supp. 2d 141. State law
      claims have seen similar results. See, e.g., Capital Ventures Int’l v. UBS Sec. LLC, No. 11-11937, 2012 U.S.
      Dist. LEXIS 140663 (D. Mass. Sept. 28, 2012).
623   See Mass. Mut. Life Ins. Co. v. Residential Funding Co., LLC, 843 F. Supp. 2d 191, 200 (D. Mass. 2012)
      (denying motion to dismiss MUSA § 410(a)(2) claim asserted against Ally Securities where complaint
      alleged that “representations about the underwriting process” in the offering materials “were false because
      the originators systematically violated the underwriting standards by, for example, issuing loans on the basis
      of overstated incomes, inflated appraisals, and unjustified exceptions to the standards”); FHFA v. Ally Fin.,
      Inc., Civ. No. 11-7010, 2012 U.S. Dist. LEXIS 179768, at *18 (S.D.N.Y. Dec. 19, 2012) (denying in part
      motions to dismiss Section 11 and 12(a)(2) and primary Virginia Securities Act claims asserted against Ally
      Securities); Order, Fed. Home Loan Bank of Chicago v. Banc of Am. Funding Corp., Case No. 10-CH-45033,
      at 15–29 (Ill. Cir. Ct. Sept. 19, 2012) (denying motion to dismiss primary claims asserted against Ally
      Securities under the Illinois Securities Law and the North Carolina Securities Act); N.J. Carpenters Health
      Fund v. Residential Capital, LLC, Civ. No. 08-8781, 2010 U.S. Dist. LEXIS 32058, at *4, 21 (S.D.N.Y.
      Mar. 31, 2010) (denying in part motions to dismiss Section 11 and 12(a)(2) claims asserted against certain of
      the Debtors and Ally Securities, allowing “[c]laims related to [misrepresentations concerning] the alleged
      disregard of underwriting guidelines [to] proceed,” and explaining that those alleged misrepresentations “are
      not cured by the risk disclosures Defendants point to in the Offering Documents”); Cambridge Place Inv.
      Mgmt., Inc. v. Morgan Stanley & Co., Case No. 2010-02741, 2012 Mass. Super. LEXIS 272, at *29 (Mass.
      Super. Ct. Sept. 28, 2012) (denying motion to dismiss MUSA § 410(a)(2) claim against Ally Securities
      alleging “misrepresentation with respect to underwriting guidelines, LTV ratios and appraisal standards,
      owner-occupancy rates, debt-to-income ratios . . . and credit enhancements”); W. & S. Life Ins. Co. v.
      Residential Funding Co., LLC, Case No. A1105042, 2012 Ohio Misc. LEXIS 100, at *23 (Ohio Ct. Com. Pl.
      June 6, 2012) (denying motion to dismiss Ohio securities law claims against Ally Securities alleging
      misrepresentations concerning underwriting guidelines, the appraisal process, investment ratings, and owner
      occupancy). But see Order, Union Cent. Life Ins. Co. v. Ally Fin., Inc., Case No. 11-02890, Docket No. 263,
      at 3 (S.D.N.Y. Mar. 29, 2013) (dismissing without prejudice claims asserted under Section 10(b) of the
      Exchange Act against AFI and Ally Securities where plaintiffs “have not pled any facts with particularity to
      demonstrate . . . scienter” and failed to specify “which defendant engaged in any specific conduct”).

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The parties do not appear to dispute this. AFI has essentially acknowledged that such claims
are sufficient to survive a motion to dismiss.624

                            (i) Affirmative Defenses

                                 (A) Due Diligence And Reasonable Care Defenses

     “[S]ection 11 provides for two distinct ‘due diligence’ defenses for all of the statutorily
enumerated [defendants] other than the issuer of a security.”625 “Section 12(a)(2) provides for
a defense of reasonable care, which . . . may be asserted by all ‘sellers’ under section 12(a)(2),
including the issuer of a security.”626

     “[T]wo of the affirmative defenses available under [s]ection 11(b) are collectively known
as the ‘due diligence’ defense.”627 The first such defense protects a defendant from liability
where “’he had, after reasonable investigation, reasonable ground to believe and did believe,
at the time . . . the registration statement became effective, that the statements therein were
true and that there was no omission to state a material fact required . . . to make the statements
therein not misleading.’”628 The second such due diligence defense, sometimes labeled “the
reliance defense,” “applies when a [s]ection 11 defendant is entitled to rely upon the opinion
of an expert.”629




624   See AFI Submission Paper, dated April 14, 2013, at 8 (“The lengthy string cites that the Allstate Reply
      touts . . . are wholly beside the point. No one is disputing that some RMBS plaintiffs—including certain of
      the Investor Claimants—have apparently learned how to plead their claims to survive dismissal on a facial
      basis.”).
625   In re Fuwei Films Sec. Litig., 634 F. Supp. 2d 419, 435 n.10 (S.D.N.Y. 2009); see also 15 U.S.C. §§ 77k(b)
      (providing for Section 11 due diligence defenses); Lindsay v. Morgan Stanley (In re Morgan Stanley Info.
      Fund Sec. Litig.), 592 F.3d 347, 360 n.7 (2d Cir. 2010) (“[S]ection 11 provides several due diligence
      defenses available to non-issuer defendants.”); Degulis v. LXR Biotechnology, Inc., 928 F. Supp. 1301, 1314
      (S.D.N.Y. 1996) (“Unlike certain other Section 11 defendants, the issuer has no ‘due diligence’ defense
      available.”).
626   In re Fuwei Films Sec. Litig., 634 F. Supp. 2d at 435 n.10 (quotation marks omitted); In re Morgan Stanley
      Info. Fund Sec. Litig., 592 F.3d at 360 n.7 (“[S]ection 12(a)(2) contains a ‘reasonable care’ defense.”);
      15 U.S.C. § 77l(a)(2) (providing Section 12(a)(2) defense where defendant “sustain[s] the burden of proof
      that he did not know, and in the exercise of reasonable care could not have known, of [the] untruth or
      omission”).
627   In re Worldcom, Inc. Sec. Litig., 346 F. Supp. 2d 628, 662 (S.D.N.Y. 2004).
628   Id. (quoting 15 U.S.C. § 77k(b)(30(A))).
629   Id. at 663.

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     The section 12(a)(2) defense of “reasonable care” has been construed by some courts as
“less demanding than the duty of due diligence imposed under [s]ection 11.”630 “A defendant
may show ‘reasonable care’ by introducing evidence that the allegedly fraudulent prospectus
was the result of reasonable investigation.”631

                                   (B) Loss Causation Defense

     “Loss causation is not an element of a plaintiff’s prima facie case [under section 11 or
12(a)(2)]; rather, the absence of loss causation is an affirmative defense.”632 Accordingly, the
defendant “bears the burden of demonstrating that something other than the misstatement at
issue caused plaintiff’s loss.”633 For example, the defendant may demonstrate that “the
plaintiffs’ losses were not attributable to the misrepresentations . . . but resulted . . . from
general market decline.”634 “Although ‘not insurmountable,’ defendants’ burden in
establishing this defense is heavy since ‘the risk of uncertainty’ is allocated to defendants.”635
630   See id.; see also John Nuveen & Co., Inc. v. Sanders, 450 U.S. 1005 (1981) (Powell, J. dissenting) (arguing
      that section 12(a)(2) “reasonable care” standard is lower than section 11 “reasonable investigation” standard);
      In re Fuwei Films Sec. Litig., 634 F. Supp. 2d at 435 n.10 (finding the “reasonable care” defense “less
      demanding than the duty of due diligence under section 11”) (quotation marks omitted). But see
      Dannenberg v. PaineWebber Inc. (In re Software Toolworks Inc.), 50 F.3d 615, 621 (9th Cir. 1994)
      (“Because section 11’s ‘reasonable investigation’ standard is similar, if not identical, to section 12(2)’s
      ‘reasonable care’ standard, the analysis of each on summary judgment is the same.”) (citations omitted);
      Sanders v. John Nuveen & Co., 619 F.2d 1222, 1228 (7th Cir. 1980) (“[T]he reasonable care standard
      required [a] reasonable investigation . . . . Since what constitutes reasonable care under § 12(2) depends upon
      the circumstances, we . . . do not intimate that the duty of a seller under § 12(2) is always the same as that of
      an underwriter in a registration offering under § 11.”); In re MetLife Demutulization Litig., 262 F.R.D. 217,
      235 (E.D.N.Y. 2009) (“Courts have likened [s]ection 12(a)(2)’s ‘reasonable care’ standard to the requirement
      that sellers make a ‘reasonable investigation’ in order to avoid liability under Section 11 for making
      fraudulent misrepresentations in a registration statement.”).
631   In re MetLife Demutulization Litig., 262 F.R.D. at 235.
632   15 U.S.C. § 77k(e) (providing that section 11 does not permit recovery to the extent that “defendant proves
      that any portion or all of [plaintiff’s] damages represents other than the depreciation in value of such security
      resulting from . . . the registration statement . . . not being true or omitting to state a material fact required to
      be stated therein or necessary to make the statements therein not misleading”); 15 U.S.C. § 77l(b) (providing
      that section 12(a)(2) does not permit recovery to the extent the defendant demonstrates “that any portion or
      all of the amount recoverable under subsection (a)(2) represents other than the depreciation in value of the
      subject security resulting from . . . the prospectus or oral communication . . . not being true or omitting to
      state a material fact required to be stated therein or necessary to make the statement not misleading”); Iowa
      Pub. Emps.’ Ret. Sys. v. MF Global, Ltd., 620 F.3d 137, 145 (2d Cir. 2010); see also In re Fuwei Films Sec.
      Litig., 634 F. Supp. 2d at 444 (“Plaintiff is not required to demonstrate loss causation to plead adequately
      claims under sections 11 and 12(a)(2), as he would be if bringing a claim pursuant to section 10(b).”).
633   Loftin v. Bande (In re Flag Telecom Holdings, Ltd. Sec. Litig.), 574 F.3d 29, 36 (2d Cir. 2009); see also In re
      Fuwei Films Sec. Litig., 634 F. Supp. 2d at 444 (“Defendants bear the burden of ‘negating’ causation, an
      affirmative defense sometimes referred to as ‘negative causation.’”).
634   Kaye v. Fast Food Operators, Inc., 99 F.R.D. 161, 163 (S.D.N.Y. 1983).
635   In re WorldCom, Inc. Sec. Litig., 294 F. Supp. 2d at 408 (quoting Akerman v. Oryx Commc’ns, Inc.,
      810 F.2d 336, 341 (2d Cir. 1987)).

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                                 (C) Knowledge Of Misrepresentations Defense

     “A plaintiff ‘may not recover under [sections] 11 or 12(a)(2) if the plaintiff knew of the
alleged untruth or omission at the time of purchase.’”636 “Knowledge that a misstatement or
omission exists is sufficient to defeat a [section] 11 or 12(a)(2) claim; defendants need not
demonstrate plaintiffs’ actual knowledge of the truth.”637 Accordingly, the defendant “can
assert a defense that the plaintiff knew of the untruth or omission at the time of his or her
acquisition of the security.”638

                             (ii) Conclusions

     As stated above, the Debtors and AFI do not challenge the Third-Party Claimants’
standing, nor do they challenge that any of the named defendants, including Ally Securities,
participated in the RMBS offerings in a manner sufficient to give rise to liability under the
Securities Act. Thus, the two remaining elements central to Third-Party Claimants’ section 11
and 12(a)(2) claims are: (1) whether the RMBS Offering Documents contained untrue
statements; and (2) whether those statements were material. Claimants would have to
demonstrate both elements by a preponderance of the evidence. In most of the RMBS Actions
that have advanced to litigation, courts have held that Third-Party Claimants’ have adequately
alleged that Ally Securities made misrepresentations in the RMBS Offering
Documents. Generally, Third-Party Claimants have also adequately alleged that, if proven to
be untrue, these statements would be material.639 Accordingly, the success of these claims will
ultimately hinge upon whether Third-Party Claimants can effectively demonstrate that these
statements were untrue.

     This showing will require an intensive inquiry into the circumstances surrounding each
challenged securitization transaction, including a review of underlying loan data and related
materials. Such an inquiry is not within the scope of the Investigation. The Examiner notes
that some Third-Party Claimants, including MBIA, AIG, and the FHLBs, for example, have
devoted several years of discovery to investigating these issues and prepared expert reports
636   In re Barclays Bank PLC Sec. Litig., No. 09-1989, 2011 U.S. Dist. LEXIS 2667, at *36 (S.D.N.Y. Jan. 5,
      2011) (quoting In re Livent, Inc. Noteholders Sec. Litig., 151 F. Supp. 2d 371, 441 (S.D.N.Y. 2001)); see also
      15 U.S.C. § 77k(a) (providing that section 11 plaintiff may recover “unless it is proved that at the time of
      such acquisition he knew of [the] untruth or omission”); 15 U.S.C. § 77l(a)(2) (providing that
      section 12(a)(2) plaintiff may recover where “not knowing of [the] untruth or omission”). Mayer v. Oil Field
      Sys. Corp., 803 F.2d 749, 755 (2d Cir. 1986) (holding that plaintiff may not “recover under §§ 11 and 12(2)
      of the 1933 Act unless . . . plaintiff had no knowledge of the untruth or omission”).
637   In re Livent, Inc. Noteholders Sec. Litig., 151 F. Supp. 2d at 441; see also In re Adelphia Commc’ns Corp.
      Sec. & Derivative Litig., No. 03-1529, 2007 U.S. Dist. LEXIS 66911, at *21–22 (S.D.N.Y. Sept. 7, 2007)
      (“[P]laintiffs aware that a statement is false need not be shown to know the truth behind it to have their
      claims barred.”).
638   Miles v. Merrill Lynch & Co. (In re IPO Sec. Litig.), 483 F.3d 70, 73 n.1 (2d Cir. 2007).
639   See, e.g., Order, Allstate Ins. Co. v. GMAC Mortg., LLC, Case No. 27-cv-11-3480, Docket No. 740, at 10
      (Minn. Dist. Ct. Nov. 28, 2011) (“Allstate adequately alleges the existence of material misrepresentations.
      Each subject above informs investors of the underlying loans’ risk profiles, which affects the perceived value
      of the underlying loans.”).

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detailing what they allege to be significant evidence of the systematic abandonment of
underwriting standards, as well as other allegations in the complaints.640 If these reports are
found to be persuasive and accurate, the section 11 and 12(a)(2) claims are likely to succeed.
However, the Debtors have also commenced the preparation of similar reports, which have
been delayed because of the pendency of the Chapter 11 Cases. Thus, the Examiner
recognizes that this underlying dispute will remain contested.

     In addition to attempting to undermine the Third-Party Claimants’ prima facie claims,
Ally Securities will likely assert a number of defenses. These include the section 11 due
diligence defense, the section 12(a)(2) reasonable care defense, loss causation defense, and the
knowledge of misrepresentation defense. Both the due diligence and reasonable care defenses
would defeat a prima facie section 11 or section 12(a)(2) claim, respectively, if Ally Securities
is able to show that after a reasonable investigation (or after the exercise of reasonable care)
Ally Securities believed that the alleged misstatements made in the RMBS Offering
Documents were true.641 As these are affirmative defenses, and are generally not raised as a
basis for dismissal at the pleading stage, there has been little discussion of these defenses in
the existing RMBS Actions.

     Ally Securities will likely argue that Third-Party Claimants’ losses were not attributable
to the misrepresentations, but instead resulted from the deterioration of the housing market
generally, as well as other macroeconomic factors.642 To date, courts in other RMBS cases
have discussed loss causation and have rejected this as a defense to liability at the pleading
stage.643 However, this defense may be more successful at later stages of litigation given more
factual development.
640   E.g., AIG, Allstate, MassMutual, and Prudential Joint Reply Submission Paper, dated Feb. 12, 2013, at 6–7
      (stating that the results of AIG’s review show “that over 90% of the loans failed to comply with underwriting
      guidelines” and that MBIA found “breach rates of 88 and 89%” across a sample of “thousands of
      mortgages”) (emphasis omitted); Federal Home Loan Banks of Boston, Chicago, and Indianapolis
      Submission Paper, dated Oct. 19, 2012, at 8–9.
641   AFI asserts that the due diligence defense renders any Securities Act claims worthless. See AFI Submission
      Paper, dated April 14, 2013, at 5–6; AFI Submission Paper, dated Dec. 19, 2012, at 75–76. As with many of
      the claims discussed herein, the success or failure of these claims will largely be determined by the facts.
      Both AFI and Third-Party Claimants cite Ally Securities’ diligence in support of their respective positions. In
      asserting the due diligence defense, AFI is stating that Ally Securities conducted diligence which would lead
      it to reasonably believe that the representations in the RMBS Offering Documents were true. Third-Party
      Claimants take the exact opposite viewpoint, as they must, with respect to their fraud claims discussed below.
      Third-Party Claimants argue that because Ally Securities conducted diligence, they had knowledge of the
      purported misrepresentations and their falsity. Arriving at a conclusion would require a review of each
      individual securitization at issue, as Ally Securities’ procedures regarding such diligence differed deal by
      deal, as noted above.
642   See AFI Submission Paper, dated Dec. 19, 2012, at 78 (“Nor can Claimants demonstrate that any alleged
      misrepresentations or omissions caused their losses, in light of the nationwide plunge in home values and the
      Great Recession.”).
643   See, e.g., FHFA v. JPMorgan Chase & Co., No. 11-6188, 2012 WL 5395646, at *18 (S.D.N.Y. Nov. 5, 2012)
      (noting that the Second Circuit has emphasized that loss causation is “a matter of proof at trial and not to be
      decided on a . . . motion to dismiss”).

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     The knowledge of misrepresentation defense requires that Ally Securities show that the
Third-Party Claimants knew that the alleged misrepresentations were false at the time they
purchased the RMBS. This defense has been raised at the pleading stage by certain defendants
in RMBS cases. To date, courts have noted that lack of knowledge is presumed, and thus the
defense has not been successful.644 This defense would likely be developed by Ally Securities
as the RMBS Actions progress, where Ally Securities may argue that Third-Party Claimants
are sophisticated investors who had access to information which would have made them aware
of the alleged misrepresentations.

     With respect to claims for violation of the Securities Act, as well as other claims
discussed below for fraud, aiding and abetting fraud, and negligent misrepresentation, Third-
Party Claimants’ alleged damages against Ally Securities and their ability to collect on a
judgment are discussed in Section VIII.D.

                        (b) Common Law Fraud And Fraudulent Inducement

      Fraud and fraudulent inducement are essentially identical claims, often used
interchangeably.645 Indeed, numerous New York courts have stated that the elements of claims
for fraud and fraudulent inducement are the same.646 In order to demonstrate a claim for either
fraud or fraudulent inducement, a plaintiff is required to show (1) a misrepresentation or
omission of material fact which was false and known to be false by defendant; (2) made with
the intent to induce reliance; (3) justifiable reliance; and (4) damages cause by the
misrepresentation.647 Each element of the fraud claim must be shown by clear and convincing
evidence.648
644   See, e.g., N.J. Carpenters Health Fund v. Residential Capital, LLC, No. 08-8781, 2011 U.S. Dist. LEXIS
      46066, at *27 (S.D.N.Y. Apr. 28, 2011).
645   E.g., Centro Empresarial Cempresa v. Am. Movil, 952 N.E.2d 995, 1000 (N.Y. 2011) (citation omitted)
      (providing that a plaintiff alleging fraudulent inducement must “establish the basic elements of fraud, namely
      a representation of material fact, the falsity of that representation, knowledge by the party who made the
      representation that it was false when made, justifiable reliance by the plaintiff, and resulting injury”); N.Y.
      Univ. v. Cont’ Ins. Co., 662 N.E.2d 763, 768–69 (N.Y. 1995) (“In plaintiff’s fifth cause of action, sounding
      in fraud, it alleges that defendants induced plaintiff to purchase and maintain the insurance policy . . . .The
      essential elements of a cause of action for fraud are ‘representation of a material existing fact, falsity,
      scienter, deception and injury.’”) (citation omitted).
646   E.g., Dexia SA/NV v. Deutsche Bank AG, No. 5672, 2013 WL 98063, at *3 (S.D.N.Y Jan. 4, 2013) (“In order
      to make out a claim for fraud under New York law, the plaintiffs must plausibly allege ‘a material
      misrepresentation of a fact, knowledge of its falsity, an intent to induce reliance, justifiable reliance by the
      plaintiff and damages.’ . . . The plaintiffs must plead the same elements in order to make out a claim for
      fraudulent inducement.”) (citations omitted); Dandong v. Pinnacle Performance Ltd., No. 8086, 2011 U.S.
      Dist. LEXIS 126552, at *41–42 (S.D.N.Y. Oct. 31, 2011); UniCredito Italiano SPA v. JPMorgan Chase
      Bank, 288 F. Supp. 2d 485, 498 (S.D.N.Y. Dec. 12, 2003).
647   See Banque Arabe et Internationale D’Investissement v. Md. Nat’l Bank, 57 F.3d 146, 153 (2d Cir. 1995);
      Eurycleia Partners, 910 N.E.2d 976, 979 (N.Y. 2009); Lama Holding Co. v. Smith Barney Inc., 668 N.E.2d
      1370, 1373 (N.Y. 1996); Mateo v. Senterfitt, 918 N.Y.S.2d 438 (N.Y. App. Div. 2011).
648   Century Pac., Inc. v. Hilton Hotels Corp., 528 F. Supp. 2d 206, 219 (S.D.N.Y. 2007).

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     As with Securities Act claims, a number of courts considering a motion to dismiss claims
based on common law fraud have found that plaintiffs have adequately alleged fraud.649 This
includes claims against Ally Securities.650

                                      (i) Conclusions

      Third-Party Claims for fraud and fraudulent inducement are similar to the claims under
section 11 and section 12(a)(2) of the Securities Act described above. With respect to fraud,
Third-Party Claimants have generally asserted that the RMBS Offering Documents contained
various material representations which Ally Securities knew were false. Claimants state that
they justifiably relied on these misrepresentations and that they were damaged as a result. As
stated in Section VIII.A, ascertaining facts which might lead to a definitive conclusion on the
merits of such claims is outside the scope of the Investigation. The Examiner notes, however,
that Third-Party Claimants’ allegations of fraud and fraudulent inducement will be more
difficult to prove than the Securities Act claims, as such claims require an affirmative showing
of Ally Securities’ knowledge of the fraud, intent to defraud, justifiable reliance, and damages
causation. Ultimately, it is possible that a plaintiff with the benefit of full discovery could
prove such elements, but this would require additional factual development.

                                  (A) Knowledge And Intent To Defraud

      Claims against Ally Securities based upon allegations of fraud have survived motions to
dismiss.651 The fraud claims against Ally Securities are generally premised upon the notion
that Ally Securities, in its role as underwriter, performed and had access to diligence
performed on the underlying loans and would therefore be in a position to have knowledge of
the alleged fraud. Plaintiffs will have to demonstrate this knowledge at trial, which may be
difficult. Regardless, plaintiffs have asserted that given appropriate discovery, they will be
able to procure such evidence. The Investigation has not determined whether such evidence
exists. Accordingly, the Examiner can make no determinations regarding whether Ally
Securities intended to defraud the Third-Party Claimants.

649   See, e.g., Dexia SA/NV, 2013 WL 98063; Stichting Pensioenfonds ABP v. Credit Suisse Grp. AG, Case
      No. 653665, Docket No. 110 (N.Y. Sup. Ct. Nov. 30, 2012). Recently, a claim for common law fraud
      survived a motion for summary judgment in a similar RMBS case. See Order, MBIA Ins. Co. v. Countrywide
      Home Loans, Inc., Case No. 08-602825, Docket No. 4092 (N.Y. Sup. Ct. Apr. 29, 2013).
650   FHFA v. Ally Fin. Inc., No. 11-7010, 2012 WL 6616061, at *3 (S.D.N.Y. Dec. 19, 2012) (“As to Ally
      Securities, it is likewise true that, given the firm’s representations that it reviewed portions of the loan pool
      for compliance with guidelines, the high defect rate alleged . . . is strongly suggestive that the firm knew the
      loans were underwritten to standards lower than those reported in the Offering Documents. . . . [T]hese
      allegations are more than adequate to plead fraud with respect to the [RMBS Offering Documents]
      representations regarding mortgage-underwriting standards.”); Order, Allstate Ins. Co. v. GMAC Mortg.,
      LLC, Case No. 27-cv-11-3480, Docket No. 740, at 15–16 (Minn. Dist. Ct. Nov. 28, 2011) (denying motion to
      dismiss common law fraud claims asserted against certain Debtors and Ally Securities); W. & S. Life Ins. Co.
      v. Residential Funding Co., LLC, No. A1105042, 2012 Ohio Misc. LEXIS 100, at *27 (Ohio Ct. C.P. June 6,
      2012).
651   See, e.g., FHFA v. Ally Fin. Inc., 2012 WL 6616061.

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                                 (B) Reliance And Loss Causation

     Third-Party Claimants’ common law fraud claims also require establishing reasonable
reliance and loss causation. These elements required to establish fraud are similar to the
knowledge of misrepresentation defense and the loss causation defense discussed in
connection with the Securities Act claims above, with the difference being that the plaintiff
bears the burden of demonstrating these elements when alleging fraud. If the claims were to
advance to trial, Ally Securities would likely argue that the plaintiffs had knowledge of the
risks involved in purchasing the RMBS at issue and that their losses were caused by
intervening factors rather than Ally Securities’ activities.652 Given the parties’ sophistication,
an argument that the claimants did not justifiably rely on the alleged misrepresentations could
be made at trial. Similarly, it is possible that a court might find that the overall market decline
was the proximate cause of claimants’ losses.

                        (c) Aiding And Abetting Common Law Fraud And Fraudulent Inducement

     To state a claim for aiding and abetting fraud, plaintiffs must allege (1) the existence of
an underlying fraud; (2) knowledge of the fraud; and (3) substantial assistance in the
commission of the fraud.653 Each element of aiding and abetting fraud must be established by
clear and convincing evidence.654

     Claims for aiding and abetting fraud in the RMBS context have survived motions to
dismiss, including claims against AFI.655 With respect to Ally Securities, only MBIA has
asserted a claim for aiding and abetting fraud.656 MBIA generally alleges that Ally Securities
had knowledge of the Debtors’ underlying fraud as it “received information about all aspects of
652   See AFI Submission Paper, dated Dec. 29, 2012, at 78 (“Nor can Claimants demonstrate that any alleged
      misrepresentations or omissions caused their losses, in light of the nationwide plunge in home values and the
      Great Recession.”); Debtors’ Submission Paper, dated Dec. 18, 2012, at 58 (“Generally, the PLS Investors’
      claims require proof of causation. Some courts have held that the market collapse can serve as a defense to
      claims under securities statutes, as well as common law claims for fraud and negligent misrepresentation.”).
653   E.g., Dexia/NV, 2013 WL 98063, at *3 (citing VTech Holdings, Ltd. v. Pricewaterhouse Coopers, LLP, 348
      F. Supp. 2d 255, 269 (S.D.N.Y. 2004)); UniCredito Italiano SPA v. JPMorgan Chase Bank,
      288 F. Supp. 2d 485, 503 (S.D.N.Y. 2003).
654   King Cnty., Wash. v. IKB Deutsche Industriebank AG, No. 09-8387, 2013 WL 45878, at *2 (S.D.N.Y. Jan. 3,
      2013) (“In New York, a plaintiff alleging fraud must establish each element of its fraud claim by ‘clear and
      convincing evidence.’ The same is true for a plaintiff asserting a claim of aiding and abetting fraud.”).
655   FHFA v. Ally Fin. Inc., 2012 WL 6616061, at *4; see also Dexia SA/NV v. Bear, Stearns & Co., Inc.,
      No. 12-4761, 2013 U.S. Dist. LEXIS 30916, at *29 (S.D.N.Y. Feb. 26, 2013) (alleging that “high-level
      executives of the defendant entities knew and participated in creating policies that incentivized high-risk
      lending and reduced controls in order to increase profits by creating greater number of RMBS regardless of
      quality” were sufficient to satisfy both knowledge and participation requirements of aiding and abetting
      fraud); Stichting Pensioenfonds ABP v. Credit Suisse Grp. AG, Case No. 653665, Docket No. 110
      (N.Y. Sup. Ct. Nov. 30, 2012).
656   See Compl., MBIA Ins. Co. v. Ally Fin. Inc., Case No. 27-CV-12-18889, Docket No. 1, at 3–5, 47–49
      (Minn. Dist. Ct. Sept. 17, 2012) (removed to the United States District Court for the District of Minnesota
      (12-2563)).

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the Debtors’ securitization business, including results of third-party diligence, underwriting
guidelines, loan performance and transaction losses, loans ‘kicked out’ of securitization pools
and loan details for the securitization pools.”657 MBIA also asserts that “Ally Securities
substantially assisted the Debtors’ fraud by contemporaneously providing underwriting services
in connection with the Securitizations.”658 A motion to dismiss is pending in that case.659
                             (i) Conclusions
     To succeed on claims against Ally Securities for aiding and abetting fraud, Third-Party
Claimants must show that there was an underlying fraud, as well as that Ally Securities knew
of that fraud and provided substantial assistance to the Debtors in perpetrating that fraud. The
Examiner concludes that if Third-Party Claimants can demonstrate an underlying fraud
against the Debtors, it is likely that a claim of aiding and abetting fraud against Ally Securities
would prevail as well. As noted above in Section VIII.B, an underwriter, particularly the lead
underwriter, plays an integral role throughout the life of a securitization transaction. Given
Ally Securities’ position as underwriter, it is possible, perhaps even probable, that Ally
Securities had knowledge of the Debtors’ alleged fraud660 and, in marketing the RMBS, it
could be determined that Ally Securities substantially assisted in the fraud.
                             (d) Negligent Misrepresentation
     Negligent misrepresentation is a traditional common law cause of action that generally
has three elements: (1) a misstatement by one party in a transaction; (2) reasonable reliance by
the counterparty leading to a loss; and (3) a duty of care on the part of the communicating
party towards the aggrieved party. Thus far, plaintiffs have had difficulty pursuing negligent
misrepresentation claims in the context of RMBS transactions—and have frequently seen their
complaints dismissed at the pleading stage—due to their inability to show a duty of care. As a
general rule, courts have concluded that sophisticated commercial parties engaged in RMBS
transactions do not owe each other a duty of care that can support a negligent
misrepresentation claim, even where the parties have a history of doing business.661 Allstate’s
657   MBIA Reply Submission Paper, dated Mar. 18, 2013, at 58.
658   Id. at 62.
659   See Am. Memo. of Law in Supp. of Defs.’s Mot. to Dismiss, MBIA Ins. Co. v. Ally Fin. Inc., Case
      No. 12-CV-02563, Docket No. 36 (D. Minn. Mar. 12, 2013) (removed from Minnesota state court
      (27-CV-12-18889)).
660   AFI essentially admits as much in its submissions. See AFI Submission Paper, dated Dec. 20, 2012, at 76
      (“Where Ally Securities served as the lead underwriter for a securitization, it typically retained Office Tiger
      to review the loans in the securitization and to identify any loans that might be defective. Through Office
      Tiger, Ally Securities investigated samples of loans included in each securitization . . . .”). Thus, given Ally
      Securities’ due diligence, if fraud existed, it would likely have been aware of it.
661   E.g., Woori Bank v. RBS Sec., Inc., No. 12 4254, 2012 WL 6703352, at *8 (S.D.N.Y. Dec. 27, 2012);
      Stichting Pensioenfonds ABP v. Credit Suisse Grp. AG, Case No. 653665, Docket No. 110, at 25 (N.Y. Sup.
      Ct. Nov. 30, 2012) (discussing the relationship between a purchaser and issuer of RMBS and stating that
      “[t]he transactions at issue in this case were arm’s length interactions between two sophisticated entities, and
      did not create any duty which might support a claim of negligent misrepresentation”); MBIA Ins. Co. v.
      Residential Funding Co., LLC, 906 N.Y.S.2d 781 (N.Y. Sup. Ct. 2009).

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claim against Ally Securities for negligent misrepresentation was dismissed.662 However,
some recent cases, including two cases against Ally Securities, have passed the pleading
stage.663

     With respect to the FHLB of Indianapolis’s claim of negligent misrepresentation brought
against Ally Securities in Indiana state court, it appears that Indiana law is unclear on the
nature of the relationship required to support a claim.664 The court in Western & Southern Life
Insurance Co. v. Residential Funding Co., LLC, did not examine the nature of the relationship
between the purchaser of the RMBS and the seller in any depth, but stated only that plaintiffs
had “adequately plead[ed] a claim for negligent misrepresentation, including their relationship
to Defendants.”665 Accordingly, while these claims have survived a motion to dismiss, they do
not otherwise provide any significant guidance.

                             (i) Conclusions

     The success of claims made under the theory of negligent misrepresentation appears to
turn on whether plaintiffs can demonstrate a special relationship with defendants. A review of
the relationships between individual Third-Party Claimants and Ally Securities is beyond the
scope of the Investigation. Accordingly, the Examiner does not come to a conclusion on
whether claims of negligent misrepresentation will ultimately be successful. Based upon a
review of the case law, however, while some negligent misrepresentation claims against Ally
Securities have survived motions to dismiss, these decisions only seem to allow plaintiffs to
proceed to discovery, rather than being indicative of potential future success. In most cases
where the court examined in more depth the nature of the parties’ relationship in an RMBS
662   Order, Allstate Ins. Co. v. GMAC Mortg., LLC, Case No. 27-cv-11-3480, Docket No. 740, at 22–24 (Minn.
      Dist. Ct. Nov. 28, 2011).
663   See Dexia SA/NV v. Bear, Stearns & Co., Inc., No. 12-4761, 2013 U.S. Dist. LEXIS 30916, at *31 (S.D.N.Y.
      Feb. 26, 2013) (ruling that plaintiff’s claim for negligent misrepresentation, most specifically its allegation of
      a special relationship, raised a question of fact that was better reserved for determination after discovery);
      Order on Mot. to Dismiss, Fed. Home Loan Bank v. Banc of Am. Mortg. Sec., Case No. 49D05 1010 PL
      45071, at 6 (Ind. Super. Ct. July 3, 2012); W. & S. Life Ins. Co. v. Residential Funding Co., LLC,
      No. A1105042, 2012 Ohio Misc. LEXIS 100, at *27 (Ohio Ct. C.P. June 6, 2012).
664   The seminal case in the state, Eby v. York-Division, Borg-Warner, 455 N.E.2d 623 (Ind. Ct. App. 1983),
      specifically limited the recognition of negligent misrepresentation to the context of an employer-employee
      relationship. In a number of post-Eby decisions, the Indiana appellate courts have declined to recognize the
      tort of negligent misrepresentation outside the context of an employment relationship. Trytko v. Hubbell, Inc.,
      28 F.3d 715, 720 (7th Cir. 1994). In Trytko, the Seventh Circuit considered whether Indiana recognizes the
      tort and ultimately concluded that Indiana would continue to recognize the tort of negligent
      misrepresentation, but only in circumstances closely analogous to those present in Eby. Id. at 721. Recent
      cases have echoed this interpretation. Mart v. Forest River, Inc., 854 F. Supp. 2d 577, 595 (N.D. Ind. 2012)
      (“The tort of negligent misrepresentation is recognized in Indiana in the limited circumstance of the
      employer-employee relationship.”). Thus, it appears that the tort of negligent misrepresentation is limited to
      an employer-employee relationship in the State of Indiana. The court in Federal Home Loan Bank v. Banc of
      America Mortg. Securities did not discuss this issue at all, so the validity of that decision may be questioned
      in the future.
665   2012 Ohio Misc. LEXIS 100, at *27.

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transaction, the court concluded that a special relationship did not exist.666 Irrespective of this,
two of the claims for negligent misrepresentation asserted against Ally Securities remain
pending.

               c. Claims Against Ally Bank As Loan Originator And Custodian

                    (1) Description Of Claims

      Third-Party Claimants assert claims directly against Ally Bank on several theories of
liability. First, certain monolines have alleged breach of contract claims against Ally Bank on
account of its role as loan custodian.667 In connection with certain GMAC Mortgage
securitizations, Ally Bank (and previously Old GMAC Bank) entered into custodial
agreements, “whereby it agreed to serve as Custodian of the underlying mortgage loan notes
on behalf of the respective RMBS trusts.”668 The monolines assert that they are third-party
beneficiaries of the custodial agreements and that pursuant to those agreements, Ally Bank
received “substantial fees” in return for its obligation to “ensure that the Mortgage Loans for
the [securitizations] contained complete and accurate information and that [GMAC Mortgage]
was in compliance with its representations and warranties regarding the origination, selection,
and underlying characteristics of those loans.”669 The monolines further assert that as
custodian, “[i]f Ally Bank determined that GMAC Mortgage was not in compliance, its
custodial duties obligated Ally Bank to give prompt written notice to [the monolines].”670 The
monolines allege that Ally Bank breached the custodial agreements by (1) failing to notify
them that mortgage notes were missing from certain loan files; (2) providing inaccurate and/or
incomplete certifications regarding mortgage loans; and (3) failing to notify the monolines of
breaches by GMAC Mortgage of the representations and warranties contained in certain
666   E.g., Stichting Pensioenfonds ABP v. Credit Suisse Grp. AG, Case No. 653665, Docket No. 110, at 25 (N.Y.
      Sup. Ct. Nov. 30, 2012) (discussing the relationship between a purchaser and issuer of RMBS and stating that
      “[t]he transactions at issue in this case were arm’s length interactions between two sophisticated entities, and
      did not create any duty which might support a claim of negligent misrepresentation”).
667   See FGIC Submission Paper, dated Oct. 17, 2012, at 25–26; Compl., MBIA Ins. Corp. v. Ally Fin. Inc., Case
      No. 27-CV-12-18889, at 56 (Minn. Dist. Ct. Sept. 17, 2012); Compl., Assured Guar. Mun. Corp. v. GMAC
      Mortg., LLC, Case No. 12-03776, Docket No. 1, at 40 (S.D.N.Y. May 11, 2012) (“Ally Bank has materially
      breached its obligations under the Custodial Agreement by failing to provide documents relating to
      Subsequent Mortgage Loan transfers to [Assured] and by failing to notify [Assured]of [GMAC Mortgage’s]
      breaches of its representations and warranties.”).
668   FGIC Submission Paper, dated Oct. 17, 2012, at 25 (“For these transactions, Ally Bank agreed that it would
      hold a document known as the Mortgage Note that it would review and deliver to FGIC a certification of ‘the
      completeness of the receipt of the Mortgage Notes.’”).
669   Id. at 25; see also MBIA Submission Paper, dated Nov. 9, 2012, at 33–34 (same); Compl., Assured Guar.
      Mun. Corp. v. GMAC Mortg., LLC, Case No. 12-03776, Docket No. 1, at 3 (S.D.N.Y May 11, 2012).
670   MBIA Submission Paper, dated Nov. 9, 2012, at 34 (citation omitted); see also FGIC Submission Paper,
      dated Oct. 17, 2012, at 25 (“Ally Bank further agreed to notify FGIC of breaches of the [mortgage loan
      purchase agreements] by [GMAC Mortgage], by providing that: ‘Upon discovery by the Custodian of a
      breach of any representation or warranty made by [GMAC Mortgage] in the Purchase Agreement . . . with
      respect to a Mortgage Loan . . . the Custodian shall give prompt written notice to [FGIC].’”).

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mortgage loan purchase agreements.671 Additionally, the monolines assert that because Ally
Bank originated a majority of the loans underlying the relevant GMAC Mortgage
securitizations, “it must have been keenly aware of the breadth and scope of the underwriting
failures with respect to those loans.”672

     Second, Third-Party Claimants allege that Ally Bank is liable for aiding and abetting
fraud by virtue of its role as loan originator and custodian with respect to certain GMAC
Mortgage securitizations.673 According to Third-Party Claimants, Ally Bank, as an originator
of mortgages underlying the Debtors’ securitizations, was “well aware of the true nature of the
loan pool”674 and is therefore “directly liable for passing false information to underwriters and




671   See FGIC Submission Paper, dated Oct. 17, 2012, at 25–26; see also MBIA Submission Paper, dated Nov. 9,
      2012, at 33–34; Compl., MBIA Ins. Corp. v. Ally Fin. Inc., Case No. 27-CV-12-18889, at 49 (Minn. Dist. Ct.
      Sept. 17, 2012) (alleging that “a review of a sample of mortgage loan documents has uncovered numerous
      breaches of the representations and warranties guaranteed under the Custodial Agreements, including missing
      Mortgage Notes or other documents necessary for closing on the loan, as well as breaches for incurable credit
      and compliance breaches.”).
672   FGIC Submission Paper, dated Oct. 17, 2012, at 26; see also MBIA Submission Paper, dated Nov. 9, 2012, at
      32 (“Ally Bank was responsible for the origination or acquisition of 80% of the loans in the GMAC
      Mortgage [s]ecuritizations.”).
673   FGIC Submission Paper, dated Oct. 17, 2012, at 26–27; see also Compl., MBIA Ins. Corp. v. Ally Fin. Inc.,
      Case No. 27-CV-12-18889, at 49, 54–55 (Minn. Dist. Ct. Sept. 17, 2012). The plaintiffs in John Hancock
      Life Insurance. Co. v. Ally Financial Inc., assert additional claims against Ally Bank, including common law
      fraud, securities fraud, and negligent misrepresentation. Case No. 12-01841 (D. Minn. 2012). With respect to
      the fraud claims, the alleged fraudulent conduct is the same as that alleged by most plaintiffs to give rise to
      aiding and abetting liability. Because fraud and aiding and abetting fraud are similar claims and it is unlikely
      that a plaintiff will be found liable for fraud but not aiding and abetting fraud, this Section analyzes Ally
      Bank’s liability under an aiding and abetting standard. With respect to the John Hancock plaintiffs’ securities
      fraud claims, the Examiner is not aware of any allegation that Ally Bank helped draft or disseminate
      securities offering materials or “controlled” the otherwise responsible entities. With respect to John
      Hancock’s claims for negligent misrepresentation, such claims have typically been dismissed for failure to
      establish the requisite “special relationship.” See, e.g., AllState Ins. Co. v. GMAC Mortg., LLC, No. 27-CV-
      11-3480, 2011 WL 7943021 (Minn. Dist. Ct., Nov. 28, 2011) (dismissing Allstate’s claim for negligent
      misrepresentation because under Minnesota law “no negligent representation claim lies where parties deal at
      arm’s length in a commercial transaction, even if one party supplies guidance to another”); MBIA Ins. Co. v.
      Residential Funding Co., LLC, 906 N.Y.S.2d 781, 781 (N.Y. Supr. Ct. Dec. 22, 2009) (“Generally, the
      requisite ‘special relationship’ does not exist between sophisticated commercial entities that enter into an
      agreement through an arm’s-length business transaction.”). For an analysis of these types of claims against
      Ally Securities, see Section VIII.C.2.b.
674   FGIC Submission Paper, dated Oct. 17, 2012, at 26; see also AIG, Allstate, MassMutual, and Prudential Joint
      Submission Paper, dated Oct. 17, 2012, at 24 (“Ally Bank was an originator of loans in many of the RMBS at
      issue and is liable both for the false information it transmitted to securitizing and underwriting entities—
      typically its sister companies—that it then passed on to the Investors, as well as for collaborating with Ally
      affiliates in the dissemination of that information.”).

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sponsors, knowing it would be disseminated to investors.”675 These claimants argue that “[b]ut
for Ally Bank’s financing activities, a significant number of the loans could not have been
included in the [s]ecuritizations . . . .”676 Claimants argue that if ResCap had stopped issuing
securitizations, Ally Bank would have been left holding deficient, risky loans.677 Finally,
claimants assert that as a direct loan originator, “Ally Bank issued loans in violation of
guidelines, and then passed on false information about the credit quality of the loans . . . to the
securitizing trusts and underwriting banks.”678 Additionally, the plaintiffs allege that Ally
Bank substantially assisted GMAC Mortgage’s fraud by representing to insurers that, as loan
custodian, it would “hold and monitor certain key information and documentation” regarding
the mortgage loans and would provide notice of any breaches of representations and
warranties by GMAC Mortgage.679 Claimants allege that rather than report deficiencies, “Ally
Bank facilitated the Debtors’ fraudulent activities by concealing the deficiencies in the loans
and GMAC Mortgage’s misrepresentations . . . .”680
                    (2) Analysis Of Claims
      As a preliminary matter, this Section analyzes the conduct of both Old GMAC Bank and
its successor, Ally Bank. While substantially all of the assets and liabilities of Old GMAC
Bank were transferred to Ally Bank in connection with the 2006 Bank Restructuring, the
Examiner has concluded in Section VII.L.2.a(1)(a)(i) that a court is unlikely to conclude that
Ally Bank is a successor in liability of Old GMAC Bank.681 Because a Third-Party Release
will likely only affect claims against Ally Bank, this Section refers to Old GMAC Bank where
it is necessary to distinguish between the two entities. However, where it is not necessary to
distinguish between the two entities, this Section simply refers to both entities as the Bank.
675   AIG, Allstate, MassMutual, and Prudential Joint Reply Submission Paper, dated Feb. 12, 2013, at 3; Compl.,
      MBIA Ins. Corp. v. Ally Fin. Corp., Case No. 27-CV-12-18889, at 54–55 (Minn. Dist. Ct. Sept. 17, 2012)
      (“Ally Bank profited from extending warehouse financing to the originators of non-compliant loans acquired
      and securitized by the Securitization Sponsors. If the fraudulent scheme ended, and the Securitization
      Sponsors no longer acquired non-compliant mortgage loans, the originators selling such loans would stop
      originating such loans, and therefore no longer need financing from Ally Bank.”).
676   MBIA Submission Paper, dated Nov. 9, 2012, at 32–33; see also Compl., John Hancock Life Ins. Co. v. Ally
      Fin. Inc., Case No. 12-01841, Docket No. 1, at 56 (D. Minn. July 27, 2012) (“Defendant Ally Bank . . . was
      the vehicle through which Defendant Ally Financial funded and controlled its vertically-integrated mortgage
      operations, including its mortgage origination, securitization, and servicing activities.”).
677   Compl., MBIA Ins. Corp. v. Ally Fin. Corp., Case No. 27-CV-12-18889, at 55 (Minn. Dist. Ct. Sept. 17,
      2012). This claim is somewhat inaccurate given that the June 4, 2002 addendum to the 2001 MMLPSA
      required GMAC Mortgage to purchase on a “mandatory delivery basis” all first lien loans originated or
      acquired by Old GMAC Bank. See Second Addendum to 2001 MMLPSA, dated June 4, 2002, § 2.1
      [ALLY_0018245]. This requirement was later extended to second lien loans in June 2007. See 2007
      MMLPSA, dated June 1, 2007, § 2.1 [ALLY_0018275]. For further discussion regarding the MMLPSA and
      its terms, see Section V.B.3.
678   AIG, Allstate, MassMutual, and Prudential Joint Submission Paper, dated Oct. 17, 2012, at 24.
679   FGIC Submission Paper, dated Oct. 17, 2012, at 27; see also MBIA Submission Paper, dated Nov. 9, 2012,
      at 33–34.
680   MBIA Submission Paper, dated Nov. 9, 2012, at 34.
681   See Section VII.L.2.a(1)(a)(i).

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                        (a) Breach Of Custodial Agreements

                             (i) Bank Obligations Under The Custodial Agreements

     From mid-2004 through late 2007,682 the Bank was enlisted as loan custodian for
approximately thirty-four of ResCap’s 392 PLS securitizations.683 Before the 2006 Bank
Restructuring, custodial agreements were entered into between GMAC Mortgage and Old
GMAC Bank.684 Following the 2006 Bank Restructuring, existing custodial agreements were
“repapered” with Ally Bank, and future custodial agreements were entered into between Ally
Bank and GMAC Mortgage.685 Throughout the relevant period, the Bank provided document
custody services through its Document Custody Division (“DCD”), which was housed in its
Horsham, Pennsylvania and Waterloo, Iowa facilities.686 Ally Bank continues to provide
custodial services on the relevant securitizations through the present.

     Generally, the loan custodian of a securitization serves as an agent for the trustee and has
a contractual obligation to hold and review the mortgage notes underlying the securitizations
and to provide certain notices to the loan servicer, the securitization trustee, and, in certain




682   As discussed throughout the Report, the Debtors effectively halted their private label securitization business
      in the late summer/early fall of 2007. See Int. of J. Gray, Mar. 1, 2013, at 61:8–63:23 (“I think in early
      August there was a significant pullback in the marketplace in terms of what investors were willing to buy and
      I think that was the major impetus for [shutting down non-conforming products].”).
683   See Appendix VIII.B—3 (providing information on the securitizations for which Ally Bank and Old GMAC
      Bank served as custodian). Int. of M. Hebling, Apr. 16, 2013, at 12:13–13:7, 13:18–19 (“[In July 2004, Old]
      GMAC Bank was entering the document custody business. . . . And taking over a business from Escrow
      Bank USA, [which was] an on-site custodian to GMAC Mortgage. And the intent was that the bank would
      enter that business, provide that service to the affiliate.”); It appears that Old GMAC Bank served as
      custodian for at least one RFC securitization, but for the vast majority of the Debtors’ securitization deals,
      other banks such as JPMorgan, Wells Fargo, or U.S. Bank served as custodian. See Int. of M. Hebling, Apr.
      16, 2013, at 45:18–46:7 (“We held one small deal [for RFC that] we inherited from Escrow Bank USA.”).
684   See, e.g., Custodial Agreement—GMACM 2006-HE2, dated June 29, 2006 [ALLY_0033251]. As of June,
      2005, DCD held more than 1.7 million mortgage notes in custody, with GMAC Mortgage generating “more
      than 90% of all loans handled and stored by [Old] GMAC Bank.” Report on Audit of GMAC Bank—Trust &
      Custody Services, Sept. 23, 2005, at 1 [ALLY_0220368].
685   See Summary—Review of GMAC Bank Affiliate Agreements (Draft), Nov. 14, 2006, at ALLY_0402127–29
      [ALLY_0402056]; Minutes of a Special Meeting of the Board of Directors of GMAC Bank (Draft), Nov. 22,
      2006, at ALLY_0401911–12 [ALLY_0401905]. Documents related to the 2006 Bank Restructuring suggest
      it was easier for Ally Bank to simply enter into new custodial agreements (or “repaper”) with GMAC
      Mortgage rather than assign the existing custodial agreements. See Bank Restructuring Project Plan, Oct. 17,
      2006, at EXAM10255917 [EXAM10255899].
686   Report on Audit of GMAC Bank—Trust & Custody Services, Sept. 23, 2005, at 1 [ALLY_0220368].

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circumstances, the monoline.687 At the Bank, DCD is responsible for the certification,
safeguarding, retrieval, and release of loan collateral documents (i.e., mortgage notes).688 DCD
provides this service for agency clients, including Fannie Mae, Freddie Mac, and Ginnie Mae,
as well as for private securitization sponsors, such as its affiliate, GMAC Mortgage.689 Ally
Bank bills each customer, including GMAC Mortgage, monthly service fees based upon
standard rates under the terms of individuallly negotiated agreements.690

     The Bank’s obligations as custodian are controlled by the custodial agreements contained
in each securitization’s closing set.691 Pursuant to these agreements, the Bank had, and in some
cases continues to have, several responsibilities. First, it must acquire and hold mortgage notes
(sometimes referred to as loan agreements) in trust for the use and benefit of the trustee and
investors.692 Typically, the mortgage notes were acquired by the Bank staff directly from




687   See Custodial Agreement—GMACM 2006-HE2, dated June 29, 2006, §§ 2.1–2.3 [ALLY_0033251];
      Custodial Agreement—GMACM 2006-HE4, dated Sept. 27, 2006, §§ 2.1–2.3 [ALLY_0033295]; Custodial
      Agreement—GMACM 2007-HE1, dated Mar. 29, 2007, §§ 2.1–2.3 [ALLY_0033359]; Custodial Agreement,
      RALI Series 2007-QH6, dated June 1, 2007, §§ 2.1, 2.3(a) [GSResCap0000117072]; Int. of M. Hebling, Apr.
      16, 2013, at 14:11–16 (“[The Document Custody Division] handled the receipt, review, and certification of
      collateral to an investor as well as safeguarded that collateral once it had been certified to an investor. So, we
      maintained a vault of collateral.”). The monoline insurers are express third-party beneficiaries of the
      custodial agreements related to their respective transactions. See Custodial Agreement—GMACM 2006-
      HE2, dated June 29, 2006, § 5.6 [ALLY_0033251]; Custodial Agreement—GMACM 2006-HE4, dated Sept.
      27, 2006, § 5.6 [ALLY_0033295]; Custodial Agreement—GMACM 2007-HE1, dated Mar. 29, 2007, § 5.6
      [ALLY_0033359].
688   See Report on Audit of GMAC Bank—Trust & Custody Services, Sept. 23, 2005, at 1 [ALLY_0220368].
689   See id.; Int. of M. Hebling, Apr. 16, 2013, at 18:6–15 (“With each of our clients we had a bi-party custodial
      agreement . . . . For each client that we provided agency or Fannie Mae, Freddie Mac, or Ginnie Mae
      custodial services there’s an agency custodial agreement . . . . And then at times we were party to certain
      securitization agreements where we provided custodial services.”).
690   See Report on Audit of GMAC Bank—Trust & Custody Services, Sept. 23, 2005, at 1 [ALLY_0220368].
691   See Int. of M. Hebling, Apr. 16, 2013, at 18:6–23.
692   See, e.g., Custodial Agreement—GMACM 2006-HE2, dated June 29, 2006, § 2.1 [ALLY_0033251];
      Custodial Agreement—GMACM 2006-HE4, dated Sept. 27, 2006, § 2.1 [ALLY_0033295]; Custodial
      Agreement—GMACM 2007-HE1, dated Mar. 29, 2007, § 2.1 [ALLY_0033359]. A typical provision
      reflecting this obligation is as follows:
           Acceptance of the Mortgage Notes. The Custodian, as the duly appointed agent of the Indenture
           Trustee for these purposes acknowledges receipt of the Loan Agreement relating to each of the
           Initial Mortgage Loans listed on Schedule A hereto (the “Mortgage Loan Schedule”) and declares
           that it holds and will hold the Mortgage Notes relating to any Subsequent Mortgage Loan as agent
           solely for the Indenture Trustee in trust, for the use and benefit of the Securityholders. The Servicer
           agrees to promptly deliver to the Custodian any amended Mortgage Loan Schedule necessary to
           reflect the addition of any Subsequent Mortgage Loans.
      Custodial Agreement—GMACM 2006-HE2, dated June 29, 2006, § 2.1 [ALLY_0033251].

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GMAC Mortgage, but in some circumstances, DCD reached out directly to title companies.693
Second, on or prior to the securitization closing date, the Bank was required to issue an “Initial
Certification” to the trustee evidencing the custodian’s receipt of the mortgage notes.694 Third,
within a certain amount of time following the closing date, the Bank was required to review
each mortgage note and issue a “Final Certification” evidencing the completeness of the
receipt of the mortgage notes.695 Fourth, the Bank was required to confirm that the mortgage
notes were “properly executed and are appropriately endorsed,” but was “under no duty or
obligation to inspect, review or examine such Mortgage Notes to determine that the same are
genuine, enforceable, or appropriate for the represented purpose or that they are other than
what they purport to be on their face.”696 If in performing this post-closing review, the Bank
found that a mortgage note was defective, it was required to promptly notify the trustee.697
Fifth, and finally, the Bank was required to give prompt written notice to the trustee, sponsor,
693   See Int. of M. Hebling, Apr. 16, 2013, at 22:7–11; 45:5–15; 52:15–18 (“As custodian, we would receive
      collateral related to this particular deal or securitization, which we would then be required to hold on behalf
      of that investor. . . . If collateral had not been received, we would proactively call the title company or
      research where the collateral was to try and make sure that it arrived.”).
694   See, e.g., Custodial Agreement—GMACM 2006-HE2, dated June 29, 2006, § 2.2(a) [ALLY_0033251];
      Custodial Agreement—GMACM 2006-HE4, dated Sept. 27, 2006, § 2.2(a) [ALLY_0033295]; Custodial
      Agreement—GMACM 2007-HE1, dated Mar. 29, 2007, § 2.2(a) [ALLY_0033359]. A typical provision
      reflecting this obligation is as follows:
           Review of the Mortgage Notes. The Custodian shall deliver to the Indenture Trustee, as pledgee of
           the Issuer, with respect to the Mortgage Notes related to the Initial Mortgage Loans and the
           Mortgage Notes related to any Subsequent Mortgage Loans, on or prior to the Closing Date or the
           related Subsequent Transfer Date, as applicable, an Initial Certification . . . evidencing receipt of the
           Mortgage Notes for each Initial Mortgage Loan and the Mortgage Notes for each Subsequent
           Mortgage Loan listed on the Mortgage Loan Schedule or amended Mortgage Loan Schedule.
      Custodial Agreement—GMACM 2006-HE2, dated June 29, 2006, § 2.2(a) [ALLY_0033251].
695   See, e.g., Custodial Agreement—GMACM 2006-HE2, dated June 29, 2006, § 2.2(b) [ALLY_0033251];
      Custodial Agreement—GMACM 2006-HE4, dated Sept. 27, 2006, § 2.2(b) [ALLY_0033295]; Custodial
      Agreement—GMACM 2007-HE1, dated Mar. 29, 2007, § 2.2(b) [ALLY_0033359]. A typical provision
      reflecting this obligation is as follows:
           Within 90 days from the Closing Date or Subsequent Transfer Date, as applicable, the Custodian
           agrees to review in accordance with the provisions of Section 2.1(f) of [the Mortgage Loan
           Purchase Agreement], each [Loan Agreement/Mortgage Loan], and shall deliver to the Indenture
           Trustee, as pledgee of the Issuer and to [the monoline insurer], a Final Certification . . . evidencing
           the completeness of the receipt of the Mortgage Notes, provided that upon reasonable request of the
           Indenture Trustee delivered from time to time in writing to the Custodian, the Custodian shall
           deliver updates of any exceptions to the Indenture Trustee electronically.
      Custodial Agreement—GMACM 2006-HE2, dated June 29, 2006, § 2.2(b) [ALLY_0033251].
696   Custodial Agreement—GMACM 2006-HE2, dated June 29, 2006, § 2.2(b) [ALLY_0033251]; Custodial
      Agreement—GMACM 2006-HE4, dated Sept. 27, 2006, § 2.2(b) [ALLY_0033295]; Custodial Agreement—
      GMACM 2007-HE1, dated Mar. 29, 2007, § 2.2(b) [ALLY_0033359].
697   See Custodial Agreement—GMACM 2006-HE2, dated June 29, 2006, § 2.2(b) [ALLY_0033251]; Custodial
      Agreement—GMACM 2006-HE4, dated Sept. 27, 2006, § 2.2(b) [ALLY_0033295]; Custodial Agreement—
      GMACM 2007-HE1, dated Mar. 29, 2007, § 2.2(b) [ALLY_0033359].

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and monoline if it discovered “a breach of any representation or warranty.”698 With respect to
this final obligation, the Bank had “no duty to review and know the substantive content of
such representations and warranties or to actively police any breach of such representations
and warranties.”699 The custodian is typically indemnified and held harmless by the servicer
for any claims that may arise from the custodial duties.700

                             (ii) Applicable Law

     The custodial agreements under which Ally Bank serves as custodian are governed by
Pennsylvania law.701 To establish a breach of contract claim under Pennsylvania law, a
plaintiff must plead: (1) the existence of a contract, including its essential terms; (2) a breach
of a duty imposed by the contract; and (3) resultant damages.702 The Pennsylvania statute of
limitations for a breach of contract claim is four years from the date of breach.703 The
Examiner has not conducted a timeliness analysis of these claims with respect to any
particular securitization.

     The Submission Papers received by the Examiner have not raised any issues with respect
to the existence of the Bank’s obligations under the custodial agreements or the timeliness of
698   Custodial Agreement—GMACM 2006-HE2, dated June 29, 2006, § 2.3 [ALLY_0033251]; Custodial
      Agreement—GMACM 2006-HE4, dated Sept. 27, 2006, § 2.3 [ALLY_0033295]; Custodial Agreement—
      GMACM 2007-HE1, dated Mar. 29, 2007, § 2.3 [ALLY_0033359].
699   Custodial Agreement—GMACM 2006-HE2, dated June 29, 2006, § 2.3 [ALLY_0033251]; Custodial
      Agreement—GMACM 2006-HE4, dated Sept. 27, 2006, § 2.3 [ALLY_0033295]; Custodial Agreement—
      GMACM 2007-HE1, dated Mar. 29, 2007, § 2.3 [ALLY_0033359].
700   See Custodial Agreement—GMACM 2006-HE2, dated June 29, 2006, § 3.2 [ALLY_0033251]; Custodial
      Agreement—GMACM 2006-HE4, dated Sept. 27, 2006, § 3.2 [ALLY_0033295]; Custodial Agreement—
      GMACM 2007-HE1, dated Mar. 29, 2007, § 3.2 [ALLY_0033359]; see also Debtors’ Omnibus Reply
      Submission Paper, dated Dec. 18, 2012, at 22 (“Ally Bank has indemnity rights against GMAC Mortgage . . .
      under certain custodial agreements entered into between, among others, Ally Bank and [GMAC Mortgage] in
      connection with a series of home equity loan transactions. . . . Therefore, to the extent that AFI or its
      subsidiaries incur defense costs and losses in connection with the [custodial agreements], AFI will have
      direct claims against the Debtors’ estates on account of these indemnification obligations . . . .”). While these
      indemnification rights will affect which entity ultimately bears the loss associated with such claims,
      indemnification has no bearing on the validity of the initial claim against the custodian and therefore does not
      alter the Examiner’s analysis with respect to claims against Ally Bank as custodian.
701   See Custodial Agreement—GMACM 2006-HE2, dated June 29, 2006, § 5.3 [ALLY_0033251] (“Governing
      Law. This Agreement shall be deemed a contract made under the laws of the state of Pennsylvania and shall
      be construed and enforced in accordance with and governed by the laws of the state of Pennsylvania.”);
      Custodial Agreement—GMACM 2006-HE4, dated Sept. 27, 2006, § 5.3 [ALLY_0033295] (same); Custodial
      Agreement—GMACM 2007-HE1, dated Mar. 29, 2007, § 5.3 [ALLY_0033359] (same).
702   See Guerra v. Redevelopment Auth., 27 A.3d 1284, 1289 (Pa. Super. Ct. 2011); Omicron Sys., Inc. v. Weiner,
      860 A.2d 554, 564 (Pa. Super. Ct. 2004); Cole v. Lawrence, 701 A.2d 987, 989 (Pa. Super. Ct. 1997). These
      elements must be proven by a preponderance of the evidence. See Ferranti Int’l, PLC v. Jasin, 47 F. App’x
      103, 107 (3d Cir. 2002); Snyder v. Gravell, 666 A.2d 341, 343 (Pa. Super. Ct. 1995).
703   42 PA. CONS. STAT. § 5525(a)(8); see also Steiner v. Markel, 968 A.2d 1253, 1255 n.5 (Pa. 2009) (“The
      statute of limitations for a breach of contract claim is four years.”).

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claims asserted with respect thereto. Accordingly, the Investigation focused on whether the
custodial agreements have been breached. Consistent with the Examiner Scope Approval
Order, the Examiner offers no opinion on the damages resulting from any breach.

                            (iii) Evidence Related To The Bank’s Breach Of The Custodial
                                 Agreements

     The Investigation did not include an audit of the mortgage notes held by DCD, but did
review documents produced to the Examiner for evidence of missing notes. An internal audit
by Audit Services in September, 2005 “did not observe or detect any significant control
weaknesses” with respect to collateral certifications, obtainment, and processing, among other
things.704 Similarly, e-mail communications among custodial associates suggest that
throughout 2006 and 2007, the Bank was largely successful in acquiring and holding mortgage
notes for the securitizations on which it served as custodian.705 These documents suggest that
during the relevant period of time, the Bank did not experience any significant disruption in
acquiring mortgage notes, as required by the custodial agreements.

      There is, however, some evidence to suggest that Ally Bank had difficulty acquiring
certain modified mortgage notes beginning in early 2009.706 For instance, a February 2009
presentation by DCD to ResCap’s Operations Risk Committee explained that DCD was
“experiencing a significant increase in missing collateral and Note deficiencies due to loan
modifications.”707 Loan modifications occurred when the borrower and servicer agreed to
change one or more of the loan’s terms as reflected in the original mortgage note. When such
a modification occurred (typically after the loan had been repurchased from a securitization
trust), DCD would acquire and review the new, modified mortgage note.708 During this time
period, modified loans represented sixty-eight percent of all loans received in the “collateral
curative unit” of DCD.709 DCD further reported that it took an average of 35.8 days to “cure”
704   Report on Audit of GMAC Bank—Trust & Custody Services, Sept. 23, 2005, at 2 [ALLY_0220368].
705   See E-Mail from C. Hodder (May 2, 2007) [EXAM10823010] (indicating that for the period from October
      2006 through March 2007, Ally Bank received in excess of 99.6% of first lien mortgage notes and 99.75% of
      second lien mortgage notes within twenty days of closing or subsequent transfer); Int. of M. Hebling, Apr.
      16, 2013, at 53:2–25 (“My recollection is that would mean 99.9 percent of the collateral is received by the
      custodian within 20 days of funding.”).
706   See, e.g., GMAC Bank and RFG Operations Risk Committee Minutes, Aug. 27, 2009, at 1–2
      [EXAM11072090] (“Ms. Krawczun noted that rework continues to significantly increase in DCD due to
      missing collateral and note deficiencies due to loan modifications that are repurchased, modified, and
      re-delivered. Mr. Rizzo questioned if repurchases meant from distressed loans or loans pulled out of a pool
      by Servicing. Ms. Krawczun replied both types.”).
707   Operations Risk Committee—GMAC ResCap Loan Modification Process Issues, at 2 [EXAM12310627].
708   See Int. of M. Hebling, Apr. 16, 2013, at 132:3–14 (“Loans were repurchased by GMAC Mortgage, became
      portfolio loans, many of those loans had been modified and we were requested to do a new audit of that loan,
      which would require us to review the Loan Modification document, which is comparable to the note at that
      point, to the data that they currently had. One of the issues that we had was when we were being asked to
      perform this review . . . we did not have the Loan Modification in our custody to perform the audit.”).
709   Operations Risk Committee—GMAC ResCap Loan Modification Process Issues, at 2 [EXAM12310627].

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modified loans—i.e., to acquire the new mortgage notes following loan modifications by the
servicer—and that it had identified twenty-three loans aged over 360 days that were “unlikely
to cure.”710 It appears, however, that these missing notes related primarily to loans that had
already been repurchased from the RMBS trusts, and thus would have had limited, if any,
impact on the securitizations insured by the monolines.711

     As an affiliate of ResCap, Ally Bank had certain intercompany relationships that third
party custodians lacked, such as “direct access to channels and customers” and “the ability to
load information directly onto [AFI’s] systems providing real-time information.”712 These
systems included (1) Loan Serve, a servicing platform used by GMAC Mortgage; (2) WALT,
a correspondent management system used by GMAC Mortgage; and (3) CMS, GMAC
Mortgage’s capital markets system.713 However, this direct access to intercompany systems
seems only to have been used by Bank associates in limited ways, namely to compare and
correct basic borrower information including names and addresses.714 DCD did not review
mortgage notes for compliance with representations and warranties, except in limited
circumstances where this type of review was explicitly provided for in the relevant
documentation.715




710   Id.
711   Int. of M. Hebling, Apr. 16, 2013, at 132:3–18 (“Loans were repurchased by GMAC Mortgage, became
      portfolio loans, many of those loans had been modified and we were requested to do a new audit of that loan,
      which would require us to review the Loan Modification document, which is comparable to the note at that
      point . . . . One of the issues that we had was when we were being asked to perform this review, after the loan
      was repurchased it became a portfolio [loan], we did not have the Loan Modification in our custody to
      perform the audit. So our goal at some point was to figure out where in the process these modifications were
      so that we could help GMAC Mortgage get them into our custody so that we could perform the review for
      them.”). Reports from late 2008 through 2010 suggest that Ally Bank continued to experience the highest
      note deficiency rates for loans in GMAC Mortgage’s “Repurchase/Reinstatement” channel, as opposed to its
      correspondent and consumer channels. See, e.g., Operations Risk Management Monthly Report, dated Nov.
      2008, at 18 [EXAM12335998] (reflecting a 10.96% overall deficiency rate and a repurchases/reinstatements
      rate of over 80%); Operations Risk Management Monthly Report, dated Mar. 2009, at 35 [EXAM12310632];
      Quality Metrick Deck—Gess/Glemser Monthly Report, dated Apr. 30, 2010, at 13–14 [EXAM12030111].
712   FTI Consultants, Custodian Analysis (Draft), dated July 23, 2008, at 11–12 [EXAM20003577].
713   Int. of M. Hebling, Apr. 16, 2013, at 56:19–57:20; 59:9–60:14; 144:24–146:25.
714   Id., at 56:19–57:20; 59:11–23; 145:12–21 (“[Q:] [W]hat is Loan Serve? . . . [A:] It’s the servicing system for
      the loan servicer. . . . (“[Q:] And did your department work with this system? [A:] In a very small way. . . .
      Some associates had access to view parts of that system and fewer associated had direct access to make
      minor changes in that system. . . . After the note review was performed, if a defect was found, a typo in the
      name or address, a certain group of associates could go into that system and make the correction to that
      spelling.”).
715   Id. at 35:17–36:11, 101:1–6 (“[Q:] I just want to confirm that the note audit process that your department
      conducted did not include a review for breaches of reps and warranties, is that correct? [A:] We only
      reviewed the original note.”).

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     From a diligence standpoint, it seems that as loan custodian, the Bank was required to
perform only a minimal level of diligence on the mortgage notes they received and held.716 As
provided by the custodial agreements, DCD’s review of the mortgage notes was limited to
information that appeared on the mortgage notes themselves, such as the borrower’s name, the
property address, the interest rate, and perhaps the first payment date.717 This information was
checked against a data file provided by the servicer, such as GMAC Mortgage.718 Any defects
or “exceptions” were reported to GMAC Mortgage’s capital markets group.719 While the
Investigation revealed evidence that, on at least one recent occasion, technical flaws in the
mortgage note review software caused underreporting of note defects,720 the problem appears
to have been limited to repurchased or HFS loans, not loans held by a securitization trust.721
                               (iv) Defenses Asserted by AFI/Ally Bank
     As a defense to Ally Bank’s potential liability, AFI points to the non-policing nature of
the custodian’s responsibilities, arguing that “Ally Bank is not required to police the loans for
716   See Int. of C. Blahut, Mar. 13, 2013, at 172:9–20 (“[Q:] Does the custodian check over all of these loan files
      to make sure that it has the information that would be needed to foreclose on someone? [A:] Probably after
      the fact. If they were probably notified that they might be taking some sort of enforcement of that, they might
      open it up and start taking a look and making sure, and then giving somebody the heads up. But, you know,
      there’s just such a flow of documentation that there’s no quality control with what comes in.”); Int. of M.
      Hebling, Apr. 16, 2013, at 82:24–83:10 (“Again, we’re only reviewing the original note. We’re reviewing it
      after the loan has closed prior to the loan being sold to any type of investor. And for an individual note, an
      auditor never probably takes, I don’t know, less than five minutes to review a note. . . . (“[Q:] So it’s [a]
      quick [ ] check . . . . Make sure everything is there, follow up and then they just continuously go through
      notes. . . . [A:] Yes.”).
717   See Int. of M. Hebling, Apr. 16, 2013, at 25:21–26:6 (“We would make sure that the document was complete
      and executed, and that certain data elements on that note or terms of that note were correct or matched the
      data that we were provided. . . . We would look at a borrower’s name, the property, address, and interest rate,
      perhaps the first payment date, depending on the type of loan that it was.”). While the custodial agreements
      do not specify which pieces of information need to be reviewed by the custodian, the custodial agreements
      typically referenced the related mortgage loan purchase agreements, which required the custodian to identify
      any “material defect” that would “materially and adversely affect” the value of the mortgage note collateral.
      See, e.g., Custodial Agreement—GMACM 2006-HE4, dated Sept. 27, 2006, § 2.2(b) [ALLY_0033251]
      (“[T]he Custodian agrees to review in accordance with the provisions of Section 2.1(f) of [the Mortgage
      Loan Purchase Agreement], each Loan Agreement . . . .”); Mortgage Loan Purchase Agreement—GMACM
      2006-HE4, dated Sept. 27, 2006, § 2.1(f) [GOLDIN00076207] (requiring the servicer to cure, repurchase, or
      replace any mortgage loan for which the custodian discovers any “material defect in any Loan Agreement . . .
      which may materially and adversely affect the value of the related Mortgage Loan . . . .”).
718   See Int. of M. Hebling, Apr. 16, 2013, at 26:11–15.
719   See id. at 29:13–30:7.
720   See E-mail from D. Chiodo (Sept. 26, 2012) [EXAM30003806] (“On Monday, our Team in Iowa identified a
      potential issue in our exception report for the Legacy loans . . . . We determined that the report was not selecting
      all of the exceptions for the report. The issue was identified as faulty logic in the reporting query . . . .”).
721   See Int. of M. Hebling, Apr. 16, 2013, at 94:11–95:21 (“They had given us a population of loans that they
      were intending to sell, asked that we do a pre-review to a certain standard and let them know if there were
      any defects with the documents that we had as portfolio loans . . . . We were not the custodian for these loans.
      We were providing a review prior to sale so that they knew what exceptions their new custodian would give
      them. . . . They were loans that were in a portfolio status as far as we tracked in our system.”).

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which it is custodian for potential breaches, but simply to issue a notice ‘[u]pon discovery’ of
an actual breach.”722 AFI’s articulation of the Bank’s responsibilities under the custodial
agreements is correct and, as discussed earlier, it appears that the Bank’s custodial associates
completed only a limited review of the mortgage notes, thus implicating only a subset of the
representations and warranties given on any particular securitization deal.723 However, the
monolines do not only allege that the Bank failed to police the quality of the mortgage notes,
but also that it had actual knowledge of representation and warranty breaches that it did not
convey to the trustees or monolines.724 While the monolines have not identified any evidence
that conclusively demonstrates this knowledge, the relationship between the Bank and GMAC
Mortgage, including overlapping officers and directors, the close operational proximity in
which their personnel worked, and the fact that the Bank sold to GMAC Mortgage many of
the loans for which it was serving as custodian,725 do support an inference that Bank personnel
would have been aware, to some extent, of the quality of the loans for which it was serving as
custodian. This aspect of shared knowledge between ResCap entities and the Bank is explored
in more depth in Section VIII.C.2.c(2)(b)(ii)(A).

      In response to the monolines’ contention that the Bank must have known of actual
breaches of the representations and warranties because it originated loans in the relevant
trusts, AFI argues that “knowledge of certain Ally Bank employees involved in originating
loans cannot be imputed to entirely different Ally Bank employees involved in performing
custodial duties for securitization transactions.”726 According to AFI, “[w]hile a corporation
may be charged with the collective knowledge of its employees, a plaintiff ‘may not use this
principle to shore up a claim of essentially fraudulent conduct when it is unable to allege that
any specific employee(s) has the requisite knowledge.’”727 Under Pennsylvania law, however,
this principal seems limited to instances where a plaintiff attempts to use collective knowledge
to establish a state of mind, and would not necessarily hold true for a breach of contract




722   AFI Submission Paper, dated Dec. 19, 2012 at 79.
723   See, e.g., MBIA Reply Submission Paper, dated Mar. 18, 2013, at 8, 18–21 (alleging misrepresentations that
      would not have been apparent from review of only a mortgage note, such as income level, LTV, CLTV, and
      DTI levels, borrower occupancy status, credit score, and application of underwriting criteria); Joint
      Submission Paper of AIG, Allstate, MassMutual, and Prudential, dated Oct. 17, 2012, at 3–4 (same).
724   See FGIC Submission Paper, dated Oct. 17, 2012, at 26–27; Compl., MBIA Ins. Corp. v. Ally Fin. Inc., Case
      No. 27-CV-12-18889, at 49 (Minn. D. Ct. Sept. 17, 2012) (“Because Ally Bank originated or acquired over
      80% of the loans at issue in the GMAC Mortgage Securitizations, it was aware of the deficiencies of these
      loans, but nevertheless did nothing to correct or make MBIA aware of these pervasive problems.”).
725   Compare Appendix VIII.B—3, with PLS Trust Spreadsheet [EXAM00339947] (indicating that the
      securitizations for which the Bank served as custodian contained as much as 89% Bank-attributable loans).
726   AFI Submission Paper, dated Dec. 19, 2012, at 80 (citing Midfirst Bank, SSB v. C.W. Haynes & Co., 893 F.
      Supp. 1304, 1316 (D.S.C. 1994)).
727   AFI Submission Paper, dated Dec. 19, 2012, at 80 (citing Musalli Factory for Gold & Jewelry v. JPMorgan
      Chase Bank, N.A., 261 F.R.D. 13, 24 n.11 (S.D.N.Y. 2009); Midfirst Bank, 893 F. Supp. at 1316).

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claim.728 Further, the need to rely on the collective knowledge of the company is reduced,
given the monolines’ allegations that some of ResCap and AFI’s most senior directors and
officers (who in some cases overlapped with those of the Bank) were aware of the Debtors’
alleged breaches of representations and warranties, as well as the alleged deficient
underwriting.729

     AFI’s final defense to the Bank’s alleged liability as loan custodian is to assert that the
Bank was only required to certify its receipt of mortgage notes, not full mortgage files, and
that claimants have failed to assert that the Bank certified the receipt of any mortgage note
that was not actually received.730 Because the Examiner’s Professionals did not conduct an
audit of mortgage notes held by DCD, the Examiner offers no conclusions with respect to
specific notes.

                             (v) Conclusion With Respect To Ally Bank’s Liability For Breach Of
                                 The Custodial Agreements

     The Investigation has revealed no evidence to support the Third-Party Claimants’
assertions that the Bank breached its custodial obligations to obtain, review, and certify
mortgage notes. However, because the Examiner’s Professionals did not conduct an audit of
individual mortgage notes held by the Bank pursuant to the custodial agreements, this
observation should not be considered dispositive of the monolines’ claims. Further, the
Investigation has revealed no evidence to support the Third-Party Claimants’ assertions that
the Bank breached its obligations to alert the trustees and monolines as to breaches of
representation and warranties related to the securitizations. Given that Bank custodial
associates only performed a limited review of mortgage notes, not entire loan files, it is
unlikely that this review would have alerted the custodial division to the broad breaches of
representations and warranties alleged by Third-Party Claimants. Whether such knowledge
was held by other Bank employees, including its officers and directors, is discussed in Section
VIII.C.2.c(2)(b)(ii)(A).

                        (b) Aiding And Abetting Fraud

                             (i) Applicable Law

     Below is a brief summary of the law regarding aiding and abetting fraud. A more robust
discussion of these principles is contained in Section VIII.C.2.a(3). To state a claim for aiding
and abetting fraud, plaintiffs must allege (1) the existence of an underlying fraud;
728   Lind v. Jones, Lang Lasalle Ams., Inc., 135 F. Supp.2d 616, 622 n.6 (E.D. Pa. 2001) (“Although knowledge
      possessed by employees is aggregated so that a corporate defendant is considered to have acquired the
      collective knowledge of its employees, specific intent cannot be aggregated similarly.”) (citations omitted).
729   See, e.g., MBIA Submission Paper, dated Nov. 9, 2012, at 27 (“AFI officers, directors or employees knew
      about the Debtors’ fraudulent activities from their active involvement in the day-to-day business activities of
      the Debtors.”).
730   AFI Submission Paper, dated Dec. 19, 2012 at 80–81; accord Int. of M. Hebling, Apr. 16, 2013, at 101:1–6
      (“[Q:] I just want to confirm that the note audit process that your department conducted did not include a
      review for breaches of reps and warranties, is that correct? [A:] We only reviewed the original note.”).

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(2) knowledge of the fraud; and (3) substantial assistance in the commission of the fraud.731
New York courts require actual knowledge of the primary wrong by the alleged aider and
abetter.732 “The ‘knowledge’ element of an aiding and abetting fraud claim is not identical to
the scienter required for the underlying fraud.”733 While a strong inference of scienter can be
satisfied by a showing of “facts that constitute strong circumstantial evidence of . . .
recklessness,” aiding and abetting requires actual knowledge.734

      New York courts have defined “substantial assistance” to require that a defendant
“affirmatively assists, helps conceal, or by virtue of failing to act when required to do so
enables the fraud to proceed.”735 Substantial assistance requires the plaintiff to allege that the
actions of the aider/abettor proximately caused the harm on which the primary liability is
predicated.736 “But-for” causation is insufficient; aider and abettor liability requires the injury
to be a direct or reasonably foreseeable result of the alleged wrongful conduct.737 “Executing
transactions, even ordinary course transactions, can constitute substantial assistance under
some circumstances, such as where there is an extraordinary economic motivation to aid in the
fraud.”738

731   E.g., Dexia SA/NV v. Deutsche Bank AG, Nos. 11 Civ. 5672, 6141, 2013 WL 98063 at *3 (S.D.N.Y. Jan. 4,
      2013) (citing VTech Holdings, Ltd. v. Pricewaterhouse Coopers, LLP, 348 F. Supp. 2d 255, 269 (S.D.N.Y.
      2004)); UniCredito Italiano SPA v. JPMorgan Chase Bank, 288 F. Supp. 2d 485, 502 (S.D.N.Y. 2003).
732   Williams v. Bank Leumi Trust Co. of N.Y., 1997 WL 289865 at *5 (S.D.N.Y. 1997); Kolbeck v. LIT Am., Inc.,
      939 F. Supp. 240, 246 (S.D.N.Y. 1996) (“New York common law, which controls the analysis here, has not
      adopted a constructive knowledge standard for imposing aiding and abetting liability. Rather, New York and
      federal courts in this district, have required actual knowledge.”); see also Holtkamp v. Parlex Assocs., 926
      N.Y.S.2d 344 (NY Sup. Ct. 2011) (explaining that constructive knowledge of the underlying fraud is
      insufficient to establish an aiding and abetting claim).
733   King Cnty., Wash. v. IKB Deutsche Industriebank AG, No. 09 Civ. 8387(SAS), 2013 WL 45878, at *3
      (S.D.N.Y. 2013) (quoting JPMorgan Chase Bank v. Winnick, 406 F. Supp. 2d 247, 253 n.4 (S.D.N.Y. 2005)).
734   Id.; Kolbeck, 939 F. Supp. at 246 (“New York common law, which controls the analysis here, has not
      adopted a constructive knowledge standard for imposing aiding and abetting liability. Rather, New York
      courts and federal courts in this district, have required actual knowledge.”). Under Minnesota law,
      constructive knowledge may be sufficient where the primary tortfeasor’s conduct is “clearly tortious or
      illegal.” See Witzman v. Lehrman, Lehrman & Flom, 601 N.W.2d 179, 188 (Minn. 1999) (“In cases where
      the primary tortfeasor’s conduct is clearly tortious or illegal, some courts have held that a defendant with a
      long-term or in-depth relationship with that tortfeasor may be deemed to have constructive knowledge that
      the conduct was indeed tortious.”). Given the complexity of the alleged fraud underlying the RMBS Claims,
      this standard is unlikely to govern these claims, even where Minnesota law arguably applies.
735   Cromer Fin. Ltd. v. Berger, 137 F. Supp. 2d 452, 470 (S.D.N.Y. 2001) (citation omitted).
736   Id.; see also Houbigant, Inc. v. Deloitte & Touche, 303 A.D.2d 92, 100 (N.Y. App. Div. 2003) (“[T]he
      plaintiff must only allege facts from which it may be inferred that the defendant was aware that its
      misrepresentations would be reasonably relied upon by the plaintiff, not that the defendant intended to induce
      the particular acts of detrimental reliance ultimately undertaken by the plaintiff.”).
737   Cromer Fin., 137 F. Supp. 2d at 470.
738   Primavera Familienstifung v. Askin, 130 F. Supp. 2d 450, 511 (S.D.N.Y. 2001), abrogated on other grounds
      by Casey v. Merck & Co., 653 F.3d 95, 100 (2d Cir. 2011).

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     In certain jurisdictions, warehouse lending and origination activities have been deemed
sufficient to support allegations of “substantial assistance.”739 While there are no cases directly
on point in New York, or certain other potentially relevant jurisdictions such as Minnesota or
Pennsylvania, there appears to be some support under New York law for considering
financing activities to constitute substantial assistance, if the financing activities are atypical
and accompanied by a sufficient level of knowledge regarding the alleged fraud.740

                             (ii) Analysis Of Aiding And Abetting Fraud Claims Against Ally Bank

                                 (A) Knowledge

      As a preliminary matter, the Investigation did not reveal any evidence of the Bank’s overt
knowledge of the type of fraud alleged by Third-Party Claimants. However, the close
relationship between the Bank and ResCap (specifically, GMAC Mortgage), suggests that
their management and personnel kept in close contact and were generally very knowledgeable
as to the business operations of the various affiliate entities.

     At the officer and director level, there were several instances of overlap between the
Bank and ResCap. For instance, David Applegate, ResCap’s co-CEO from late 2004 to late
2005 and later its Chief Operating Officer, served as a Director of Ally Bank from late 2006
through early 2007.741 Davee Olson, who was ResCap’s CFO from late 2004 through late
2006 and a Director of Ally Securities from 1992 through 2006, served as a Director of Ally
Bank from late 2006 through mid-2007.742 James Van Orman, who was a Director and Vice
President of ResCap in 2004 and 2005, served as Chairman of the Board of Directors of Old
GMAC Bank from early 2005 through late 2006 and continued as a Director of Ally Bank
through early 2007.743 These individuals received updates from ResCap management with
739   See Henry v. Lehman Comm. Paper, Inc. (In re First Alliance Mortg. Co.), 471 F.3d 977, 994–95 (9th Cir.
      2006) (refusing to disturb a jury determination that warehouse lender’s financing of mortgage origination,
      when coupled with lender’s knowledge that originator employed “dubious lending practices,” was sufficient
      to support “substantial assistance” element of aiding and abetting fraud); Jordan v. Paul Fin., LLC, 285
      F.R.D. 435, 453–54 (N.D. Cal. 2012) (finding a genuine issue of material fact existed as to whether RBS
      provided substantial assistance to mortgage originator’s fraud where it was “uncontroverted that RBS was
      one of [the originator’s] major secondary market purchasers, as well as the affiliate to a major warehouse
      lender” and “[h]undreds of millions of dollars, if not billions, flowed through [the originator] because of
      RBS’ involvement”).
740   See also Rolf v. Blyth, Eastman Dillon & Co., 570 F.2d 38, 48 (2d Cir. 1978) (“[S]ubstantial assistance might
      include . . . executing transactions or investing proceeds, or perhaps . . . financing transactions.” (quoting 2
      A. Bromberg, Securities Law § 8.5 (515) (1974))); In re Gas Reclamation, Inc. Sec. Litig., 659 F. Supp. 493,
      504 (S.D.N.Y. 1987) (“[T]he Court concludes that the Investors have alleged active wrongdoing by these
      defendants satisfying the substantial assistance requirement. These include, inter alia, allegations that the
      defendants reviewed and approved the first [private placement memorandum], devised the marketing and
      financing scheme for [the defendant entity], and engaged in atypical financing transactions.”) (emphasis
      added).
741   See AFI Employee Profiles, David Applegate, at ALLY_0004706 [ALLY_0004637].
742   See AFI Employee Profiles, Davee Olson, at ALLY_0004714 [ALLY_0004637].
743   See AFI Employee Profiles, Jerome Van Orman, Jr., at ALLY_0004718 [ALLY_0004637].

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respect to increases in nontraditional mortgage products and loan performance,744 as well as
audits of various ResCap and affiliate functions.745 A more detailed discussion of AFI’s audit
process is contained in Section VIII.C.2.a(3)(c)(ii)(D).

     At an operations level, ResCap and Bank management and personnel served on various
committees together to, among other things, help centralize their diligence and risk
management procedures.746 One such effort, the RFG Diligence Forum, focused on areas such
as “credit/appraisal, legal, servicing and compliance, which are critical components to the
product offerings [made to] clients and investors.”747 Another similar effort sought to “[a]lign

744   See, e.g., ResCap Board Performance and Market Update, dated June 22, 2006, at RC40011855,
      RC40011874, [RC40011836] (distributed to Applegate and Olson and indicating that “RFG continues to
      expand market share despite market contraction. . . . Growth is due to increases in all products, with non-
      conforming products supporting the increase in the third and fourth quarters [of 2006].”); ResCap Board
      Performance and Market Update, dated Sept. 15, 2006, at RC40011956, RC40011980 [RC40011954]
      (distributed to Applegate and indicating that “[s]ubprime delinquencies and severities have been slightly
      worse than expectations over the past quarter, with the 2006 vintage performing much weaker than
      expectations”); GMAC ERM Committee Meeting Presentation, dated Nov. 15, 2006, EXAM11443901
      [EXAM11443901] (indicating Van Orman’s attendance and participation in a meeting focused on various
      aspects of AFI’s risk management, including residential mortgage operations); E-mail from L. Zukauckas to
      J. Li, J. Young, J. Van Orman, and D. Olson (Jan. 18, 2006) [EXAM10832755] (“Jim—Today you are
      expected to get us a plain english explanation on why your provision has decreased when the portfolio has
      increased and other credit trends (proportion of subprime in portfolio, etc) seem to indicate increased risk.”).
745   See, e.g., GM Audit Services, Report on Audit of GMAC RFC—Warehouse Lending Operations, dated Aug.
      8, 2005, at 3 [ALLY_0220358] (indicating distribution to Olson); GM Audit Services, Report on Audit of
      GMAC Bank—Wholesale Lending, dated Oct. 3, 2005, at 3 [ALLY_0220375] (indicating distribution to
      Applegate). For a detailed discussion of these types of reports, see GM Audit Services, Report on Audit of
      GMAC-RFC Service Delivery Group, dated May 18, 2006, at 1, 6 [ALLY_0220776] (indicating distribution
      to Applegate and Olson and finding “insufficient resources to clear servicing exceptions on new loans” and
      “inadequate management reporting on the levels, trends and root causes of F-status loans (i.e. unsaleable
      loans)”). The overlap between Ally Bank and ResCap officer does not appear to have been limited to only the
      most senior positions. See, e.g., Int. of S. Blitzer, Mar. 5, 2013, at 7:23–8:20 (explaining that he was a vice
      president at GMAC Mortgage and “had dual officership for GMAC Bank” though he was “not necessarily an
      employee of the bank”).
746   See, e.g., Strategic Initiatives Minutes, Aug. 12, 2005, at 1 [EXAM11762755] (indicating attendance by
      David Applegate of ResCap, and Jay Barr and Robert Groody of Old GMAC Bank); Draft RFG Corporate
      Governance—Proposal on Risk Committee Structure Presentation, dated Mar. 10, 2006, at 7
      [EXAM11377135] (proposing a financial risk committee to include, among others, Groody, Barr, Applegate,
      Scholtz, and Flees); Financial Risk Committee Minutes, Sept. 7, 2006 [EXAM11754507]; RFG Diligence
      Forum Charter (Draft), dated Oct. 6, 2006, at MBIADEPEXH0028479–81 [MBIADEPEXH0028464]
      (providing for various Old GMAC Bank personnel to sit on both the “core team” and the “advisory team”);
      Memorandum, Product and Business Strategy Management Product Approval Process, dated Oct. 11, 2006,
      at 1 [EXAM10011774] (addressed to “EC Committee Members,” including Barry Bier of Old GMAC Bank,
      Keenen Dammen of Ally Securities, and Applegate); Responsible Practices Committee Meeting Agenda,
      Dec. 15, 2006, at 1 [EXAM11244367] (indicating membership, though not attendance by Applegate, Bier,
      and Dammen, among many others).
747   See RFG Diligence Forum               Charter   (Draft),   Oct.    6,   2006,    at   MBIADEPEXH0028479
      [MBIADEPEXH0028464].

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the risk governance structure” of ResCap and Old GMAC Bank.748 A proposal for this joint
risk committee suggested that personnel from various ResCap entities, including Old GMAC
Bank, would “[p]rovide oversight on all responsible lending and servicing assessments” and
help “[e]stablish underwriting policy.”749 Representation and warranty policies also appear to
have been discussed and communicated between ResCap and Old GMAC Bank, suggesting
that their personnel often worked as an integrated enterprise.750

     One example of the collaboration between Old GMAC Bank and ResCap is a working
group session called to formulate a response to the December 2005 interagency guidance on
nontraditional mortgage products, which was proposed by certain federal regulators, including
the FDIC, OTS, and FRB.751 In those discussions, Al Celini, then Chief Credit and Risk
Officer of Old GMAC Bank,752 expressed disagreement with changing ResCap and Old
GMAC Bank’s underwriting practices in response to the proposed guidance.753 However,
Celini advised the group that they should be cautious with their response, because it could
potentially “be spun into ‘we made the loan with a primary repayment source that is a
refinance.’”754 Celini thought that “[e]ven though this is a reality, it probably is not best to
officially state.”755

     Despite defending the issuance of nontraditional mortgage products by ResCap as a
whole, Celini expressed his belief that Old GMAC Bank’s portfolio in particular had
borrowers with strong credit scores and lower default risk.756 A presentation to the Ally Bank
Board from late 2006 (just one week after the 2006 Bank Restructuring) confirms Celini’s




748   RFG Corporate Governance—Proposal on Risk Committee Structure, Mar. 1, 2006, at 2 [EXAM11741476].
749   Id. at 4 (providing that Jay Barr, then President of Old GMAC Bank, would serve on the committee).
750   See E-mail from L. Lundsten (June 16, 2006) [EXAM11247435] (listing several Old GMAC Bank personnel
      along with RFC personnel).
751   See MRizzo RFG Interview Notes, Proposed Interagency Guidance on Nontraditional Mortgage Products,
      dated Mar. 16, 2006, at EXAM11361090 [EXAM11361090]; GMAC Bank Nontraditional Mortgage
      Products Risks Presentation, distributed Nov. 21, 2006, at ALLY_0401992 [ALLY_0401905] (“Cross-
      enterprise [nontraditional mortgage products] Working Group convened in Feb-Apr’06. The Working Group
      included associates from Credit, Ops Risk, Legal and Product Development Personnel . . . and included Bank
      (MRizzo—leader, ACelini), GMACR and RFC representation.”).
752   Int. of A. Celini, Feb. 18, 2013, at 9:3–10:13.
753   See MRizzo RFG Interview Notes, Proposed Interagency Guidance on Nontraditional Mortgage Products,
      dated Mar. 16, 2006, at EXAM11361092 [EXAM11361090].
754   Id.
755   Id. (adding that “[f]rom the bank perspective, these assets are not purchased with the expectation that they
      will be 30 year assets. Duration is much shorter.”).
756   See id.

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observation that loans originated and held by the Bank (typically prime, conforming loans)
were of a higher quality than those originated by RFC’s brokers and correspondents.757

     Another aspect of the Bank and GMAC Mortgage’s operations that supports an inference
of knowledge is their shared information systems. As discussed in Section VIII.C.2.c, in
connection with its role as loan custodian, the Bank had access to at least three GMAC
Mortgage systems, which allowed the Bank to confirm and correct certain pieces of mortgage
loan data.758 One of these systems was a shared capital markets system, which GMAC
Mortgage personnel “used to understand what loans were available in total to be
pooled . . . .”759 Through this system, GMAC Mortgage personnel could look to the Bank’s
HFS portfolio, select loans that fit their desired criteria, and request that the loans be sold to
GMAC Mortgage for securitization.760

     The close relationship between ResCap and Old GMAC Bank appears to have been
uninterrupted by the 2006 Bank Restructuring. ResCap and Ally Bank personnel continued to
work closely in setting and adhering to product policies,761 and Ally Bank remained a high-
volume source of loans for GMAC Mortgage.762

757   Compare Minutes of a Regular Meeting of the Board of Directors of GMAC Bank, Nov. 30, 2006, at 4–5
      [ALLY_PEO_0020880] (“In the review of [Ally] Bank payment option ARMs (‘POAs’), Mr. Rizzo
      informed the Board that the HFI account has no exposure to POAs and that, as of September 30, 2006, 11%
      of the HFS account consists of POAs.”), with ResCap Board Performance and Market Update, dated Dec. 12,
      2006, at RC40012260 [RC40012214] (indicating that payment-option ARM products accounted for 15.7% of
      ResCap’s year-to-date mortgage funding as of September 2006); see also Enterprise Risk Management
      Committee Meeting Minutes, Sept. 28, 2006, at EXAM10010358 [EXAM10010357] (indicating that
      approximately 90% of borrowers were “making minimum payments and are therefore negatively
      amortizing”); Int. of C. Blahut, Mar. 13, 2013, at 31:3–10 (“[Old GMAC Bank] had more of the . . . franchise
      on dealing with prime or conforming originations. They dealt with a lot of jumbo prime that might be the
      fixed rate . . . or they did some hybrid ARMs. But it was generally prime first and second liens. I’m not
      familiar with them doing any type of Alt-A or reduced documentation underwriting.”); Int. of J. Gray, Mar.
      1, 2013, at 13:4–9 (GMAC Mortgage was organized around products that were more conventional).
758   See Section VIII.C.2.c.
759   Int. of R. Groody, Dec. 17, 2012, at 85:16–19.
760   See id., at 85:16–86:6.
761   See E-mail from J. Young (Dec. 6, 2006) [EXAM10166101]; E-mail from A. Peacock (Mar. 1, 2007)
      [EXAM10119873]; E-mail from P. Fossell (Oct. 24, 2007) [EXAM10059604] (circulating updates to
      underwriting authority policies); E-mail from R. Scott (July 5, 2007) [EXAM10120526]. Additionally, it
      appears that in later years, Ally Bank employees performed work for its affiliates, including AFI. See E-mail
      from S. McCumber (Nov. 18, 2010) [EXAM31587084]; Bank Associates Doing Work for Affiliates
      Spreadsheet [EXAM31590681] (indicating that some Ally Bank employees spent as much as 40% of their
      time performing work for affiliates). It is not clear if this type of cross-enterprise work was performed during
      the period of time when ResCap is alleged to have made misrepresentations with respect to their private label
      securitizations (2004–2007).
762   See Audit Services, GMAC Bank—Mortgage Loan Sales, dated Mar. 29, 2007, at 1 [EXAM10081553]
      (“During 2006, [Old GMAC Bank] and [Ally Bank] sold $18 billion in first mortgage loans, and $5 billion in
      home equity loans/lines, to [GMAC Mortgage].”).

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                                   (B) Substantial Assistance

     To succeed on a claim for aiding and abetting fraud against the Bank, claimants must
show not only that the Debtors engaged in an underlying fraud, but that the Bank knew of the
fraud and provided substantial assistance to the Debtors in furtherance of the fraud.763
Consideration of whether the Bank affirmatively assisted the Debtors’ alleged fraud will turn
on a number of factors, including the nature of services provided by the Bank and the volume
of loans sold by the Bank to GMAC Mortgage.

     Old GMAC Bank (and later Ally Bank)764 served as a source of loan production for
GMAC Mortgage since 2001.765 As Robert Groody, formerly CFO of Old GMAC Bank and
Chief Mortgage Accountant at Ally Bank, put it, “the bank was built to be primarily a funding
vehicle for the benefit of GMAC Mortgage, and then ultimately . . . ResCap.”766 While the
Bank represented only one source of funding for RFC and GMAC Mortgage, it was a strategic
source because of its funding advantage relative to other sources of financing.767 Loans funded
or acquired by the Bank were sold to GMAC Mortgage primarily for the purpose of GSE
securitization.768 These were typically conforming loans, of better quality than those that were
pooled into private securitizations.769 These activities were conducted pursuant to six principal
agreements between GMAC Mortgage and the Bank related to mortgage origination,
servicing, and hedging, most of which were not arm’s length and incorporated terms that were
not available in the market.770



763   See Section VIII.C.2.c(2)(b)(i).
764   Neither the Submitting Parties nor AFI have raised any issues with respect to Ally Bank’s successor liability
      for the liabilities of Old GMAC Bank. However, the 2006 Bank Restructuring could present a barrier to Ally
      Bank’s liability for pre-November 2006 Bank conduct, as the Examiner concludes in Section
      VII.L.2.a(1)(a)(i) that a court is unlikely to find that Ally Bank is the successor in liability of Old GMAC
      Bank.
765   See Sections V.B.3. It is possible that loans originated by Old GMAC Bank and Ally Bank also made their
      way into RFC securitizations, but such occurrences were likely rare. See Int. of E. Scholtz, Mar. 28, 2013, at
      176:8–13 (“[Q:] Did RFC securitize any loans that were acquired or written by GMAC Bank? [A:] I would
      guess they did. It was just a funding vehicle, so it was another funding source.”).
766   Int. of R. Groody, Dec. 17, 2012, at 19:15–18; see also Int. of A. Celini, Feb. 18, 2013, at 21:13–22:23 (“The
      bank’s primary business during [2003 to 2004] was really to serve as a funding conduit. . . . We would
      originate through our correspondents or brokers. . . . And we would sell back to the affiliate for them to
      deliver and execute into the market.”).
767   See Sections V.A.1.a; V.B.
768   See Int. of R. Groody, Dec. 17, 2012, at 73:12–25; Int. of A. Celini, Feb. 18, 2013, at 27:14–19 (“[Q:] My
      understanding is the bread and butter was [the] conforming loan business. . . . [A:] That was the
      overwhelming majority of the assets that were going through.”).
769   See Int. of R. Groody, Dec. 17, 2012, at 73:12–74:8.
770   See Section V.B (discussing the Correspondent Agreement, MMLPSA, the Pipeline Swap, the Broker
      Agreement, the Original Servicing Agreement, and the MSR Swap).

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     The Bank also sold non-conforming loans (primarily HELOCs) to GMAC Mortgage for
inclusion in private securitizations.771 Loans originated or acquired by the Bank were included
in approximately 124 of the Debtors’ 392 private label securitizations.772 In those 124
securitizations, loans sold from the Bank to GMAC Mortgage comprised anywhere from
0.03% to 89% of a given loan pool.773 While data was not available to evaluate the
performance of Bank loans contained in the Debtors’ private securitizations, the Debtors have
noted that “[h]istorically Bank production was high credit quality, which could lead to better
performance.”774

      Old GMAC Bank had three primary channels of loan production: (1) the broker channel,
whereby Old GMAC Bank funded loan origination in its own name; (2) the correspondent
channel, whereby Old GMAC Bank purchased already-funded loans; and (3) GMAC
Mortgage, which acted like a correspondent that would sell loans to the Bank and later buy
them back for securitization.775 Additionally, the Bank had a warehouse facility, whereby it
provided a line of credit to correspondent originators who would draw upon the line of credit
to fund loans and then sell the loans to the Bank using the sale proceeds to repay the
facility.776 While the Bank had its own underwriting criteria for both conforming and
nonconforming loan products,777 these criteria appear to have been developed by GMAC
Mortgage and adopted by the Bank.778 Additionally, the Bank entered into agreements with




771   See Int. of R. Groody, Dec. 17, 2012, at 73:12–25, 80:21–81:1; Int. of A. Celini, Feb. 18, 2013, at
      27:14–28:10 (approximating that conforming loan products represented ninety percent of Old GMAC Bank’s
      production, while nonconforming products, such as jumbo loans and HELOCs, accounted for the remaining
      ten percent). For more information regarding GMAC Mortgage’s private securitization deals, see Section
      VIII.B.1.
772   See PLS Trust Spreadsheet [EXAM00339947]; see also Appendix VIII.B-1 (showing which securitization
      prospectuses disclosed that at least ten percent of their loans were acquired from the Bank).
773   See PLS Trust Spreadsheet [EXAM00339947] (indicating that, among other things, 8 of the securitizations
      contained more than 75% Bank-attributable loans; 9 securitizations contained between 50 to 75%; and 17
      contained between 25% and 50%). Notably, this securitization-level information does not provide
      information as to whether the loans in question were first sold to the Bank by GMAC Mortgage. See Section
      V.B.2 (explaining that pursuant to the Correspondent Agreement, GMAC Mortgage sold loans it had
      acquired or originated to the Bank).
774   PLS Trust Spreadsheet, Disclaimer/Note 6 [EXAM00339947].
775   See Int. of A. Celini, Feb. 18, 2013, at 22:23–23:22; 24:8–11.
776   See id.; see also Int. of C. Blahut, Mar. 13, 2013, at 34:17–35:7 (“[The warehouse facility is] sort of a
      symbiotic type of relationship where they’re able to extend financing to them and it helps deepen the
      relationship with the originator so that they would be able to aggregate more loans.”).
777   See Int. of A. Celini, Feb. 18, 2013, at 25:19–23; 44:20–45:4.
778   See id. at 285:6–16 (“[Q:] I think what you said is the affiliate had a set of underwriting standards. The bank
      looked at them and approved them and adopted [them] as bank underwriting standards. [A:] Right. . . . And
      we went through them and we actually suggested revisions . . . .”).

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third-party correspondents that paralleled the correspondent agreements that GMAC Mortgage
had in place with the same correspondents.779 These parallel agreements allowed the entities to
help each other identify and fund particular loans, with certain processing and underwriting
fees paid between them.780

      While many of the loans exchanged between Old GMAC Bank and GMAC Mortgage
were originated by third-party correspondent lenders,781 pursuant to the 2001 MMLPSA, Old
GMAC Bank was required to provide GMAC Mortgage with loan-level information.782
Additionally, for each loan sold to GMAC Mortgage pursuant to the 2001 MMLPSA, Old
GMAC Bank provided a lengthy series of representation and warranties, including that the
loans had been originated in accordance with applicable underwriting standards.783 While the
Examiner concludes that it is more likely than not that a court would find that the 2001
MMLPSA was orally modified in January 2002 to exclude representations and warranties on
first lien loans,784 the Bank continued providing representations and warranties on second lien
loans to GMAC Mortgage through June 2007.785 These representations and warranties were
substantially similar to those that were passed on through ResCap’s Depositor Entities and the
issuing trusts, to RMBS investors.786 Further, because the Bank was required to provide loan-
level information to GMAC Mortgage, the Bank was intimately aware of the characteristics of
a large percentage of the loans placed into GMAC Mortgage securitizations.787

                                     (iii) Defenses Asserted By AFI/Ally Bank

      As a defense to the Bank’s potential liability for aiding and abetting fraud, AFI asserts
that Ally Bank did not know the quality of the loans it was funding because its warehouse
facilities operated on a “wet-funding” basis, meaning that the Bank funded the loans before
779   See id. at 285:24–287:20 (“[GMAC Mortgage] had its own correspondent agreement . . . with the third-party
      correspondent, [and] [Old GMAC Bank] had one . . . that was there as well. They were co-terminus. They
      had the same.”).
780   See id. at 285:24–287:20 (indicating that this practice “wasn’t a prevalent activity” but “it happened from
      time to time”).
781   See Section VIII.B.2.e.
782   See Second Addendum to 2001 MMLPSA, dated June 4, 2002, § 2.2(a) [ALLY_0018245].
783   See 2001 MMLPSA, dated Dec. 15, 2001, Art. IV [ALLY_0018253].
784   See Section VII.L.2.a(1)(c) (discussing Old GMAC Bank’s representations and warranties to GMAC
      Mortgage).
785   See 2007 MMLPSA, dated June 1, 2007, Art. IV [ALLY_0018275].
786   See, e.g., Int. of R. Groody, Dec. 17, 2012, at 122:4–11 (“[Q:] But for loans that were purchased from third
      parties, . . . they would give you reps and warrants. You, in turn, would pass on reps and warrants to GMAC
      Mortgage. And GMAC Mortgage would be able to go back up the chain to the original correspondent. [A:]
      Correct.”); Int. of K. Patrick, Mar. 18, 2013, at 268:15–268:20 (“[Q:] Where did they fall on the flow of the
      rep and warranty liability? [A:] They have front-line rep and warrant liability with the originator. The
      depositor and the seller both have rep and warrant liability.”).
787   As discussed earlier, certain of the securitization trusts contained as much as 89% Bank-attributable loans.
      See PLS Trust Spreadsheet [EXAM00339947].

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the loan files were sent to the Bank.788 This alleged lack of knowledge does not alter the fact
that the loans were required to be underwritten to Bank guidelines,789 eventually delivered to
the Bank by the third-party originator, and passed on to GMAC Mortgage for later
securitization. Further, AFI asserts that “once the loans were securitized and Ally Bank was
paid as warehouse lender, Ally Bank no longer retained any security interest in the loans and
would not have had any knowledge of their compliance with underwriting guidelines.”790 This
argument seemingly contradicts the MMLPSA’a requirement that the Bank provide GMAC
Mortgage with loan-level information, as discussed further in Section V.B.3.

                                      (iv) Conclusion With Respect To Ally Bank’s Liability For
                                           Aiding And Abetting Fraud

     The Examiner offers no conclusions with respect to the existence of an underlying fraud
committed by the Debtors. With respect to Ally Bank’s knowledge of any fraud committed by
ResCap, Third-Party Claimants solicited by the Examiner were unable to identify any
evidence of actual knowledge of the alleged fraud. This lack of evidence is not wholly
determinative, however, given the limited discovery conducted by most of the Submitting
Parties. Generally, the Investigation has revealed evidence to support the Third-Party
Claimants’ assertions that Ally Bank personnel were intricately involved in ResCap’s
operations. This evidence includes overlap between Ally Bank and ResCap leadership, the
existence of several inter-company committees designed to centralize product and risk
management, and shared information systems. While an inference of knowledge would not be
sufficient for an aiding and abetting claim to succeed under New York law, such an inference
suggests that a Third-Party Claimant with the benefit of full discovery may, in time, also
uncover evidence of actual knowledge.

     Similarly, the Investigation has revealed evidence to support the Third-Party Claimants’
assertions that Ally Bank’s financing activities would be considered a form of substantial
assistance to the extent ResCap is found to have engaged in fraudulent conduct. This finding is
primarily supported by the fact that Ally Bank was created to serve as a conduit for funding
GMAC Mortgage’s securitization activity, which the entities carried out through a series of




788   AFI Submission Paper, dated Dec. 19, 2012 at 82.
789   Int. of C. Blahut, Mar. 13, 2013, at 42:16–25 (“[Q:] So is there a separate set of criteria for what [the client]
      can put into the warehouse? Towards the quality of collateral. [A:] Yes, generally they try to. Generally they
      try to because . . . you don’t want bad loans being held in a warehouse that are unmarketable. So yes, they do
      try to create a criteria.”).
790   AFI Submission Paper, dated Dec. 19, 2012 at 82.

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atypical and non-arm’s-length financing transactions. While Ally Bank represented only one
of many sources of loan origination for GMAC Mortgage, it was a strategic and steady source
nonetheless.791

     Finally, as discussed in more depth in Section VIII.D, the RMBS Claims against Ally
Bank may be limited by the Examiner’s conclusion that, under Utah law,792 a court is unlikely
to find that Ally Bank is a successor in liability of Old GMAC Bank.793 If a court were to
agree with this finding, RMBS Claims against Ally Bank may be limited to those
securitizations that contain loans sold by Ally Bank after the 2006 Bank Restructuring.794

      3. D&O RMBS Claims

               a. Generally

     The Examiner’s Professionals have identified several pending actions on account of
D&O RMBS Claims (the “D&O RMBS Actions”).795 The Examiner believes that the D&O
RMBS Actions are generally representative of the types of RMBS Claims that could be
asserted by Third-Party Claimants against Debtor and AFI directors and officers.




791   Although Third-Party Claimants also allege that the Bank’s role as custodian supports an aiding and abetting
      fraud claim, the Bank’s custodial role was considerably less integral to ResCap’s securitization business than
      was the Bank’s funding, as loan custodial services could be, and often were, provided by independent third-
      parties. See Appendix VIII.B (showing that a third-party bank, namely Wells Fargo, routinely provided this
      service for both RFC and GMAC Mortgage securitizations); Int. of M. Hebling, Apr. 16, 2013, at 139:24–
      140:3 (“GMAC Mortgage is treated as a client, as we would treat any other client. The custodial agreement,
      the designated fee schedule, and all the services are provided according to that agreement.”); see also Rosner
      v. Bank of China, 528 F. Supp. 2d 419, 427 (S.D.N.Y. 2007) (“Financial transactions that are not considered
      ‘atypical’ or ‘non-routine’ do not constitute substantial assistance.”).
792   As discussed further in Section VII.L.2.a(1)(a)(i), New York and Utah law are consistent with respect to all
      of the traditional exceptions to the general rule of successor liability, except the de facto merger exception.
      With respect to this limited conflict, the Examiner concludes that a New York court would likely apply the
      law of the state in which the defendant was formed, in this case, Utah.
793   See Section VII.L.2.a(1)(a)(i).
794   See Section V.A.1.a for a discussion of the 2006 Bank Restructuring. Additionally, for a discussion of Ally
      Bank’s potential contractual liability on loans sold to GMAC Mortgage after the 2006 Bank Restructuring,
      see Section VII.L.2.
795   See e.g., Compl., John Hancock Life Ins. Co. (U.S.A.) v. Ally Fin. Inc., Case No. 12-01841, Docket No. 1 (D.
      Minn. July 27, 2012); Am. Compl., Mass. Mut. Life Ins. Co. v. Residential Funding Co., LLC, Case No. 11-
      30035, Docket No. 68-1 (D. Mass. Feb. 29, 2012); Second Am. Compl., N.J. Carpenters Health Fund v.
      Residential Capital, LLC, Case No. 08-8781, Docket No. 121 (S.D.N.Y. Jan. 3, 2011); Compl., Stichting
      Pensioenfonds ABP v. Ally Fin., Inc., Case No. 11-20426 (Minn. Dist. Ct. Oct. 11, 2011); Am. Compl.,
      Union Cent. Life Ins. Co. v. Ally Fin. Inc., Case No. 11-2890, Docket No. 146 (S.D.N.Y. May 4, 2012); Am.
      Compl., W. & S. Life Ins. Co. v. Residential Funding Co., LLC, Case No. A1105042 (Ohio Ct. Com. Pl. Sept.
      9, 2011); Compl., White v. GMAC Mortg., LLC, Case No. 2809-CV-2011 (Pa. Ct. Com. Pl. Mar. 28, 2011).

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        The D&O RMBS Actions assert claims against the following defendants:796
         •    Kenneth Duncan: Duncan served as CFO of various of the Debtors’ depositor
              entities (RALI, RAMP, RASC and RFMSI) and Executive VP and director of RFC
              and Homecomings.797
         •    Ralph Flees: Flees worked at RFC beginning in 1996 and served as Chief Accounting
              Officer and Controller of ResCap from April 2008 until January 2009.798
         •    Jack Katzmark: Katzmark served as Treasurer and Controller of various depositor
              entities (RFC, RASC, RAMP, RALI and RFMSI) and as managing director of RFC
              and ResCap.799
         •    Lisa Lundsten: Lundsten worked in various positions at RFC and Ally Securities
              beginning in 1991 and served as the head of the structured finance group beginning
              in 2005.800
         •    Davee Olson: Olson served as Executive VP, CFO, and director of RFMSI and
              RALI; director of RASC; CFO of ResCap; and a director of GMAC RFC, RFC and
              Homecomings.801
796   The titles and tenures of the officers and directors were identified by plaintiffs in their respective actions. For
      further information, refer to Appendix IV.A, which lists all the ResCap and AFI directors and officers and
      their tenures.
797   Compl., John Hancock Life Ins. Co. (U.S.A.) v. Ally Fin. Inc., Case No. 12-01841, Docket No. 1, at 17 (D.
      Minn. July 27, 2012); Am. Compl., Mass. Mut. Life Ins. Co. v. Residential Funding Co., LLC, Case No. 11-
      30035, Docket No. 68-1, at 5 (D. Mass. Feb. 29, 2012); Second Am. Compl., N.J. Carpenters Health Fund v.
      Residential Capital, LLC, Case No. 08-8781, Docket No. 121, at 19 (S.D.N.Y. Jan. 3, 2011); Compl.,
      Stichting Pensioenfonds ABP v. Ally Fin., Inc., Case No. 11-20426, at 11 (Minn. Dist. Ct. Oct. 11, 2011);
      Am. Compl., W. & S. Life Ins. Co. v. Residential Funding Co., LLC, Case No. A1105042, at 9 (Ohio Ct.
      Com. Pl. Sept. 9, 2011).
798   Compl., John Hancock Life Ins. Co. (U.S.A.) v. Ally Fin. Inc., Case No. 12-01841, Docket No. 1, at 18 (D.
      Minn. July 27, 2012); Am. Compl., Mass. Mut. Life Ins. Co. v. Residential Funding Co., LLC, Case No. 11-
      30035, Docket No. 68-1, at 5 (D. Mass. Feb. 29, 2012); Second Am. Compl., N.J. Carpenters Health Fund v.
      Residential Capital, LLC, Case No. 08-8781, Docket No. 121, at 19 (S.D.N.Y. Jan. 3, 2011); Compl.,
      Stichting Pensioenfonds ABP v. Ally Fin., Inc., Case No. 11-20426, at 11 (Minn. Dist. Ct. Oct. 11, 2011);
      Am. Compl., W. & S. Life Ins. Co. v. Residential Funding Co., LLC, Case No. A1105042, at 9 (Ohio Ct.
      Com. Pl. Sept. 9, 2011).
799   Compl., John Hancock Life Ins. Co. (U.S.A.) v. Ally Fin. Inc., Case No. 12-01841, Docket No. 1, at 18 (D.
      Minn. July 27, 2012).
800   Id. at 19; Second Am. Compl., N.J. Carpenters Health Fund v. Residential Capital, LLC, Case No. 08-8781,
      Docket No. 121, at 19 (S.D.N.Y. Jan. 3, 2011); Compl., Stichting Pensioenfonds ABP v. Ally Fin., Inc., Case
      No. 11-20426, at 12 (Minn. Dist. Ct. Oct. 11, 2011).
801   Compl., John Hancock Life Ins. Co. (U.S.A.) v. Ally Fin. Inc., Case No. 12-01841, Docket No. 1 (D. Minn.
      July 27, 2012); Am. Compl., Mass. Mut. Life Ins. Co. v. Residential Funding Co., LLC, Case No. 11-30035,
      Docket No. 68-1, at 4–5 (D. Mass. Feb. 29, 2012); Second Am. Compl., N.J. Carpenters Health Fund v.
      Residential Capital, LLC, Case No. 08-8781, Docket No. 121, at 19 (S.D.N.Y. Jan. 3, 2011); Compl.,
      Stichting Pensioenfonds ABP v. Ally Fin., Inc., Case No. 11-20426, at 12 (Minn. Dist. Ct. Oct. 11, 2011);
      Am. Compl., W. & S. Life Ins. Co. v. Residential Funding Co., LLC, Case No. A1105042, at 8 (Ohio Ct.
      Com. Pl. Sept. 9, 2011).

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         •   Bruce Paradis: Paradis worked as head of marketing at RFC beginning in 1983, as
             President of RFC beginning in 1994, and CEO of ResCap from 2005 to 2007.802
         •   David Walker: Walker began working for the GMAC organization in 1985 and
             served as CFO of GMAC Mortgage from 2000 to 2006 and Treasurer of GMAC
             from 2007 to 2009.803
         •   Diane Wold: Wold served as GMAC RFC’s Senior VP of Securitization
             Management until 2005, when she became head of investor relations and corporate
             finance at ResCap.804
         •   James Jones: Jones served as COO of ResCap from March 2007 until June 2007
             and CEO of ResCap from June 2007 until July 2008.805
         •   David Bricker: Bricker served as director and CFO of RALI in addition to CFO of
             GMAC Mortgage and GMAC RFC.806
         •   James Young: Young served in various financial accounting titles at ResCap
             beginning in 2005 through 2011, including Chief Accounting Officer and
             Controller, Deputy CFO, Principal Accounting Officer, and CFO.807
802   Compl., John Hancock Life Ins. Co. (U.S.A.) v. Ally Fin. Inc., Case No. 12-01841, Docket No. 1, at 20 (D.
      Minn. July 27, 2012); Am. Compl., Mass. Mut. Life Ins. Co. v. Residential Funding Co., LLC, Case No. 11-
      30035, Docket No. 68-1, at 4 (D. Mass. Feb. 29, 2012); Second Am. Compl., N.J. Carpenters Health Fund v.
      Residential Capital, LLC, Case No. 08-8781, Docket No. 121, at 18 (S.D.N.Y. Jan. 3, 2011); Compl.,
      Stichting Pensioenfonds ABP v. Ally Fin., Inc., Case No. 11-20426, at 12 (Minn. Dist. Ct. Oct. 11, 2011);
      Am. Compl., Union Cent. Life Ins. Co. v. Ally Fin. Inc., Case No. 11-2890, Docket No. 146, at 15 (S.D.N.Y.
      May 4, 2012); Am. Compl., W. & S. Life Ins. Co. v. Residential Funding Co., LLC, Case No. A1105042, at 8
      (Ohio Ct. Com. Pl. Sept. 9, 2011).
803   Compl., John Hancock Life Ins. Co. (U.S.A.) v. Ally Fin. Inc., Case No. 12-01841, Docket No. 1, at 20–21
      (D. Minn. July 27, 2012); Am. Compl., Mass. Mut. Life Ins. Co. v. Residential Funding Co., LLC, Case
      No. 11-30035, Docket No. 68-1, at 5 (D. Mass. Feb. 29, 2012); Compl., Stichting Pensioenfonds ABP v. Ally
      Fin., Inc., Case No. 11-20426, at 12 (Minn. Dist. Ct. Oct. 11, 2011); Am. Compl., W. & S. Life Ins. Co. v.
      Residential Funding Co., LLC, Case No. A1105042, at 8–9 (Ohio Ct. Com. Pl. Sept. 9, 2011).
804   Compl., John Hancock Life Ins. Co. (U.S.A.) v. Ally Fin. Inc., Case No. 12-01841, Docket No. 1, at 21 (D.
      Minn. July 27, 2012); Compl., Stichting Pensioenfonds ABP v. Ally Fin., Inc., Case No. 11-20426, at 12
      (Minn. Dist. Ct. Oct. 11, 2011).
805   Compl., John Hancock Life Ins. Co. (U.S.A.) v. Ally Fin. Inc., Case No. 12-01841, Docket No. 1, at 21 (D.
      Minn. July 27, 2012); Compl., Stichting Pensioenfonds ABP v. Ally Fin., Inc., Case No. 11-20426, at 12
      (Minn. Dist. Ct. Oct. 11, 2011).
806   Compl., John Hancock Life Ins. Co. (U.S.A.) v. Ally Fin. Inc., Case No. 12-01841, Docket No. 1, at 21 (D.
      Minn. July 27, 2012); Am. Compl., Mass. Mut. Life Ins. Co. v. Residential Funding Co., LLC, Case No. 11-
      30035, Docket No. 68-1, at 5 (D. Mass. Feb. 29, 2012); Second Am. Compl., N.J. Carpenters Health Fund v.
      Residential Capital, LLC, Case No. 08-8781, Docket No. 121, at 19 (S.D.N.Y. Jan. 3, 2011); Compl.,
      Stichting Pensioenfonds ABP v. Ally Fin., Inc., Case No. 11-20426, at 11 (Minn. Dist. Ct. Oct. 11, 2011);
      Am. Compl., W. & S. Life Ins. Co. v. Residential Funding Co., LLC, Case No. A1105042, at 9 (Ohio Ct.
      Com. Pl. Sept. 9, 2011).
807   Compl., John Hancock Life Ins. Co. (U.S.A.) v. Ally Fin. Inc., Case No. 12-01841, Docket No. 1, at 22 (D.
      Minn. July 27, 2012); Second Am. Compl., N.J. Carpenters Health Fund v. Residential Capital, LLC, Case
      No. 08-8781, Docket No. 121, at 19 (S.D.N.Y. Jan. 3, 2011); Compl., Stichting Pensioenfonds ABP v. Ally
      Fin., Inc., Case No. 11-20426, at 12 (Minn. Dist. Ct. Oct. 11, 2011).

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         •   Frank Ruhl: Ruhl served as VP of GMAC Mortgage.808

     The Third-Party Claimants asserting D&O RMBS Claims consist primarily of RMBS
investors and individual borrowers. The D&O RMBS Claims include common-law as well as
federal and state statutory causes of action. The common-law causes of action include fraud,
aiding and abetting fraud, civil conspiracy, negligent misrepresentation, intentional deceit, and
negligent supervision with respect to the roles these individuals played within their
organizations.809 Most of the statutory causes of action include violations of sections 11 and
15 of the Securities Act, section 20(a) and (b) of the Exchange Act, and various state securities
laws for the alleged material misstatements and omissions in registration statements and
offering materials issued in connection with RMBS transactions.810 The facts and
circumstances underlying the D&O RMBS Claims are substantially the same as those raised
in many of the claims asserted against the AFI Defendants, as discussed further in Section
VIII.C.811 Director and officer indemnification and/or insurance may provide coverage if the
director and officer defendants are ever found to be liable. For a detailed analysis of ResCap’s
and AFI’s indemnification and insurance policies, see Section IV.B.

     The complaints most commonly allege liability against the directors and officers for
signing registration statements. Section 11 of the Securities Act provides that, where a
registration statement “contained an untrue statement of a material fact or omitted to state a
808   Compl., White v. GMAC Mortg., LLC, Case No. 2809-CV-2011, at 8 (Pa. Ct. Com. Pl. Mar. 28, 2011). Ruhl
      is the only director or officer defendant named in a Non-RMBS Action. The plaintiffs in this action allege
      that Ruhl committed fraud by signing and filing a false assignment of mortgage.
809   See, e.g., Compl., John Hancock Life Ins. Co. (U.S.A.) v. Ally Fin. Inc., Case No. 12-01841, Docket No. 1, at
      2 (D. Minn. July 27, 2012) (alleging aiding and abetting fraud and negligent misrepresentation); Compl.,
      Stichting Pensioenfonds ABP v. Ally Fin., Inc., Case No. 11-20426, at 1 (Minn. Dist. Ct. Oct. 11, 2011)
      (alleging aiding and abetting fraud and negligent misrepresentation); Compl., W. & S. Life Ins. Co. v.
      Residential Funding Co., LLC, Case No. A1105042, at 1 (Ohio Ct. Com. Pl. Sept. 9, 2011) (alleging civil
      conspiracy and common law fraud); Compl., White v. GMAC Mortg., LLC, Case No. 2809-CV-2011, at 9, 21
      (Pa. Ct. Com. Pl. Mar. 28, 2011) (alleging common law fraud, intentional deceit and negligent supervision).
810   See e.g., Compl., John Hancock Life Ins. Co. (U.S.A.) v. Ally Fin. Inc., Case No. 12-01841, Docket No. 1, at
      2 (D. Minn. July 27, 2012) (alleging violations of the Minnesota Securities Act, and sections 11 and 15 of the
      Securities Act); Compl., Stichting Pensioenfonds ABP v. Ally Fin., Inc., Case No. 11-20426, at 1 (Minn. Dist.
      Ct. Oct. 11, 2011) (alleging violations of the Minnesota Securities Act); Am. Compl., Mass. Mut. Life Ins.
      Co. v. Residential Funding Co., LLC, Case No. 11-30035, Docket No. 68-1, at 1 (D. Mass. Feb. 29, 2012)
      (alleging violations of the Massachusetts Uniform Securities Act); Second Am. Compl., N.J. Carpenters
      Health Fund v. Residential Capital, LLC, Case No. 08-8781, Docket No. 121, at 1 (S.D.N.Y. Jan. 3, 2011)
      (alleging violations of sections 11 and 15 of the Securities Act); Am. Compl., Union Cent. Life Ins. Co. v.
      Ally Fin. Inc., Case No. 11-2890, Docket No. 146, at 7, 242 (S.D.N.Y. May 4, 2012) (alleging violations of
      section 20 of the Exchange Act); Compl., W. & S. Life Ins. Co. v. Residential Funding Co., LLC, Case No.
      A1105042, at 1 (Ohio Ct. Com. Pl. Sept. 9, 2011) (alleging violations of the Ohio Securities Act).
811   The John Hancock director and officer defendants have a motion to dismiss pending before the court. See
      Mem. of Law in Supp. of Individual Defs.’ Mot. to Dismiss the Compl., John Hancock Life Ins. Co. (U.S.A.)
      v. Ally Fin. Inc., Case No. 12-01841, Docket No. 95, at 2 (D. Minn. Dec. 14, 2012) (“Plaintiffs seek to plead
      their case against the Individual Defendants based on a misguided theory of res ipsa loquitur, assuming that
      their losses can only be explained by fraud, and that the Individual Defendants should be held liable simply
      because of their positions as directors and/or officers of various entities.”).

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material fact,” an investor may sue “every person who signed the registration
statement . . . .”812 Further, the SEC has also stated that “prospectus supplements and the
information contained in them are subject to liability under [s]ection 11.”813 Thus, if it is
determined that the registration statements or prospectus supplements at issue did in fact
contain untrue statements of material fact or omitted to state a material fact, the signatory
defendants may be held liable under section 11. As noted above, the Investigation did not
focus upon the underlying allegations as to each securitization transaction.

     Third-Party Claimants also allege common-law causes of action, noting that the
defendants either knew or were reckless in not knowing about their organizations’
“abandonment” of underwriting standards and were “familiar with and participated in [AFI’s]
RMBS operations through . . . top-ranking positions with ResCap.”814 The plaintiffs in Union
Cent. Life Ins. Co. state:

                   [Defendants], by virtue of their status and their high-level
                   positions, as well as their participation in and awareness of their
                   respective organization’s operations and public statements, were
                   able to and did influence and control their organization’s
                   decision making, including controlling the content and
                   dissemination of the documents that . . . contained materially
                   false and misleading information . . . .815

     To the extent that the D&O RMBS Claims rely upon theories of liability similar to those
alleged against the AFI Defendants, such as alter ego, aiding and abetting, and control person
theories of liability, those theories are discussed further in Section VIII.C.

      4. Non-RMBS Claims

     The Examiner’s Professionals identified approximately twenty-four pending actions on
account of the Non-RMBS Claims. In these cases, Third-Party Claimants allege both statutory
and common-law causes of action related to mortgage ownership, underwriting practices,
disclosure failures, insurance schemes, foreclosure practices, and other servicing practices. Of
these cases, 15 are borrower class actions. One of the cases, Mitchell v. Residential Funding
Corp.,816 is specifically discussed in Section VI.G. As with the RMBS Actions and the RMBS
812   15 U.S.C. § 77k.
813   Securities Offering Reform, 70 Fed. Reg. 44,722, 44, 771 n.445 (Aug. 3, 2005); see also In re Marsh &
      Mclennan Cos., Inc. Sec. Litig., 501 F. Supp. 2d 452, 491 (S.D.N.Y. 2006) (stating that “at least since 1998,
      the SEC believed that ‘prospectus statements and the information contained in them are subject to liability
      under [s]ection 11’”) (citation omitted).
814   Compl., John Hancock Life Ins. Co. (U.S.A.) v. Ally Fin. Inc., Case No. 12-01841, Docket No. 1, at 167–75
      (D. Minn. July 27, 2012).
815   Am. Compl., Union Cent. Life Ins. Co. v. Ally Fin. Inc., Case No. 11-2890, Docket No. 146, at 241 (S.D.N.Y.
      May 4, 2012); see also Am. Compl., Mass. Mut. Life Ins. Co. v. Residential Funding Co., LLC,
      Case No. 11-30035, Docket No. 68-1, at 72–76, 77–78 (D. Mass. Feb. 29, 2012).
816   Case Nos. WD70210, WD 70227, WD70244, WD70263 (Mo. Dist. Ct. App. 2008.).

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Claims, the Examiner believes that the Non-RMBS Actions are generally representative of the
types of Non-RMBS Claims that could be asserted by Third-Party Claimants.

     As a preliminary matter, most Third Party Claimants in the Non-RMBS Actions assert
claims against AFI related to the underwriting, servicing, and foreclosure of mortgages that
are derivative or alternative to claims asserted against the Debtor entities. In addition, as set
forth in Section VIII.D, with one exception, the damages sought in the Non-RMBS Actions
appear to be relatively minimal.

                a. Claims Relating To Origination, Acquisition, And Servicing Of Loans

      The first category of Non-RMBS Actions is comprised of class action or individual suits
based upon the origination, acquisition, and servicing of loans (including damages from
foreclosures).817 Plaintiffs in these actions allege that they were harmed by defendants’
unchecked abandonment of underwriting guidelines, inflated appraisals, poor disclosure
practices, inaccurate valuations, fraudulent foreclosure affidavits, and the use of electronic
mortgage registries to exploit local recording statutes and lending standards.818 Many of the
Non-RMBS Actions in this category include generally vague allegations of liability against
multiple defendants, including non-Debtor and non-AFI entities that are unrelated to the
Chapter 11 Cases.819 The allegations in these complaints are particularly vague with respect to
AFI. 820 Of course, some of these factual inaccuracies or vague allegations could potentially be
clarified with amendments to the complaints.
817   See, e.g., Second Am. Compl., Abraham v. Am. Home Mortg. Servicing. Inc., Case No. 12-4686, Docket
      No. 94 (E.D.N.Y. Nov. 8, 2012); Am. Compl., Abucay v. GMAC Mortg. Corp., Case No. 11-05523, Docket
      No. 25 (D.N.J. Aug. 14, 2012); Am. Compl., Adams v. US Bank, NA, Case No. 12-04640, Docket No. 77
      (E.D.N.Y. Dec. 18, 2012); Am. Compl., Anctil v. Ally Fin. Inc., Case No. 12-08572, Docket No. 32
      (S.D.N.Y. Jan. 28, 2013); Compl., LaFitte v. Ally Fin., Case No. 10-02820, Docket No. 1 (D.S.C. Nov. 1,
      2010); Compl., Dennis v. Homecomings Fin., LLC., Case No. 11-00066, Docket No. 1 (D. Wyo. Feb. 22,
      2011); Compl., Kalugin v. Geithner, Case No. 12-1792, Docket No. 1 (D.D.C. Oct. 31, 2012); Compl.,
      Kanagaki v. Ally Fin. Inc., Case No. 12-03955, Docket No. 1 (C.D. Cal. May 7, 2012); Compl., White v.
      GMAC Mortg., LLC, Case No. 2809-CV-2011 (Pa. Ct. Com. Pl. Mar. 28, 2011).
818   See, e.g., Second Am. Compl., Abraham v. Am. Home Mortg. Servicing Inc., Case No. 12-4686, Docket
      No. 94, at 150–53 (E.D.N.Y. Nov. 8, 2012).
819   See, e.g., id.; Am. Compl., Adams v. US Bank, NA, Case No. 12-04640, Docket No. 77 (E.D.N.Y. Dec. 18,
      2012).
820   See AFI Submission Paper, dated Dec. 19, 2012, at A-9 (“[Plaintiffs] simply assume that the non-debtor Ally
      entities are liable for the acts of their subsidiaries without any allegation or assertion for why that is so. . . .
      The sole allegation concerning AFI is that it owns Debtor GMAC Mortgage.”). In addition, certain actions
      list AFI as a defendant because GMAC Mortgage is its “ultimate successor” in liability. See Am. Compl.,
      Abucay v. GMAC Mortg. Corp., Case No. 11-05523, Docket No. 25, at 3 (D.N.J. Aug. 14, 2012). Other
      Complaints confuse the role of AFI and the Debtor entities that perform mortgage servicing. See Am.
      Compl., Adams v. US Bank, NA, Case No. 12-04640, Docket No. 77, at 6 (E.D.N.Y. Dec. 18, 2012)
      (“Defendant ALLY, NA is the alleged ‘servicer’ of the loan and purported agent for Defendant GMAC in
      connection with a non-judicial foreclosure proceeding as to the Property.”); see also Compl., LaFitte v. Ally
      Fin., Case No. 10-02820, Docket No. 1, at 1 (D.S.C. Nov. 1, 2010) (“[U]pon information and belief, GMAC
      [LLC] operated also under the name of GMAC Mortg. CO., LLC.”).

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     The Non-RMBS Actions allege several common-law and statutory causes of action. The
common-law causes of action include breach of contract, negligence, slander of title,
ejectment, concert of action, joint enterprise, unjust enterprise, and fraudulent, intentional, and
negligent misrepresentation, among others.821 The statutory causes of action include violations
of state laws against unlawful and deceptive trade practices, the Truth in Lending Act
(“TILA”),822 the Real Estate Settlement Procedures Act (“RESPA”),823 the Fair Debt
Collection Practices Act,824 the Fair Credit Reporting Act,825 the Racketeer Influenced and
Corrupt Organizations Act (“RICO”),826 the Home Ownership and Equity Protection Act,827
and the Equal Credit Opportunity Act.828

     As noted, however, the Non-RMBS Actions asserting these claims fail to articulate any
particularized allegations against AFI. Unless substantially amended, most, if not all, of the
complaints in this category of Non-RMBS Actions likely would not survive a motion to dismiss.

               b. Claims Relating To Alleged Insurance Schemes

     The second category of Non-RMBS Actions consists of two complaints asserting that the
defendants participated in insurance schemes that allegedly provided AFI with illegal
kickbacks under RESPA and RICO. Specifically, these actions allege direct liability against
Ally Bank and indirect liability against AFI.829
821   Second Am. Compl., Abraham v. Am. Home Mortg. Servicing Inc., Case No. 12-4686, Docket No. 94, at
      150–67 (E.D.N.Y. Nov. 8, 2012) (alleging fraud, deceit, and fraudulent concealment; intentional
      misrepresentation; negligent misrepresentation; breach of contract; constructive trust; negligence; slander of
      title; ejectment; concert of action and joint enterprise; and unjust enrichment); Am. Compl., Adams v. US
      Bank, NA, Case No. 12-04640, Docket No. 77, at 13–23 (E.D.N.Y. Dec. 18, 2012) (alleging conversion,
      conspiracy to commit conversion, fraudulent concealment, negligent misrepresentation, intentional
      misrepresentation, promissory estoppel, breach of contract, and unjust enrichment); Am. Compl., Anctil v.
      Ally Fin. Inc., Case No. 12-08572, Docket No. 32, at 37 (S.D.N.Y. Jan. 28, 2013) (alleging unjust
      enrichment); Compl., LaFitte v. Ally Fin., Case No. 10-02820, Docket No. 1 (D.S.C. Nov. 1, 2010) (alleging
      slander of title, fraud, trespass, and wrongful foreclosure); Compl., Dennis v. Homecomings Fin., LLC., Case
      No. 11-00066, Docket No. 1, at 6–10 (D. Wyo. Feb. 22, 2011) (alleging fraud, breach of contract, and
      intentional infliction of emotional distress); Compl., Kanagaki v. Ally Fin. Inc., Case No. 12-03955, Docket
      No. 1, at 2 (C.D. Cal. May 7, 2012) (alleging privity of contract and negligence); Compl., White v. GMAC
      Mortg., LLC, Case No. 2809-CV-2011, at 9–15, 21–22 (Pa. Ct. Com. Pl. Mar. 28, 2011) (alleging fraud and
      intentional deceit, negligent misrepresentation, fraudulent concealment, and negligent supervision).
822   15 U.S.C. §§ 1601–1667f.
823   12 U.S.C. § 2601.
824   15 U.S.C. § 1692.
825   Id. §§ 1681–81x.
826   18 U.S.C. §§ 1961–68.
827   15 U.S.C. § 1639.
828   Id. §§ 1691–91f.
829   AFI addressed these causes of action by noting that “[l]ender-placed insurance is not a ‘settlement service’
      under RESPA because it is not paid at closing” and that “plaintiffs fail to plead a RICO enterprise, any
      participation by AFI and/or Ally Bank, or causation.” AFI Submission Paper, dated Dec. 19, 2012, at A-11.

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     In the first case, Rothstein v. GMAC Mortg., LLC,830 the plaintiffs allege that GMAC
Mortgage, along with certain providers of hazard insurance and a subcontracted insurance
tracker called Newport Management Corporation, devised a scheme to defraud borrowers and
loan owners by overcharging them for the insurance.831 Specifically, the Rothstein plaintiffs
allege that the insurance providers paid GMAC Mortgage secret rebates and that GMAC
Mortgage kept the rebates while fraudulently billing borrowers based upon the purported full
price of the insurance.832

      The Rothstein plaintiffs claim that AFI is liable for the alleged insurance fraud under the
alter ego theory.833 Specifically, the complaint alleges that AFI exercised complete domination
and control over its subsidiaries and “caused GMAC [Mortgage] to engage in the misconduct
alleged herein, and used GMAC [Mortgage’s] corporate form to accomplish the fraudulent
and extortionate objectives alleged herein to injure Plaintiffs and the Class.”834 See Section
VIII.C. for a discussion of alter ego liability, which is equally applicable in this context.

     The Rothstein plaintiffs also argue that “Ally Bank is [directly] liable under . . . agency
principles for the misconduct of its agent, GMAC [Mortgage], and for the misconduct of its
sub-agent, Newport [Management Corporation].”835 Plaintiffs emphasize that “insurance
tracking” is a “servicing responsibility” created by the servicing agreements that GMAC
Mortgage subcontracted to Newport Management Corporation.836 In addition, plaintiffs allege
that GMAC Mortgage “possessed actual authority to service the loans of Plaintiffs . . . by

830   Second Am. Compl., Rothstein v. GMAC Mortg., LLC, Case No. 12-03412, Docket No. 39 (S.D.N.Y. Jan.
      22, 2013). This case was filed in the later stages of the Investigation.
831   Id. at 1–3.
832   Id. at 3–4 (alleging that such conduct violated RICO).
833   The Examiner notes that AFI and Ally Bank have filed a motion later joined by the Debtors seeking, inter
      alia, an order enjoining the veil-piercing claims asserted against AFI in the putative class action captioned
      Rothstein v. Ally Financial, Inc., Civ. No. 12-3412 (S.D.N.Y.). See Motion By Ally Financial Inc. and Ally
      Bank for an Order Enforcing the Automatic Stay Pursuant to 11 U.S.C. § 362(a)(3) (Dec. 21,2012) [Docket
      No. 2511]; Debtors’ Amended Joinder to Motion By Ally Financial Inc. and Ally Bank for an Order
      Enforcing the Automatic Stay Pursuant to 11 U.S.C. Section 362(a)(3) (February 4, 2013) [Docket No.
      2834]. On April 2, 2013, the Committee responded to that motion by joining the request of AFI, Ally Bank,
      and the Debtors that Rothstein be stayed, but asking that the Court do so without “reach[ing] the issue of
      whether any [creditor] will be permitted to pursue individual veil-piercing or alter ego claims.” See Response
      by Committee to the Motion By Ally Financial Inc. and Ally Bank for an Order Enforcing the Automatic
      Stay Pursuant to 11 U.S.C. § 362(a)(3) (Apr. 2, 2013) [Docket No. 3345] at 4. That same day, the plaintiffs in
      Rothstein objected to the motion, arguing in part that its veil-piercing claims against AFI are “based on
      allegations of ‘particularized injury”’ and “outside the ambit of the automatic stay.” See Objection by
      Plaintiffs in Rothstein to the Motion By Ally Financial Inc. and Ally Bank for an Order Enforcing the
      Automatic Stay Pursuant to 11 U.S.C. § 362(a)(3) (Apr. 2, 2013) [Docket No. 3343] at 2. To date, that
      motion remains pending.
834   Second Am. Compl., Rothstein v. GMAC Mortg., LLC, Case No. 12-03412, Docket No. 39, at 51–82
      (S.D.N.Y. Jan. 22, 2013). For a discussion of alter ego claims, see Section VIII.C.
835   Id. at 4.
836   Id. at 2.

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virtue of sub-servicing agreements between Ally Bank and GMAC [Mortgage], [such that,]
“[w]hen GMAC [Mortgage] engaged in the [alleged] misconduct . . . , it was acting in the
course and scope of its authority as an authorized agent of Ally Bank.”837

     Plaintiffs’ claim that GMAC Mortgage had “actual authority” from Ally Bank to service
loans “by virtue of contract” is at odds with the express terms of the Original Servicing
Agreement.838 Specifically, section 11.1 of the Original Servicing Agreement states:

          The parties hereto do not intend to create herby a partnership or joint venture
          between them, and nothing herein contained shall be construed to create such a
          partnership or joint venture. The services rendered by GMAC [Mortgage]
          hereunder are rendered by GMAC [Mortgage] as an independent contractor and
          shall be so construed for all purposes.839

     Case law discussing the creation of an actual agency relationship states that if “an
agreement specifically precludes the creation of an agency relationship, courts will not create
one.”840 Thus, the language of the Original Subservicing Agreement itself is likely to preclude
the Rothstein plaintiffs’ assertions that GMAC Mortgage possessed “actual authority” by
virtue of the subservicing agreements.841

     Additional theories of agency law, however, can create an agency relationship even if an
express provision of the contract precludes one. Under New York law, an agency relationship
“is not determined by what [the purported agent] is called but is to be determined from what
[the purported agent] does.”842 Courts in other relevant jurisdictions note that “the parties’



837   Id. at 48.
838   Objection of Plaintiffs in Rothstein v. GMAC Mortg., LLC to the Motion of Ally Financial, Inc. and Ally
      Bank For an Order Enforcing the Automatic Stay Pursuant to 11 U.S.C. §362(A)(3) By (1) Enjoining
      Prosecution of Alter Ego and Veil Piercing Claims in Rothstein, and (2) Declaring Such Claims Void Ab
      Initio; and Cross-Motion for an Order Granting Relief From the Automatic Stay Pursuant to 11 U.S.C.
      §362(D) to the Extent Any Claims Asserted by Plaintiffs are Subject to the Automatic Stay [Docket
      No. 3343] at 11.
839   Original Servicing Agreement, §11.1 [ALLYKE000000741].
840   Municipality of Bremanger v. Citigroup Global Mkts. Inc., No. 09 Civ. 7058(VM), 2013 WL 1294615, at *19
      (S.D.N.Y. Mar. 28, 2013) (quoting Tellium, Inc. v. Corning Inc., No. 03 Civ. 8487, 2004 WL 307238, at *6
      (S.D.N.Y. 2004)); see also Encyc. Brown Prods., Ltd. v. Home Box Office, Inc., 25 F. Supp. 2d 395, 403
      (S.D.N.Y. 1998) (finding an absence of agency where the agreements at issue specifically disclaimed any
      such relationship, among other reasons); Bellino Schwartz Padob Adver., Inc. v. Solaris Mktg. Grp., Inc., 635
      N.Y.S.2d 587, 588 (N.Y. App. Div. 1995) (holding that there was no agency relationship when the agreement
      specifically stated that nothing in the agreement would be construed to create an agency relationship between
      the parties).
841   Second Am. Compl., Rothstein v. GMAC Mortg., LLC, Case No. 12-03412, Docket No. 39, at 48 (S.D.N.Y.
      Jan. 22, 2013).
842   Guardian Life Ins. Co. of Am. v. Chem. Bank, 727 N.E.2d 111, 116 (N.Y. 2000) (citations omitted).

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characterization of a relationship is without consequence when determining whether an
agency relationship exists.”843 Thus, an “agreement . . . deny[ing] the existence of an agency
relationship is not in itself determinative of the manner.”844 “Rather, it is the nature and the
extent of control, as established by the practice of the parties, that is controlling.”845

      Apparent authority, for example, is “‘the power to affect the legal relations of another
person by transactions with third persons, professedly as agent for the other, arising from and
in accordance with the other’s manifestations to such third persons.’”846 “[A]pparent authority
is created only by the representations of the principal to the third party, and explicitly rejects
the notion that an agent can create apparent authority by his own actions or
representations.”847 The Rothstein plaintiffs allege certain facts indicating that Ally Bank may
have had knowledge of the alleged fraud or misrepresentations.848 For example, plaintiffs note
that “the agreements . . . required the disclosure of all of GMAC [Mortgage’s] vendor and
subcontractor agreements to Ally Bank” and that Ally Bank “regularly received (i) reports
relating to insurance tracking and (ii) certifications attesting to compliance with the insurance
requirements.”849 In addition, plaintiffs source Ally Bank’s knowledge from (1) disclosure
obligations in the agreements providing Ally Bank with ‘“management reports’ and
‘electronic data’ in connection with the administration of the loans”; (2) Ally Bank’s access to
GMAC Mortgage’s internal books and records; (3) Ally Bank’s and GMAC Mortgage’s
shared officers, directors, and personnel; and (4) Ally Bank’s consent order with the FRB and
FDIC obligating Ally Bank “to oversee, supervise, and monitor the mortgage servicing
843 Meredith v. Oakwood Healthcare, Inc., No. 288507, 2010 WL 1404426, at *2 (Mich. Ct. App. Apr. 8, 2010)
    (citation omitted). But see WaveDivision Holdings, LLC v. Highland Capital Mgmt., L.P., 49 A.3d 1168,
    1177 (Del. 2012) (footnotes omitted) (“[A]lthough the ‘label’ that the parties ascribe to their relationship is
    not controlling, ‘whether or not the parties believe they are creating the relation of master and servant’ is one
    of the relevant factors under the Restatement for determining whether an agency relationship exists.”).
844 Drexel v. Union Prescription Ctrs., 582 F.2d 781, 786 (3d Cir. 1978); see also Drummond v. Hilton Hotel

    Corp., 501 F. Supp. 29, 31 (E.D. Pa.1980) (citation omitted) (“[T]he mere fact that there is express denial of
    the existence of an agency relationship is not in itself determinative of the matter.”).
845   Sauers v. Pancoast Pers., Inc., 294 Pa. Super. 306, 312 (citation omitted) (1982).
846   In re Worldcom, Inc., No. 02–13533 (AJG), 2007 WL 735021, at *5 (Bankr. S.D.N.Y. Mar. 9, 2007)
      (quoting RESTATEMENT (SECOND) OF AGENCY § 8 (1958)).
847   Fennell v. TLB Kent Co., 865 F.2d 498, 502 (2d Cir. 1989) (citations omitted); see also William B. Tanner
      Co., Inc. v. WIOO, Inc., 528 F.2d 262, 266 (3d Cir. 1975) (“Under Pennsylvania law, apparent authority
      flows from the conduct of the principal and not that of the agent.”); Billops v. Magness Constr. Co., 391 A.2d
      196, 198 (Del.1978) (citations omitted) (“In order to establish a chain of liability to the principal based on
      apparent agency, a litigant must show reliance on the indicia of authority originated by the principal, and
      such reliance must have been reasonable.”); Auto-Owners Ins. Co. v. Ryder Truck Rental, No. 222114, 2002
      WL 207550, at *4 (Mich. Ct. App. Feb. 8, 2002) (emphasis in original) (citation omitted) (“Fundamental
      principles of agency law provide that an agent’s apparent authority to bind a principle does not arise by virtue
      of the agent’s actions, but rather, arises by virtue of actions undertaken by the principle which lead a third
      party to reasonably believe that an agency relationship exists.”).
848   Second Am. Compl., Rothstein v. GMAC Mortg., LLC, Case No. 12-03412, Docket No. 39, at 48–49
      (S.D.N.Y. Jan. 22, 2013).
849   Id. at 49.

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operations that GMAC [Mortgage] performs on behalf of Ally Bank.”850 Plaintiffs do not
allege that Ally Bank directly made representations to them to create an apparent authority
relationship.851
     Courts, however, have noted that “silence . . . in the face of unauthorized acts of a
purported agent can serve as the basis of establishing apparent authority [but] only where the
purported principal knew of the unauthorized acts and took no action.”852 Without evidence
that Ally Bank “knew of or authorized” GMAC Mortgage’s actions, Ally Bank’s “silence . . .
in the face of unauthorized acts of [GMAC Mortgage] [cannot] serve as the basis for
establishing apparent authority.”853 Investigating GMAC Mortgage’s individual insurance
transactions is outside the scope of the Investigation; therefore, the Examiner does not reach
any conclusions as to whether Ally Bank had sufficient knowledge of the alleged insurance
fraud that could give rise to liability. Nor did the Examiner investigate the underlying merits
of the alleged insurance fraud.
      In the second action, Moore v. GMAC Mortg., LLC,854 plaintiffs allege GMAC Mortgage
and Ally Bank were engaged in an illegal captive reinsurance arrangement.855 The plaintiffs
allege that GMAC Mortgage and Ally Bank “acted in concert with their affiliated reinsurer,
Cap Re” to capture illegal referral payments in violation of RESPA, which “prohibits lenders
from accepting kickbacks or referral fees from any person providing a real estate settlement
service, including providers of private mortgage insurance.856 According to the plaintiffs,
GMAC Mortgage referred borrowers to private mortgage insurers who agreed to reinsure with
Cap Re.857 The plaintiffs allege that “the actual risk” transferred to the reinsurer was “hardly
commensurate with the premiums it extract[ed] from the primary insurer” and that lenders, in
this case, GMAC Mortgage, received illegal referral fees as a result of this arrangement.858
    The Moore complaint further alleges that Ally Bank “provides funding for residential
mortgage loans originated by the GMAC mortgage group[,] . . . provides residential mortgage
850   Id. at 49–50.
851 Municipality of Bremanger v. Citigroup Global Mkts. Inc., No. 09 Civ. 7058(VM), 2013 WL 1294615, at *20
    (S.D.N.Y. Mar. 28, 2013).
852 Id. at *21 (citations omitted); accord Hall v. F.A. Halamicek Enters., Inc., 669 S.W.2d 368, 375 (Tex. Ct.

    App. 2002) (citation omitted) (“Without the principal’s participation, either through his acts or knowledge of,
    and acquiescence in those of the agent, no mere combination of circumstances which may mislead persons
    into a false inference of authority, however reasonable, will serve as a predicate for apparent authority.”);
    Deere & Co. v. Int’l Trade Comm’n, 605 F.3d 1350, 1357 (Fed. Cir. 2010) (citation omitted) (internal
    quotation marks omitted) (holding apparent authority may exist if the principal “silently act[s] in a manner
    which creates a reasonable appearance of an agent’s authority.”).
853   See Municipality of Bremanger, 2013 WL 1294615, at *21 (emphasis added) (citations omitted).
854   Third Am. Compl., Moore v. GMAC Mortg., LLC, Case No. 07-04296, Docket No. 163 (E.D. Pa. Nov. 26,
      2010).
855   Id. at 1–2.
856   Id.
857   Id. at 2 (citation omitted).
858   Id. at 13. But see AFI Submission Paper, dated Dec. 19, 2012, at A-11 (“[Cap Re] has paid more than $300
      million in claims, making clear that the reinsurance obligations were real and not a violation of RESPA.”).

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loan and home equity loans to consumers, . . . and participates in the acquisition of mortgage
loans from GMAC [Mortgage’s] correspondent lenders.”859 The complaint does not specify
with any particularity the role of Ally Bank in the alleged scheme.

      As with the first category of Non-RMBS Actions discussed above, this complaint would
need to be amended in order to state a claim that would survive an Ally Bank motion to
dismiss. Alternatively, if the plaintiff is articulating a theory of alter ego or aiding and abetting
liability, the analysis would likely be similar to that discussed in Section VIII.C.

               c. Claims Unrelated To The Mortgage Business

      The third category of Non-RMBS Claims involves claims against the AFI Defendants
alleging (1) wrongful eviction and/or termination of tenancy practices; or (2) overcharge fees
from automatic payment systems or overtime labor violations.860 These cases similarly do not
discuss specific allegations against AFI but, instead, describe behavior directly attributable to
Debtor entities, such as the failure to pay overtime and provide proper meal or rest periods to
underwriter employees,861 wrongful self-help eviction, breach of the covenant of quiet use and
enjoyment,862 and overcharging for property inspections and other fees.863 Plaintiffs also
allege violations of state labor and fair lending laws and common law causes of action such as
misrepresentation, breach of contract, negligence, trespass, and infliction of emotional
distress. Arguably, similar indirect alter ego or veil piercing claims may be applied here




859 Third Am. Compl., Moore v. GMAC Mortg., LLC, Case No. 07-04296, Docket No. 163, at 5 (E.D. Pa.
    Nov. 26, 2010).
860 See, e.g., Am. Compl., Bollinger v. Residential Capital, LLC, Case No. 10-01123, Docket No. 113 (W.D.

    Wash. 2010); Compl., Chatman v. GMAC LLC, Case No. 2008-90015 (Ala. Cir. Ct. Apr. 10, 2008); Compl.,
    Chao v. Wells Fargo Bank, N.A., Case No. RG12633544, Docket No. 1 (Cal. Super. Ct. June 7, 2012); Am.
    Compl., Donaldson v. GMAC Mortg., LLC, Case No. 9-3359D, Docket No. 1 (Ga. Super. Ct. Feb. 17, 2010);
    Second Am. Compl., Robinson v. Homecomings Fin., LLC, Case No. 2008-900007 (Ala. Cir. Ct. July 3,
    2012). In addition, Chao v. Wells Fargo Bank, N.A., names non-Debtor and non-AFI entity defendants in
    addition to AFI and Debtor entities. Compl., Chao v. Wells Fargo Bank, N.A., Case No. RG12633544,
    Docket No. 1 (Cal. Super. Ct. June 7, 2012).
861   Am. Compl., Bollinger v. Residential Capital, LLC, Case No. 10-01123, Docket No. 1, at 2 (W.D. Wash.
      Nov. 23, 2011); see also AFI Submission Paper, dated Dec. 19, 2012, at A-8 (“The plaintiffs’ only basis for
      any recovery from AFI would be theories of derivative liability. They utterly fail to articulate any such
      theory, and their claims against AFI are meritless.”).
862   Compl., Chao v. Wells Fargo Bank, N.A., Case No. RG12633544, Docket No. 1, at 5–7 (Cal. Super. Ct.
      June 7, 2012).
863   Compl., Chatman v. GMAC LLC, Case No. 2008-90015, at 1 (Ala. Cir. Ct. Apr. 10, 2008).

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against AFI as in other contexts discussed above. However, none of the complaints
specifically articulate this type of allegation and, regardless, the damages implicated by these
claims appears to be relatively minor.864

               d. Cases Not Naming The AFI Defendants

     The fourth and final category of Non-RMBS Actions involves cases that do not name any
of the AFI Defendants.865 However, the Investigation includes these actions because they
allege similar actions as are described in the preceding categories and could, presumably, be
amended to include AFI or its affiliates as defendants. Further, AFI included these Non-
RMBS Actions in the summary of potential litigation it provided to the Examiner.
Specifically, as with the others, these actions involve the behavior of Debtor entities in the
underwriting, servicing, and foreclosure of mortgages. Plaintiffs in these actions cite several
common-law and statutory causes of action, including misrepresentation, breach of contract,
negligence, slander of title, ejectment, concert of action, joint enterprise, and unjust
enterprise.866 The statutory causes of action include violations of state laws protecting against
unlawful and deceptive trade practices, TILA, RESPA, and RICO.867

     The plaintiffs in one action, In re Community Bank of N. Va, have moved to certify class
claims filed against the Debtors under the direction of Rowena Drennen, a member of the
Creditors’ Committee.868 The complaint to date has not alleged liability against AFI.869

864 Some of the plaintiffs in these actions have disclosed the amount in controversy in their complaints. See id. at
    19 (plaintiffs seek to recover compensatory damages not exceeding $74,500); Second Am. Compl., Robinson
    v. Homecomings Fin., LLC, Case No. 2008-900007, at 18 (Ala. Cir. Ct. July 3, 2012) (plaintiffs also seek to
    recover compensatory damages not exceeding $74,500). Additionally, the Examiner has received damage
    letters from several parties. However, only the Bollinger Damages Letter gave a specific estimate of
    damages. See Bollinger Damages Letter, dated Jan. 4, 2013 (estimating damages in the amount of several
    million dollars, including liquidated damages for unpaid overtime compensation and allegedly based on the
    applicable statute of limitations). See also Donaldson, Chatman, and Robinson Damages Letter, dated Jan.
    21, 2013.
865 See, e.g., Am. Compl., In re Cmty. Bank of N. Va., Case Nos. 03-0425, 02-1201, 05-0688, 05-1386, Docket

    No. 71 (W.D. Pa. Oct. 4, 2011); Compl., Kelly. v. Am. Home Mortg. Holdings, Inc., Case No. 12-06240,
    Docket Nos. 1–2 (N.Y. Sup. Ct. Dec. 19, 2012); Am. Compl., Kral v. GMAC Mortg., LLC,
    Case No. 12-01023, Docket No. 9 (C.D. Cal. Apr. 25, 2012).
866   Compl., Kelly. v. Am. Home Mortg. Holdings, Inc., Case No. 12-06240, Docket Nos. 1–2 (N.Y. Sup. Ct. Dec.
      19, 2012) (alleging fraud, deceit, fraudulent conveyance, intentional misrepresentation, negligent
      misrepresentation, breach of contract, constructive trust, negligence, slander of title, ejectment, concert of
      action, and unjust enrichment).
867   Am. Compl., In re Cmty. Bank of N. Va., Case Nos. 03-0425, 02-1201, 05-0688, 05-1386, Docket No. 71
      (W.D. Pa. Oct. 4, 2011) (alleging violations of RESPA, TILA, and RICO); Am. Compl., Kral v. GMAC
      Mortg., LLC, Case No. 12-01023, Docket No. 9 (C.D. Cal. Apr. 25, 2012) (alleging violations of TILA and
      state law).
868   See Notice of Motion to Apply Bankruptcy Rule 7023 and to Certify Class Claims [Docket No. 2044].
869   Drennen declined the Examiner’s request to submit a Submission Paper and did not respond to the damages
      request.

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     To the extent these complaints were amended to include AFI or its affiliates or to the
extent Third-Party Claimants bring additional or new claims based upon these causes of action
or limitations issues, the relevant analysis articulated above and in other sections of the Report
would apply.870

      5. Unsecured Noteholder Causes Of Action

                   a. Tortious Interference With The 2005 Indenture

                      (1) Description Of The Claim

     In addition to the RMBS Claims and Non-RMBS Claims discussed above, the
Investigation considered a potential tortious interference with contract claim by the Unsecured
Noteholders against AFI. Wilmington Trust, solely in its capacity as indenture trustee under
the 2005 Indenture and on behalf of the Unsecured Noteholders, alleges that AFI caused
ResCap to breach the “all or substantially all” covenant included in the 2005 Indenture.871
Specifically, the Unsecured Noteholders allege that AFI induced ResCap to embark upon a
series of transactions in furtherance of a pre-arranged plan of AFI self-preservation that
caused ResCap to (1) forgive indirect and direct debts owed to it by certain of its subsidiaries,
including GMAC Mortgage and RFC, and (2) enter into the 2009 Bank Transaction. The
Unsecured Noteholders argue that these transactions resulted in the transfer of substantially all
of ResCap’s assets in violation of the 2005 Indenture. Further, the Unsecured Noteholders
allege that AFI tortiously interfered with the 2005 Indenture because a contract existed, AFI
knew about the 2005 Indenture provisions, and AFI took intentional steps to cause its breach
without justification.872

                          (a) The Unsecured Noteholders’ Arguments

     Section 11.01 of the 2005 Indenture prohibits, subject to certain exceptions, the transfer
of all or substantially all of ResCap’s assets unless the transferee assumes liability for the




870   See Section VIII.C.
871   Wilmington Trust Submission Paper, dated Oct. 24, 2012, at 24–25. The Unsecured Noteholders initially
      argue that AFI is liable for the breach as an alter ego of ResCap. If AFI and ResCap are viewed as separate
      entities, the Unsecured Noteholders alternatively argue that AFI is liable for breach of the “substantially all”
      provision of the 2005 Indenture because it tortiously interfered by causing ResCap’s assets to become fully
      depleted. Id. at 24–25, 33.
872   Id. at 34.

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applicable Unsecured Notes.873 The Unsecured Noteholders assert that at the end of 2008,
ResCap’s assets were comprised principally of: (1) intercompany receivables from its
operating subsidiaries; (2) its ownership of common and preferred units in IB Finance, the
holding company of Ally Bank; and (3) its equity interests in its operating subsidiaries.874 The
Unsecured Noteholders contend that the forgiveness of debt by ResCap from 2008 to 2009
and ResCap’s transfer of its interest in IB Finance interest effectively left ResCap with no
material assets by the end of 2009.875 Because no transferee assumed the obligations under the
2005 Indenture, the Unsecured Noteholders argue that the “all or substantially all” provision
of the 2005 Indenture was breached.876 Finally, the Unsecured Noteholders allege that these
transactions were orchestrated by AFI and constituted a scheme to allow AFI to obtain
ResCap’s interest in IB Finance and avoid the risk of losing Ally Bank in the event of a
ResCap bankruptcy filing.877
      The Unsecured Noteholders assert that they can satisfy each element of a claim for
tortious interference with contract because it has demonstrated: (1) the existence of the 2005
Indenture; (2) AFI’s knowledge of the 2005 Indenture; (3) AFI’s intentional inducement of
ResCap to breach the 2005 Indenture without justification; (4) actual breach of the 2005
873   2005 Indenture,§11.01[EXAM40024737]. Section 11.01 states:
            Section 11.01. Corporation May Consolidate, etc., on Certain Terms. The Company covenants that it
            will not merge or consolidate with any other Corporation or sell, assign, transfer, lease or otherwise
            convey all or substantially all of its property or assets to any Person, unless (i) either the Company
            shall be the continuing Corporation, or the successor Person (if other than the Company) shall be a
            Corporation organized and existing under the laws of the United States of America or a state thereof
            and such Corporation shall expressly assume the due and punctual payment of the principal of (and
            premium, if any), interest, if any, and Additional Amounts, if any, on all the Securities and any
            Coupons, according to their tenor, and the due and punctual performance and observance of all of the
            covenants and conditions of this Indenture to be performed by the Corporation by supplemental
            indenture satisfactory to the Trustee, executed and delivered to the Trustee by such Corporation,
            (ii) each Guarantor shall, by supplemental indenture, confirm that their Guarantee shall apply to the
            surviving entity’s obligations under the Securities and this Indenture, as modified by such
            supplemental indenture, and confirm the due and punctual performance of the Guarantee and the
            covenants of the Guarantor in this Indenture, and (iii) the Company or such successor Corporation, as
            the case may be, shall not, immediately after such merger or consolidation, or such sale or
            conveyance, be in default in the performance of any such covenant or condition.
            For purposes of the foregoing, any sale, assignment, transfer, lease or other conveyance of the
            properties and assets of one or more Significant Subsidiaries (other than to the Company or another
            Subsidiary of the Company), which, if such assets were owned by the Company, would constitute
            all or substantially all of the properties and assets of the Company, shall be deemed to be the
            transfer of all or substantially all of the properties and assets of the Company.
      Id.
874   Wilmington Trust Submission Paper, dated Oct. 24, 2012, at 25, 27. The Unsecured Noteholders argue that
      the equity interests were in fact worthless because the mortgage-related liabilities faced by those subsidiaries
      combined with existing market conditions rendered them insolvent. Id. at 27.
875   Id. at 28.
876   Id. at 25.
877   Id. at 9–10.

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Indenture; and (5) pecuniary damages.878 Additionally, the Unsecured Noteholders argue that
they have standing to assert the tortious interference claim against AFI because the claim is a
direct claim based upon a particularized injury to the Unsecured Noteholders, which cannot be
brought by any other creditor or group of creditors.879

                        (b) The Debtors And AFI’s Response

      First, in their Submission Papers, the Debtors and AFI assert three defenses to the
tortious interference claim that the Unsecured Noteholders lack standing to pursue the
proposed tortious interference claim. The Debtors claim that the proposed tortious interference
claim is an allegation that the 2009 Bank Transaction and ResCap’s forgiveness of
intercompany debt rendered ResCap insolvent and, as a result, is essentially a fraudulent
conveyance claim belonging to the estate.880

     Second, the Debtors assert that there is no evidence to support the allegation that the
2009 Bank Transaction and the forgiveness of debt transactions were prearranged parts of a
single transaction. Despite that the transactions partially overlap chronologically and were
generally intended to avoid the breach of certain TNW covenants and increase liquidity, the
Debtors claim that each of the transactions could stand alone without the others and that the
2009 Bank Transaction did not create any binding commitment to later engage in the
forgiveness of debt transactions.881 Further, even if the transactions could be treated as a
singular transaction, the Debtors argue that the transactions do not constitute a transfer of
substantially all of ResCap’s assets because ResCap’s equity in its operating subsidiaries had
value.882

     Finally, the Debtors and AFI argue that the Unsecured Noteholders have failed to show
the necessary elements of a tortious interference claim because the Unsecured Noteholders
made no showing of several necessary elements, including that AFI intentionally induced
ResCap to breach the “substantially all” provision of the 2005 Indenture.883 The Debtors claim
878   Wilmington Trust Submission Paper, dated Mar. 8, 2013, at 30 (citing Lama Holding Co. v. Smith Barney
      Inc., 668 N.E.2d 1370 (N.Y. 1996)).
879   Wilmington Trust Submission Paper, dated Mar. 8, 2013, at 32–33 (citing In re Ionosphere Clubs, Inc.,
      156 B.R. 414, 439–40 (S.D.N.Y. 1993); Caplin v. Marine Midland Grace Trust Co., 406 U.S. 416,
      434 (1972)).
880   Debtors’ Submission Paper, dated Jan. 7, 2013, at 29–30. “Thus, while the proposed tortious interference
      claim and the ‘fraudulent conveyance claim do not contain identical elements, that all share the same
      underlying focus’ (i.e., allegations of fraud or other unlawful actions related to the Debtors’ forgiveness of
      intercompany debt and the IB Finance Transaction).” Id. at 29–30 (citing Nat’l Am. Ins. Co. v. Ruppert
      Landscaping Co., 187 F.3d 439, 441 (4th Cir. 1999)).
881   Debtors’ Submission Paper, dated Jan. 7, 2013, at 23.
882   Id. at 24.
883   See id. at 30–32; AFI Submission Paper, dated Dec. 19, 2012, at A-6. The Debtors also question whether the
      2009 Bank Transaction and the forgiveness of intercompany debt caused any pecuniary damage to the
      holders of the Unsecured Notes. Debtors Submission Paper, dated Jan. 7, 2013, at 32.

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that ResCap independently concluded, based upon advice from independent advisors, that it
was in ResCap’s interests to enter into the 2009 Bank Transaction.884 Additionally, the
Debtors claim that economic justifications for the 2009 Bank Transaction and the forgiveness
of intercompany debt counter the Unsecured Noteholder’s claim for tortious interference.885

                        (c) The Unsecured Noteholders’ Standing Motion

     On April 19, 2013, the Unsecured Noteholders filed a motion seeking standing and
authority to prosecute and, if appropriate, settle certain claims and causes of action held by
ResCap in conjunction with third-party claims belonging to the Unsecured Noteholders.886
Along with the motion, the Unsecured Noteholders filed a proposed complaint that sets forth
each of their alleged claims (the “Proposed Complaint”).887 The Proposed Complaint sets forth
the tortious interference claim raised by the Unsecured Noteholders in the Submission Papers.
Specifically, the fourth cause of action in the proposed complaint is a tortious interference
with contract claim against AFI, by which the Unsecured Noteholders assert that AFI
“intentionally, maliciously, willfully, improperly, and in bad faith, induced, caused and
procured” ResCap’s breach of the “substantially all” covenant of the 2005 Indenture as part of
a unified plan by AFI to benefit itself at the expense of the ResCap’s creditors and were
intended to insulate AFI and Ally Bank from the RMBS crisis that AFI created.888

                    (2) The Unsecured Noteholders’ Standing To Assert Tortious Interference With
                        Contract Claim

      Before analyzing the disputed factors of tortious interference, the Examiner first
considered whether the Unsecured Noteholders would have standing to assert the tortious
interference with contract claim. “[S]tanding is a threshold inquiry, and an indispensable part
of a plaintiff’s case; failure to establish standing generally obviates the need to consider the
merits of a dispute.”889 In the bankruptcy context, “when a claim is a general one with no
particular injury arising from it and if that claim could be brought by any creditor of the
debtor, the trustee is the proper person to assert the claim.”890 In order for the Unsecured


884   Debtors’ Submission Paper, dated Jan. 7, 2013, at 31; see AFI Submission Paper, dated Dec. 19, 2012, at
      A-7.
885   Debtors’ Submission Paper, dated Jan. 7, 2013, at 31–32.
886   Motion of Wilmington Trust, National Association, Solely in its Capacity as Indenture Trustee for the Senior
      Unsecured Noteholders Issued by Residential Capital, LLC for an Order Authorizing it to Prosecute Claims
      and Other Causes of Action on Behalf of the Residential Capital, LLC Estate [Docket No. 3475].
887   Id.
888   Id.
889   WTC Families for a Proper Burial, Inc. v. City of N.Y., 567 F. Supp. 2d 529, 536 (S.D.N.Y. 2008).
890   Kalb, Voorhis & Co. v. Am. Fin. Corp., 8 F.3d 130, 132 (2d Cir. 1993) (holding that under Texas law, a veil-
      piercing action should be brought by the trustee because, if proven, such a claim would inure to the benefit of
      all creditors).

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Noteholders to assert the tortious interference claim, the Unsecured Noteholders must have
suffered a particularized injury significantly different from the injuries to ResCap’s other
general unsecured creditors.891

     As noted in the Debtors’ Submission, some courts have denied standing to a party
asserting a tortious interference claim if the court determines that the claim is in fact a
restatement of a fraudulent conveyance claim that belongs to the debtor’s estate. For example,
in National American Insurance Co. v. Ruppert Landscaping Co., the court held that creditors
lacked standing to assert a tortious interference claim against a third party because the claim
depended upon a showing of fraud or unlawful action and all creditors, not just the creditors
asserting the claim, had a stake in exposing the impropriety of the underlying transaction.892 In
In re Ionosphere Clubs, Inc. v. American National Bank and Trust Company of Chicago, the
debtor’s preferred shareholders asserted that actions of the debtor’s management rendered the
debtor insolvent. They alleged that that conduct amounted to tortious interference with the
debtor’s contractual obligations under the preferred stock certificates to pay preferred
dividends.893 The court noted that although the shareholders’ right to receive preferred
dividends was unique to their status as preferred shareholders, the nature of the injury
stemmed from the damage done to the debtor by the debtor’s management and that would
affect all creditors the same.894 Accordingly, the court held that the tortious interference with
contract claim, which was based upon acts rendering the debtor insolvent and unable to pay its
contractual debts to the preferred shareholders, “is for fraudulent conveyance properly brought
by the trustee.”895

      Retired Partners of Coudert Brothers Trust v. Baker & McKenzie LLP (In re Coudert
Brothers LLP) is another case that addressed individual standing to assert a tortious
interference claim. Coudert Brothers involved a trust of retired partners of the debtor who
brought, among other things, tortious interference with contract claims against three law firms
who had each bought a large share of the debtor’s business while it was winding down.896 The
contract at issue was a partnership agreement that entitled the retired partners to payment of
891   See Sec. Investor Prot. Corp. v. Bernard L. Madoff Inv. Sec. LLC, 429 B.R. 423, 431 (S.D.N.Y. 2010) (citing
      In re Sage Enter., Inc., 2006 WL 1722582, at *15 (Bankr. N.D. Ill. Apr. 28, 2006)) (“[W]here the creditors’
      injury, while having some personal elements, overlaps with injury suffered by other creditors . . . the question
      to be answered is whether the injury to the creditor is significantly different from the injuries to other
      creditors in general.”).
892   187 F.3d 439, 440–41 (4th Cir. 1999) (stating that two sureties of the debtor challenged asset transfers
      between the debtor and a third party alleging, among other things, tortious interference with contract claims
      against the third party).
893   156 B.R. 414, 439 (S.D.N.Y. 1993). The preferred shareholders asserted that the debtor was rendered
      insolvent through a series of transactions by which management approved actions to allow the debtor’s
      parent corporation to transfer many of the debtor’s valuable assets to affiliated corporations also owned by
      the parent. In re Ionosphere Clubs, Inc. v. Am. Nat’l Bank & Trust Co., 17 F.3d 600, 602 (2d Cir. 1994).
894   Airline Pilots Assoc., Int’l v. Am. Nat’l Bank & Trust Co. of Chicago (In re Ionosphere Clubs, Inc.), 156 B.R.
      414, 439 (S.D.N.Y. 1993).
895   Id.
896   2012 WL 1267827 (S.D.N.Y. April 12, 2012).

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retirement income from the partnership or a successor partnership in the event the original
partnership was sold.897 The trust alleged that the firms tortiously interfered with the
partnership agreement by luring away the debtor’s employees and buying pieces of the
business large enough to render the debtor insolvent, but small enough to avoid successor
liability.898 The court observed that

                    if this theory works for the [t]rust, it would also work for every
                    other creditor of [the debtor]: each could say that the [f]irms
                    tortiously interfered with its contract by rendering [the debtor]
                    unable to perform. Nor is the Trust’s theory limited to creditors
                    who entered contracts with [the debtor]; a judgment creditor, or
                    a tort creditor, could claim that the asset sales rendered the
                    [debtor] insolvent and therefore constituted a fraudulent
                    transfer.899

As a result, the court held that the trust’s claim was in fact a disguised fraudulent conveyance
claim, which belonged to the estate and, as a result, could not be brought by the trust to pursue
on behalf of its members.900

      To counter the above authority, the Unsecured Noteholders cite to In re HHL Financial
Services, Inc.901 In re HHL Financial Services, Inc. involved a claim by noteholders against
the defendants for tortiously interfering with the notes. More specifically, the noteholders
argued that the defendants diverted significant revenues from the debtor, causing the debtor to
default on promissory notes and which ultimately led to the debtor’s bankruptcy filing.902 The
court found that the nature of the wrongs asserted and injuries suffered with respect to the
tortious interference claim were specific to the plaintiffs as noteholders, not creditors in
general and, as a result, were not related to the debtor’s chapter 11 proceeding.903

     The Examiner considered both the nature of the wrongs alleged and the nature of the
injury for which the relief would be brought for purposes of determining whether the
Unsecured Noteholders would have standing to assert the tortious interference with contract
897   Id. at *1. The retired partner’s entitlement to retirement income, however, was conditioned upon the firm
      generating profits sufficient to meet the debtor’s obligations to higher priority claimants. Id.
898   Id. at *7.
899   Id.
900   Id. at *8.
901   2001 WL 34367298 (Bankr. D. Del. 2001). The plaintiffs had filed suit alleging substantially similar claims
      against the defendants in state court and in an adversary proceeding in connection with the debtor’s chapter
      11 proceeding. See id. at *1. The case involved a decision on the plaintiffs motion for abstention in order to
      allow the claims to be decided in the state court action. See id.
902   Id. at *7.
903   Id. at *2.

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claim.904 The Unsecured Noteholders argue that they have particularized claims related to the
2005 Indenture that are unique to the Unsecured Noteholders.905 The nature of the wrongs
alleged by the Unsecured Noteholders is that AFI induced ResCap to breach the “substantially
all” provision of the 2005 Indenture by “causing [ResCap’s] assets to become fully
depleted.”906 The nature of the injury for which relief is brought is that “there are no assets to
support the [Unsecured Notes] as bargained for under the [2005] Indenture.”907

      Unlike Ruppert Landscaping, the nature of the wrong caused by the alleged tortious
interference with the 2005 Indenture does not depend upon allegations of fraud or breach of
fiduciary duty and is not available to all estate creditors. Instead, the nature of the wrong is
similar to that asserted in Ionosphere, Coudert Brothers Trust, and HHL Financial Services,
where the courts found the nature of a breach of contract to be unique to the plaintiffs. Unlike
Ionosphere and Coudert Brothers Trust, however, the Unsecured Noteholders’ claim is not
premised upon a theory that the breach of the 2005 Indenture was a result of AFI rendering
ResCap insolvent through the forgiveness of intercompany debt and the 2009 Bank
Transaction. Rather, the Unsecured Noteholders’ claim is premised upon a theory that when
AFI allegedly caused ResCap to breach the “substantially all” provision, the Unsecured
Noteholders were denied their right to a degree of continuity of ResCap’s assets as bargained
for pursuant to section 11.01 of the 2005 Indenture.908 Similar to HHL Financial Services,909
the nature of the injury asserted by the Unsecured Noteholders is not available to all of the
Debtors’ creditors, but unique to the Unsecured Noteholders. As a result, the Examiner
concludes that it is more likely than not that a court would find that the Unsecured
Noteholders have standing to assert the tortious interference with contract claim against AFI.

                    (3) Analysis Of The Tortious Interference With Contract Claim

     As noted above, in order to establish tortious interference with contract, a plaintiff must
prove “(1) existence of a valid contract between the plaintiff and a third party; (2) the
defendant’s knowledge of the contract; (3) the defendant’s intentional procurement of the
third-party’s breach of contract without justification; (4) actual breach of the contract; and




904   Opinion, Retired Partners of Coudert Bros. Trust v. Deltour (In re Coudert Bros., LLP), Adv. No.09-01215,
      at 6 (Bankr. S.D.N.Y. June 15, 2010) (citing In re Granite Partners, L.P., 194 B.R. 318, 324
      (Bankr. S.D.N.Y. 1996); In re The 1031 Tax Grp., LLC, 397 B.R. 679–80 (Bankr. S.D.N.Y. 2008)).
905   Wilmington Trust Submission Paper, dated Oct. 24, 2012, at 33.
906   Id.
907   Id. at 34.
908   Cf. Sharon Steel Corp. v. Chase Manhattan Bank, N.A., 691 F.2d 1039, 1050–51 (2d Cir. 1982) (noting that
      the purpose of successor obligor clauses is to protect a borrower’s right to merge or liquidate all of its assets,
      while protecting a lender’s right to a degree of continuity of assets).
909   In re HHL Fin. Serv. Inc., 2001 WL 34367298, at *2 (Bankr. D. Del. 2001).

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(5) damages resulting therefrom.”910 AFI does not contest that the 2005 Indenture is a valid
contract or that it had knowledge of the 2005 Indenture.911 Accordingly, the issue is whether
the Unsecured Noteholders can show an actual breach of the contract with damages resulting
therefrom, as well as AFI’s intentional procurement of the ResCap’s breach without
justification.

                        (a) Breach Of The “Substantially All” Provision Of The 2005 Indenture

     The Unsecured Noteholders allege that the 2005 Indenture was breached when
“substantially all” of ResCap’s assets were stripped away in furtherance of a “unified plan to
preserve and insulate [AFI] and Ally Bank from the consequences of the RMBS crisis that
[AFI] had created.”912 In 2008, the Unsecured Noteholders assert that ResCap’s assets
comprised of (1) intercompany receivables from its operating subsidiaries; (2) its ownership of
common and preferred units in IB Finance; and (3) its equity interests in its operating
subsidiaries.913 By the beginning of 2010, the Unsecured Noteholders claim that ResCap had
transferred substantially all of its assets.914 The Unsecured Noteholders recognize that none of
these transactions taken individually would constitute a transfer of “substantially all” of
ResCap’s assets. Instead, to support their claim they seek to aggregate the 2009 Bank
Transaction with a series of intercompany debt forgiveness transactions.915 As a result, the
Unsecured Noteholder’s allegation that AFI caused ResCap to breach the “substantially all”

910   Kirch v. Liberty Media Corp., 449 F.3d 388, 401–02 (2d Cir. 2006) (citing Lama Holding Co. v. Smith
      Barney Inc., 668 N.E.2d 1370 (N.Y. 1996)); see also White Plains Coat & Apron Co., Inc. v. Cintas Corp.,
      460 F.3d 281, 285 (2d Cir. 2006); Winter-Wolff Int’l, Inc. v. Alcan Packaging Food & Tobacco Inc., 499
      F. Supp. 2d 233, 241 (E.D.N.Y. 2007); Hidden Brook Air, Inc. v. Thabet Aviation Int’l Inc., 241 F. Supp. 2d.
      246, 278 (S.D.N.Y. 2002); Rupert v. Krautheimer (In re Krautheimer), 241 B.R. 330, 336 (Bankr. S.D.N.Y.
      1999).
      A choice of law analysis may be avoided when there is no conflict in law with respect to a tortious
      interference with contract claim. See Curley v. AMR Corp., 153 F.3d 5, 12 (2d Cir. 1998) (citing J. Aron &
      Co. v. Chown, 647 N.Y.S.2d 8 (N.Y. App. Div. 1996)). The Unsecured Noteholders, AFI, and the Debtors do
      not dispute applicable law in their respective Submission Papers, and the Unsecured Noteholders relied on
      New York law in their most recent Submission Paper. There is no conflict in the applicable law between
      Minnesota, New York, or other applicable states, therefore the Examiner looked to New York law to the
      analysis of the Unsecured Noteholders’ claims.
911   AFI Submission Paper, dated Dec. 19, 2012.
912   Motion of Wilmington Trust, National Association, Solely in its Capacity as Indenture Trustee for the Senior
      Unsecured Noteholders Issued by Residential Capital, LLC for an Order Authorizing it to Prosecute Claims
      and Other Causes of Action on Behalf of the Residential Capital, LLC Estate [Docket No. 3475], Ex. B, at
      47.
913   Id. at 47; Wilmington Trust Submission Paper, dated Oct. 24, 2012, at 25, 27.
914   Motion of Wilmington Trust, National Association, Solely in its Capacity as Indenture Trustee for the Senior
      Unsecured Noteholders Issued by Residential Capital, LLC for an Order Authorizing it to Prosecute Claims
      and Other Causes of Action on Behalf of the Residential Capital, LLC Estate [Docket No. 3475], Ex. B, at
      47.
915   Id. Wilmington Trust Submission Paper, dated Oct. 24, 2012, at 27.

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covenant of the 2005 Indenture is dependent upon (1) the aggregation of the intercompany
debt forgiveness transactions with the 2009 Bank Transaction and (2) the equity held by
ResCap in its operating subsidiaries being worthless at the time the assets at issue were
transferred.

                              (i) Aggregation Of The Transactions

                                  (A) The Sharon Steel Standard

     Under New York law, a series of transactions can be aggregated for the purpose of
determining whether a “substantially all” provision in an indenture has been breached.916
Sharon Steel Corp. v. Chase Manhattan Bank, N.A. has been cited as the “leading decision on
aggregating transactions for purposes of a substantially all analysis in the context of a
successor obligor provision.”917 In Sharon Steel, the obligor of certain notes, UV Industries
Inc. (“UV”), decided to liquidate its assets through a series of transactions over a 12 month
period.918 UV first sold a number of its assets to unrelated purchasers and then sold its
remaining assets to Sharon Steel, which agreed to assume the notes. UV relied upon the
successor obligation provisions in the underlying indentures to transfer the notes to Sharon
Steel without noteholder approval.919

      The indenture trustee and the noteholders challenged Sharon Steel’s assumption of the
notes and argued that the sale did not constitute the transfer of “substantially all” of UV’s
assets to Sharon Steel.920 Sharon Steel argued it was permitted to assume the notes because it
had acquired all of UV’s assets in the final sale of a multi-step liquidation plan. The court
disagreed with Sharon Steel’s literal read of the “substantially all” provision. It held that
because all of the sales were designed to “accomplish the predetermined goal of liquidating
UV under a formal plan of liquidation, even though only one asset sale had been indentified at
the time the liquidation plan was adopted,” it would be inappropriate to review the transaction
with Sharon Steel in isolation.921 In coming to this conclusion, the court distinguished a plan
of liquidation from sales of assets in the regular course of business that stand on their own
merits without reference to another.922
916   Bank of N.Y. Mellon Trust Co., N.A. v. Liberty Media Corp., 29 A.3d 225, 243 (Del. 2011). Given that 2005
      Indenture is governed by New York law, the Examiner applied New York law to determine whether ResCap
      has breached the “substantially all” covenant in the 2005 Indenture. See, e.g., id. at 237 (applying New York
      law to a “substantially all” analysis because the indenture was governed by New York law).
917   Bank of N.Y. Mellon Trust Co., 29 A.3d at 237 (internal quotation marks omitted).
918   See Sharon Steel Corp. v. Chase Manhattan Bank, N.A., 691 F.2d 1039 (2d Cir. 1982).
919   See id.
920   See id.
921   See id. at 1050.
922   See id. at 1050–51 (“To the extent that a decision to sell off some properties is not part of an overall scheme
      to liquidate and is made in the regular course of business it is considerably different from a plan of piecemeal
      liquidation. . . [a] sale in the absence of a plan to liquidate is undertaken because the directors expect the sale
      to strengthen the corporation as a going concern.”).

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     The court then looked to UV’s assets at the time UV adopted the plan to liquidate—
before the first sales transaction—and compared them to the assets transferred to Sharon
Steel.923 The court held that while UV transferred all of its assets through the series of
transactions over a period of time, UV did not transfer “substantially all” of its assets to
Sharon Steel in the last transaction of the series because the transferred assets were
responsible for 38% of UV’s operating revenues and 13% of UV’s operating profits and
constituted 41% of the book value of UV’s operating properties and 51% of UV’s total
assets.924

                                 (B) Subsequent Court Application Of The Sharon Steel Standard

    There is limited additional case law on the aggregation of multiple transactions for
purposes of a “substantially all” provision in an indenture. However, one court has held that

                    in the context of the “substantially all” analysis under a
                    boilerplate successor obligor provision in an indenture, . . . the
                    principles articulated in Sharon Steel are the proper basis of
                    determining under New York law, the nature and degree of
                    interrelationship that will warrant aggregation of otherwise
                    separate and individual transactions as part of a “series.”925

In Bank of New York Mellon Trust Co., N.A. v. Liberty Media Corp., the Delaware Supreme
Court addressed whether a proposed split-off by Liberty Media Corp. in June 2010, which
would be the company’s fourth major distribution of assets since March 2004, should be
aggregated with three prior dispositions for purposes of determining whether a transfer of
“substantially all” of the company’s assets had occurred.926 The proposed split-off, by itself,
would not have constituted a transfer of “substantially all” of the assets. 927 The court noted that
“[i]n Sharon Steel, the Second Circuit focused on the fact that all of the sales were pursued to
accomplish the predetermined goal of liquidating [the debtor] under a formal plan of
liquidation” and emphasized that “[t]he Sharon Steel court was careful to distinguish the
piecemeal liquidation at issue in that case from situations where a company disposes of assets
over time and not as part of a preconceived plan of liquidation.”928 The court concluded that
Liberty Media’s transactions were not part of an overall plan to liquidate or to strip its assets
from the corporate structure, but were the result of a discrete, context-based decision applying
923   See id. at 1051.
924   Bank of N.Y. Mellon Trust Co., N.A. v. Liberty Media Corp., 29 A.3d 225, 237–38 (Del. 2011) (discussing
      Sharon Steel Corp., 691 F.2d at 1051).
925   Bank of N.Y. Mellon Trust Co., 29 A.3d at 243. The court noted the near absence of any authoritative New
      York case law on the issue in coming to its conclusion. See id.
926   See id. at 237.
927   See id. If aggregated together, the transactions would have constitute a transfer of 67% of Liberty Media’s
      assets.
928   See id. at 237–38 (citing Sharon Steel Corp., 691 F.2d 1039).

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the company’s overarching business strategy.929 Because the strategy was not part of an overall
plan to deplete Liberty Media’s assets, the transactions at issue should not be aggregated.930
     In Bank of New York v. Tyco Int’l Group, S.A., the District Court for the Southern District
of New York applied the Sharon Steel standard in determining whether the spin-off of two
businesses constituted a breach of a “substantially all” provision of an indenture.931 The court
held that the transfers could not be aggregated under Sharon Steel because the case involved a
company restructuring, not a liquidation, and the transferred assets stayed within the
conglomeration.932 The transfers at issue “clearly resulted from a decision to sell off some
properties made in the regular course of business” as opposed to a plan of liquidation.933
                                 (C) Application Of The Sharon Steel Standard To The Transactions
                                     At Issue
      The Examiner reviewed the evidence to determine whether the forgiveness of
intercompany debt by ResCap and the 2009 Bank Transaction were part of an overall scheme
to liquidate the assets of ResCap or would otherwise justify aggregation of the transactions
under the Sharon Steel standard. As set forth in the Proposed Complaint, the Unsecured
Noteholders allege that the transactions were part of a unified plan designed by AFI to
preserve itself and Ally Bank.934 While a close question, the Examiner concludes that it is
more likely than not that a court would not find that the transactions at issue should be
aggregated under the Sharon Steel standard.
     As discussed in Section V.A.1.b(1), throughout 2007 and the first quarter of 2008,
ResCap faced ongoing challenges with respect to its liquidity and TNW covenants in light of
volatile market conditions.935 It became clear toward the end of 2007 that AFI and ResCap
would need to consider potential solutions to ResCap’s TNW covenants for the first quarter of
2008.936 In early March 2008, AFI considered a substantial equity infusion into ResCap to
ensure ResCap would meet its TNW covenants.937 ResCap’s interest in IB Finance does not
appear to have been part of the discussion surrounding the potential equity infusion at that
time.938

929   See Bank of N.Y. Mellon Trust Co., 29 A.3d 225 at 237.
930   Id. at 243 (“[A]ggregation is appropriate only when a series of transactions are part of a ‘plan of piecemeal
      liquidations’ and ‘an overall scheme to liquidate’ and not where each transaction stands on its own merits
      without reference to the others.”).
931   Bank of N.Y. v. Tyco Int’l Grp., S.A., 545 F. Supp. 2d 312, 320–21 (S.D.N.Y. 2008).
932   Id.
933   Id. at 321.
934   See Wilmington Trust Submission Paper, dated Mar. 8, 2013.
935   See Section V.A.1.b(1).
936   See id.
937   See id.
938   See id.

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     On March 28, 2008, AFI proposed the 2008 Bank Transaction to ResCap as a solution to
help improve ResCap’s financial condition.939 Corey Pinkston of GMAC Financial Services
informed the Independent Directors of the ResCap Board that

                   he had been working with [AFI] management and
                   PricewaterhouseCoopers on a structure for the contribution by
                   [AFI] of the bonds in a manner that would clearly be considered
                   “shareholder equity” for the purposes of compliance with
                   ResCap’s [TNW] covenants, but that would also provide some
                   flexibility to allow [AFI] to maximize the value of the
                   contribution.940

     A few days later, Pohl advised the ResCap Board that based upon his extensive expertise
in bankruptcy, “it was his feeling that a covenant default by ResCap for failing to meet the
[TNW] Test and the resulting consequences thereof would be very detrimental to ResCap, its
enterprise value and the value of the outstanding bonds.”941 ResCap’s legal and financial
advisors confirmed that if the proposed transaction was not approved, ResCap would not meet
its TNW covenants, which most likely would cause a bankruptcy filing and an immediate loss
of significant value to its public bondholders.942 The ResCap Board subsequently approved the
transaction.943 That same day, the AFI Board discussed ResCap’s status and outlook, including
actions that had been taken to stabilize ResCap’s performance and “focus the business model
on core activities.”944 AFI discussed and approved the 2008 Bank Transaction and incremental
capital injections only to the extent ResCap needed it to meet the TNW covenants.945 The
939   See Minutes of a Special Meeting of the Board of GMAC LLC, Mar. 28, 2008, ALLY_PEO_0001027–28
      [ALLY_PEO_0001009].
940   Minutes of a Meeting of the Special Committee of the Independent Directors of the Board of Residential
      Capital, LLC, Mar. 24, 2008, at RC40006616 [RC40006611].
941   Minutes of a Special Meeting of the Board of Residential Capital, dated Mar. 28, 2008, at RC40005677
      [RC40005652].
942   Id. at RC40005678.
943   Id.; see also Minutes of a Special Meeting of the Board of Residential Capital, LLC, dated Mar. 25, 2008, at
      RC40006621 [RC40006611]; Minutes of a Special Meeting of the Board of Residential Capital, LLC, dated
      Mar. 26, 2008, at RC40006625 [RC40006611]. Pohl and Daniel Ammann from Morgan Stanley (financial
      advisor for ResCap) noted to the ResCap board that the only option available to ResCap if it did not accept
      GMAC’s proposal for the contribution of bonds with the ResCap board, which was to draw down the entire
      unsecured credit facility in March and then to file for bankruptcy protection in April. Id.
944   Minutes of a Special Meeting of the Board of GMAC LLC, dated Mar. 28, 2008, at
      ALLY_PEO_0001026–28 [ALLY_PEO_0001009] (resolving to make capital contributions to ResCap “due
      to the volatility and uncertainty of market conditions and ResCap’s financial condition” that required
      assessment on a day-to-day basis).
945   Id. at ALLY_PEO_0001028–30 (resolving to make capital contributions to ResCap “due to the volatility and
      uncertainty of market conditions and ResCap’s financial condition” that required assessment on a day-to-day
      basis).

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transaction was consummated on March 31, 2008.946 There is no indication that the 2008 Bank
Transaction was structured so as to inevitably lead to the 2009 Bank Transaction or that the
2009 Bank Transaction had even been contemplated at this time.947
     On March 26, 2008, the Executive Committee of ResCap’s Board approved a capital
injection into RFC in the form of forgiveness of affiliate borrowings from ResCap in the
amount of $2 billion or other amount as necessary to meets its TNW covenants in RFC’s
borrowing facilities.948 The capital allocation would “ensure[ ] RFC’s compliance with the
financial covenants in its debt agreements as of March 31, 2008, and [was] expected to
provide sufficient net worth to ensure compliance with RFC’s financial covenants through
June 30, 2008.”949 Throughout 2008 and into 2010, ResCap infused additional capital into its
operating subsidiaries in the form of intercompany debt forgiveness.950 On December 30,
2009, the AFI Board approved AFI’s capital contribution to ResCap, and ResCap’s
subsequent capital contribution of over $50 million to RFC, as required under the AFI Board’s
Reservation of Authorities.951
      The Investigation did not uncover any evidence that would suggest AFI considered
acquiring ResCap’s remaining interest in IB Finance until late summer/early fall of 2008.952
At that time, ResCap had yet to stabilize and, as a result, ResCap considered a potential sale of
its remaining interest in IB Finance to AFI in order to alleviate ResCap’s ongoing liquidity
and TNW difficulties.953 For AFI, the “[i]ntention of the acquisition [was] to simplify [Ally]
Bank ownership issues to support long-term GMAC access to bank funding.”954 On
September 30, 2008, the AFI Board “discussed continued volatility and disruption in the
capital markets and the probability of completing planned asset sale transactions which
themselves [were] paramount to ensuring that ResCap has sufficient liquidity required to
946   Minutes of a Special Meeting of the Board of Residential Capital, LLC, dated Apr. 25, 2008, at RC40005744
      [RC40005652].
947   See Section V.A.1.b(1).
948   Minutes of a Special Meeting of the Executive Committee Board of Directors of Residential Capital, LLC,
      dated Mar. 26, 2008, at RC40006438–39 [RC40006437].
949   Id. at RC40006438.
950   See ResCap—Intercompany Transactions—Draft Presentation, prepared by Morrison Foerster and FTI
      Consulting, dated April 4, 2013, at 10 [EXAM00345894].
951   Unanimous Consent to Action by the GMAC Board of Directors, dated Dec. 30, 2009, at ALLY_0169105
      [ALLY_0169104] (“WHEREAS, under the Reservation of Authorities of the Board, the Board must approve
      [AFI’s] capital contribution to ResCap, and ResCap’s contribution to RFC (through sequential contributions
      to, and by, intermediate subsidiaries) to the extent each contribution is $50 million or more.”).
952   See Section V.A.1.b(1).
953   See Section V.A.1.c (discussing early consideration of the 2009 Bank Transaction); see also Minutes of a
      Regular Meeting of the Board of GMAC LLC, dated Sept. 11, 2008, at ALLY_PEO_0001234–39
      [ALLY_PEO_0001009]. On September 11, 2008, Samuel Ramsey presented to the AFI Board on a potential
      opportunity for the sale of ResCap’s interest in the Ally Bank to AFI). Id; see also Minutes of a Regular
      Meeting of the Board of Residential Capital, LLC, dated Sept. 12, 2008, at RC40005864–65 [RC40005652].
954   GMAC Bank Transaction Update for the Board of GMAC LLC, dated Sept. 29, 2008, at 1
      [ALLY_0238653].

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continue its restructuring efforts and return to profitability.”955 However, ResCap and AFI
were unable to finalize the proposed Ally Bank sale and the AFI Board passed a resolution
providing ResCap with up to $400 million in debt forgiveness to satisfy ResCap’s TNW
covenants and immediate cash needs.956 The AFI Board was concerned that a ResCap
bankruptcy filing would interfere with AFI’s future acquisition of Ally Bank, by delaying
FDIC approval of the transfer, allowing another purchaser to acquire ResCap’s shares of IB
Finance through a bankruptcy auction, or by giving the FDIC cause to seize the bank.957 On
October 16, 2008, Thomas Marano abruptly informed the ResCap Board that AFI was no
longer considering the purchase of Ally Bank.958 AFI’s decision to walk away from the
potential purchase of IB Finance at this time appears to have been driven, at least in part, by
its own economic difficulties959 as well as concerns over fraudulent transfer liability in the
event of a ResCap bankruptcy filing.960

     In December 2008, AFI again considered acquiring ResCap’s interest in IB Finance in
connection with its decision to become a bank holding company.961 If AFI converted to a
charter that triggered bank holding company requirements, Ally Bank would be able to offer
demand deposit accounts and to provide full banking services.962 As described in more detail
in Section V.A.1.c(2) and Section V.A.1.c(3), AFI exercised its option to exchange the
ResCap Preferred Interests for the IB Finance Preferred Interests on January 30, 2009 and,
immediately following the exchange, ResCap sold its remaining IB Finance Class M Shares in


955   Minutes of a Special Meeting of the Board of GMAC LLC, dated Sept. 30, 2008, at ALLY_PEO_0001288
      [ALLY_PEO_0001009].
956   Agenda and Supporting Materials, GMAC Board of Directors Meeting, Sept. 30, 2008, at
      ALLY_PEO_0003732 [ALLY_PEO_0003715]; Minutes of a Special Meeting of the Board of Residential
      Capital, LLC, Oct. 1, 2008, at RC4000587576 [RC40005652].
957   See Section VI.A.3.a (discussing early consideration of an IB Finance/All Bank sale) (citing to Agenda and
      Supporting Materials, GMAC Board of Directors Meeting, Sept. 30, 2008, at ALLY_PEO_0003722
      [ALLY_PEO_0003715]); Int. of S. Ramsey, Dec. 10, 2012, at 157:24–158:4 (“The joint ownership of the
      bank could’ve been very disruptive with the regulators. If there was a single ownership of the bank by
      GMAC when a [ResCap bankruptcy] occurred, if it was to occur, it would be less risk. It was that simple.”).
958   See Section V.A.3.a.
959   See, e.g., E-mail from T. Marano to N. Kashkari and J. Lambright (Oct. 30, 2008) [CCM00199669] (“I have
      been offered limited shorter term support from our parent GMAC. I have yet to receive longer term support
      as they themselves are challenged.”); Int. of M. Neporent, Feb. 6, 2013, at 172:24–174:10.
960   See Minutes of a Special Meeting of the Board of GMAC LLC, Sept. 30, 2008, at ALLY_PEO_0001287–88
      [ALLY_PEO_0001009] (“Mr. Ramsey presented materials that . . . provided an overview of the risks to
      GMAC in the event of a ResCap bankruptcy filing. . . . Management and the advisors in attendance at the
      meeting responded to questions raised regarding the disposition of GMAC Bank; the impact on GMAC’s
      11:1 leverage ratio covenant; and matters associated with preference and fraudulent transfers.”); Agenda and
      Supporting Materials, GMAC Board of Directors Meeting, Sept. 30, 2008, at ALLY_PEO_0003722–24
      [ALLY_PEO_0003715].
961   Int. of L. Tessler, Nov. 16, 2012, at 177:6–15 (as member of the AFI Board).
962   Id. (as member of the AFI Board)

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exchange for AFI’s contribution of the 8.5% Second Lien Notes.963 Following the transfer,
AFI owned all of the equity interest in Ally Bank.964

      As required by Sharon Steel, the Examiner considered whether the evidence supports the
proposition that ResCap adopted a plan of liquidation before December 31, 2008 that would
justify aggregating the 2009 Bank Transaction with the series of intercompany debt
forgiveness transactions that took place in 2009. Similar to Liberty, no evidence was found to
support the allegation that AFI engaged in an overall scheme of liquidation to transfer
substantially all of ResCap’s assets. Instead, the evidence supports the proposition that in early
2008, AFI’s business strategy was for ResCap to have sufficient liquidity to continue its
restructuring efforts and return to profitability. By late 2008, AFI was concerned with its own
survival, which was dependent upon ResCap’s survival and ability to maintain its TNW
covenants. The intercompany debt forgiveness ensured that ResCap’ operating subsidiaries
maintained TNW covenants. The 2009 Bank Transaction provided ResCap with much needed
liquidity and allowed AFI to become a bank holding company. As in Liberty, the evidence
supports the proposition that the transactions at issue could each stand on their own merits
without reference to the other. As a result, the Examiner concludes that it is more likely than
not that a court would not find that all of the transactions should be aggregated for purposes of
determining whether the “substantially all” provision on the 2005 Indenture was breached
under the Sharon Steel standard.

                                 (D) Step-Transaction Doctrine

      The Investigation also considered the Unsecured Noteholder’s argument that the step-
transaction doctrine justifies aggregating the transactions.965 The step-transaction doctrine is
traditionally a tax principle that looks to the substance of a series of transactions, not the form,




963   See Section V.A.1.c(3) (discussing the January 2009 conversion of the ResCap Preferred Interests and sale of
      the IB Finance Class M Shares).
964   See Section V.A.1.c(3).
965   See Bank of N.Y. Mellon Trust Co., N.A. v. Liberty Media Corp., 29 A.3d 225, 237 (Del. 2011) (concluding
      that it is unnecessary to decide whether the step-transaction doctrine would be applicable under New York
      law in determining whether to aggregate a series of transactions in a “substantially all” analysis).

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to govern the transaction’s tax treatment.966 Courts, however, have applied the step transaction
concept in other contexts as well, such as corporate governance, contract interpretation, and
fraudulent conveyances.967

     In Liberty Media Corp., the trustee argued that the step-transaction was legally irrelevant
for purposes of determining whether multiple transactions constituted a transfer of
“substantially all” assets.968 The lower court previously held that the transactions at issue did
not trigger the step-transaction doctrine because they were not part of a plan to remove assets
from the corporate form or to evade the bondholders claims.969

     The Liberty Media Corp. court implicitly rejected the lower court’s adoption of the step-
transaction doctrine.970 Instead, the court concluded that the Sharon Steel standard was the
proper basis to determine the interrelationship of transactions and that “it [was] unnecessary to
reach or decide whether the step transaction doctrine and its three component tests would be
adopted . . . to determine whether to aggregate a series of transactions in a ‘substantially all’
analysis.”971 Despite the holding, and at the urging of the Unsecured Noteholders, the
Examiner considered whether the transactions at issue could be aggregated under the step-
transaction doctrine.

      The step-transaction doctrine “treats the ‘steps’ in a series of formally separate but
related transactions involving the transfer of property as a single transaction, if all the steps are




966   See Comm’r v. Clark, 489 U.S. 726, 738 (1989) (“By thus linking together all interdependent steps with legal
      or business significance, rather than taking them in isolation, federal tax liability may be based on a realistic
      view of the entire transaction.”); G.D. Parker, Inc. v. Comm’r, 2012 WL 5935661, at *10 (U.S. Tax. Ct.
      2012) (citing Del Commercial Props., Inc. v. Comm’r, 251 F.3d 210, 213–14 (D.C. Cir. 2001), aff’g T.C.
      Memo. 1999-411) (“‘Under the step transaction doctrine, a particular set in a transaction is disregarded for
      tax purposes if the taxpayer could have achieved its objective more directly, but instead included the step for
      no other purpose than to avoid U.S. Taxes.’”); see also Greene v. United States, 13 F.3d 577, 583 (2d Cir.
      1994) (“By emphasizing substance over form, the step transaction doctrine prevents a taxpayer from escaping
      taxation.”).
967   See Big V Supermarkets, Inc. v. Wakefern Food Corp. (In re Big V Holding Corp.), 267 B.R. 71, 92
      (Bankr. D. N.J. 2001) (citing Voest-Alpine Trading USA, Corp. v. Vantage Steel Corp., 919 F.2d 206, 21113
      (3d Cir. 1990); United States v. Tabor Court Realty Corp., 803 F.2d 1288, 1303 (3d Cir. 1986);
      In re Crowthers McCall Pattern, Inc., 120 B.R. 279, 290 (Bankr. S.D.N.Y. 1990)).
968   See Bank of N.Y. Mellon Trust Co., 29 A.3d at 228.
969   See id. at 239 (“The Court of Chancery added a second layer of the analysis, which it described as ‘doctrinal
      hindsight,’ to conclude that the Sharon Steel holding ‘fits within the step-transaction framework’ and
      proceeded to apply that analytical framework to the facts of this case.”)
970   See id. at 239, 244 (“The Court of Chancery could have ended its analysis with the above-described
      application of the Sharon Steel holding to the facts of this case.”).
971   See id. at 244.

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substantially linked.”972 Courts apply three alternative tests in determining whether to invoke
the step transaction doctrine.973

                    First, under the “end result test,” the doctrine will be invoked “if
                    it appears that a series of separate transactions were prearranged
                    parts of what was a single transaction, cast from the outset to
                    achieve the ultimate result.” Second, under the “interdependence
                    test,” separate transactions will be treated as one if “the steps are
                    so interdependent that the legal relations created by one
                    transaction would have been fruitless without a completion of
                    the series.” The third and “most restrictive alternative is the
                    binding-commitment test under which a series of transactions
                    are combined only if, at the time the first step is entered into,
                    there was a binding commitment to undertake the later steps.”974

The circumstances surrounding the transactions need only satisfy one of the tests in order for
the step transaction doctrine to apply.975

     The Unsecured Noteholders have asserted that the transactions at issue satisfy both the
end result test and the interdependence test and, as a result, should be aggregated for the
“substantially all” analysis.976 The Unsecured Noteholders do not attempt to argue that the
transactions would fit within the binding commitment test and the Investigation has found no
evidence of a binding commitment that required ResCap to forgive the intercompany debt and
to enter into the January 2009 Bank Transaction.

      The Unsecured Noteholders argue that their claim satisfies the end result test because the
2009 Bank Transaction and the intercompany debt forgiveness were part of a single plan of
self preservation designed by AFI. Under the end-result test, a series of closely related steps in
a transaction will be treated as a single transaction if the steps were taken to reach a particular
end result.977 It focuses upon the actual intent of the parties at the time of the transactions. The
transactions will not be viewed as one unless it can be shown that at the time the parties
engaged in each of the individual steps, they contemplated a single end result.978

     The Examiner considered whether the transactions were in fact “prearranged parts” of a
single transaction “cast from the outset to achieve the ultimate result.” Before the 2009 Bank
972   See id. at 239.
973   See id. at 240.
974   Id. (citing Noddings Inv. Grp., Inc. v. Capstar Commc’ns, Inc, 1999 WL 182565 (Del. Ch. Mar. 24, 1999),
      aff’d 741 A.2d 16 (Del. 1999)).
975   See Bank of N.Y. Mellon Trust Co., N.A., 29 A.3d at 240.
976   Wilmington Trust Submission Paper, dated Mar. 8, 2013, at 7, 9, 57.
977   See Kornfeld v. Comm’r, 137 F.3d 1231, 1235 (10th Cir. 1998); G.D. Parker, Inc. v. Comm’r, 2012
      WL 5935661, at *10 (U.S. Tax. Ct. 2012); Greene v. U.S., 13 F.3d 577, 583 (2d Cir. 1994).
978   See G.D. Parker, Inc. v. Comm’r, 2012 WL 5935661, at *11 (U.S. Tax. Ct. 2012).

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Transaction, the Investigation uncovered evidence that AFI intended to acquire Ally Bank in
connection with AFI’s conversion to a bank holding company.979 A bankruptcy filing by
ResCap could have jeopardized AFI’s ability to acquire the bank either by delaying FDIC
approval of the transfer, allowing a purchaser to acquire ResCap’s shares of IB Finance
through a bankruptcy auction or by giving the FDIC cause to seize the bank.980 The capital
infusions into ResCap and its operating subsidiaries allowed ResCap to maintain its TNW
covenants and, in January 2009, AFI obtained Ally Bank. By that time, AFI had become a
bank holding company and AFI was operating under the assumption that it would be
imprudent to allow a subsidiary of a bank holding company to file for bankruptcy.981 ResCap
needed to continue meeting its TNW covenants in order to avoid filing for bankruptcy. It is
undisputed that throughout 2009, ResCap forgave intercompany debt owed to it by its
operating subsidiaries. The Investigation uncovered evidence that these transactions were
intended to enable ResCap and its operating subsidiaries to meet their TNW covenants and
liquidity needs, which avoided a ResCap bankruptcy filing.982 As a result, the Examiner
concludes while it is a close question, it is more likely than not that a court would find that the
2009 Bank Transaction and the intercompany debt forgiveness transactions were part of a plan
to reach the end result of obtaining and maintaining Ally Bank.

     The Unsecured Noteholders also assert that their claim satisfies the interdependent test
because the acquisition of Ally Bank would have been futile without the intercompany debt
forgiveness.983 The interdependence test is a variation of the end result that requires a court to
determine “whether the individual steps had ‘independent significance or whether they had
meaning only as part of a larger transaction.’”984 The Examiner reviewed whether the
transactions were distinct corporate events that could have stood on their own merits and
would not have been fruitless in isolation. Although the 2009 Bank Transaction may have
been interdependent on the intercompany debt forgiveness transactions, the intercompany debt
979   See Section V.A.3.b.
980   See Section V.A.1.c(1) (discussing early consideration of an IB Finance/All Bank sale) (citing to Agenda and
      Supporting Materials, GMAC Board of Directors Meeting, Sept. 30, 2008, at ALLY_PEO_0003722
      [ALLY_PEO_0003715]; Int. of S. Ramsey, Dec. 10, 2012, at 157:24–158:4 (“The joint ownership of the
      bank could’ve been very disruptive with the regulators. If there was a single ownership of the bank by
      GMAC when a [ResCap bankruptcy] occurred, if it was to occur, it would be less risk. It was that simple.”)).
981   See Int. of A. de Molina, Nov. 20, 2012, at 170:6–172:25 (explaining that a bankruptcy filing by ResCap
      after AFI obtained bank holding status would be imprudent and could risk AFI’s relationship with the FDIC);
      see also Int. of T. Marano, Nov. 26, 2012, at 157:1–12 (“Once we became a bank holding company, it—one
      of the key reasons why [ResCap] didn’t think [ResCap would] ever file is . . . that [the Fed] had never let a
      subsidiary of a bank holding company file for bankruptcy before.”).
982   Unanimous Consent to Action by the GMAC Board, dated Dec. 30, 2009, at ALLY_0115311-19
      [ALLY_0114717]; Material for a GMAC Board of Directors Meeting, dated Sept. 30, 2008
      [ALLY_PEO_0003715]; see ResCap—Intercompany Transactions—Draft Presentation, prepared by
      Morrison Foerster and FTI Consulting, dated April 4, 2013, at 12 [EXAM00345894].
983   Wilmington Trust Submission Paper, dated Mar. 8, 2013, at 9–10.
984   Greene v. United States, 13 F.3d 577, 584 (2d Cir. 1994) (citing Penrod v. Comm’r, 88 T.C. 1415, 1430
      (Tax Ct. 1987)); see also Kornfeld v. Comm’r, 137 F.3d 1231, 1235 (10th Cir. 1998).

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forgiveness transactions had their own independent significance apart from the 2009 Bank
Transaction in that the transactions enabled ResCap’s operating subsidiaries to maintain their
TNW covenants. As a result, the Examiner concludes that it is unlikely that a court would find
that the interdependency test warrants aggregation of the intercompany debt forgiveness
transactions with the 2009 Bank Transaction.
     Although the transactions may satisfy the step-transaction doctrine if they trigger the end-
result test, given the holding in Liberty Media Corp., it is unlikely that a court would apply the
step-transaction test but would instead apply the Sharon Steel standard. Under that test, as
noted above, the Examiner concludes that it is more likely than not that the Unsecured
Noteholders’ argument to aggregate the transactions would fail.
                             (ii) Transfer of Substantially All Of ResCap’s Assets
     Should a court nevertheless find that the transactions could be aggregated, the issue of
whether the transactions at issue constituted a transfer of “substantially all” of ResCap’s assets
in the context of the 2005 Indenture would still need to be determined. The case law
interpreting the “all or substantially all” language in context of successor obligor clauses is
limited.985 The first published case to interpret the meaning of “substantially all” in the context
of an indenture found that the sale of stock held in another company constituted a sale of
“substantially all” of the corporation’s assets because the stock comprised more than 75% of
the corporation’s total assets and was the only substantial income-producing asset.986 Since
then, courts have not applied a mechanical test to determine if a transfer involves “all or
substantially all” of a corporation’s assets, but instead examine all facts and circumstances
surrounding the transfer using both qualitative and quantitative analyses.987
985   Given the lack of guidance in context of an indenture, a court may consider case law deciding “substantially
      all” in context of shareholder-protection statutes. Shareholder-protection statutes prohibit a corporation from
      selling all or substantially all of its assets without shareholder approval. See, e.g., N.Y.CLS BUS. CORP. § 909
      (requires approval of two thirds of the stockholders entitled to vote if a corporation desires to transfer not in
      the regular course of its business all or substantially all of its assets that are essential to the conduct of the
      business of the corporation); Del. Code Ann. Tit. 8, § 271 (requires majority shareholder vote of approval
      before the corporation may sell lease or exchange all or substantially all of its property and assets).
      At least one court has held that cases interpreting “substantially all” in context of shareholder-protection
      statutes are helpful in interpreting “substantially all” in context of an indenture. U.S. Bank Nat’l Ass’n v.
      Angeion Corp., 615 N.W.2d 425, 432 (Minn. Ct. App. 2000) (“Because the shareholder-protection statutes
      have identical language and a similar purpose, we conclude that these interpretations may have affected the
      parties’ understanding at the time they entered the indenture and thus are relevant to intent and reasonable
      expectations.”).
986   B.S.F. Co. v. Philadelphia Nat’l Bank, 204 A.2d 746, 750 (Del. 1964) (applying Pennsylvania law to
      determine whether a corporation transferred “substantially all” of its assets when it sold a substantial block of
      another company’s stock).
987   See, e.g., Sharon Steel Corp. v. Chase Manhattan Bank, N.A., 691 F.2d 1039, 1050–51 (2d Cir. 1982); Bank
      of N.Y. v. Tyco Int’l Grp., S.A., 545 F. Supp. 2d 312 (S.D.N.Y. 2008); In re BankAtlantic Bancorp, Inc. Litig.,
      39 A.3d 824, 843 (Del. 2012); Angeion Corp., 615 N.W.2d 425 (holding that, under New York law, the
      “substantially all” provision on an indenture is measured both quantitatively and qualitatively, but there was
      genuine issues of material facts that precluded summary judgment on trustee’s claim for breach of the
      substantially all provision in the underlying indenture).

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     A qualitative analysis considers whether the transfer violated the intent of the lenders and
whether the transfers rendered the issuer incapable of operating as a going concern.988 A
quantitative analysis, on the other hand, may look to the percentage of operating revenue,
operating profits, operating assets, or total assets transferred.989 Transfers involving higher
percentages of a corporation’s assets are more likely to be deemed a transfer of “all or
substantially all” of the assets of the corporation, regardless of the character or nature of the
assets being sold.990 Less weight will be given to the percentage significance of the assets
transferred if such assets are central to the corporation’s business.991

      The Unsecured Noteholders argue that a quantitative and qualitative analysis supports
their position that the forgiveness of intercompany debt and the transfer of ResCap’s interest
in IB Finance constitute a transfer of significantly all of ResCap’s assets by 2009, or
alternatively, by 2010.992 The Examiner first considered the quantitative factors of the
transactions at issue to determine the percentage of transferred assets in relation to ResCap’s
total assets and operating assets held prior to the 2009 Bank Transaction.993



988   See In re BankAtlantic Bancorp, Inc. Litig., 39 A.3d at 842 (applying New York law to determine whether a
      transaction conveyed “substantially all” of a company’s assets).
989   See id. at 838–42 (applying New York law to determine whether a transaction conveys “substantially all” of
      a company’s assets).
990   See id. (finding that a proposed sale transaction would constitute a transfer of “substantially all” of the
      corporation’s assets because the transaction conveyed 85–90% of the corporation’s assets and would
      transform completely the nature of the corporation’s operations).
991   See id.
992   The Unsecured Noteholders in their Submission Paper argue that ResCap’s forgiveness of intercompany debt
      owed to it between 2008 through 2009 was part of the AFI’s plan of self-preservation. See Wilmington Trust
      Submission Paper, dated Oct. 24, 2012, at 17; Wilmington Trust Submission Paper, dated Mar. 8, 2013, at 7.
      To support this argument, the Unsecured Noteholders provided two separate “substantially all” analysis. The
      first analyzed the intercompany debt forgiveness from 2008 through 2009. Supplement to Wilmington
      Trust’s Submission Paper, dated Dec. 11, 2012. The second, however, analyzed the intercompany debt
      forgiveness from 2009 through 2010. Supplement to Wilmington Trust’s Submission Paper, dated Mar. 22,
      2013.
993   Courts have considered what percentage of operating revenue, operating profit or book value of the
      transferred assets represented in deciding whether a “substantially all” provision in an indenture has been
      triggered. See Sharon Steel Corp. v. Chase Manhattan Bank, N.A., 691 F.2d 1039, 1051 (2d Cir. 1982)
      (considering operating revenues, operating profits, and book value of operating assets and total assets); In re
      BankAtlantic Bancorp, Inc. Litig., 39 A.3d at 839 (considering book value of total assets); U.S. Bank Nat’l
      Ass’n v. Angeion Corp., 615 N.W.2d 425, 433 (Minn. Ct. App. 2000) (applying New York law and holding
      that without information on operating revenue, operating profit or book value of the transferred assets, “it is
      nearly impossible to weigh any of the factors that have been used by the courts to determine whether a
      corporation has transferred all or substantially all assets”).
      An analysis of operating revenues or operating profits was not applicable as ResCap’s two primary revenue
      sources in 2008 were net financing revenues and gains on extinguishment of debt of $133 million and $1.925
      billion, respectively. See Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 216.

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     As reported in its annual report on Form 10-K for the year ended December 31, 2008, the
most recent annual filing before the 2009 Bank Transaction, ResCap’s total assets as of that
date had a book value of approximately $12.422 billion.994 ResCap’s total assets primarily
were comprised of equity interests in its subsidiaries, intercompany receivables owed to
ResCap by its subsidiaries, and additional assets including cash, accounts receivables and
other assets.995 The book value of ResCap’s total assets as of December 31, 2008 are
summarized below:




994   Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 215. Given the holding in Sharon
      Steel, the quantitative analysis looked to ResCap’s assets at the time AFI allegedly adopted the plan to
      liquidate—prior to the 2009 Bank Transaction—and compared them to the assets transferred at the end of
      2009 and 2010.
995   Id.

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     The quantitative analysis considered both the book value and FMV of the assets
transferred.996 On a book value basis, ResCap’s transfer of its interest in Ally Bank and the
debt forgiveness transactions in 2009 resulted in an approximate 47.0% reduction in ResCap
total assets and an approximate 51.6% reduction in ResCap’s operating assets.997
Alternatively, ResCap’s transfer of its interest in Ally Bank and the debt forgiveness
transactions that took place in 2009 and adding debt forgiveness transactions that took place in
2010 resulted in an approximate 52.0% to 57.1% reduction in ResCap’s total assets and
operating assets, respectively. The book value analysis can be found at Appendix VIII.C.6.c.
     On a FMV basis, ResCap’s transfer of its interest in Ally Bank and the debt forgiveness
transactions that took place in either 2009 or in 2009 throughout 2010 resulted in an
approximate 34.8% reduction in ResCap’s total assets and an approximate 100% reduction in
ResCap’s operating assets. The FMV analysis can also be found at Appendix VIII.C.6.c.
     In contrast to the book value analysis, the FMV analysis contained certain fair-value
adjustments to ResCap’s equity interest in its subsidiaries, Ally Bank, RFC Holding and
GMAC Holding, and ResCap’s intercompany receivables owed by RFC and GMAC Holding,
and their subsidiaries, at December 31, 2008. Specifically, ResCap’s equity interest in Ally
Bank was reduced to $592 million, or the value of the IB Finance Preferred Interests and the
Remaining IB Finance Class M Shares transferred in connection with the 2009 Bank
Transaction.998 ResCap’s equity interests in RFC Holding and GMAC Holding, the holding
companies of RFC and GMAC Mortgage, were valued at zero as the Examiner concluded that
RFC and GMAC Mortgage each: (1) was balance sheet insolvent from December 31, 2007,
through the Petition Date; (2) had unreasonably small capital (assets) from August 15, 2007,
through the Petition Date; and (3) reasonably should have believed that it would incur debts
beyond its ability to pay from August 15, 2007, through the Petition Date.999 As a result of
RFC’s and GMAC Mortgage’s insolvency, ResCap’s intercompany receivables due from RFC
and GMAC Holding, and their subsidiaries, were also impaired. See Section VI.E.3 for further
discussion regarding financial distress of ResCap’s subsidiaries. The FMV analysis can be
found at Appendix VIII.C.6.c.
     In light of the holding in Sharon Steel, a court may place less emphasis on qualitative
factors in concluding that there has been no transfer of “substantially all” assets when less
than 50% of a company’s total and operating assets have been transferred. On the other hand,
996   While most courts consider book value of the transferred assets, “[n]othing in New York law suggests that a
      court is limited to book value when evaluating a parent corporation’s 100% equity interest in an operating
      subsidiary.” In re BankAtlantic Bancorp, Inc. Litig., 39 A.3d at 839 (the court, however, considered the book
      value of total assets given that it was a conservative metric).
997   For purposes of this quantitative analysis, the operating assets include the equity interests in its subsidiaries
      and the intercompany receivables. It is not entirely clear whether the intercompany receivables would
      constitute “operating assets” in context of a “substantially all” analysis, but the analysis includes them for
      purposes of providing a conservative evaluation of the assets transferred.
998   See Appendix V.A.2.d.(6). For purposes of this analysis, the midpoint of the range of value for the IB
      Finance Preferred Interests and the remaining IB Finance Class M Shares (non-marketable, non-controlling)
      at January 30, 2009 was utilized.
999   See Section VI.E.2.

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it is unclear as to what percentage over 50% will be so compelling to resolve the question of
whether a transaction constitutes a transfer of “substantially all” assets based on quantitative
factors alone. In B.S.F. Co. v. Philadelphia Nat’l Bank, the court held that the sale of a
company’s asset constituted a sale of “substantially all” assets because the asset comprised
more than 75% of the corporation’s total assets and was the only substantial income-
producing asset.1000 In In re BankAtlantic Bancorp, Inc. Litigation, the court held that a
proposed sale transaction would constitute a transfer of “substantially all” of the corporation’s
assets because the transaction conveyed 85-90% of the corporation’s assets and would
transform completely the nature of the corporation’s operations.1001 The B.S.F. court and the
BankAtlantic court both took into account the qualitative nature of the transferred assets
despite the high percentage of the quantitative factors.
      Similar to Sharon Steel, the book value of operating assets and total assets transferred by
ResCap in 2009 fall within a range that is less than or barely above 50%. However, the
quantitative analysis also took into account (1) the FMV of operating assets and total assets
transferred in 2009 and (2) the book value and FMV of the operating assets and total assets
transferred in 2009 through 2010. Combining the two different types of analyses changes the
total range of percentages from thirty-four percent to one-hundred percent. This uncertainty
does not present a clear quantitative conclusion. As a result, the Examiner weighed both the
quantitative and qualitative factors as a totality.1002
     “The guiding inquiry when evaluating a transaction qualitatively is whether the debtor
‘would cease to operate the business to which, in practical effect the [noteholders] have
looked for payment of the [notes].’”1003 In ResCap’s annual report for the year ended
December 31, 2008, ResCap listed its businesses as including “the origination, purchase,
servicing, sale and securitization of residential mortgage of loans.”1004 The transactions at
issue did not alter the fundamental nature of ResCap’s business. By the end of 2009, ResCap
was conducting its operations through two operating businesses, its core originating and
servicing business and its non-core asset business.1005 ResCap’s non-core asset management
business included the legacy Principal Investment Activity, Business Capital Group, and
International Business Groups.1006 From a qualitative perspective, the evidence does not
support the proposition that the transactions completely changed the nature of ResCap’s
operations. ResCap continued operating after the 2009 Bank Transaction substantially as
before the sale.
1000 See B.S.F. Co. v. Philadelphia Nat’l Bank, 204 A.2d 746, 750 (Del. 1964) (applying Pennsylvania law to

    determine whether a corporation transferred “substantially all” of its assets when it sold a substantial block of
    another company’s stock).
1001 See In re BankAtlantic Bancorp, Inc. Litig., 39 A.3d at 838–42.

1002 See id. at 838 (“In the typical case involving a significant sale, however, a court will need to weigh both

    quantitative and qualitative factors as a totality.”).
1003 Id. at 843 (Del. 2012) (applying New York law in evaluating whether the qualitative factors of a transaction).

1004 See Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 3.

1005 ResCap
          Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, at
    EXAM00124464 [EXAM00124455].
1006 ResCap Consolidated Financial Statements for 2009, at EXAM11163041 [EXAM11163031].



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     Because the quantitative analysis on its own does not clearly demonstrate a transfer of
“substantially all” assets and the character of the assets transferred did not transform the
operations of ResCap, the Examiner concludes that it is more likely than not that a court
would not find there was an actual breach of the “all or substantially all” covenant of the 2005
Indenture. Without an actual breach of the 2005 Indenture, the Unsecured Noteholders could
not pursue a tortious interference with contract claim against AFI.

                      (b) AFI’s Intentional Procurement Of ResCap’s Breach Of The 2005
                          Indenture Without Justification

     Given that a court might find—contrary to the conclusion of the Examiner—that there
was a breach of the “substantially all” covenant of the 2005 Indenture, the Investigation
considered whether AFI could be found to have tortiously interfered with the contract by
intentionally procuring ResCap’s breach of the 2005 Indenture without justification.
“[D]eliberate or intentional interference may be shown where the defendant is certain, or
substantially certain, that his actions will result in a breach of contract.”1007 The Unsecured
Noteholders must be able to show that AFI was at least substantially certain that its actions
would result in a breach of the 2005 Indenture.1008 If intentional procurement of the breach can
be established, AFI may rebut liability for tortious interference by raising the economic
interest defense, which would require AFI to show that it acted to protect its own legal or
financial stake in the breaching party’s business.1009

     The Unsecured Noteholders allege that AFI intentionally procured, without justification,
the breach of the “substantially all” covenant of the 2005 Indenture by dictating ResCap’s role
in the 2009 Bank Transaction and ordering ResCap to engage in the intercompany debt
forgiveness transactions for AFI’s ultimate benefit.1010 Further, the Unsecured Noteholders
1007 High Falls Brewing Co., LLC v. Boston Beer Corp., 852 F. Supp. 2d 306, 311 (W.D.N.Y. 2011) (“The rule

   applies . . . to an interference that is incidental to the actor’s independent purpose and desire but known to
   him to be a necessary consequence of his action.”) (citing RESTATEMENT (SECOND) OF TORTS § 766,
   comment j (1979)); see also In re Refco Inc. Sec. Litig., 826 F. Supp. 2d 478, 521 (S.D.N.Y. 2010)
   (“Whatever the Defendants might have intended by their alleged wrongs, their goal was not to cause a breach
   of contractual relations . . . [a]t best any breach . . . was a collateral effect of the Defendants’ [actions].”);
   Watt v. Jackson Hewitt Tax Serv. Inc., 675 F. Supp. 2d 274, 282 (E.D.N.Y. 2009) (citing Innovative
   Networks, Inc. v. Young, 978 F. Supp. 167, 180 (S.D.N.Y. 1997)).
1008 See High Falls Brewing Co., LLC, 852 F. Supp. 2d at 311–12.

1009 White Plains Coat & Apron Co., Inc. v. Cintas Corp., 867 N.E.2d 381, 383 (N.Y. 2007); see Felsen v. Sol

   Café Mfg. Corp., 24 N.Y.2d 682, 687 (N.Y. 1969) (noting that a corporation that has a financial interest in
   the business of another “is privileged to interfere with a contract with that . . . business had with a third
   person . . . to protect [its] own interest,” as long as it does so without employing improper means); Picard v.
   Chais (In re Bernard L. Madoff Inv. Secs. LLC), 440 B.R. 282, 294 (Bankr. S.D.N.Y. 2010) (“Under New
   York law, actions taken to protect an economic interest are justified and cannot give rise to a tortious
   interference with contract claim.”).
1010 Motion of Wilmington Trust, National Association, Solely in its Capacity as Indenture Trustee for the Senior

   Unsecured Noteholders Issued by Residential Capital, LLC for an Order Authorizing it to Prosecute Claims
   and Other Causes of Action on Behalf of the Residential Capital, LLC Estate [Docket No. 3475], Ex. B, at
   48; Wilmington Trust Submission Paper, dated March 8, 2013, at 5–7.

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claim that AFI’s actions were unjustified because the transactions “were neither fair or on
arm’s length terms, were contrary to the promise [AFI] made in the Operating Agreement, and
were improper means of promoting AFI’s interests . . . at a time when AFI knew that the
companies’ respective interests in these transactions were diametrically opposed.”1011

     The Debtors and AFI assert that there is no evidence that AFI intentionally induced
ResCap to breach the “substantially all” covenant of the 2005 Indenture because ResCap
(1) forgave intercompany debt after written consent by the ResCap Board and (2) entered into
the 2009 Bank Transaction based on advice from its independent advisors and approval by the
ResCap board.1012 To the extent AFI intentionally induced the breach, AFI and the Debtors
argue that AFI was economically justified in doing so in order to protect “its interest in
ResCap and/or advancing ResCap’s own financial interests, and there has been no showing of
malice, fraud, or illegality.”1013

     There is evidentiary support that AFI was aware of the “substantially all” covenant of the
2005 Indenture.1014 The Investigation, however, did not uncover any evidence that AFI
intended the 2009 Bank Transaction and the intercompany debt forgiveness to cause a breach
of the 2005 Indenture. AFI’s goal, to the extent the transactions could be aggregated as
suggested by the Noteholders, was to acquire and maintain Ally Bank. The breach of the
“substantially all” covenant of the 2005 Indenture was therefore a collateral effect of AFI’s
alleged role in the transactions. Even if AFI intentionally procured the breach, however, the
Examiner concludes that it is likely that an economic interest defense would prevail.

     In response to a tortious interference claim, a defendant may raise the economic interest
defense to defeat a tortious interference claim if the defendant acted to protect its own legal or
financial stake in the breaching party’s business.1015 Therefore, “where a third party has an
‘economic interest’ in an entity and interferes with an existing contractual relationship
between the plaintiff and that entity, such interference is considered privileged.”1016 Liability



1011 Motion of Wilmington Trust, National Association, Solely in its Capacity as Indenture Trustee for the Senior

    Unsecured Noteholders Issued by Residential Capital, LLC for an Order Authorizing it to Prosecute Claims
    and Other Causes of Action on Behalf of the Residential Capital, LLC Estate [Docket No. 3475], Ex. B, at
    48.
1012 See Debtors’ Submission Paper, dated Jan. 7, 2013, at 31; see AFI Submission Paper, dated Dec. 19, 2012, at

    A-7.
1013 AFI Submission Paper, dated April 12, 2013, at 21.

1014 For instance, after Tessler suggested to De Molina that AFI consider exchanging ResCap notes held by AFI

    for ResCap’s in IB Finance, De Molina responded that “perhaps the servicing business works in as well.”
    E-mail from A. de Molina to L. Tessler (Aug. 9, 2008) [CCM00121378]. Tessler, however, noted that “[w]e
    can’t hollow out all of ResCap or we are going to have a problem with Bonds.” Id.
1015 See Howe v. Bank of N.Y. Mellon, 783 F. Supp. 2d 466 (S.D.N.Y. 2011); White Plains Coat & Apron Co. v.

    Cintas Corp., 460 F.3d 281 (2d Cir. 2006); Foster v. Churchill, 665 N.E.2d 153 (N.Y. 1996).
1016 Id. at 283 (citing Foster, 665 N.E.2d 153; Felsen v. Sol Café Mfg. Corp., 24 N.Y.2d 682, 687 (1969)).



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for tortious interference may still be imposed in spite of a defense of economic interest if it
can be shown that the interfering party acted with malice or employed fraudulent or illegal
means to procure the breach of contract.1017

      A parent corporation is generally presumed to have an economic interest in its
subsidiaries and its subsidiaries’ contracts.1018 The relationship between a parent and its
subsidiary, however, is not enough to establish an economic justification; the parent must also
establish that it acted to protect its economic interest.1019 The case of WMW Machinery Co.,
Inc. v. Koerber AG is instructive. The case involved a corporation that acquired manufacturers
who had exclusive distribution contracts with a certain distributor and then terminated the
contracts. The court found such termination to be economically justified because the
corporation, as parent to the manufacturers, had an economic interest in the manufacturers and
that the distributor was not performing under the contract. Given that the corporation did not
employ fraudulent or illegal means and did not act maliciously, the corporation’s economic
justification for the termination of the contracts precluded the distributor’s claims of tortious
interference with contract.1020

     ResCap is a wholly-owned, indirect subsidiary of AFI.1021 As its parent, AFI held an
economic interest in ResCap during the 2009 Bank Transaction and throughout ResCap’s
intercompany debt forgiveness transactions. Before the 2009 Bank Transaction, it was
apparent to AFI that it had to support ResCap if it wanted to preserve the full benefits of Ally


1017 Armstrong Pump, Inc. v. Hartman, 745 F. Supp. 2d 227, 239 (W.D.N.Y. 2010) (citing Foster, 665 N.E.2d

    153); see also Howe v. Bank of N.Y. Mellon, 783 F. Supp. 2d at 481 (citing Vinas v. Chubb Corp., 499 F.
    Supp. 2d 427, 431 (S.D.N.Y 2007)) (noting that to the extent a defendant has an economic interest in the
    contract, a plaintiff must demonstrate that interference with the contract was malicious or involved conduct
    rising to the level of criminality or fraud.”); Shaker Loudon Assocs. v. Burlington Coat Factory Warehouse
    Corp., 1996 U.S. Dist. LEXIS 5228, at *3 (W.D.N.Y. Apr. 16, 1996) (holding that a complaint properly
    alleged malice on the part of a corporate parent by claiming that the parent interfered with its subsidiary’s
    contract “without legal or moral justification . . . and an outrage warranting the imposition of punitive
    damages”); Felsen v. Sol Café Mfg. Corp., 24 N.Y.2d 682, 687 (1969).
1018 See, e.g., Multi-Juice, S.A. v. Snapple Beverage Corp., 2003 WL 1961636, at *4 (S.D.N.Y. Apr. 25, 2003)

    (citing Koret Inc. v. Christian Dior, S.A., 161 A.D.2d 156, 157 (N.Y. App. Div. 1990)); Koret, Inc., 161
    A.D.2d at 157 (given the evidence that indicated that the parent interfered with its subsidiary’s contract to
    protect its economic interest, the parent could not be liable for tortious interference with contract); MTI/
    Image Grp. v. Fox Studios E., 240 A.D.2d 400 (N.Y. Sup. Ct. 1997) (dismissing of a tortious interference
    with contract claim asserted against a parent company because the parent had an economic interest in the
    subsidiary’s contract, the plaintiff failed to demonstrate malice, and the corporate agent who allegedly
    committed the tort also acted as agent for the subsidiary in negotiating and executing the underlying
    contract).
1019 MDC Corp. v. John H. Harland Co., 228 F. Supp. 2d 387, 39899 (S.D.N.Y. 2002) (citing U.S. Fid. & Guar.

    Co. v. Petroleo Brasileiro S.A. Petrobras, 2001 WL 300735, at *24 (S.D.N.Y. Mar. 27, 2001); Preferred
    Health Care, Ltd. v. Empire Blue Cross & Blue Shield, 1997 WL 160489, at *3 (S.D.N.Y. Apr. 7, 1997)).
1020 WMW Mach. Co., Inc. v. Koerber AG, 658 N.Y.S.2d 385 (N.Y. Sup. Ct. 1997).

1021 See Section III.B.1.



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Bank and ensure its own survival.1022 Without AFI’s support, ResCap faced the possibility of
failing to meet its TNW covenants.1023 If ResCap or its operating subsidiaries defaulted on
their TNW covenants, ResCap most likely would have been forced to file for bankruptcy.1024
A bankruptcy filing by ResCap would have had a negative impact on AFI for several reasons.
First, it could have required AFI to renegotiate its covenants with its lenders.1025 In the
environment at the time, AFI believed that it was highly uncertain whether renegotiation could
be accomplished and, if so, at what price.1026 AFI also believed that the failure to renegotiate
could result in its own bankruptcy filing and the loss of substantial enterprise value.1027

    Second, AFI believed that a bankruptcy filing by ResCap could jeopardize AFI’s
acquisition of Ally Bank. As described in more detail in Section V.A.1.c(1)., in December
2008, AFI considered acquiring ResCap’s interest in IB Finance to facilitate approval of its
bank holding application and to simplify Ally Bank ownership.”1028 AFI believed that a
bankruptcy filing by ResCap would have interfered with AFI’s future acquisition of Ally
Bank.

     As discussed above, the 2009 Bank Transaction and ResCap’s intercompany debt
forgiveness were intended to enable ResCap and its operating subsidiaries to meet their TNW
covenants and liquidity needs.1029 This enabled ResCap to avoid defaulting on its TNW
covenants, thereby avoiding filing for bankruptcy, and AFI was able to acquire and maintain
Ally Bank. The Examiner therefore concludes that the evidence supports the proposition that
AFI had a legitimate business purpose and acted to protect its economic interest to the extent
AFI procured the breach of the 2005 Indenture.


1022 See Section V.A.1.c(1). The AFI Board considered that bankruptcy filing by ResCap could necessitate AFI to

    renegotiate its covenants with its lenders and, given the environment at the time, it was uncertain whether it
    could be accomplished and, if so, at what price. Material for a GMAC Board of Directors Meeting, dated
    Sept. 30, 2008, at 4 [ALLY_PEO_0003715]. To the extent AFI failed to renegotiate covenants, it could result
    in a bankruptcy proceeding by AFI and the loss of substantial enterprise value. See id.
1023 Unanimous Consent to Action by the GMAC Board of Directors, dated Dec. 30, 2009, at ALLY_0115311

    [ALLY_0114717]; Material for a GMAC Board of Directors Meeting, dated Sept. 30, 2008
    [ALLY_PEO_0003715].
1024 Unanimous Consent to Action by the GMAC Board of Directors, dated Dec. 30, 2009, at ALLY_0115311

    [ALLY_0114717]; Material for a GMAC Board of Directors Meeting, dated Sept. 30, 2008
    [ALLY_PEO_0003715].
1025 Material for a GMAC Board of Directors Meeting, dated Sept. 30, 2008, at 4 [ALLY_PEO_0003715].

1026 Id.

1027 Id.

1028 GMAC  Bank Transaction Update for the Board of GMAC LLC, dated Sept. 29, 2008, at 1
    [ALLY_0238653].
1029 Unanimous Consent to Action by the GMAC Board of Directors, dated Dec. 30, 2009, at ALLY_0115311

    [ALLY_0114717]; Material for a GMAC Board of Directors Meeting, dated Sept. 30, 2008
    [ALLY_PEO_0003715].

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     Further, the Investigation did not uncover any evidence that AFI employed malice, fraud,
or illegality in connection with the 2009 Bank Transaction and the intercompany debt
forgiveness transactions.1030 As noted in Section V.A.2, the Examiner found that neither the
2008 Bank Transaction nor the 2009 Bank Transaction resulted in ResCap receiving less than
reasonably equivalent value or were a result of actual fraud or other illegality. In fact, the
Examiner found that the value of the consideration received by ResCap with respect to the
2008 Bank Transaction and the 2009 Bank Transaction likely exceeded the value of the assets
transferred by ResCap. With respect to the intercompany debt forgiveness transactions, the
investigation did not uncover any evidence that AFI intended to injure ResCap or employed
any fraudulent or illegal means to the extent AFI procured the breach of the 2005 Indenture.
Instead, the available evidence supports the argument that the intercompany debt forgiveness
transactions were done to ensure that ResCap’s operating subsidiaries maintained their TNW
covenants and liquidity needs for the benefit of ResCap and AFI.

     The Examiner finds that the evidence does not support the proposition that AFI
intentionally procured ResCap’s breach of the “all or substantially all” covenant of the 2005
Indenture without justification and, therefore, the Examiner concludes it is unlikely that the
Unsecured Noteholders tortious interference with contract claim against AFI would prevail.

             b. Claims Related To The 2006 Bank Restructuring

     As summarized in Section VII.L.1.a, there are troubling facts and circumstances in
connection with the 2006 Bank Restructuring,1031 which raise questions concerning whether
AFI complied with the 2005 Operating Agreement regarding that transaction. Pursuant to the
analysis in Section V.A.2.b and as summarized in Section V.A.1.a(5), the Examiner has
concluded that ResCap did not receive reasonably equivalent value in the 2006 Bank
Restructuring, in large measure because ResCap was not compensated for the non-voting
nature and other qualities of the IB Finance Class M Shares received by ResCap in the
transaction.1032 The Unsecured Noteholders are intended third-party beneficiaries of the 2005
Operating Agreement.1033 This Section considers potential claims by the Unsecured




1030 See Section V.A.

1031 For a more complete narrative concerning the 2006 Bank Restructuring, refer to Section V.A.1.a.

1032 ResCap had a controlling interest in Old GMAC Bank; it received 2 million non-voting, non-controlling and

   relatively unmarketable tracking shares of IB Finance. See Section V.A.1.a. The FMV shortfall was between
   $390–465 million, and the difference in the equity value of Old GMAC Bank and the 2 million IB Finance
   Class M Shares was between $533 and $608 million. See Section V.A.2.b; Appendix V.A.2.b.
1033 See 2005 Operating Agreement, § 11 [ALLY_0140795] (“The holders of Rated Indebtedness and any lenders

   under any credit facility under which ResCap is a borrower shall be deemed third party beneficiaries of this
   Agreement.”).

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Noteholders against AFI for breach of the 2005 Operating Agreement, or for tortiously
interfering with it, as well as a potential claim against AFI for fraud.1034

                  (1) Breach Of Contract

     Potential bases for, and obstacles to, a claim by ResCap that AFI breached the 2005
Operating Agreement are outlined in Section VII.L.1.c. Certain of the obstacles discussed
there would not apply to a claim by the Unsecured Noteholders, most notably, the doctrine of
in pari delicto and the Wagoner rule. However, the Unsecured Noteholders nonetheless face
what appears to be an insurmountable impediment to any contract claim predicated on the
2006 Bank Restructuring: the claim accrued not later than November 22, 2006.1035 Unlike
ResCap, the Unsecured Noteholders do not have the benefit of the two-year extension under
Bankruptcy Code section 108.1036 Consequently, it appears that the putative action would be
time-barred under the governing six-year statue of limitations.1037




1034 The  Examiner considers it more likely than not that a court would find that injuries to the Unsecured
    Noteholders from the alleged wrongdoing in connection with the 2006 Bank Restructuring are particularized
    to them in light of their rights under the 2005 Operating Agreement, and that they would have standing to
    assert such claims. See Fisher v. Apostolou, 155 F.3d 876, 881 (7th Cir. 1998) (finding that a group of
    creditor-investors may be able to show particularized harm based on fraud, separate and distinct to each
    creditor); Bankers Trust Co. v. Rhoades, 859 F.2d 1096, 1100–01 (2d Cir. 1988) (holding that creditor that
    brought fraud-based claims against debtor’s officers had standing to bring RICO claim, despite fact that
    debtor might also have suffered identical injury for which it had similar right); Andrew Greenberg, Inc. v.
    Svane, Inc., 830 N.Y.S.2d 358, 361 (N.Y. App. Div. 2007) (holding that plaintiff-creditor’s claims for
    tortious interference with contract and breach of contract alleged a “direct injury to property rights unique to
    plaintiff rather than the corporation or all of the creditors, and recovery of damages by the corporation would
    not rectify plaintiff’s injury”); Nw. Racquet Swim & Health Clubs, Inc. v. Deloitte & Touche, 535 N.W.2d
    612, 619 (Minn. 1995) (holding in an action by debenture noteholder for misrepresentation against auditor
    for insolvent debenture issuer, that the debenture noteholder’s claims against auditor were not derivate, and
    finding that noteholder “also alleges specific misrepresentations in the audit report that affected [noteholder]
    directly in its decision to purchase the debentures”); see also Larson v. Ernst & Young, C3-94-2514, 1995
    WL 434466, at *3 (Minn. Ct. App. July 25, 1995). Further, the Examiner concludes in Section VII.L.1 that it
    is more likely than not that the estate does not have the ability to pursue fraud and breach of contract claims
    arising under the 2005 Operating Agreement with respect to the 2006 Bank Restructuring. To the extent that
    such claims are not property of the estate, they are property of creditors. See In re Bennett Funding Grp.,
    Inc., 336 F.3d 94, 102 (2d Cir. 2003) (citing Shearson Lehman Hutton, Inc. v. Wagoner, 944 F.2d 114, 120
    (2d Cir.1991)).
1035 The 2006 Bank Restructuring was approved unanimously by the ResCap Board members present at its
    November 20, 2006 meeting, and the ResCap Board granted a “waiver of the Operating Agreement” by
    resolution at that meeting. See Minutes of a Special Meeting of the Board of Directors of Residential Capital,
    LLC, Nov. 20, 2006, at RC40006839 [RC40006748]. The transaction closed on November 22, 2006. See
    Residential Capital, LLC, Current Report (Form 8-K) (Nov. 27, 2006), at 2.
1036 See 11 U.S.C. § 108(a).

1037 See 2005 Operating Agreement, § 13 [ALLY_0140795] (New York governing law); see also N.Y. C.P.L.R.

    § 213(2) (six-year limitations for actions on contract).

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     Accordingly, the Examiner concludes that it is unlikely that a claim by the Unsecured
Noteholders against AFI for breach of the express terms of the 2005 Operating Agreement
and/or the covenant of good faith and fair dealing thereunder, arising from the 2006 Bank
Restructuring, would prevail.1038
                 (2) Tortious Interference With Contract
     As addressed in Section VII.L.1.d, “only a stranger can commit the tort of interference
with contract.”1039 Accordingly, the Examiner concludes that it is unlikely that a claim by the
Unsecured Noteholders against AFI for tortious interference with the 2005 Operating
Agreement would prevail.
                 (3) Fraud
      Potential bases for, and obstacles to, a claim by ResCap against AFI for fraud arising
from the 2006 Bank Restructuring are outlined in Section VII.L.1.b. Certain of the obstacles
discussed there would not apply to a claim by the Unsecured Noteholders, most notably, the
doctrine of in pari delicto and the Wagoner rule. The Unsecured Noteholders would
nonetheless face a challenging obstacle to a fraud claim predicated on the 2006 Bank
Restructuring: the difficulty of establishing the detrimental reliance-in-fact element necessary
to prove a claim of fraud. It is possible that such a claim would be governed by the substantive
tort law of New York, pursuant to which there may be an avenue to pursue a fraud claim
under a “third-party reliance” theory, but the law is unsettled and it is uncertain whether the
Unsecured Noteholders could successfully invoke third-party reliance.
                     (a) New York Law Likely Would Apply If The Claim Were Brought In
                         Minnesota; Minnesota Law Likely Would Apply If The Claim Were
                         Brought In New York
     As discussed below in Section VIII.C.5.b(3)(b), the viability of the Unsecured
Noteholders’ fraud claim against AFI may turn in part upon whether they can invoke New
York’s “third-party reliance” doctrine. The answer to that question may turn on where the
claim is heard. The 2005 Operating Agreement has a New York governing law provision.1040
A New York court would be unlikely to consider that provision in determining the law
applicable to a fraud claim, however.1041 “Under New York’s ‘interest analysis,’ the important
factors      determining       the       proper    law       to       apply       are      the
1038 Remedies
            available to third-party beneficiaries are limited to “specific performance.” 2005 Operating
   Agreement, § 11 [ALLY_0140795]. It may be possible on a showing of conduct that “smacks of intentional
   wrongdoing” to overcome such a limitation. See Section VI.L.1.c(4).
1039 DAN B. DOBBS, PAUL T. HAYDEN, AND ELLEN M. BUBLICK, THE LAW OF TORTS § 635 (2d ed. 2012).

1040 2005 Operating Agreement, § 13 [ALLY_0140795].

1041 See, e.g., BrandAid Mktg. Corp. v. Biss, 03 CIV. 5088 (WHP), 2008 WL 190494, at *4 (S.D.N.Y. Jan. 22,

   2008), aff’d, 08-0941-CV, 2009 WL 742077 (2d Cir. Mar. 23, 2009) (“While [the choice-of-law] provision is
   effective as to breach of contract claims, it does not apply to fraud claims, which sound in tort.”) (quotation
   and citation omitted); see also H.S.W. Enters., Inc. v. Woo Lae Oak, Inc., 171 F. Supp. 2d 135, 141 n.5
   (Bankr. S.D.N.Y. 2001) (stating that unless expressly agreed upon by the parties or exceptionally broad,
   contractual choice-of-law provisions do not govern a cause of action sounding in tort).

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parties’ domiciles and the locus of the tort.”1042 Thus, where the parties are domiciled in
different states, the place or location of the tort is “paramount.”1043 Accordingly, a court in
New York is unlikely to conclude that New York law would apply to the Unsecured
Noteholders’ fraud claim against AFI, because New York is not meaningfully connected to the
tort. Rather, as addressed in Section VII.L, a New York court likely would apply the
substantive law of Minnesota to the claim.

     Were the fraud claim brought in a Minnesota court, on the other hand, it is possible that
the court would, in deference to the governing law provision of the 2005 Operating
Agreement, find that the tort law of New York is applicable. Minnesota law recognizes that
“tort claims ‘rais[ing] issues of performance’ under a contract . . . are governed by the
contract’s choice-of-law clause.”1044 Minnesota law also holds that it is the law of the forum
state which determines the scope of a contract’s governing law clause.1045 Thus, if a fraud
action against AFI were brought in Minnesota, a court would likely find that the law of
Minnesota, and not that of New York, would determine the applicability to the claim of the
New York governing law provision of the 2005 Operating Agreement. Given the
entanglement of the fraud claim with the 2005 Operating Agreement, and the authority cited
above, it is likely that a Minnesota court would find that the claim falls within the scope of the
contract’s governing law provision, and therefore that New York law would govern the fraud
claim.1046

                       (b) If The Claim Is Brought In Minnesota, The Unsecured Noteholders May
                           Be Able To Show Reliance Based Upon New York Law

     As described in the preceding section, if the Unsecured Noteholders brought a claim for
fraud against AFI in a New York court, Minnesota law likely would apply. Conversely, if the
1042 BrandAid Mktg. Corp., 2008 WL 190494, at *4 (quotation and citation omitted); see also Winter-Wolff Int’l,

    Inc. v. Alcan Packaging Food & Tobacco Inc., 499 F. Supp. 2d 233, 240 (E.D.N.Y. 2007) (“As the tort claim
    is not covered by the choice of law provision in the contract, this Court must apply New York’s interest
    analysis which gives controlling effect to the law of the jurisdiction which, because of its relationship or
    contact with the occurrence or the parties, has the greatest concern with the specific issue raised in the
    litigation.”) (quotation and citation omitted); Krock v. Lipsay, 97 F.3d 640, 646 (2d Cir. 1996) (“in all interest
    analyses, the significant contacts are, almost exclusively, the parties’ domicile and the locus of the tort.”
    (quotation and citation omitted)).
1043 Rosenberg v. Pillsbury Co., 718 F. Supp. 1146, 1150 (S.D.N.Y. 1989); see also Winter-Wolff, 499 F. Supp.

    2d at 241.
1044 Ceres Envtl. Serv., Inc. v. Arch Specialty Ins. Co., 853 F. Supp. 2d 859, 865 (D. Minn. 2012); see also Fla.

    State Bd. of Admin. v. Law Eng’g & Envtl. Serv., Inc., 262 F. Supp. 2d 1004, 1012–15 (D. Minn. 2003)
    (concluding under Minnesota law that contractual Florida choice of law provision applies to tort claims,
    including breach of fiduciary duty, negligence, and negligent misrepresentation, because they are all “closely
    related to the parties’ contractual relationship”).
1045 Ceres Envtl. Serv., 853 F. Supp. 2d at 866.

1046 See, e.g., Fla. State Bd. of Admin., 262 F. Supp. 2d at 1014 (finding that negligent misrepresentation claim

    was “closely related to defendant’s performance of the contract because the allegation is premised upon
    plaintiff’s allegation that the report defendant delivered pursuant to the contract did not accurately reflect the
    condition of the structure, the extent of project repair or the total cost of maintenance”).

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claim were brought in a Minnesota court, New York law is likely to apply because of the
treatment under that state’s law of the governing law provision of the 2005 Operating
Agreement. This section considers the “reliance” element of a fraud claim under the law of
both jurisdictions.

                              (i) The Elements Of Fraud

     The elements of fraud under Minnesota law are: “(1) a false representation . . . of a past
or existing material fact susceptible of knowledge; (2) made with knowledge of the falsity of
the representation or made without knowing whether it was true or false; (3) with the intention
to induce [plaintiff] to act in reliance thereon; (4) that the representation caused [plaintiff] to
act in reliance thereon; and (5) that [plaintiff] suffered pecuniary damages as a result of the
reliance.”1047 The elements of fraud under New York law are similar.1048

                              (ii) Reliance Under Minnesota Law

     As discussed in Section VII.L.1.b, certain facts and circumstances leading up to the
November 20, 2006 ResCap Board resolution, which waived the 2005 Operating Agreement
in connection with the 2006 Bank Restructuring, raise concerns as to whether representations
by AFI through its agents to the Independent Directors in connection with that transaction
were fraudulently incomplete and misleading. “A representation is not actionable unless the
plaintiff in fact relies upon it. To rely, the plaintiff must enter a transaction in whole or part
because of the representation.”1049 The Unsecured Noteholders arguably suffered pecuniary
damages as a result of the 2006 Bank Restructuring, inasmuch as ResCap received much less
than reasonably equivalent value.1050 Yet, because it does not appear that any
misrepresentations were actually made to the Unsecured Noteholders, it is unlikely that they
can meet the usual requirement of “reliance-in-fact.”1051

     The law of Minnesota incorporates such a requirement as an element of proof for a claim
of fraud. “Under Minnesota law, one of the elements of a claim of fraudulent
misrepresentation is ‘communication of the false statement to plaintiff.’”1052 Thus, a fraud
claim “cannot survive unless the alleged misrepresentation was actually repeated to a person
to whom the defendant intends or has reason to expect to have it repeated.”1053
1047 Valspar Refinish, Inc. v. Gaylord’s, Inc., 764 N.W.2d 359, 368 (Minn. 2009).

1048 See Section VII.L.1.b.

1049 DAN B. DOBBS, PAUL T. HAYDEN, AND ELLEN M. BUBLICK, THE LAW OF TORTS § 671 (2d ed. 2012).

1050 See Section V.A.2.b; Appendix V.A.2.b.

1051 DAN B. DOBBS, PAUL T. HAYDEN, AND ELLEN M. BUBLICK, THE LAW OF TORTS § 671 (2d ed. 2012).

1052 Bank of Montreal v. Avalon Capital Grp., Inc., No. 10-591 (MJD/AJB), 2012 WL 1110691, at *7 (D. Minn.

    Apr. 3, 2012) (citations omitted).
1053 Id. (citations and internal quotation marks omitted); see also LaFleche v. Clark Prods., Inc., No. 05-2549

    MJD/AJB, 2007 WL 2023564, at *15 (D. Minn. July 9, 2007) (determining that the plaintiff could not assert
    a fraud claim based on a representation that was made by the defendant to a third-party but was not
    transmitted to the plaintiff before he entered into an agreement with the defendant).

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     As the above quotation suggests, however, Minnesota law allows for a degree of indirect
reliance in some instances such that “a defendant may be liable for making fraudulent
misrepresentations to a third party if it intended or had reason to expect that they would be
communicated to the plaintiff and influence the plaintiff’s conduct.”1054 An example of such a
“chain of reliance” fraud occurred when an accounting firm made misrepresentations to the
Commissioner of Insurance regarding a firm’s financial condition and, in reliance on the
representations, the Commissioner made a further representation to plaintiff regarding the
solvency of the subject firm.1055

     That decision and similar cases have been described as applying “in limited
circumstances,”1056 but even such a “chain of reliance” rubric is in accord with the
Restatement view, and is not in derogation of the usual reliance-in-fact requirement:

                 The maker of a fraudulent misrepresentation is subject to
                 liability for pecuniary loss to another who acts in justifiable
                 reliance upon it if the misrepresentation, although not made
                 directly to the other, is made to a third person and the maker
                 intends or has reason to expect that its terms will be repeated or
                 its substance communicated to the other, and that it will
                 influence his conduct in the transaction or type of transaction
                 involved.1057

     Because the Investigation did not uncover evidence to suggest that any of the arguably
fraudulent misrepresentations described in Section VII.L.1.b were made to or relied upon by
the Unsecured Noteholders, whether directly or indirectly, it appears that the Unsecured
Noteholders likely would be unable to establish a claim of fraud against AFI under Minnesota
law.

                          (iii) Third-Party Reliance Under New York Law

     New York law, however, may recognize a more expansive “third-party reliance”
doctrine, which “operates as an exception to the normal justifiable reliance element of
common law fraud,” whereby a plaintiff alleging fraud can “show that a third-party relied

1054 Corporate Comm’n of Mille Lacs Band of Ojibwe Indians v. Money Ctrs. of Am., Inc., No. 12-1015 (RHK/

    LIB), 2012 WL 5439170, at *7 (D. Minn. Nov. 7, 2012) (citations omitted).
1055 See Bonhiver v. Graff, 248 N.W.2d 291, 298–301 (Minn. 1976).

1056 Nat’lCity Bank v. Coopers & Lybrand, 409 N.W.2d 862, 869 (Minn. 1987); see also Dakota Bank v.
    Eiesland, 645 N.W.2d 177, 178–79 (Minn. Ct. App. 2002) (defendant accountants knew that their financial
    statements contained false information and that the bank would rely on these financial statements in
    determining whether to loan money to accountant’s client); see generally RESTATEMENT (SECOND) OF
    TORTS § 552 (1977).
1057 RESTATEMENT (SECOND) OF TORTS § 533 (1977); see also Corporate Comm’n of Mille, 2012 WL 5439170,

    at *5–7 (citing § 533 of the RESTATEMENT and noting limited circumstances in which “indirect fraud” is
    actionable).

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upon a misrepresentation by the defendant, which resulted in injury to the plaintiff.”1058 For
example, in one recent case, plaintiff patentee sued defendant (a competitor) whom it alleged
“fraudulently placed a false patent number” on its products, which were sold to the public.1059
In seeking dismissal, defendant argued that plaintiff failed to plead reliance on any alleged
misrepresentation. The court, denying the motion to dismiss, stated that: “While [defendant] is
correct that Plaintiffs never pled their own reliance on misrepresentations, New York allows
plaintiffs to bring claims based on a theory of third party reliance. . . . [I]t is clear that the
Plaintiffs are claiming that customers relied on . . . the false patent number, when buying
Defendants’ products. . . [and] Plaintiffs were harmed by customers’ reliance on Defendants’
misstatements.”1060

     In New York, the third-party reliance doctrine has a somewhat checkered history. In
1998, the Second Circuit Court of Appeals rejected the notion of third-party reliance, viewing
it as an incorrect statement of New York law.1061 But a 2012 decision from the Southern
District of New York concluded that the New York Court of Appeals would “allow recovery
for common law fraud based on third party reliance,”1062 explicitly calling into “further doubt”
the aforementioned Second Circuit decision.1063

     Moreover, although the New York Court of Appeals has not considered the question
since the 19th century,1064 the Appellate Division of the New York Supreme Court has in
modern cases determined that a plaintiff’s fraud claim can exist “where a false representation
is made to a third party, resulting in injury to the plaintiff.”1065 Within the past several months,




1058 Prestige Builder & Mgmt. LLC v. Safeco Ins. Co. of Am., No. 12 Civ. 1947(ILG)(LB), 2012 WL 4801769, at

    *3 (E.D.N.Y. Oct. 10, 2012) (footnote omitted) (citation omitted).
1059 SeeMy First Shades v. Baby Blanket Suncare, No. 08-CV-4599 (MKB), 2012 WL 6675118, at *10
    (E.D.N.Y. Dec. 21, 2012).
1060 Id. at *11; see also Buxton Mfg. Co., Inc. v. Valiant Moving & Storage Inc., 657 N.Y.S.2d 450, 451 (N.Y.

    App. Div. 1997) (denying summary judgment on fraud claim against defendant, a prime contractor, whose
    allegedly fraudulent progress payment certification to customer resulted in customer releasing funds which
    would otherwise have been available to pay plaintiff).
1061 Cement & Concrete Workers Distr. Council Welfare Fund v. Lollo, 148 F.3d 194, 196–97 (2d Cir. 1998).

1062 Chevron Corp. v. Donziger, 871 F. Supp. 2d 229, 256–57 (S.D.N.Y. 2012) (citing cases and noting that in the

    1800’s the New York Court of Appeals “held not once, but three times, that a claim for common law fraud
    may rest on third-party reliance”).
1063 Chevron, 871 F. Supp. 2d at 257 (citing Cement & Concrete, 148 F.3d 194); see also Prestige, 2012 WL

    4801769, at *5 (“The third-party reliance doctrine is good law in New York.”).
1064 See Eaton, Cole & Burnham Co. v. Avery, 83 N.Y. 31, 33–34 (1880); Rice v. Manley, 66 N.Y. 82, 87 (1876);

    Bruff v. Mali, 36 N.Y. 200, 205–06 (1867).
1065 Buxton Mfg., 657 N.Y.S.2d at 451 (citations omitted); see also Litvinov v. Hodson, 905 N.Y.S.2d 400, 401

    (N.Y. App. Div. 2010).

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however, a U.S. District Court, noting that in 2008 “the Second Circuit settled the matter,”1066
stated that “New York law is ambivalent as to whether reliance by a third party is sufficient to
support a fraud claim.”1067

     Whether in fact the Second Circuit has “settled the matter” is unclear. As noted, there are
2012 District Court decisions (from both the Southern and Eastern Districts of New York)
supporting the third-party reliance doctrine. Moreover, despite the Second Circuit’s expressed
opposition to the third-party reliance doctrine under New York law, that court has also in
recent years summarily affirmed at least two cases from the Eastern District of New York and
the Southern District of New York that referenced the third-party reliance doctrine as valid
under New York law.1068

      Finally, in 2013, a U.S. District Court denied a motion for an order certifying for
interlocutory appeal the question of “whether New York law permits a claim for fraud based
on injury suffered as a result of detrimental reliance by a person other than the plaintiff.”1069 In
determining that an interlocutory appeal would not materially advance the case, the court
recognized that the Second Circuit has stated “that New York law does not permit fraud
claims based on third party reliance.”1070 Nevertheless, in the same decision, the court
emphasized that the New York Court of Appeals is the ultimate decision maker on issues of
New York law and stated that New York does in fact recognize fraud claims based on third-
party reliance.1071

                          (iv) Whether A Minnesota Court Would Apply New York’s Third-Party
                               Reliance

     Given the conflicting authority, it is unclear in general whether even a court sitting in
New York would consider the third-party reliance doctrine valid. It is similarly unclear,
therefore, how a court sitting in Minnesota, but applying New York law, would treat this
question.




1066 Chapin Home for the Aging v. McKimm, No. 11-CV-667 (FB)(RER), 2013 WL 948110, at *3 (E.D.N.Y.

    Mar. 11, 2013) (citing City of N.Y. v. Smokes-Spirits.com, 541 F.3d 425, 454 (2d Cir. 2008), rev’d and
    remanded on other grounds, Hemi Group, LLC v. City of N.Y., 559 U.S. 1 (2010)).
1067 Chapin Home for the Aging, 2013 WL 948110, at *2.

1068 See O’Brien v. Argo Partners, Inc., 736 F. Supp. 2d 528, 537 (E.D.N.Y. 2010) (citation omitted), aff’d, 426

    F. App’x 36 (2d Cir. 2011); Liberty Life Assurance Co. of Bos. v. Bahan, No. 09 Civ. 4715(JRS), 2010 WL
    3431147, at *2 n.4 (S.D.N.Y. Aug. 23, 2010) (citations omitted), aff’d, 441 F. App’x 21 (2d Cir. 2011).
1069 Chevron Corp. v. Donziger, No. 11 Civ. 0691(LAK), 2013 WL 98013, at *1, 5 (S.D.N.Y. Jan. 7, 2013)

    (footnote omitted).
1070 Chevron Corp., 2013 WL 98013, at *3.

1071 See id.



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                       (c) The Statute Of Limitations Applicable To This Claim Is Likely Tolled By
                           A Discovery Rule

     As addressed in Section VII.L.1.b, both New York and Minnesota have six-year statutes
of limitations for fraud claims.1072 The Unsecured Noteholders are not entitled to the benefit of
the two-year extension under the Bankruptcy Code.1073 Under Minnesota law, the limitations
period does not begin to run until “the discovery by the aggrieved party of the facts
constituting the fraud.”1074 However, it is plaintiff’s burden to establish that it could not have
discovered the facts any sooner than within six years of when the action is commenced.1075

      Pursuant to the Uniform Conflict of Laws-Limitations Act,1076 as adopted in Minnesota,
if a court in that state determines that the Unsecured Noteholders’ fraud claim is governed by
the law of New York, then Minnesota will also apply New York’s statute of limitations.1077
New York law holds that a claim for fraud is timely if commenced either within six years of
the date the fraud occurs, or within two years of the date the fraud is discovered or through
reasonable diligence should have been discovered, whichever is longer.1078 The question of
when a fraud reasonably should have been or could have been discovered is a mixed question
of fact and law under New York law.1079

     New York courts employ a two-step test to determine the accrual date of the two-year
discovery rule: “whether and when the plaintiff had (1) inquiry notice and (2) constructive
knowledge of the alleged fraud.”1080 The inquiry notice requirement protects a plaintiff “who
has no reason to suspect that he has been defrauded.”1081 Once the plaintiff is on inquiry
notice, the limitations period will begin running when plaintiff is “aware of enough operative
facts so that, with reasonable diligence, he could have discovered the fraud.”1082

1072 See N.Y. C.P.L.R. § 213(8); MINN. STAT. § 541.05, subdiv. 1(6) (2012).

1073 See 11 U.S.C. § 108(a).

1074 MINN. STAT. § 541.05, subdiv. 1(6).

1075 Alliance Bank v. Dykes, No. A12-0455, 2012 Minn. App. Unpub. LEXIS 1253, at *44 (Minn. Ct. App. Dec.

    31, 2012) (citing Jane Doe 43C v. Diocese of New Ulm, 787 N.W.2d 680, 684 (Minn. Ct. App. 2010)),
    review denied, 2013 Minn. LEXIS 166 (Minn. Mar. 19, 2013),; see also Veldhuizen v. A.O. Smith Corp., 839
    F. Supp. 669, 675–76 (D. Minn. 1993) (limitation period begins to run when plaintiff is “aware of facts
    sufficient to put a reasonable person on notice that a fraud claim may exist”).
1076 UNIF. CONFLICT OF LAWS-LIMITATIONS ACT § 2, U.L.A. (1982).

1077 See MINN. STAT. § 541.31, subdiv. 1(a)(1).

1078 SeeLiberty Co. v. Boyle, 708 N.Y.S.2d 122, 125 (N.Y. App. Div. 2000); Bobash, Inc. v. Festinger,
    No. 03908/05, 839 N.Y.S.2d 431, at *3 (Table) (N.Y. Sup. Ct. Mar. 30, 2007), appeal dismissed as
    academic, 868 N.Y.S.2d 747 (N.Y. App. Div. 2008); see also N.Y. C.P.L.R. § 213(8).
1079 See Saphir Int’l, SA v. UBS PaineWebber Inc., 807 N.Y.S.2d 58, 59 (N.Y. App. Div. 2006). Under Minnesota

    law it is considered a question of fact. See Barry v. Barry, 78 F.3d 375, 380 (8th Cir. 1996).
1080 Kelly v. Legacy Benefits Corp., 950 N.Y.S.2d 608, at *7 (N.Y. Cty. 2012).

1081 Id. (citation and quotation omitted).

1082 Id.



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     The operative facts concerning a possible fraud regarding the 2006 Bank Restructuring
likely occurred in the time frame between May 5, 2006—the date of Eric Feldstein’s
memorandum to the Independent Directors1083—and November 22, 2006, when the 2006 Bank
Restructuring was executed, two days after approval by the Independent Directors.1084 The
accrual date for a fraud claim is, therefore, likely not later than November 22, 2006. If the
New York limitations period applies, the action became time-barred not later than
November 22, 2012, unless the Unsecured Noteholders did not discover or, with reasonable
diligence, could not have discovered the fraud. In that case an action on the fraud must be
commenced not later than two years after actual or constructive knowledge.1086

      “The test as to when fraud should with reasonable diligence have been discovered is an
objective one. . . . [W]here the circumstances are such as to suggest to a person of ordinary
intelligence the probability that he has been defrauded, a duty of inquiry arises, and if he omits
that inquiry when it would have developed the truth, and shuts his eyes to the facts which call
for investigation, knowledge of the fraud will be imputed to him.”1087

     Notably, within a few days of the transaction, ResCap filed a public report addressing the
2006 Bank Restructuring.1088 That report included the “Purchase and Assumption Agreement
between [Old GMAC Bank] and GMAC Automotive Bank” executed on November 22, 2006,
and related that “ResCap’s board of directors (including both [I]ndependent [D]irectors)
unanimously waived compliance with the provisions of the Operating Agreement.”1089 It also
disclosed that the transfer of Old GMAC Bank was for book value, and that ResCap satisfied a
$360 million capital call immediately after the transfer.1090 Additionally, the report disclosed
the nature of ResCap’s interest in the newly formed IB Finance:

           Immediately following the P&A Transaction, [AFI] contributed all of its shares
           of GMAC Automotive Bank to [AFI’s] wholly-owned subsidiary, IB Finance
           Holding Company LLC, a newly created limited liability holding company



1083 SeeMemorandum, Proposed Restructuring of GMAC U.S. Banking Entities, dated May 5, 2006
    [EXAM10258913] (attached to E-mail from K. Sabatowski to T. Melzer and T. Jacob (May 4, 2006)
    [EXAM10258912]).
1084 Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Nov. 20, 2006, at

    RC40006839 [RC40006748].
1085 See Walker Report [RC40008925].

1086 See Gutkin v. Siegal, 926 N.Y.S.2d 485, 486 (N.Y. App. Div. 2011).

1087 Id. (quotations and citations omitted).

1088 See Residential Capital, LLC, Current Report (Form 8-K) (Nov. 27, 2006). Further, pursuant to the 2005

    Operating Agreement, following the waiver, ResCap was required to “provide each Class Agent and Bank
    Agent a copy of any amendment or waiver.” 2005 Operating Agreement, § 8 [ALLY_0140795].
1089 Residential Capital, LLC, Current Report (Form 8-K) (Nov. 27, 2006), at 2.

1090 Id.



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           subsidiary of [AFI]. ResCap purchased certain non-voting interests in IB
           Finance Holding Company LLC from [AFI] for $1.161 billion pursuant to an
           Equity Purchase Agreement. [AFI] retained the voting interests in IB Finance
           Holding Company LLC.1091

     Thus, substantial public information was available regarding the 2006 Bank
Restructuring at the time the transaction occurred.

     Nonetheless, without access to some or all of the key documents, such as David Marple’s
memorandum,1092 David Applegate’s memorandum,1093 Feldstein’s note to the Independent
Directors,1094 Marple’s responses to the Independent Directors’ questions,1095 and the Walker
Report,1096 it seems unlikely that the Unsecured Noteholders could have had actual knowledge
of a fraud. Further, while the Investigation has not focused on communications between
ResCap or AFI on the one hand, and the Unsecured Noteholders on the other hand, nor on
what other sources of information may have been available to the Unsecured Noteholders, the
Investigation has not revealed circumstances which would have put the Unsecured
Noteholders on notice of a possible fraud, nor has it revealed circumstances suggesting that
the Unsecured Noteholders should be charged with constructive knowledge of a possible
fraud.

     The Examiner therefore concludes that, while a close question, it is more likely than not
that a statute of limitations defense would not prevail as to a claim by the Unsecured
Noteholders against AFI for fraud arising from the 2006 Bank Restructuring.

                     (d) Conclusion As To Fraud Claim

     While the facts surrounding the 2006 Bank Restructuring raise serious concerns, a claim
by the Unsecured Noteholders against AFI for fraud would nonetheless face difficult
challenges. Such a claim would have little chance of success unless the court concludes that
the “third-party reliance” doctrine remains good law in New York and is applicable to the
Unsecured Noteholders’ claim. But the state of the law on this rarely invoked doctrine is
entirely unsettled. Further, even if one concludes that the Unsecured Noteholders have a




1091 Id.

1092 Memorandum, GMAC Bank Restructuring, dated Apr. 20, 2006 [EXAM11248642].

1093 Memorandum, ILC Ownership and Control, dated Apr. 24, 2006 [EXAM11248641].

1094 Memorandum,Proposed Restructuring of GMAC U.S. Banking Entities, dated May 5, 2006
    [EXAM10258913] (attached to E-mail from K. Sabatowski to T. Melzer and T. Jacob (May 4, 2006)
    [EXAM10258912]).
1095 Memorandum, GMAC Bank Restructuring, dated May 12, 2006 [ALLY_0401600].

1096 Walker Report [RC40008925].



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compelling case on the remaining issues (including the statute of limitations and the other
aspects of a fraud claim addressed above and in Section VII.L.1.b), resolution of those issues
in the Unsecured Noteholders’ favor is not certain. Accordingly, weighing these
considerations and all the facts and circumstances, the Examiner concludes that, while it is a
close question, it is more likely than not that the Unsecured Noteholders’ fraud claim would
not prevail.

     Were a fraud action viable, damages could be substantial, likely amounting to not less
than the FMV shortfall of between $390 to $465 million,1097 and perhaps as much as the
difference between the equity value of ResCap’s interest in Old GMAC Bank, which it
transferred, and the equity interest in IB Finance, which it received, i.e., between $533 and
$608 million.1098

D. POTENTIAL ALLEGED DAMAGES

    1. Disclosed Alleged Damages

     The Examiner Scope Approval Order provides that the Examiner should “solicit the
parties’ views concerning . . . the potential amount of damages arising from [Third-Party
Claims], but . . . not attempt to independently quantify such damages.”1099 Consistent with that
directive, the Examiner’s Professionals solicited damages information from Third-Party
Claimants in the Examiner’s September 21, 2012 letter requesting Submission Papers and
Examiner’s Counsel’s December 21, 2012 letter requesting Damages Letters.1100 Where
parties declined the Examiner’s requests for information, the Examiner’s Professionals
collected information from Third-Party Claimants’ various complaints and proofs of claim
filed in the Debtors’ Chapter 11 Cases.1101 Consistent with the Examiner Scope Approval
Order,1102 however, the Examiner’s Professionals did not independently calculate such
damages information.

      As a general matter, the damages information received and compiled by the Examiner
relates to those Third-Party Claims that have progressed to litigation. While pending litigation
likely represents only a subset of the potential universe of Third-Party Claims, the
Investigation has not identified every RMBS investor or mortgage borrower potentially
1097 See Section V.A.2.b; Appendix V.A.2.b. These figures take into account $143 million on the value received

   side, accounting for the avoidance of a credit rating downgrade. See id.
1098 See Section V.A.2.b; Appendix V.A.2.b.

1099 See Examiner Scope Approval Order at 5.

1100 See Section VIII.A.2. These letters are attached as Appendices VIII.A—3 and VIII.A—4, respectively.

1101 While the proofs of claim filed in the Chapter 11 Cases may be more reflective of claims against the Debtors

   than against the AFI Defendants, many of the Third-Party Claimants filed proofs of claim that include
   allegations against the AFI Defendants or simply attach RMBS Action complaints that contain similar
   accusations against the AFI Defendants. Accordingly, certain of the proofs of claim appear to be relevant to
   the AFI Defendants’ potential liability as well as to the Debtors’ potential liability.
1102 See Examiner Scope Approval Order, at 5.



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affected by the Debtors and the AFI Defendants’ conduct (nor could the Investigation have
done so). Accordingly, the alleged damages disclosed to the Examiner likely represent only a
portion of the potential claims that could be asserted against the AFI Defendants. Given the
outstanding principal balance and the estimated lifetime losses of the Debtors’ RMBS, which
as of March/April 2012 were $62.4 billion and $43.8 billion, respectively, such further
potential damages could be substantial.1103

     In response to the Examiner’s Professionals’ solicitations, the plaintiffs in the RMBS
Actions have reported approximately $6.3 billion in alleged damages against AFI and the
Debtors on account of the Debtors’ issuance of RMBS and the AFI Defendants’ purported role
therein.1104 Alleged damages relating to the D&O RMBS Actions, which are largely on
account of the same conduct as the RMBS Actions and have been pleaded as components
thereof, are included within those damages disclosures. Additionally, plaintiffs in the Non-
RMBS Actions have reported approximately $987.5 million in alleged damages, almost all of
which reflects the damages asserted in Rothstein v. GMAC Mortgage.1105 Finally, the
Unsecured Noteholders assert that their potential Causes of Action are worth in excess of
$1 billion.1106

               a. Additional Factors Relevant To Potential RMBS Claims Damages

      It is important to note that the potential Third-Party Claims damages assertable against
Ally Securities and Ally Bank may be limited in certain respects. As discussed in Sections
VIII.C.2.b and VIII.C.2.c, liability is asserted directly against these entities on account of their
role in the securitization process—i.e., Ally Securities as underwriter and Ally Bank as loan
originator/funder and custodian. Accordingly, any potential damages assertable against these
entities are likely limited by the number of securitizations in which they participated and the
original or outstanding principal balance of those securitizations.

    Ally Bank, as loan originator, purchaser, and warehouse financer, contributed loans to
124 GMAC Mortgage and RFC securitizations, in the approximate aggregate amount of
$16 billion in original deal balance.1107 In connection with the RMBS Trust Settlement
Agreements, the Debtors estimated the lifetime losses on each of their 392 securitizations.1108
1103 See PLS Trust Spreadsheet [EXAM00339947]. In some cases, claims that have not yet been pleaded may be

    time-barred. See, e.g., Section VIII.C.a.1 (discussing the statutes of limitations for securities law claims). In
    other circumstances, additional Third-Party Claimants may elect to join an existing class action or may be
    able to invoke other arguments that would support the tolling of applicable statutes of limitations. In any
    event, as a practical matter, the Investigation was only able to solicit damages information from readily
    identifiable Third-Party Claimants, namely the plaintiffs in the RMBS and Non-RMBS Actions.
1104 See Appendix VIII.D.1.

1105 See Appendix VIII.D.1; Damages Letter from M. Strauss (Jan. 11, 2013).

1106 See Appendix VIII.D.1. This estimate corresponds with the aggregate outstanding amount of the Unsecured

    Notes. See Wilmington Trust Submission Paper, dated Oct. 24, 2012, at 1.
1107 See PLS Trust Spreadsheet [EXAM00339947].

1108 See id.



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In that analysis, the portion of the securitizations’ losses attributable to Bank loans is
approximately $2.8 billion.1109 However, it is likely that this amount overstates the losses
properly allocable to the Bank’s loans, because the allocation assumes that loans purchased
from the Bank performed the same as all other loans in the pertinent securitization. While data
was not available to evaluate the performance of particular groups of loans within the Debtors’
securitizations, the Debtors have noted that “[h]istorically Bank production was high credit
quality, which could lead to better performance.”1110 Accordingly, the losses attributable to
Bank loans are likely less than $2.8 billion. This amount relates to both Old GMAC Bank and
Ally Bank because their respective losses cannot be segregated based on the available data.
However, given that a majority of these securitizations were completed before the 2006 Bank
Restructuring, much of these losses are likely attributable to Old GMAC Bank.

     In terms of the Bank’s custodial role, Old GMAC Bank served as original loan custodian
for twenty-eight GMAC Mortgage securitizations and Ally Bank served as original loan
custodian for six GMAC Mortgage securitizations, together representing an aggregate original
principal balance of approximately $21.7 billion.1111

      Ally Securities served as lead or joint lead underwriter on 105 of the Debtors’ 392 PLS
deals, representing an original principal balance of approximately $57.2 billion.1112 Ally
Securities served as a co-underwriter on an additional 131 PLS deals.1113 However, RMBS
Claims against Ally Securities may be limited by the amount of assets it has available to
satisfy potential judgments. As of December 31, 2012, Ally Securities had assets of
approximately $14.5 million, liabilities of approximately $2.8 million, and net equity of
approximately $11.7 million.1114 The Investigation has revealed no evidence of
indemnification rights of Ally Securities against AFI for claims in connection with Ally
Securities’ underwriting role.1115 However, the Investigation has identified certain recent
transfers by Ally Securities to AFI that may give rise to fraudulent transfer liability. These
transactions are discussed in Section VIII.D.5.
1109 See id.

1110 Id. at Disclaimer/Note 6 [EXAM00339947].

1111 See Appendix VIII.B—3.

1112 See Appendix VIII.B—2.

1113 See Appendix VIII.B—1, n.2.

1114 AllySecurities LLC Financial Statements as of and for the Year Ended Dec. 31, 2012, Supplementary
    Schedules as of the Year Ended Dec. 31, 2012, at 3 [ALLY_0424625].
1115 Inresponse to a request to AFI’s counsel to provide the Examiner with indemnification agreements in
    connection with Ally Securities’ underwriting role, AFI’s counsel provided a sample underwriting
    agreement, which provides for: (1) indemnification by the issuer and master servicer (the Debtors) in favor of
    the underwriters (including Ally Securities) and their directors, officers, and any person controlling them
    within the meaning of section 15 of the Securities Act or section 20 of the Exchange Act; and
    (2) indemnification by the underwriters in favor of the issuer and master servicer and their directors, officers,
    and any person controlling them within the meaning of section 15 of the Securities Act or section 20 of the
    Exchange Act. See Underwriting Agreement, dated Aug. 29, 2007 [ALLY_0402298]. AFI’s counsel
    confirmed that no other indemnification arrangements exist between Ally Securities and AFI.

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             b. Additional Factors Relevant To Potential Non-RMBS Claims Damages

     The substantial majority of the damages asserted with respect to the Non-RMBS Actions
come from Rothstein v. GMAC Mortgage.1116 There, the plaintiffs assert approximately $971
million in damages.1117 As discussed in Section VIII.C.4.b, those claims are currently the
subject of a motion in the Bankruptcy Court, brought by AFI and Ally Bank, to enjoin the
prosecution of alter-ego claims by anyone other than by representatives of the Debtors’
estates.1118 To the extent that motion succeeds, the alleged damages associated with the Non-
RMBS Actions (at least as disclosed to the Examiner) would likely become negligible as
compared with the RMBS Actions and the Unsecured Noteholders’ Causes of Action.

    2. Release Of Third-Party Claims

     Given the Examiner’s conclusion that the proposed consideration under the AFI
Settlement and Plan Sponsor Agreement would not have been adequate to support a release of
the Debtors’ Estates’ claims against AFI,1119 it follows that the Examiner also concludes that
the proposed $750 million cash contribution is inadequate to secure the additional release of
Third-Party Claims.1120

    3. Transfer Of Liability In Connection With The Sale Of Ally Bank

      In November 2006, ResCap and AFI completed a restructuring of their U.S. banking
entities. Pursuant to that restructuring, Old GMAC Bank transferred substantially all of its
assets and liabilities to GMAC Automotive Bank, an industrial bank then wholly owned by
AFI. ResCap’s equity in Old GMAC Bank was then sent by dividend to GM, thus removing
the entity from Cerberus, AFI, and ResCap’s ownership. Old GMAC Bank subsequently
changed its name from “GMAC Bank” to “National Motors Bank FSB,” and was eventually
voluntarily dissolved in February 2009. Contemporaneously, AFI contributed 100% of its
interests in GMAC Automotive Bank to a newly created limited liability holding company, IB
Finance. AFI retained an interest in IB Finance that entitled AFI to earnings and distributions
from the automotive division of GMAC Automotive Bank, while ResCap purchased an
interest in IB Finance that represented a non-voting economic interest in the mortgage division
of GMAC Automotive Bank.1121

    The Purchase and Assumption Agreement entered into between Ally Bank and Old
GMAC Bank in connection with the 2006 Bank Restructuring expressly stated that Ally Bank
only assumed the liabilities set forth on a schedule to the agreement and not any other
1116 Case No. 12-03412 (S.D.N.Y. 2012).

1117 Damages Letter from M. Strauss (Jan. 11, 2013), at 1.

1118 See Section VIII.C.4.b.

1119 See Sections I.I, IX.B (discussing the merits of AFI’s proposed $750 million cash contribution in connection

    with the AFI Settlement and Plan Sponsor Agreement).
1120 See Section IX.C.

1121 For a more detailed explanation of these transactions, see Section V.A.1.



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liabilities.1122 There is no provision in the schedules to the Purchase and Assumption
Agreement that relate to general tort liability or contractual obligations under the custodian
agreements between Old GMAC Bank and GMAC Mortgage.1123 Additionally, the Examiner
has concluded that it is unlikely that a court would find that Ally Bank is the successor in
liability of Old GMAC Bank.1124 Accordingly, there appears to be limited basis for holding
Ally Bank responsible for the potential liabilities of Old GMAC Bank.
    4. Transfer Of Liability In Connection With The Sale Of Ally Securities
     During the period 2004 through 2007 when Ally Securities was an underwriter of the
securities at issue, Ally Securities was a direct subsidiary of RFC. It was incorporated on
February 17, 1989 as a Delaware corporation, under the name Residential Funding Securities
Corporation1125 and was registered with the National Association of Securities Dealers, Inc. on
June 6, 1990.1126
      On June 1, 2006, Ally Securities was converted to a Delaware limited liability company,
under the name Residential Funding Securities, LLC1127 and continued to be owned by
RFC.1128 Under Delaware law, assets and liabilities automatically carry over from converted
former corporations to new limited liability companies,1129 and the existence of a limited
liability company is deemed to have commenced on the date that the converted former
corporation was incorporated.1130 As such, all liabilities of Residential Funding Securities
Corporation continued to be liabilities of Residential Funding Securities, LLC.
1122 See Purchase and Assumption Agreement, dated Nov. 20, 2006, § 2.3 [ALLY_PEO_0021066].

1123 See id., Scheds. B, C (listing (1) the contracts assigned from Old GMAC Bank to Ally Bank and (2) the Old

    GMAC Bank liabilities assumed by Ally Bank). As explained in Section VIII.C.2.c, the Old GMAC Bank’s
    custodial obligations were “repapered” with Ally Bank after the 2006 Bank Restructuring.
1124 See Section VII.L.2.a(1)(a)(i).

1125 Certificate
             of Incorporation of Residential Funding Securities Corporation, dated Feb. 17, 1989
    [ALLY_0402297].
1126 Residential Funding Securities Policies and Supervisory Procedures Manual, updated Mar. 30, 2007, at 6

    [EXAM12503903].
1127 Ally Securities’ name was changed from Residential Funding Securities, LLC to Ally Securities LLC
    effective Aug. 1, 2011. Certificate of Amendment, dated Aug. 1, 2011, filed July 25, 2011 [ALLY_0402275].
    While it was Residential Funding Securities, LLC and Residential Funding Securities Corporation, it did
    business as “GMAC RFC Securities” and was internally referred to as “GRS.” Dep. of J. Getchis, Apr. 21,
    2011, at 26:16–27:8 [MBIADEP0000278]; Dep. of D. Crosson, Apr. 20, 2011, at 5:4–15
    [MBIADEP0000500].
1128 Certificate of Conversion to Limited Liability Company, dated June 1, 2006 [ALLY_0402360]; Limited

    Liability Company Agreement, dated June 1, 2006, Sched. A [ALLY_0402277].
1129 DEL. CODE ANN. tit. 6, § 18-214(f) (2013).

            [A]ll debts, liabilities and duties of the other entity that has converted shall remain attached to the
            domestic limited liability company to which such other entity has converted, and may be enforced
            against it to the same extent as if said debts, liabilities and duties had originally been incurred or
            contracted by it in its capacity as a domestic limited liability company.
1130 Id. § 18-214(d).



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     RFC owned Ally Securities1131 until May 1, 2009,1132 when AFI purchased all of the
membership interests of Ally Securities from RFC pursuant to a Membership Interest and
Share Purchase Agreement dated March 31, 2009.1133 In a transfer of membership interests,
the purchaser takes ownership of the limited liability company, and the limited liability
company continues to own its assets and retains its liabilities (rather than the purchaser
acquiring specific assets and/or liabilities). The liabilities of Ally Securities continued to be
retained by Ally Securities and are its own liabilities rather than those of its member (i.e.,
AFI).1134

      Generally, pursuant to a purchase agreement the seller and purchaser will be subject to
certain representations and warranties for a certain period of time. The Membership Interest
and Share Purchase Agreement contained certain representations and warranties by RFC as
seller, including relating to liabilities and obligations, material contracts, and litigation and
representations and warranties by AFI as purchaser relating to authority, membership
certificates, consents and approvals, financing, and brokers and finder’s fees.1135 RFC and AFI
agreed to indemnify each other for certain breaches of the representations and covenants in the
Membership Interest and Share Purchase Agreement.1136 The indemnification provisions
generally survived only until the 24-month anniversary of the closing date (i.e., until May 1,
1131 Limited Liability Company Agreement, dated June 1, 2006, Sched. A [ALLY_0402277].

1132 Residential Funding Securities, LLC Financial Statements and Supplementary Schedules, Dec. 31, 2009, at 7

   [FHFA-AS-0314518].
1133 Membership   Interest and Share Purchase Agreement between Residential Funding Company, LLC and
   GMAC LLC, dated Mar. 31, 2009 [RC00026472]; Assignment and Assumption of Limited Liability
   Company Interests, dated May 1, 2009 [EXAM00339023]. See Section V.F.4.g for a discussion of the terms
   of the sale of Ally Securities.
1134 DEL. CODE ANN. tit. 6, § 18-303(a). Except in certain circumstances as set forth in chapter 18 (the Delaware

   Limited Liability Company Act):
        debts, obligations and liabilities of a limited liability company, whether arising in contract, tort or
        otherwise, shall be solely the debts, obligations and liabilities of the limited liability company, and
        no member . . . shall be obligated personally for any such debt, obligation or liability of the limited
        liability company . . . solely by reason of being a member . . . .
    The exceptions set forth in the chapter relate to contributions and distributions prior to or upon dissolution.
    Id. §§ 18-502, 607. See also Ally Securities’ Limited Liability Company Agreement, specifically providing
    that:
        [e]xcept as otherwise provided by the Act, the debts, obligations and liabilities of [Ally Securities],
        whether arising in contract, tort or otherwise, shall be solely the debts, obligations and liabilities of
        [Ally Securities], and [AFI] shall not be obligated personally for any such debt, obligation or
        liability of [Ally Securities] solely by reason of being a member of [Ally Securities].
   Limited Liability Company Agreement, dated June 1, 2006, § 9 [ALLY_0402277].
1135 Membership
             Interest and Share Purchase Agreement between Residential Funding Company, LLC and
   GMAC LLC, dated Mar. 31, 2009, Art. 3, 4 [RC00026472]; Disclosure Letter from RFC (Mar. 31, 2009)
   [ALLY_0127990].
1136 Membership
             Interest and Share Purchase Agreement between Residential Funding Company, LLC and
   GMAC LLC, dated Mar. 31, 2009, §§ 8.2, 8.3 [RC00026472].

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2011).1137 Notwithstanding this limitation, the Membership Interest and Share Purchase
Agreement contained an exception in the event of a representation or warranty that constituted
fraud, in which case such breach would not be subject to the indemnification basket, cap, or
any other limitation set forth in the Membership Interest and Share Purchase Agreement.1138
The Investigation has revealed no evidence that AFI has asserted, or contemplates asserting,
any claims against RFC for indemnification under the Membership Interest and Share
Purchase Agreement.1139 The Investigation has revealed no evidence that RFC would have an
indemnification claim against AFI under the Membership Interest and Share Purchase
Agreement.1140

     5. Potential Fraudulent Conveyance Exposure Of Ally Securities

                  a. Ally Securities Recapitalizes In 2011, Ceases Operations In 2012, And Makes
                     Dividend Payments To AFI

     In April 2011, Ally Securities sought and obtained authority from the Financial Industry
Regulatory Authority to recapitalize and resume previous trading levels and underwriting
activity.1141 Ally Securities also requested authority to become an eligible member of the
Ginnie Mae Real Estate Mortgage Investment Conduits securities underwriting group.1142 In
connection with this grant of authority and resumption of trading activities, Ally Securities
received a capital contribution in the amount of $175 million from AFI in July 2011.1143 AFI
also contributed $50 million of Ally Securities’ subordinate debt in exchange for capital.1144
1137 Id.

1138 Id. § 8.9.

1139 AFI Submission Paper, dated Dec. 19, 2012. No proofs of claims for indemnification under the Membership

    Interest and Share Purchase Agreement were filed by AFI.
1140 Indemnification for breaches of representations that constitute fraud survived the 24-month post-closing
    period but AFI’s representations were limited to those relating to authority, membership certificates, consents
    and approvals, financing, and brokers and finder’s fees. Membership Interest and Share Purchase Agreement
    between Residential Funding Company, LLC and GMAC LLC, dated Mar. 31, 2009, Art. 4, §§ 8.3, 8.9
    [RC00026472].
1141 See Letter to the Financial Industry Regulatory Authority (May 16, 2011) [ALLY_0424717]; see also Letter

    to the Financial Industry Regulatory Authority (Apr. 7, 2011) [ALLY_0424724]. Prior to 2011, Ally
    Securities’ mortgage trading operations had not recovered to pre-2007 levels.
1142 Ally Securities LLC Presentation on Capital Reduction, dated Apr. 2012, at 3 [ALLY_PEO_0094439].

1143 AllySecurities LLC Financial Statements as of and for the Year Ended Dec. 31, 2011, Supplementary
    Schedules as of the Year Ended Dec. 31, 2011, at 13 [FHFA-AS-0314565]; E-mail from P. Lagermasini
    (Dec. 19, 2012) [ALLY_0434973]; see also Letter to Financial Industry Regulatory Authority from Ally
    Securities (Apr. 7, 2011) [ALLY_0424724] (providing that “[t]he purpose of the Recapitalization [was] to
    (x) position RFS to resume its previous levels of trading and underwriting operations, (y) to meet GAAP
    equity thresholds such that RFS would become an eligible member of [Ginnie Mae’s] securities underwriting
    group, and (3) to strengthen RFS as a credit counterparty to institutional investors”).
1144 AllySecurities LLC Financial Statements as of and for the Year Ended Dec. 31, 2011, Supplementary
    Schedules as of the Year Ended Dec. 31, 2011, at 13 [FHFA-AS-0314565]; E-mail from P. Lagermasini
    (Dec. 19, 2012) [ALLY_0434973].

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      Nine months later in April 2012, Ally Securities paid a dividend in the amount of $200
million to AFI in connection with its decision to cease all mortgage operations.1145 In a letter
to the SEC and Financial Industry Regulatory Authority, Ally Securities explained that it had
decided to exit all mortgage-related securities underwriting and trading activities.1146 Ally
Securities represented to the SEC and the Financial Industry Regulatory Authority that
following the distribution, Ally Securities would have adequate excess net capital to continue
its then-current operations and to meet its obligations to its creditors.1147 In August 2012, Ally
Securities made another dividend payment to AFI in the amount of $25.5 million.1148 In an
August 2012 letter to the SEC and Financial Industry Regulatory Authority, Ally Securities
stated that the amount of excess net capital remaining after the August 2012 dividend payment
would be sufficient to meet the obligations of the firm to its creditors.1149




1145 See Ally Securities LLC Financial Statements as of and for the Year Ended Dec. 31, 2012, Supplementary

    Schedules as of the Year Ended Dec. 31, 2012, at 10 [ALLY_0424625]; E-mail from P. Lagermasini (Dec.
    19, 2012) [ALLY_0434973]; see also E-mail from S. Polimine (Apr. 13, 2012), at ALLY_0424621
    [ALLY_0424620] (Financial Industry Regulatory Authority approving Ally Securities’ $200 million
    dividend payment to AFI); Ally Securities LLC Consent to Action, Apr. 11, 2012 [ALLY_0424624] (Board
    of Directors consent to payment of $200 million distribution to AFI).
1146 Letter to SEC and Financial Industry Regulatory Authority (Apr. 10, 2012) [ALLY_0424689].

1147 See id. at ALLY_0424689; see also Ally Securities LLC Presentation on Capital Reduction, dated Apr. 2011,

    at 3 [ALLY_PEO_0094439] (“[Ally Securities] is overcapitalized to the extent that [Ginnie Mae] issuance is
    less relevant as a percentage of the revenue stream. . . . GMAC Mortgage [Ginnie Mae] loan production has
    decreased by ~50% since 2010, which has reduced the need and ability for [Ally Securities] to distribute this
    product through Agency CMO securitization.”).
1148 See E-mail from P. Lagermasini (Dec. 19, 2012) [ALLY_0434973]; Letter to SEC and Financial Industry

    Regulatory Authority (Aug. 20, 2012), at ALLY_0434974 [ALLY_0434974] (“Please be advised that . . .
    Ally Securities . . . has determined to make a distribution of excess net capital to its parent and sole member,
    [AFI] . . . in the amount of $25,500,000.”); see also Ally Securities LLC Consent to Action, Aug. 17, 2012
    [ALLY_0434979] (Board of Directors consent to payment of $25.5 million distribution to AFI).
1149 See
       Letter to SEC and Financial Industry Regulatory Authority (Aug. 20, 2012), at ALLY_0434975
    [ALLY_0434974].

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                 b. Financial Condition Of Ally Securities At The Time Of The April 2012 And
                    August 2012 Transfers

      During 2012, Ally Securities ceased all mortgage-related trading activities and as of
December 31, 2012 no longer held financial instruments.1150 At year-end 2012, Ally Securities
had total assets of $14,451,620 (essentially cash), total liabilities of $2,773,500 (primarily a
payable to affiliate), and total members’ equity of $11,678,120.1151 Exhibit VIII.D.5.b shows
its total assets, total liabilities and total equity for the years 2004 through 2012:




      The Examiner’s Professionals attempted to pinpoint the exact amount of assets and
liabilities held by Ally Securities at the time of the transfers. However, the Examiner’s
Professionals were unable to identify financial statements for the dates surrounding the April
and August 2012 transfers. Accordingly, the Examiner’s Professionals attempted to estimate
Ally Securities’ financial condition at the time of the transfers.

     On April 16 and August 20, 2012, Ally Securities made transfers of $200 million and
$25.5 million to AFI, respectively. Because the transfers were made after Ally Securities had
ceased any trading activities,1152 the Examiner’s Financial Advisors used the remaining total
capital on April 16 and August 20 as a proxy for Ally Securities’ total equity on those




1150 AllySecurities LLC Financial Statements as of and for the Year Ended Dec. 31, 2012, Supplementary
    Schedules as of the Year Ended Dec. 31, 2012, at 8 [ALLY_0424625].
1151 Id. at 3.

1152 Trading activity would “cease at the end of the week of April 9th.” Market Risk Committee Presentation on

    Ally Financial & Ally Bank, dated Apr. 17, 2012, at EXAM00014087 [EXAM00014072].

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dates.1153 Letters from Ally Securities to the SEC and Financial Industry Regulatory Authority
note that Ally Securities’ total capital following the April 16 and August 20 transfers was
$49.5 million1154 and $16.3 million,1155 respectively.

               c. The Dividend Payments Are Likely To Be Constructive Fraudulent Transfers

     The Examiner concludes that it is likely that a constructive fraudulent transfer claim with
respect to the April 2012 and August 2012 dividend payments from Ally Securities to AFI
would prevail. The April 2012 and August 2012 payments satisfy all of the elements of a
constructive fraudulent transfer: the transfers were made by Ally Securities while insolvent
and for less than reasonably equivalent value.

                  (1) Solvency

     As stated above, at the time of the April 2012 dividend payment, Ally Securities’ assets
exceeded its fixed liabilities by approximately $49.5 million. As of the August 2012 transfer,
assets exceeded fixed liabilities by approximately $16.3 million. As of April 2012, Ally
Securities was a defendant in ten RMBS-related lawsuits, three of which had survived a
motion to dismiss at that time.1156 These lawsuits alleged that plaintiffs had suffered billions of
dollars in damages because of Ally Securities’ actions.1157 Prior to the August 2012 dividend
payment, another five RMBS-related lawsuits were filed against Ally Securities, and two other
cases survived motions to dismiss.

     In evaluating a debtor’s insolvency, both present and contingent assets and liabilities are
to be considered, so long as the contingency is capable of reasonable estimation and provided




1153 This appears to be a fair approximation of total equity. Ally Securities financial statements of the year-ended

    December 31, 2011 reflected total equity of $248.1 million and total capital of $247.2 million and Ally
    Securities had a net loss of $11 million for the year-ended Dec. 31, 2012. Ally Securities, LLC Financial
    Statements as of and for the Year Ended Dec. 31, 2011, Supplementary Schedules as of the Year Ended Dec.
    31, 2011, at 19 [FHFA-AS-0314565]. Total capital was computed on Ally Securities’ supplemental schedules
    by adjusting total equity for items specified by the SEC. Adjustments include deductions for ownership
    equity not allowable for net capital, the addition of liabilities subordinated to claims of general creditors
    allowable in computation of net capital and other deductions and credits. See SEC Form X-17A-5 Financial
    and Operational Combined Uniform Single Report, Part II, at 11, http://www.sec.gov/about/forms/formx-
    17a-5_2.pdf.
1154 See
       Letter to SEC and Financial Industry Regulatory Authority (Apr. 10, 2012), at ALLY_0424689
    [ALLY_0424689]
1155 See
       Letter to SEC and Financial Industry Regulatory Authority (Aug. 20, 2012), at ALLY_0434974
    [ALLY_0434974].
1156 Three other claims have survived similar motions since, while several others await decisions on a motion to

    dismiss.
1157 These lawsuits and their relative merits are discussed in more detail in Section VIII.C.2.b.



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that such contingent assets or liabilities are properly discounted.1158 “It makes no difference
whether the firm has a contingent asset or a contingent liability; the asset or liability must be
reduced to its present, or expected, value before a determination can be made whether the
firm’s assets exceed its liabilities.”1159 Under these circumstances, a court would have to
determine the expected value of Ally Securities’ RMBS-related lawsuits as of the April 2012
and August 2012 dividend payments. Given that some of these claims had passed the pleading
stage, and that AFI, the Debtors and certain other parties in interest were discussing a global
settlement of these and other massive claims at the time of the April 2012 transfer, it is
reasonable to assume that Ally Securities would have ascribed at least some value to these
actions. While the Examiner has not quantified the potential liabilities for these lawsuits, in
light of the significant alleged damages, the Examiner concludes that a reasonable
quantification of these liabilities would likely overwhelm Ally Securities’ $49.5 million in
equity as of the April 2012 transfer as well as the $16.3 million as of the August 2012 transfer,
and that the evidence supports the proposition that Ally Securities was insolvent at both the
April 2012 and August 2012 transfers.1160

                    (2) Reasonably Equivalent Value

     The Examiner concludes that it is likely that the April 2012 and August 2012
discretionary dividend payments to AFI were not made for reasonably equivalent value.
Numerous courts have held that dividends paid to members of a limited liability company are
not made for value.1161 Ally Securities was under no obligation, contractually or otherwise, to
1158 Mellon Bank, N.A. v. Official Comm. of Unsecured Creditors of R.M.L., Inc. (In re R.M.L., Inc.), 92 F.3d 139,

    156 (3d Cir. 1996) (“[I]f a debtor’s treatment of an item as an ‘asset’ depends for its propriety on the
    occurrence of a contingent event, a court must take into consideration the likelihood of that event occurring
    from an objective standpoint.”); In re Xonics Photochemical, Inc., 841 F.2d 198, 200 (7th Cir. 1988) (“By
    definition, a contingent liability is not certain—and often is highly unlikely—ever to become an actual
    liability. To value the contingent liability it is necessary to discount it by the probability that the contingency
    will occur and the liability will become real.”). A complete discussion of the valuation of contingent assets
    and liabilities for solvency purposes can be found in Section VI.5.
1159 In re Xonics Photochemical, Inc., 841 F.2d at 200.

1160 See also In re Xonics Photochemical, Inc., 841 F.2d at 200 (“[An] asset or liability must be reduced to its

    present, or expected, value before a determination can be made whether the firm’s assets exceed its
    liabilities.”). As stated, nearly any quantification of these liabilities would render Ally Securities insolvent
    for fraudulent transfer purposes.
1161 E.g., Fisherv. Hamilton (In re Teknek, LLC), 343 B.R. 850, 861 (Bankr. N.D. Ill. 2006) (holding that
    dividend paid to limited liability company members was not a transfer for reasonably equivalent value);
    see Michaelson v. Farmer (In re Appleseed’s Intermediate Holdings, LLC), 470 B.R. 289, 300 (D. Del. 2012)
    (“Defendants have not persuaded the Court that a voluntarily disbursed dividend to preferred shareholders,
    even if some payments are a return of capital, constitutes reasonably equivalent value. Defendants do not
    suggest that Debtors were otherwise required to return the capital . . . .”); United States v. Rocky Mountain
    Holdings, Inc., 782 F. Supp. 2d 106, 122–23 (E.D. Pa. 2011) (nothing that equity interests are not debt, thus
    “limited partnership distributions do not qualify as ‘antecedent debt’ constituting an exchange ‘for value’”);
    Freeland v. Enodis Corp. (In re Consol. Indus. Corp.), 2006 WL 3136924, at *8 (N.D. Ind. 2006); Sherman
    v. FSC Realty (In re Brentwood-Lexford Partners, LLC), 292 B.R. 255, 267 (Bankr. N.D. Tex. 2003);
    Pereira v. Equitable Life Ins. Soc’y of the U.S. (In re Trace Int’l Holdings, Inc.), 289 B.R. 548, 557
    (Bankr. S.D.N.Y. 2003).

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make either the April 2012 dividend payment or the August 2012 dividend payment. Thus, as
these were discretionary dividends to AFI which did not satisfy any antecedent debt or
otherwise provide value to Ally Securities, a court would likely conclude that this payment
was made for less than reasonably equivalent value.

             d. Whether The Dividend Payments Constitute An Actual Fraudulent Transfer Is
                A Close Question

     The Examiner concludes that, while a close question, it is more likely than not that an
actual fraudulent transfer claim with respect to the April 2012 and August 2012 dividend
payments would also prevail.1162 A transfer may be avoided if the transferor made the transfer
with the actual intent to hinder, delay or defraud its present or future creditors.1163 Courts have
generally held that actual fraudulent intent must be proven by clear and convincing evidence,
which may be inferred from the circumstances surrounding the transaction.1164 This inference




1162 While it is possible that creditors could bring fraudulent transfer actions against Ally Securities in several

    jurisdictions, the laws of the states most relevant to the analysis, Delaware (the state of incorporation of Ally
    Securities) and Minnesota (the principal place of business of Ally Securities), both of which have
    incorporated the UFTA, are substantially the same for the purposes herein. Even if a party in interest sought
    to apply the law of a jurisdiction which had incorporated the UFCA, such as New York, the actual fraud
    analysis, as well as the solvency and reasonably equivalent value analyses under the different acts are
    essentially the same. See, e.g., Nisselson v. Empyrean Inv. Fund, L.P. (In re MarketXT Holdings Corp.), 376
    B.R. 390, 420 n.42 (Bankr. S.D.N.Y. 2007) (noting that “there is no dispute that Federal and State law are
    virtually identical as to their requirements for proving a constructive fraudulent conveyance”). Additionally,
    though there are various laws addressing fraudulent transfers, they share many similarities and, as such, case
    law interpreting one law is often used by courts in analyses of the other laws. See, e.g., Sharp Int’l Corp. v.
    State St. Bank & Trust Co. (In re Sharp Int’l Corp.), 403 F.3d 43, 55 (2d Cir. 2005) (citing HBE Leasing
    Corp. v. Frank, 48 F.3d 623, 634 n.8 (2d Cir. 1995)) (noting “New York’s policy in favor of national
    uniformity in UFCA law”); HBE Leasing Corp., 48 F.3d at 634 n.8 (“In order to promote a uniform national
    interpretation of the UFCA, both this Circuit and the courts of New York have encouraged recourse to the
    case law of other jurisdictions.”). As the transactions occurred within the last 13 months, there are no statute
    of limitation issues. Thus, the Examiner has not engaged in a choice of law analysis.
1163 See, e.g., UFTA § 4(a)(1); N.Y. DEBT. & CRED. LAW § 276.

1164 See, e.g., HBE Leasing Corp., 48 F.3d at 639; In re Dreier LLP, 452 B.R. 391, 408 (Bankr. S.D.N.Y. 2011)

    (“[C]ourts have recognized that allegations of circumstantial evidence are sufficient to establish fraudulent
    intent, because the trustee’s lack of personal knowledge is compounded with complicated issues and
    transactions which extend over lengthy periods of time.”) (internal citations and quotation marks omitted).

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can be made by relying on “badges of fraud.”1165 The April 2012 and August 2012 dividend
payments implicate several badges of fraud. The transfers, which comprised substantially all
of Ally Securities’ property,1166 were made: (1) for no consideration (as discussed above);
(2) between a parent and its wholly owned subsidiary; (3) while Ally Securities was likely
insolvent (as discussed); and (4) under the threat of massive pending litigation. Thus, there are
a number of badges of fraud present.

      Additionally, the general chronology of events and circumstances surrounding the
transfers supports an inference of fraud. From April 2011 to August 2012, the outlook for Ally
Securities grew progressively worse. Ally Securities faced mounting litigation, with more
parties filing RMBS-related complaints as time progressed. Additionally, as noted above,
plaintiffs began to have some success in their litigation, defeating several motions to dismiss.
Both AFI and the Debtors were aware of this, as there is evidence that the parties viewed the
equity of Ally Securities as having little value just prior to the April 2012 dividend payment.
At a meeting that took place on or about March 23, 2012, Michael Carpenter, CEO of AFI,
outlined various restructuring alternatives for ResCap, one of which included a contribution of
all of the equity of Ally Securities, in addition to cash and other considerations. According to
John Mack, a ResCap Board director, the “ancillary items,” including the equity of Ally
Securities, “ultimately didn’t really have value.”1167 Gary Lee of Morrison & Foerster also
stated that the perception was that the cash was the only thing of value in the settlement
offer.1168 Lee further stated that “it was ResCap’s view that the value of Ally Securities was
functionally zero and maybe even a negative number.”1169 After Carpenter attempted to
include Ally Securities in a settlement offer, and it was refused as adding little or no value,



1165 These may include, but are not limited to:


           (1) the lack or inadequacy of consideration; (2) [a] close associate relationship between the parties;
           (3) the retention of possession, benefit or use of the property in question; (4) the financial condition
           of the party that made the transfer or obligation both before and after the transaction in question;
           (5) the existence or cumulative effect of a pattern or series of transactions or course of conduct after
           the incurring of debt, onset of financial difficulties, or pendency or threat of suits by creditors; and
           (6) the generally chronology of events and transactions under inquiry.
    Le Café Creme, Ltd. v. Le Roux (In re Le Café Creme, Ltd.), 244 B.R. 221, 239 (Bankr. S.D.N.Y. 2000)
    (citing Salomon v. Kaiser (In re Kaiser), 722 F.2d 1574, 1582–83 (2d Cir. 1983)); see also Kelly v.
    Armstrong, 206 F.3d 794, 798 (8th Cir. 2000) (noting badges of fraud may also include “(1) actual or
    threatened litigation against the debtor; (2) a transfer of all or substantially all of the debtor’s property;
    (3) insolvency on the part of the debtor; (4) a special relationship between the debtor and the transferee; and
    (5) retention of the property by the debtor after the transfer”).
1166 SeeLetter to SEC and Financial Industry Regulatory Authority (Apr. 10, 2012), at ALLY_0424689
    [ALLY_0424689] (“[T]his amount represents approximately 96.49% of the excess capital of Ally
    Securities . . . .”).
1167 Dep. of J. Mack, Nov. 14, 2012, at 97:4–8.

1168 See Int of G. Lee, Feb. 20, 2013, at 264:6–266:9.

1169 Id. at 265:24–266:1. This settlement offer is more fully discussed in Section III.J.



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less than a month later Ally Securities began transferring substantially all of its “excess
capital” to AFI. This chronology, together with the presence of multiple badges of fraud, can
constitute “conclusive evidence of an actual intent to defraud.”1170

      This inference of actual fraudulent intent may be negated by a legitimate business
purpose.1171 As noted above, Ally Securities has stated that it made the April 2012 and August
2012 transfers because it had “made the decision to exit all mortgage-related securities
underwriting and trading activities.”1172 Thus, the payments were a “return of capital . . .
devoted to the mortgage-related securities activities, including the $175 million . . . in capital
that [AFI] invested in Ally Securities in 2011 in order to permit Ally Securities to become a
Ginnie Mae [Real Estate Mortgage Investment Conduits] underwriter.”1173 The presence of
this potential legitimate business purpose creates a close question. However, given the
multiple badges of fraud and circumstances described above, the Examiner concludes that,
while a close call, it is more likely than not that a court would find the strong inference of
fraudulent intent outweighs the stated business purpose. Accordingly, the April 2012 and
August 2012 dividend payments may be recovered by creditors of Ally Securities as actual
fraudulent transfers.

               e. It Is Unlikely That The Dividend Payments Would Be Unlawful Dividends

     The Examiner concludes that it is unlikely that a court would determine that the April
2012 dividend payment and the August 2012 dividend payment would constitute unlawful
dividends. “Under Delaware law, the directors of a corporation may declare and pay a
dividend to the shares of its capital stock only out of the corporation’s surplus.”1174 “A
corporation’s surplus is ‘the excess of net assets over the par value of the corporation’s issued
stock.’”1175 “Net assets are the amount by which total assets exceed total liabilities.”1176
Accordingly, whether the dividend payments would be considered unlawful would turn on a
determination of whether the dividend payments came out of the corporate surplus of Ally



1170 Picard v. Taylor (In re Park S. Sec., LLC), 326 B.R. 505, 518 (Bankr. S.D.N.Y. 2005) (noting that “absent

    ‘significantly clear’ evidence of a legitimate supervening purpose” the “confluence of several [badges of
    fraud] can constitute conclusive evidence of an actual intent to defraud”) (citing Max Sugarman Funeral
    Home, Inc. v. A.D.B. Investors, 926 F.2d 1248, 1254–55 (1st Cir. 1991)).
1171 Picard, 326 B.R. at 518 (noting that “absent ‘significantly clear’ evidence of a legitimate supervening
    purpose” the “confluence of several [badges of fraud] can constitute conclusive evidence of an actual intent
    to defraud”) (citing Max Sugarman Funeral Home, Inc., 926 F.2d at 1254–55).
1172 See
       Letter to SEC and Financial Industry Regulatory Authority (Aug. 20, 2012), at ALLY_0434974
    [ALLY_0434974].
1173 See id. at ALLY_0434974.

1174 U.S. Bank Nat’l Ass’n v. Verizon Commc’ns Inc., 892 F. Supp. 2d 805, 822 (N.D. Tex. 2012).

1175 Id. at 822 (citing Klang v. Smith Food & Drug Ctrs., Inc., 702 A.2d 150, 153 (Del. 1997)).

1176 U.S. Bank Nat’l Ass’n, 892 F. Supp. 2d at 822 (citing DEL. CODE ANN. tit. 8, § 154 (2012)).



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Securities. Ally Securities stated that the payments were made out of “excess capital.”1177 It is
unclear whether this would constitute surplus, regardless of how it was identified by Ally
Securities. As one court has stated, “directors . . . have almost unfettered discretion in defining
the extent of the corporation’s surplus.”1178 “The easy manipulation of a corporation’s surplus
has prompted one commentator to note that statutes prohibiting payment of dividends out of
surplus are ‘virtually meaningless.’”1179 Thus, it is difficult to predict whether a court would
treat Ally Securities’ “excess capital” as surplus. There are few cases which discuss such a
calculation. Given the massive potential liabilities of Ally Securities, a creditor could argue
that these payments were not made from a surplus, and that Ally Securities’ liabilities
exceeded its assets, as discussed above. However, it is unclear how much deference a court
would give to Ally Securities’ directors’ judgment. If a court were to find these dividends to
be unlawful, they would be voidable, and may be recovered as a fraudulent transfer.1180 This
could give creditors of Ally Securities an alternative basis for recovery. In light of the
conclusions above with respect to actual and constructive fraud, this may be unnecessary.




1177 See Letter to SEC and Financial Industry Regulatory Authority (Apr. 10, 2012), at ALLY_0424689
    [ALLY_0424689] (“Please be advised that . . . Ally Securities . . . has determined to make a distribution of
    excess net capital to its parent and sole member, [AFI] . . . in the amount of $200,000,000. This amount
    represents approximately 96.49% of the excess capital of Ally Securities . . . .”).
1178 Official Comm. of the Unsecured Creditors of Color Tile, Inc. v. Blackstone Family Inv. P’ship (In re Color

    Tile, Inc.), 200 WL 152129, at *3 (D. Del. 2000).
1179 Id.

1180 Pereira v. Equitable Life Ins. Soc’y of the United Sates (In re Trace Int’l Holdings, Inc.), 289 B.R. 548, 560

    (Bankr. S.D.N.Y. 2003) (applying Delaware law).

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